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                United Nations                                                                          S/2019/914
                Security Council                                               Distr.: General
                                                                               9 December 2019

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                Letter dated 29 November 2019 from the Panel of Experts on
                Libya established pursuant to resolution 1973 (2011) addressed to
                the President of the Security Council

                      The Panel of Experts on Libya established pursuant to Security Council
                resolution 1973 (2011) has the honour to transmit herewith, in accordance with
                paragraph 15 of resolution 2441 (2018), the final report on its work.
                     The report was provided to the Security Council Committee established
                pursuant to resolution 1970 (2011) concerning Libya on 28 October 2019 and was
                considered by the Committee on 25 November 2019.
                      The Panel would appreciate it if the present letter and the report were brought
                to the attention of the members of the Security Council and issued as a document of
                the Council.


                                                      (Signed) Lipika Majumdar Roy Choudhury
                                                                                        Coordinator
                                                   Panel of Experts on Libya established pursuant to
                                                                             resolution 1973 (2011)
                                                  (Signed) Luis Antonio de Alburquerque Bacardit
                                                                                          Expert
                                                                           (Signed) Amanda Kadlec
                                                                                           Expert
                                                                            (Signed) Moncef Kartas
                                                                                            Expert
                                                                          (Signed) Yassine Marjane
                                                                                            Expert
                                                                         (Signed) Adrian Wilkinson
                                                                                            Expert




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             Final report of the Panel of Experts on Libya established
             pursuant to Security Council resolution 1973 (2011)


    Summary
                    The military offensive on Tripoli by Khalifa Haftar’s Libyan National Army
              (LNA) and subsequent conflict inhibited the nationwide Libyan political process,
              stalled reform and contributed to overall instability throughout the country. Disparate
              armed groups, some previously in conflict with one another, coalesced to affiliate with
              either the Government of National Accord (GNA) or Haftar ’s LNA. This new phase
              of instability, combined with the interest of several State and non -State actors in the
              outcome, amplified the existing proxy conflict that took shape after 2011. The Panel
              of Experts on Libya identified multiple acts that posed a threat to the security, peace
              and stability of Libya.
                    Both parties to the conflict received weapons and military equipment, technical
              support and non-Libyan fighters in non-compliance with the sanctions measures
              related to arms. Jordan, Turkey and the United Arab Emirates routinely and sometimes
              blatantly supplied weapons, employing little effort to disguise the source. The Panel
              also identified the presence of Chadian and Sudanese armed groups in support of
              forces affiliated with GNA and LNA alike. Although the military capability of both
              parties was apparently enhanced, in reality the impact of the foreign armed groups to
              outcomes in the conflict was limited. Military operations have been dominated by the
              use of precision-guided munitions from unmanned combat aerial vehicles, which has,
              to a degree, limited the collateral damage normally expected from such a conflict.
                    The front line of the fighting has remained fluid but constrained within narrow
              bounds since April 2019. Neither side has the military capability to effectively decide
              the outcome to their advantage. Consequently, fatalities among armed groups and
              civilians remain low. The conflict continues to pose localized threats to Libyan
              civilians, through displacement from fighting or the weaponization or financial
              exploitation of the country’s vital institutions, such as water, electricity and fuel
              supplies.
                    Migrants and asylum seekers in Libya remain vulnerable not only to the effects
              of the conflict, but to abuse. Those who are held in official government detention
              centres risk exposure to a range of human rights abuses, including but not limited to
              degrading living conditions, repeated extortion, sexual and other exploitation, and
              torture. Human trafficking and the smuggling of migrants, although reduced
              considerably compared with previous reporting periods, continues to finance networks
              that contribute to instability.
                    The armed conflict and collapse of the political process were accompanied by
              increased attacks to the unity of Libyan institutions. The Panel has identified four
              attempts by the eastern National Oil Corporation to illicitly export crude oil. In
              addition, that entity is attempting to assert its claims to legitimacy and establish control
              over fuel distribution and installations in the east. The stability of the fuel distribution
              system in Libya is at risk because of a monopoly by the fuel distribution companies
              over supply. Refined petroleum products continue to be diverted by sea and overland,
              albeit at a lower level than in previous years. The Panel continues to identify networks
              involved in such activities operating inside and outside the country.




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                 Assets of designated entities continue to engage the Panel ’s attention, although
           detailed investigations are complicated by a lack of access to financial data within
           certain Member States. The continuing dispute over who has authority over the Libyan
           Investment Authority is a matter of concern. The Panel noted that the payment of
           management and custodian fees from frozen assets to financial institutions has not
           always followed procedure. In addition, there are two individuals who were found to
           have been in non-compliance with the travel ban.




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                      further details relating to a number of investigations in the annexes. A ta ble of abbreviations
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                     Final report of the Panel of Experts on Libya established
                     pursuant to Security Council resolution 1973 (2011)
             I. Background
         A.          Introduction

                     1.    The present report, provided to the Security Council pursuant to paragraph 15
                     of resolution 2441 (2018), covers the period from the publication of the Panel of
                     Experts’ previous report (S/2018/812) on 5 September 2018, to 20 October 2019, and
                     includes updates on ongoing investigations detailed therein. An overview of the
                     evolution of the sanctions regime concerning Libya may be found in annex 1.
                     2.    In the conduct of its investigations, the Panel complied with the best practices
                     and methods recommended by the Informal Working Group of the Security Council
                     on General Issues of Sanctions (see S/2006/997). The Panel has maintained the
                     highest achievable standard of proof, even though travel within Libya is restricted
                     due to the security environment. The Panel placed emphasis on adherence to standards
                     regarding transparency and sources, documentary evidence, corroboration of
                     independent verifiable sources and the provision of the opportunity to reply. 1 The
                     Panel has maintained transparency, objectivity, impartiality and independence in its
                     investigations and based its findings on verifiable evidence.
                     3.    The attack on Tripoli launched by armed groups affiliated with Khalifa Haftar
                     (Haftar Armed Forces, or HAF) 2 on 4 April 2019 and the ongoing armed conflict
                     defined the present reporting period. Since then, instances of non -compliance with
                     the sanctions measures for Libya have rapidly increased. Incidents violating
                     international humanitarian law have become more salient.
                     4.    Travel to Libya was constrained due to the deteriorating security situation, and
                     further complicated by the illegal detention of a member of the Panel of Experts,
                     Moncef Kartas (Tunisia), by the Tunisian authorities on 26 March 2019. His arrest
                     and detention, and the initiation of legal processes against him, were in violation of
                     the provisions of article VI, section 22, of the Convention on the Privileges and
                     Immunities of the United Nations. The United Nations spokesperson stated on 15 May
                     2019 that the documents submitted by the Government of Tunisia had been reviewed
                     and that the Organization had requested the immediate release of Mr. Kartas and that
                     charges against him be dropped. 3 Mr. Kartas was released on 21 May 2019, although
                     charges are still pending against him. On the basis of advice from the Secretariat, the
                     Panel was unable to travel to Tunisia, which serves as the United Nations departure
                     point for Libya, and as a consequence was unable to travel to Libya from 25 March
                     to 27 July 2019 (see recommendation 1).
                     5.    The work of the Panel was affected by two administrative issues. The first was
                     stricter enforcement by the Secretariat of the revised administrative procedures
                     regarding travel, initiated pursuant to section VI, paragraph 8, of General Assembly
                     resolution 67/254 A. The Panel must now provide notice of a visit 25 days before
             __________________
                 1
                   Further information on methodology and the opportunity to reply can be found in annex 3.
                 2
                   These include the armed group previously referred to as Khalifa Haftar ’s Libyan National Army
                   (which is now being restyled as the Libyan Arab Armed Forces) and domestic and foreign armed
                   groups. The Panel has developed the abbreviation Haftar Armed Forces (HAF) to cover all armed
                   groups affiliated with Haftar. The Panel also uses the lower case to refer to armed groups who
                   refer to themselves as “Brigade” or “Battalion”, etc., in order to identify the group without
                   providing them with the legitimacy of being a formed military unit of a government. Similarly,
                   the lower case is used if appropriate when referring to the authorit ies in the east of Libya.
                 3
                   See www.un.org/press/en/2019/db190515.doc.htm.

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                departure, with waivers of that rule granted only under exceptional circumstances.
                Second, owing to auditing considerations, travel is only approved if the Panel
                provides proof that meetings are scheduled for the entire duration of a mission.
                Individuals or organizations are often unable to confirm a meeting that far in advance.
                This new requirement removes the ability of the Panel to spend time on the ground
                identifying and developing sources or initiating investigations based on new
                information or evidence. Follow-up investigations therefore require additional travel
                and visits, which duplicate travel time, reduce the available work time of the Panel
                and risk the loss of potential sources. Source identification and recruitment is all but
                impossible for certain experts unless they can spend time among the Libyan diaspora
                in other countries.
                6.    The impact of the restrictions placed on the Panel to travel to Libya and Tunisia
                for nearly four months, and to spend the time there necessary to identify and cultivate
                local sources, was particularly hard on the armed group experts (see para. 46 below).
                The evidential levels required for the Panel to include case studies in reports to the
                Security Council are high, and are often not met by remote access alone. Individuals
                are reluctant to use electronic communications. The need to obtain corroborating
                evidence through triangulation interviews with, for example, health officials or family
                members, means that only face-to-face interviews can provide the high evidential
                levels required to make a case.


           B.   Cooperation with stakeholders and institutions

                7.    A complete list of Member States, organizations and individuals consulted can
                be found in annex 4. The Panel has sent 330 official letters to 61 Member States and
                87 letters to entities and companies, and has received 213 replies as at 24 October
                2019, the details of which can be found in annex 5.

           1.   United Nations and other entities
                8.    The Panel interacts frequently with the United Nations Support Mission in Libya
                (UNSMIL) and regularly meets with the Special Representative of the Secretary -
                General for Libya. The Panel benefited from regular exchanges with the different
                divisions of UNSMIL. The regular flights by UNSMIL into Libya and its strong
                support and flexibility facilitated the Panel’s access and logistical requirements.
                9.   The Panel met and exchanged information with the Panel of Experts on the Sudan
                and the Analytical Support and Sanctions Monitoring Team pursuant to resolutions
                1526 (2004) and 2253 (2015) concerning Islamic State in Iraq and the Levant (ISIL)
                (Da’esh), Al-Qaida and the Taliban and associated individuals and entities.

           2.   The authorities in the east and the Libyan National Army
                10. During the reporting period, the Panel sent 12 formal com munications to three
                separate email addresses obtained from a range of sources, and had a number of
                informal communications with individuals within the authorities in the east and the
                Libyan National Army (LNA). No formal responses were received. It was no t until
                9 October 2019 that the Panel received a communication from a military official
                stating that his office was now the official focal point for the Panel. The Panel then
                re-submitted copies of all 12 official letters and is awaiting a response. The Pa nel
                made clear to the new focal point the necessary timelines for the inclusion of any
                statements from the authorities in the east for consideration by the Panel for inclusion
                in the present report. On 19 October 2019, the Panel received a communication fr om
                the new focal point to say that Khalifa Haftar had appointed a committee of three
                general officers to develop responses to the Panel’s communications.

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         II. Acts that threaten the peace, security and stability of Libya
             or acts that obstruct or undermine the successful completion
             of its political transition
         A.           Conflict dynamics

                      11. The onset of nationwide conflict that began on 4 April 2019 4 has driven the
                      country’s disparate groups to more clearly align with either HAF or forces affiliated
                      with the Government of National Accord (GNA-AF) (see annex 6 for conflict maps).
                      12. Haftar’s strategy to take Tripoli began with a sweep through cities a nd towns in
                      the south in January 2019, where support for his offensive from his allies was
                      favourable. HAF handed over control to proxies, continuing westward and then
                      northward to seize strategic assets and establish positions for the assault on Tripoli.
                      By the end of March 2019, HAF had gained control of the Sharara oil installation 5
                      (see para. 137 below) and established forward bases with allies in Gharyan, 6 Tarhuna 7
                      and Sabratha, 8 and Surman, 9 just to the south, east and west of the capital.
                      13. Khalifa Haftar’s aim to easily wrest Tripoli from the array of localized armed
                      groups failed for several reasons. Previous HAF agreements with certain armed
                      groups did not hold. In anticipation of the offensive, disparate Tripoli -based armed
                      groups actively cooperated with large and influential Misrata-based groups. In terms
                      of territory, the conflict has stabilized in the front-line battle area as HAF remains on
                      the outskirts of Tripoli. When GNA-AF counter-attacked and seized the strategic town
                      of Gharyan in late June 2019, perceptions of HAF operational capabilities were
                      damaged.
                      14. The involvement of international and regional actors, both State and non -State,
                      is persistent and increasing. The supply of military equipment from foreign
                      Governments and the inclusion of foreign armed groups directly involved in the
                      fighting are destabilizing factors.


             B.       Acts that threaten peace, stability and security

             1.       Activities of international terrorist groups and individuals
                      15. Elements of ISIL (QDe.115) remain dormant in cells in Tripoli and Misrata, and
                      as autonomous groups in Sebha, Murzuq and Al Qatrun, and surrounding Mount
                      Al Haruj. ISIL leadership is still centred in Bani Walid.
                      16. In late April 2019, video imagery showed Abu Bakr al-Baghdadi (QDi.299),
                      leader of ISIL, 10 praising attacks in the town of Fuqaha and calling on his militants to
                      wage a war of attrition in Libya. On 6 July 2019, an ISIL media bra nch (A’maq)
                      released video of an ISIL in Libya leader, Mahmud Massud al -Baraassi (also known
                      as Abu Musab Allibi), in which he highlighted that Libya was now one of the main
                      axes of future ISIL operations, which are designed to compensate for the loss of
             __________________
                  4
                     The HAF operation is known as “Deluge of Dignity”; the GNA responded with “Operation
                     Volcano of Rage”.
                   5
                     26°34'36"N, 12°13'05"E.
                   6
                     32°10'20"N, 13°1'13"E.
                   7
                     32°26'02"N, 13°38'04"E.
                   8
                     32°46'51.96"N, 12°26'58.20"E.
                   9
                     32°44'50.28"N, 12°33'51.12"E.
                  10
                     Abdulkader Assad, “Al-Baghdadi admits ISIS was defeated in Libya’s Sirte”, Libya Observer,
                     30 April 2019. Available at www.libyaobserver.ly/news/al-baghdadi-admits-isis-was-defeated-
                     libyas-sirte.

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                     ground and influence in the Syrian Arab Republic. Mahmud Massud al -Baraassi is
                     reportedly located south of Bani Walid.
                     17. GNA-AF, 11 HAF 12 and increased United States Africa Command (AFRICOM) 13
                     counter-terrorist operations against Al-Qaida (QDe.004) or ISIL continue to disrupt
                     the organizational structures of these groups and temporarily reduce their operational
                     capacities in Libya. 14
                     18. ISIL in Libya finances its activities through robbery, kidnap for ransom,
                     extortion of Libyan citizens and the cross-border smuggling of artefacts and other
                     commodities. Taxation of human trafficking networks ( S/2019/570, para. 25),
                     continues to be a source of funding for ISIL in Libya.

           2.        Foreign armed groups in Libya
                     19. The interference of Chadian and Sudanese fighters in Libya is a direct threat to
                     the security and stability of Libya. On 2 January 2019, the Office of the Attorney
                     General issued an arrest warrant for 37 people (22 Chadians, 6 Libyans and
                     9 Sudanese) (see annex 7) for their roles in robberies, kidnappings and killings that
                     took place in 2018 against the Libyan population in the south. Their presence, set out
                     in previous reports of the Panel (S/2017/466, para. 83, and S/2018/812, para. 24), has
                     become more marked during 2019, due to the intensification of the armed conflict.
                     The continued presence of these foreign individuals, as organized groups or as
                     mercenaries, may lead to further instability.

           3.        Sudanese armed groups
                     Sudan Liberation Army-Abdul Wahid
                     20. In mid-January 2019, the Sudan Liberation Army-Abdul Wahid (SLA-AW)
                     operated in support of HAF brigades during the group’s incursion into the south.
                     SLA-AW, composed of approximately 200 fighters commanded by Yusif Ahmed Yusif
                     (also known as Karjakola) (S/2019/34, para. 83), is located in Waw an-Namus, in the
                     Fezzan region. Abdul Wahid’s wider leadership is threatened by the SLA-AW
                     elements in Libya due to a disagreement over the disbursement of the funding he
                     receives from HAF to those elements.

                     Sudan Liberation Army-Minni Minawi
                     21. The Sudan Liberation Army-Minni Minawi (SLA-MM) is led by Jaber Is’hak in
                     Libya, and is composed of approximately 300 fighters based in Jufra. The group initially
                     supported Haftar’s incursion in the south in mid-January 2019, and is now tasked with
                     defending the HAF rear area and the line of communication between Tripoli and Jufra.

                     Gathering of the Sudan Liberation Forces
                     22. The Gathering of the Sudan Liberation Forces (S/2019/34, para. 79) is led by
                     Taher Abu Baker Hajar in Libya and is composed of approximately 500 to 700
                     reportedly experienced fighters. The group supports HAF and is based in small units


           __________________
                11
                   Xinhua, “Libyan authorities arrest 2 members of al-Qaida, IS”, 30 May 2019. Available at
                   www.xinhuanet.com/english/2019-05/31/c_138103881.htm.
                12
                   Libyan Address, “Details of the killing of senior al-Qaeda leader by LNA in Sabha”, 28 January
                   2019. Available at www.addresslibya.com/en/archives/40581.
                13
                   Four air strikes carried out by United States Africa Command in Sep tember 2019 killed at least
                   43 members of ISIL in Libya. See www.Africom.mil.
                14
                   Meeting with counter-terrorism officials in Tripoli, 11 September 2019.

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                        around Sebha, Murzuq and Umm Al Aranib. The group cooperates closely with
                        SLA-MM forces in Libya.

                        Justice and Equality Movement
                        23. The Justice and Equality Movement is led by Abdelkarim Cholloy Konti in
                        Libya, and is composed of approximately 160 fighters with 22 4x4 trucks. The group
                        is highly mobile and has been reported as operating in Tripoli wi th GNA-AF and in
                        the area between Zillah and Sebha.

                        Rapid Support Forces
                        24. The Panel estimates that 1,000 Sudanese troops from the Rapid Support Forces
                        (RSF) were deployed to Libya on 25 July 2019 by General Mohamed Hamdan Dagalo
                        (also known as Hemeti). 15 The initial plan was that the Sudanese troops would guard
                        critical national infrastructure, thereby freeing up HAF troops for offensive
                        operations. On 17 June 2019, open sources 16 reported that the Sudanese troops were
                        stationed in Jufra.
                        25. The Panel noted a contract signed in Khartoum on 7 May 2019 between General
                        Mohamed Hamdan Dagalo, on behalf of the Transitional Council of Sudan, and the
                        Canadian company Dickens & Madson (Canada) Inc., 17 in which the company would
                        “strive to obtain funding for your Council from the Eastern Libyan Military Council
                        in exchange for your military help to the LNA (Libyan National Army) ” (see annex 8).
                        The Panel has yet to establish if the RSF deployment was the result of HAF funds
                        sent to Transitional Council of Sudan or directly to General Mohamed Hamdan
                        Dagalo, as a result of the activities of Dickens & Madson, and continues to investigate
                        the latter’s direct role, if any, in the initial RSF deployment.
                        26. The Panel finds that the Sudan, and General Mohamed Hamdan Dagalo, as he
                        has command responsibility, are both in non-compliance with paragraph 9 of
                        resolution 1973 (2011).

              4.        Chadian armed groups
                        Front pour l’alternance et la concorde au Tchad
                        27. The Front pour l’alternance et la concorde au Tchad in Libya is led by Mahdi
                        Ali Mahamat and is composed of approximately 700 men based in Jufra camp. It is
                        tasked by HAF to defend the area against potential attacks, namely from terrorists.

                        Conseil de commandement militaire pour le salut de la république
                        28. The Conseil de commandement militaire pour le salut de la république,
                        reportedly commanded by Mahamat Haki Abdermane, 18 is composed of
                        approximately 300 men, fights alongside GNA-AF and is reportedly based in the
                        areas of Al Qatrun, Murzuq and Sebha. The group is likely highly involved in criminal


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                   15
                      The New Arab, “Hundreds of Sudan militia fighters deployed to Haftar’s Libya offensive”,
                      26 July 2019, available at www.alaraby.co.uk/english/News/2019/7/26/Hundreds-Sudan-militia-
                      fighters-deployed-to-Haftars-Libya-offensive; and confidential source.
                   16
                      Jean-Philippe Rémy, “Au Soudan, ‘Hemetti’, le général sanglant qui voulait être roi”, Le Monde,
                      17 June 2019. Available at www.lemonde.fr/afrique/article/2019/06/15/au-soudan-hemetti-le-
                      general-sanglant-qui-voulait-etre-roi_5476564_3212.html?xtor=RSS-3208. See also
                      www.alaraby.co.uk/politics/2019/7/22/ ‫ جديد‬- ‫ إماراتي‬- ‫ ودور‬- ‫ طرابلس‬- ‫ معركة‬- ‫ بدء‬- ‫ يعلن‬- ‫ حفتر‬- ‫ معسكر‬.
                   17
                      http://www.dickensandmadson.com (URL no longer active).
                   18
                      The group’s former leader, Hassan Boulmaye, was arrested in 2017 in the Niger, was extradited
                      to Chad, and is now serving a life sentence.

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                      and trafficking activities of all kinds, linking southern Libya t o the Chadian region of
                      Tibesti.

                      Union of Forces for Democracy and Development
                      29. The Union of Forces for Democracy and Development (UFDD) is currently
                      composed of approximately 100 fighters, in factions that support either GNA -AF or
                      HAF, and is based in the area of Waw al Kabir. In early March 2019, 400 UFDD
                      members left Libya and surrendered to the Chadian authorities, although its leader,
                      Mahmat Nouri, claims the defections were significantly fewer. 19 Since 2017, Mahmat
                      Nouri has been under judicial investigation in France. 20

                      Union des forces de la résistance
                      30. The Union des forces de la résistance (UFR) is a pro -GNA-AF group that
                      maintained a considerable presence in the southern cities of Tmassah and Waw al
                      Kabir until February 2019. Their leader, Timan Erdimi, is based in Qatar. At the
                      request of the Government of Chad, the French Air Force interdicted a large group of
                      UFR members in Chad, between 6 and 8 February 2019. 21 Some members of UFR
                      who remained in Libya joined the command of Jaber Is’hak (see para. 21 above),
                      while others sought alliances with other Chadian factions present in Libya.

            5.        Implication of Libyan nationals in the recruitment of foreign fighters
                      31. The commanders of the HAF 116th and 128th brigades, Masoud Jeddi 22 and
                      Hasan Maatug Zadma 23 respectively, are constantly recruiting Chadian and Sudanese
                      fighters in the south of Libya.
                      32. Panel sources confirm that Nasser Bin Jreid (S/2019/34, para. 92, and
                      S/2018/812, para. 22), continues to recruit individual Sudanese and Chadian fighters
                      for both parties to the conflict. He is also involved in trafficking activities. Hassan
                      Mussa, a Tebu leader who leads the Southern Protection Force connected to GNA-AF,
                      is another prominent facilitator for the recruitment of Chadian mercenaries
                      (S/2018/812, para. 22).

            6.        Regional impact of Chadian and Sudanese armed groups
                      33. On 3 March 2019, for the second time in two years, the Government of Chad
                      announced the closure of its borders 24 in an attempt to limit the trafficking activities
                      between the two countries and halt the flow of rebels to Chad. On 26 September 2019,
                      the Sovereign Council of the Sudan ordered the closure of the country’s borders with
                      Libya and the Central African Republic, citing unspecified security and economic
                      dangers. 25


            __________________
                 19
                    Jeune Afrique and AFP, “Tchad: 400 rebelles déposent les armes, selon le gouvernement”,
                    11 March 2019. Available at www.jeuneafrique.com/747422/politique/tchad-400-rebelles-
                    deposent-les-armes-selon-le-gouvernement/.
                 20
                    RFI, “Chad rebel leader arrested in Paris”, 17 June 2019. Available at http://en.rfi.fr/africa/
                    20190617-chad-rebel-leader-arrested-home-paris-french-prosecutor.
                 21
                    Letter from Member State to the Panel dated 11 March 2019.
                 22
                    Massoud Jeddi belongs to the Awlad Suleimane tribe. He is the commander of the brigade
                    formerly known as “Rada brigade”, based in Sebha.
                 23
                    Hasan Maatug Zadma belongs to the Awlad Suleiman tribe, originally from the town of Harawah.
                    The brigade is based in Jafra.
                 24
                    Sami Zaptia, “Chad closes its border with Libya”, Libya Herald, 5 March 2019. Available at
                    www.libyaherald.com/2019/03/05/chad-closes-its-border-with-libya/.
                 25
                    BBC World Service, “Sudan to close borders with CAR and Libya”, 26 September 2019.

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          C.            Engaging in any action that may lead to or result in the
                        misappropriation of Libyan State funds

              1.        Eastern Central Bank of Libya
                        34. The Panel has established that when the European Central Bank and European
                        commercial banks transferred Euro notes to Libya, no records of serial numbers were
                        maintained by the European Central Bank, the commercial banks or the Central Bank
                        of Libya. The movement of large amounts of currency between branches of the
                        Central Bank of Libya took place without the recording of serial numbers. This makes
                        the attribution of any Euro currency to a particular branch all but impossible.
                        35. Although the Office of the Attorney General in Tripoli is still investigating the
                        conditions of the transfer of money by the Central Bank of Libya from its old
                        headquarters in Benghazi to its new location (also in Benghazi), there is no dispute
                        as to the total currency loss (€28,510,000 partially damaged and €16,490,000 ruined
                        and unusable).
                        36. The Governor of the eastern Central Bank of Libya took personal initiative in
                        order to reduce losses to the Central Bank by transferring the financial risk to third
                        parties. He sold €28,510,000 in damaged notes at the Central Bank official rate to
                        2 corporate and 15 individual buyers. This happened without the concurrence of the
                        Central Bank in Tripoli, as the two branches do not cooperate on financial issues.
                        37. The Office of the Attorney General is still investigating the conditions of that
                        transfer as well. On 18 September 2018, the Office was requested by the Central Bank
                        to investigate the circumstances surrounding the physical transfer of money. No
                        formal request has been made to investigate whether the circumstances of the sale of
                        the damaged banknotes by the eastern Central Bank was in contravention of article 6
                        of the Banks Act (Law No. 1 of 2005 as amended by Law No. 46 of 2012).

              2.        Administrative Control Authority East
                        38. On 26 August 2019, the Administrative Control Authority East 26 published its
                        2018 report, 27 which provided evidence of corruption, major financial irregularities
                        and the misappropriation of State funds by different institutions of the interim
                        government. 28 Coincidentally, on 1 September 2019, Abdelsalam Al-Hassi, Head of
                        the Administrative Control Authority East, was arrested by alleged HAF -affiliated
                        individuals 29 and released the following day.




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                   26
                      The Libyan Administrative Control Authority is an independent body composed of two branches,
                      East and West. The head of the Administrative Control Authority West is nominated by the
                      Presidential Council, and the head of the Administrative Control Authority East by the House of
                      Representatives. The Administrative Control Authority monitors the work of the executive
                      bodies, supervises their operations and assesses their performance.
                   27
                      See http://raqaba-ly.com/wp-content/uploads/2019/08/ ‫مرقم‬-2018-‫الهيئة‬-‫تقرير‬.pdf.
                   28
                      The interim government was endorsed by the House of Representatives in 2014 and is bas ed in
                      Bayda, in eastern Libya. Following the establishment of the Government of National Accord in
                      Tripoli in 2016, the interim government lost international recognition, but continues to claim
                      legitimacy, operating mostly in eastern Libya.
                   29
                      Safa Alharathy, “Head of the administrative control authority of the eastern authorities released
                      after brief detention”, Libya Observer, 3 September 2019. Available at www.libyaobserver.ly/
                      inbrief/head-administrative-control-authority-eastern-authorities-released-after-brief-detention.

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            D.        Attacks against any air, land or sea port in Libya, or against a State
                      institution or installation, or against any foreign mission in Libya

                      39. The Panel identified multiple attacks against the civilian national infrastructure
                      and State institutions during the reporting period. In particular, attacks against joint
                      civilian-military airports were prevalent. All the attacks are still under investigation
                      by the national authorities, and the Panel has either not had a ccess to their evidence,
                      or is unconvinced by the veracity of some claims. Major cases are highlighted below.

 Table 1
 Summary of attacks against State institutions or installations
 Date                         Activity                                                                   Remarks               Annex


 10 September 2018            National Oil Corporation headquarters in Tripoli. An                       ISIL claimed              9
                              unidentified group of armed men entered the building by                    responsibility
                              force, killed 2 and injured 37 staff. Three improvised
                              explosive devices (IEDs) were detonated

 25 December 2018             Two person-borne improvised explosive devices (PBIEDs)                     ISIL claimed            10
                              were detonated in the Ministry of Foreign Affairs. A third                 responsibility
                              attacker was killed in a gunfight with guards

 8 April 2019                 HAF usurped Tripoli International Airport and battled with                                         11
                              GNA-AF for control throughout the conflict

 24 September 2019            Physical assault and intimidation of the Minister for Finance                                      12
                              by members of a Tripoli-based armed group in his office


                      Attacks on Tripoli Mitiga airport
                      40. On 7 April 2019, Tripoli Mitiga airport was first attacked by HAF within the
                      context of the current conflict. This was the first of multiple attacks on the airport
                      throughout the reporting period. 30 Subsequent attacks damaged civilian aircraft (see
                      annex 13).
                      41. As the only operating international airport in Tripoli serving both c ommercial
                      and military flights, Mitiga is a strategic asset. Frequent disruptions to flight
                      schedules, including United Nations flights, and reduced traffic constrain the free
                      flow of goods and people to the capital, which is essential for economic viabili ty. It
                      also has a negative impact on the airport’s ability to carry out urgent medical
                      evacuations.
                      42. The Special Deterrence Force (SDF) 31 effectively controls the airport and its
                      operations. Adjacent to the airport is the nearby SDF -controlled detention facility,
                      which is used to detain, inter alia, fighters from local armed groups. This serves as a
                      rationale for attacks by armed groups from both parties to the conflict, as they aim to
                      release their own fighters from detention.




            __________________
                 30
                    UNSMIL, “Latest attacks on Mitiga airport, a direct threat to the lives of civilian passengers;
                    perpetrators will face accountability”, 1 September 2019. Available at https://reliefweb.int/report/
                    libya/unsmil-latest-attacks-mitiga-airport-direct-threat-lives-civilian-passengers.
                 31
                    Retitled the Deterrent Agency for Combating Organized Crime and Terrorism, according to a
                    7 May 2018 decree by the GNA. The Panel continues to use the older version of the name.

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              E.   Acts that violate applicable international human rights law or
                   international humanitarian law or acts that constitute human
                   rights abuses

                   43. The Panel has identified a range of international humanitarian law violations
                   and human rights abuses committed during the reporting period on the basis of
                   evidence from confidential sources (including eyewitness interviews and
                   testimonials), social media and the analysis of imagery.
                   44. The Panel noted the requirement under paragraph 11 of resolution 2441 (2018)
                   that the travel ban and asset freeze measures also apply to acts that may also include
                   but are not limited to planning, directing or committing acts involving sexual and
                   gender-based violence. Although the Panel identified individuals that had more than
                   likely been subjected to abuse and sexual and gender-based violence, the necessary
                   evidential levels for reporting to the Committee could not be met. The Panel did not
                   have access to confidential locations in which to interview victims, nor were they able
                   to solicit the opinions of independent psychological and trauma counsellors. In
                   addition, the Panel could not be assured of the safety and security of both victims and
                   witnesses. Some or all of those conditions are necessary to meet the evidential levels
                   required by the best practices and methods recommended by the Informal Working
                   Group of the Security Council on General Issues of Sanctions (see S/2006/997).

              1.   Indiscriminate use of explosive ordnance
                   45. The indiscriminate use of explosive ordnance has been routine, widespread and
                   attributable to both GNA-AF and HAF. As an illustration of the types of ongoing
                   violations, Panel investigations have set out the following violations of customary
                   international humanitarian law (CIHL) involving the indiscriminate use of explosive
                   ordnance in table 2 below (see also annexes 13 to 18).

 Table 2
 Summary of international humanitarian law violations (indiscriminate use of explosive ordnance), 2019
 Entity                 Date            Activity                                        Remarks/CIHL rule a          Annex


 GNA                    13 June         Firing of S-125 Neva Pechora medium-            Rules 7, 11, 14 and 15 b       14
                                        range surface-to-air missile from an
                                        improvised launcher in an indirect fire role
                                        against civilian neighbourhood in Tripoli

 HAF                    2 July          Delivery of explosive ordnance, from what       Multiple fatalities and        15
                                        was reportedly a Mirage 2000-9 fighter          casualties
                                        ground-attack aircraft under the group’s
                                                                                        Rules 14 and 15
                                        direction and operational control, during an
                                        air strike against the Dhaman military
                                        compound in Tajura, which impacted on a
                                        detention centre of the Department for
                                        Combating Illegal Migration

 HAF                    5 August        Delivery of explosive ordnance, from a          42 fatalities confirmed        16
                                        Wing Loong II unmanned combat aerial            by the Panel
                                        vehicle under the group’s direction and
                                                                                        Rules 7, 14 and 15
                                        operational control, during four air strikes
                                        against Tebu civilian neighbourhoods in
                                        Murzuq



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 Entity                       Date           Activity                                               Remarks/CIHL rule a           Annex


 HAF                          15 and         Delivery of explosive ordnance (cluster                Failure to take                   17
                              16 August      munitions), from an unmanned combat                    precautions to avoid
                                             aerial vehicle under the group’s direction             damage to civilian
                                             and operational control, against Zuwarah               objects
                                             international airport
                                                                                                    UNSMIL investigation
                                                                                                    found no military use
                                                                                                    of the airport
                                                                                                    Rule 15

 GNA-AF                       1 September    Mortar attack against Mitiga international             Highly probably                   13
                                             airport during civilian air operations                 executed by a single
                                                                                                    group to support its
                                                                                                    own criminal activities

 HAF                          6 September    Free flight rocket attack against Mitiga               Rules 7, 11, 14 and 15            18
                                             international airport

   a
       There may be other violations of international humanitarian law identified after further investigation of the circumstances.
   b
       Rule 7: The principle of distinction between civilian objects and military objectives. Rule 11: Indiscriminate attacks.
       Rule 14: Proportionality in attack. Rule 15: Principles of precautions in attack.

              2.        Human trafficking and migrant smuggling
                        46. Human trafficking and migrant smuggling 32 to and through Libya onward to
                        Europe remains profitable, but the trade has all but collapsed compared with the
                        pre-2018 period. 33 Changing regulations in neighbouring countries and localized
                        clashes along trafficking routes have forced changes to establis hed routes in order to
                        avoid these barriers. This makes migration to Libya longer, costlier and more
                        dangerous. The volume of cross-border traffic into Libya through Chad and the Niger
                        has dropped significantly over the past two years. 34 Limitations to the Panel’s ability
                        to conduct field interviews (see para. 6 above) required that the Panel focus on
                        internal routes to the country’s western coastal departure points.
                        47. Once migrants are in Libya, local conflict dynamics and the battle for Tripoli
                        determine paths taken to reach the coast, either with the intention to work or to transit
                        to Europe. Departures to Europe in summer months experienced a 19 per cent decline
                        from the previous year. Since peak rates in 2016, departures have been reduced to
                        historic lows (see table 3). 35




             __________________
                   32
                      Libya is not a signatory to the Convention Relating to the Status of Refugees and has no asylum
                      system to recognize refugees. See also S/2018/812, recommendation 13.
                   33
                      Global Initiative against Transnational Organized Crime, “The human conveyor belt broken –
                      assessing the collapse of the human-smuggling industry in Libya and the central Sahel”, March
                      2019.
                   34
                      Ibid.
                   35
                      Historical routes are still used as main arteries for migrants, although less -trafficked,
                      non-standard routes are proliferating. No significant departures from eastern coastal cities were
                      identified during the current reporting period. See International Organizat ion for Migration
                      (IOM), “Libya’s migrant report, round 18”, March 2018. Available at http://migration.iom.int/
                      docs/DTM%20Libya%20Round%2018%20Migrant%20Report%20(March%202018).pdf.

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                      Table 3
                      Migrant-refugee departures from Libya from May through September,
                      2016–2019
                                                                               Number of interdictions    Interdictions by the
                                    Estimated number     Reduction from 2016      by the Libyan Coast    Libyan Coast Guard
                      Year               of departures     peak (percentage)                   Guard a           (percentage)


                      2016                  103 100                       –                         –                       –
                      2017                   73 000                      29                         –                       –
                      2018                   17 000                      83                    8 529                       50
                      2019                   13 800                      86                    6 365                       46

                      Source: Data from the International Organization for Migration and the Global Initiative against
                          Transnational Organized Crime.
                        a
                          Confidential source.

                      48. As income from wide-scale trafficking decreased, the business model adjusted.
                      Human trafficking in Libya is now a far more fragmented process whereby
                      individuals, armed groups and criminal networks alike are able to exploit vulnerable
                      individuals for low-cost labour or other personal or financial gain. 36 Although
                      individuals may enter Libya through a smuggling system, most of them inevitably
                      become part of the human trafficking networks within Libya.
                      49. The rotation of existing migrant populations through multiple detention centres
                      within Libya for months or years has become a far more prominent characteris tic of
                      migration than previously. Although individuals pay for multiple segments of a
                      journey through Libya, they are still highly vulnerable to extortion, ransoming and
                      forced labour. Migrants who work in Libya often reside in ghettos, and run the risk
                      of arrest by police or local armed groups and are immediately detained.
                      50. Bani Walid remains a major transit point for migrants from East and
                      sub-Saharan Africa either from or travelling through the Sudan, Chad and the Niger
                      to western coastal cities. 37 The area between Bani Walid and Khoms, Garabulli and
                      Zliten is open to traffic as eastern routes have shifted just east of Tripoli to avoid areas
                      of direct conflict. The detention and abuse of migrants and refugees in informal
                      facilities in Bani Walid remains systematic.




              __________________
                 36
                    Libyan law prohibits illegal entry into its territory and imposes imprisonment for offenders,
                    which may include penalties of labour, and does not distinguish vulnerable persons, refugees or
                    asylum seekers from other migrants. See Law No. 6 of 1987, Regulating the Entry, Residence
                    and Exit of Foreign Nationals, as amended by Law No. 2 of 2004, and Law No. 19 of 2010,
                    Combating Irregular Migration.
                 37
                    Panel source, 30 September 2019; and UNSMIL and Office of the United Nations High
                    Commissioner for Human Rights (OHCHR), “Desperate and dangerous: report of the human
                    rights situation of migrants and refugees in Libya ”, 20 December 2018. Available at
                    www.ohchr.org/Documents/Countries/LY/LibyaMigrationReport.pdf.

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 Map 1
 Western smuggling routes




 Source: Based on a map created by the Global Initiative against Transnational Organized Crime, as amended by the Panel of
    Experts on Libya.

                    51. The primary departure points are now Khoms, 38 Garabulli 39 and Zuwarah. 40
                    Khoms, Tripoli and Zawiyah are the main disembarkation points following
                    interdiction by the Libyan Coast Guard. 41 The International Organization for
                    Migration (IOM) and the International Medical Corps 42 provide immediate shelter,
                    relief and medical care on arrival at these locations. 43 The Panel notes that
                    disembarkation, registration and transportation procedures remain unclear and put
                    migrants at further risk of exploitation.




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               38
                  32°38'55"N, 14°15'43"E.
               39
                  32°45'N, 13°43'E.
               40
                  32°56'N, 12°05'E.
               41
                  IOM provides support facilities at 10 disembarkation points (Tripoli-Naval Base, Tripoli-
                  Harbour, Tripoli-Tajura, Zuwarah, Marsa Dila, Zawiya, Khoms, Garabulli, Misrata, Zawiyah),
                  Panel interview with Libyan Coast Guard.
               42
                  Independent partner of the Office of the United Nations High Commissioner for Refugees
                  (UNHCR).
               43
                  UNHCR, “Libya: activities at disembarkation, monthly update”, August 2019. Available at
                  https://data2.unhcr.org/en/documents/download/71355 .

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              3.        Government detention centres and other informal holding facilities
                        52. As reported in paragraph 32 of the Panel’s previous report on Libya
                        (S/2018/812), detention centres and other informal holding facilities are operated by
                        armed groups and individuals throughout Libya. They act as nodes along the human
                        trafficking routes where migrants are further financially, physically and
                        psychologically abused.
                        53. The Tripoli-based Office for Migration Affairs and the Department for
                        Combating Illegal Migration, under the auspices of the Ministry of the Interior,
                        officially manages 20 facilities, 15 of which are in the Tripolitania region. Of those
                        15 facilities, 12 are operational (see annex 19), 44 and contain approximately 8,000 45
                        (1 per cent) of the 700,000 migrants currently in Libya. Libyan authorities are
                        attempting to curtail the practices of armed groups that are in de facto control of
                        detention centres through the implementation of a formalized migration system.
                        Informal holding facilities operated by groups unaffiliated with the Department for
                        Combating Illegal Migration are beyond the authorities’ purview.
                        54. Serious human rights violations continue in detention centres and informal
                        holding facilities. Violations included unlawful deprivation of liberty, forced labour,
                        rape or sexual exploitation, disappearances, lack of access to basic medical care, an d
                        torture that in many instances led to fatalities. 46
                        55. Migrants at detention centres in Qasr bin Ghashir, 47 Tajura (see annex 19), Tariq
                        Al Matar 48 and Ain Zara 49 were transferred due to the conflict to detention centres in
                        other locations but remained in vulnerable positions owing to poor conditions and
                        treatment in the new centres. Most of the migrants in the centres are there as a result
                        of interdiction at sea by the Libyan Coast Guard.
                        56. There are approximately 3,800 migrants in detention centres loca ted near
                        conflict areas. 50 On 1 August 2019, in recognition of the risks posed to migrants at
                        those facilities (primarily trafficking and the living conditions), the Head of the
                        Department for Combating Illegal Migration, Colonel Abdelhafiz Mabrouk,
                        announced the closure of three centres: Tajura, Misrata (also known as Karareem) and
                        Khoms (see annex 20). At the same time, he urged the managers of the centres not to
                        cooperate directly with migration organizations. 51 On 11 September 2019, the
                        Director of the Office for Migration Affairs, Mohamed Shibani, informed the Panel
                        that the above three detention centres were being closed. The Panel has ascertained
                        that, as at 20 October 2019, the Tajura facility continued to house detainees.




              __________________
                   44
                      IOM.
                   45
                      Libyan Ministry of the Interior, Office of Migration Affairs.
                   46
                      Panel source, 30 September 2019; and UNSMIL and OHCHR, “Desperate and dangerous”.
                   47
                      32°42'8.67"N, 13°11'42.69"E. Médecins sans frontiers, “Time running out for evacuations of
                      trapped refuges in Tripoli amid shooting”, 26 April 2019. Available at www.msf.org/time-
                      running-out-evacuations-refugees-tripoli-amid-shooting-libya?component=video-262778.
                   48
                      31°59'29.60"N, 12°30'54.10"E.
                   49
                      32°46'59.77"N, 13°17'3.69"E.
                   50
                      IOM, Libyan Rapid Migrant Assessment, 4 July 2019. Available at https://reliefweb.int/sites/
                      reliefweb.int/files/resources/DTM_Tripoli_MigrantAssessment_2019 -07-03_FINAL.pdf.
                   51
                      Official Facebook page of the Ministry of the Interior. See also James Reinl, “Libya’s hellish
                      refugee centers remain open despite calls for closure”, GlobalPost, 6 August 2019. Available at
                      www.pri.org/stories/2019-08-06/libyas-hellish-refugee-centers-remain-open-despite-calls-
                      closure.

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                       Al-Nasr detention centre
                       57. The Al-Nasr detention centre 52 is adjacent to the Zawiyah oil complex. Both are
                       controlled by the Al-Nasr brigade, commanded by Mohammed Kashlaf (LYi.025).
                       Migrants interviewed by the Panel identified the Al-Nasr detention centre as a primary
                       hub for trafficking in western Libya. The Panel identified that the de facto manager,
                       “Osama” or “Osama Zawiyah”, was responsible for systematic exploitation within
                       the detention centre (see para. 164 below and annex 21).

             4.        Other violations
                       58. Panel investigations have identified a range of violations of CIHL or human
                       rights abuses (see table 4, annex 15 (as seen in table 2 above), and annexes 22 to 26).

 Table 4
 Summary of other international humanitarian law violations and human rights abuses, 2019
 Entity                     Date          Activity                                              Remarks/CIHL rule a             Annex


 ISIL in Libya              8 April       The President of the Municipal Council,               Rule 2 b                            22
                                          Ahmed Sassi, and the Head of Municipal
                                          Security, Abdelkafi Ahmed Abdelkafi, were
                                          assassinated in Fuqaha

                            22 April      The Deputy Minister for Defence, Ouheida              Violation of human                  23
                                          Abdulah Naijm, was arbitrarily detained by a          rights
                                          Tripoli-based armed group

                            21 May        Denial of water supply to the population of           Rule 54 c                           24
                                          Tripoli by disrupting supply through the Great
                                          Man-Made River

 GNA                        10 July       Failure to implement a release order in favour        Violation of human                  25
                                          of former Prime Minister Baghdadi al                  rights
                                          Mahmoudi

                            17 July       A female member of the House of                       Violation of human                  26
                                          Representatives in Tobruk, Siham Sergewa,             rights
                                          was kidnapped and was still missing as at
                                          8 October 2019

   a
     There may be other violations of international humanitarian law identified after further investigation of the circumstances.
   b
     Rule 2: Violence aimed at spreading terror among the civilian population.
   c
     Rule 54: Attacks against objects indispensable to the survival of the civilian population.


            III. Implementation of the arms embargo
                       59. Pursuant to paragraphs 9 to 13 of resolution 1970 (2011), as modified by
                       subsequent resolutions, the Panel continued to monitor, investigate and identify
                       instances of non-compliance with the arms embargo.
                       60. The conflict that started on 4 April 2019 was a trigger for the supply of new
                       military equipment to the participants to the conflict, and possibly for the emergence
                       from storage of military equipment previously supplied but was not detected by the
                       Panel. The transfers to Libya were repeated and sometimes blatant, with scant regard
             __________________
                  52
                       32°46'19.32"N, 12°41'47.97"E.

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                      paid to compliance with the sanctions measures. The Panel identified multiple cases
                      of non-compliance with the arms embargo in support of both parties to the conflict,
                      which it has summarized and tabulated in annexes 27 and 28 for ease of reference and
                      to avoid repetition. Detailed evidence for each Panel finding of non -compliance with
                      paragraph 9 of resolution 1970 (2011) below is contained within supporting annexes.
                      In many cases Member States and commercial organizations, particularly those
                      involved in illicit transfers, failed to respond to requests for information by the P anel.
                      During the reporting period, the arms embargo was ineffective, and resulted in regular
                      maritime and air transfers to Libya of military materiel.
                      61. The majority of transfers to HAF were from either Jordan or the United Arab
                      Emirates. The Panel finds that Jordan, the United Arab Emirates and HAF were in
                      repeated non-compliance with paragraph 9 of resolution 1970 (2011).
                      62. In response to the illicit transfers by Jordan and the United Arab Emirates, GNA
                      approached Turkey, who soon supplied GNA-AF with military materiel. On 31 July
                      2019, the President of GNA, Fayez al-Sarraj, admitted that GNA was receiving
                      weapons from Turkey. 53 On 31 July 2019, the Minister for the Interior and Defence,
                      Fathi Bashagha, openly acknowledged the transfer of armoured vehicles for the use
                      of the Ministry through the port of Khoms on 6 February 2019 (see para. 71 below)
                      and Tripoli on 18 May 2019 (see para. 67 below). 54 The Panel finds that Turkey and
                      GNA were regularly in non-compliance with paragraph 9 of resolution 1970 (2011).


          A.          Maritime supply and non-compliance

                      63. The Panel identified three transfers of weapons, ammunition or armoured
                      vehicles using the maritime supply route. Two of the transfers were in shipping
                      containers and involved false declarations of the contents on the shipping
                      documentation. This makes interdiction at sea, even if a vessel were to be inspected,
                      more difficult unless: (a) a physical inspection of the full cargo occurs; (b) dogs
                      trained to search out arms and explosives are used to locate the containers among
                      many others; or (c) actionable intelligence is available. Documentary inspection alone
                      will often be insufficient to identify containers that hold weapons.
                      64. Resolution 2473 (2019) extended the authority for the inspection of vessels on
                      the high seas off Libya, 55 but no such inspections took place during the reporting
                      period. Although the mandate of the European Union military operation in the
                      Southern Central Mediterranean (EUNAVFOR MED) operation SOPHIA was
                      extended until 31 March 2020, 56 the operation does not have sufficient naval assets
                      available to conduct physical inspections at sea, and fulfils mainly training and
                      surveillance roles. Member States should initiate an effective inspections regime to
                      interdict or deter arms transfers by sea as initially authorized by paragraph 4 of
                      resolution 2292 (2016) and most recently extended by resolution 2473 (2019) (see
                      recommendation 2).




              __________________
                 53
                    Asharq Al-Awsat, “Libya’s Sarraj admits to receiving arms from Turkey”, 31 July 2019,
                    available at https://aawsat.com/english/home/article/1837556/libya’s-sarraj-admits-receiving-
                    arms-turkey; and multiple sources.
                 54
                    Meeting with the Panel, 31 July 2019. The Panel finds that, during a period of conflict, the ease
                    with which these vehicles can be modified with weapons makes such vehicles a “force
                    multiplier”, and removes them from “non-lethal” status.
                 55
                    Authority first granted in paragraphs 3 and 4 of resolution 2292 (2016).
                 56
                    European Council Decision (CFSP) 2019/1595 of 26 September 2019.

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            1.        MV Esperanza
                      65. The MV Esperanza (IMO 9252785) delivered three containers to Khoms
                      between 13 and 17 December 2018. A subsequent customs inspection of containers
                      from the vessel resulted in the interdiction of 3,000 Atak Zoraki 2918 blank firing
                      pistols. On its next voyage, to Misrata, on 30 December 2018, the MV Esperanza
                      delivered a container holding 20,000 Ekol P29 blank firing pistols. The customs
                      authorities seized them on 7 January 2019. 57 Full details of these cases can be found
                      in annexes 29 and 30.
                      66. Although both Libya and Turkey informed the Panel that they were jointly
                      investigating the shipments, as of the time of writing they have provided the Panel
                      with only limited substantive information on these instances of non -compliance with
                      paragraph 9 of resolution 1970 (2011).

            2.        MV Amazon
                      67. On 18 May 2019 a large consignment of Kirpi 4x4 Mine Resistant Ambush
                      Protected (MRAP) vehicles, 58 manufactured by BMC Otomotiv Sanayi ve Ticaret
                      AS, 59 was offloaded in Tripoli port from the Moldovan-flagged MV Amazon (IMO
                      7702657). The media covered this event extensively, and no effort was made to
                      disguise the delivery. The vehicles were collected by Ashraf Mami, on behalf of
                      designated individual Salah Badi (LYi.028) of the Al Somoud brigade and Mohamed
                      Bin Ghuzzi of the Al Marsa brigade. 60 Vehicles were also supplied to the 33rd Infantry
                      Regiment led by Bashir Khalafallah.
                      68. The Panel notes that the MV Amazon left Samsun, Turkey, on 9 May 2019,
                      transited the Bosphorus on 11 May 2019 and then went “dark” for the night of
                      14/15 May 2019 while in the vicinity of Izmir port. Izmir is coincidentally the
                      location of the BMC Pinarbaşi production plant of the Kirpi 4x4 MRAP vehicles. The
                      Panel finds that the vessel’s operator, Akdeniz Roro Deniz Tasimaciligi Turizm
                      Sanayi ve Ticaret Limited Sti. 61 is in non-compliance with paragraph 9 of resolution
                      1970 (2011) for the transportation of this military equipment to Libya. Full details
                      can be found in annex 31 and a summary of the supply chain is illustrated in figure I.




            __________________
                 57
                    In 2013, the Committee confirmed that “this type of materiel is subject to the embargo” owing to
                    the ease of its conversion to live firing weapons (S/2016/209, annex 35, para. 10).
                 58
                    The Panel identified at least 27 vehicles from open-source imagery of the vessel’s deck, but
                    confidential sources have suggested the true number is closer to 50 to 80.
                 59
                    See www.bmc.com.tr/en/defense-industry/kirpi.
                 60
                    Confidential source and wide media coverage.
                 61
                    http://www.akdenizroro.com/filo.html (URL no longer active). Operator’s address: Akdeniz Roro
                    Deniz Tasimac, Dagilgan Kume Evleri 30/A, Evci Mah, Akdeniz, 33100 Mersin, Turkey. Note
                    that it is the same address as the vessel’s owner, Maya Roro SA.

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 Figure I
 Supply chain for Kirpi 4x4 Mine Resistant Ambush Protected vehicles




 Source: Panel of Experts on Libya.
 Abbreviation: GNA, Government of National Accord.

                        69. The Moldovan authorities responded quickly to this incident, and on 21 May
                        2019 the Naval Agency of Moldova suspended the flag certificate. On 25 May 2019,
                        that vessel’s flag certificate and all other statutory certificates for all vessels owned
                        by Maya Roro SA, and those operated by Akdeniz Roro Deniz Tasimaciligi Turizm
                        Sanayi ve Ticaret Limited Sti., were deleted from the Moldovan shipping register.
                        The MV Amazon was provisionally reregistered with the Togo Maritime
                        Administration on 14 June 2019, until the Togo Maritime Administration cancelled
                        the provisional registration on 20 August 2019. The MV Amazon again became a
                        stateless vessel under article 92 of the United Nations Convention on the Law of the
                        Sea.
                        70. BMC confirmed to the Panel that it had only directly exported the Kirpi 4x4
                        vehicles to Qatar, Tunisia and Turkmenistan, and all others had been sold to the
                        Presidency of Defence Industries of Turkey. 62 On 31 July 2019, the Minister for the
                        Interior and Defence of Libya confirmed the procurement of the vehicles from
                        Turkey. 63

              3.        Unknown vessel
                        71. On 5 February 2019, customs authorities in Khoms port found a quantity of 4x4
                        Toyota vehicles with armoured rear cabs in shipping containers. 64 A confidential
                        source indicated to the Panel that the internal destination for the vehicles in the

              __________________
                   62
                      Letter to the Panel from BMC dated 1 July 2019.
                   63
                      Meeting with the Panel. See recommendation at para. 80.
                   64
                      The same vehicles were seen by the Panel at the Ministry of the Interior headquarters location on
                      30 July 2019. No exemption request was made or notified for these vehicles.

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                      shipment was disputed within GNA administration. 65 The procurement was confirmed
                      to the Panel during a meeting with the Minister for the Interior and Defence on 31 July
                      2019.


            B.        Maritime non-compliance and exceptions

            1.        Alkarama offshore patrol vessel
                      72. The Panel first reported in paragraphs 75 and 76 of its previous report
                      (S/2018/812) on the transfer of the offshore patrol vessel (OPV) Alkarama
                      (IMO 7820693) to HAF control in Benghazi. The Panel finds that the OPV Alkarama
                      is classified as a naval vessel, and thus falls under the auspices of military equipment
                      in paragraph 9 of resolution 1970 (2011). The rationale for this finding and the
                      documentary evidence for this case can be found in annex 32.
                      73. The supply chain for the vessel was kept deliberately opaque using the following
                      measures: (a) the sale was previously agreed with Libya before purchase by the
                      supplier; (b) the shipping register was changed at each stage of the supply chain;
                      (c) a change of use declaration was made to deliberately disguise the vessel ’s true
                      purpose; (d) a false declaration of demolition was made to Panama, the fi nal flag
                      registry of the vessel; and (e) a diversion en route was made from its declared port of
                      destination of Alexandria, Egypt, to Benghazi. The Panel has now established the full
                      supply chain for OPV Alkarama (see figure II).




            __________________
                 65
                      The Panel has a transcript of various conversations between high ranking government officials.
                      Supported by Abdulkader Assad, “Tripoli Protection Force calls for probing armored vehicles
                      shipment seized in Al-Khums port”, Libya Observer, 6 February 2019. Available at
                      www.libyaobserver.ly/news/tripoli-protection-force-calls-probing-armored-vehicles-shipment-
                      seized-al-khums-port.

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 Figure II
 Supply chain for OPV Alkarama




 Source: Panel of Experts on Libya.
 Abbreviations: ETA, estimated time of arrival; LNA, Libyan National Army; UAE, United Arab Emirates.
   a
     Trading as van der Kamp Shipsales BV, Netherlands. See https://vanderkamp.com.
   b
     1410 One Lake Plaza, JLT, Dubai, United Arab Emirates. See www.universalsatcom.com.

                 74. The Panel notes that the sale of the vessel by Universal Satcom Services FZE
                 of the United Arab Emirates to the Ahl al-Thiqa Security and Safety Equipment
                 Imports Company of Benghazi was agreed on 1 February 2019, prior to the purchase
                 of the vessel by Universal Satcom Services FZE from the Dutch owners.
                 75. Since its transfer to Libya, OPV Alkarama has been refitted with the weapons
                 systems it was originally designed to carry (i.e., one 40 mm cannon and two 20 mm
                 cannons) (see figure III).

 Figure III
 Image showing retrofitting of weapons to OPV Alkarama (Ras Lanuf – 26 April 2019)




                            40mm Cannon
                                                              20mm Cannon




 Source: Confidential.

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                      76. Universal Satcom Services FZE were thrice offered the opportunity by the Panel
                      to provide a rationale for this transfer, and the Panel received a response on
                      9 September 2019. 66 The Managing Director’s rationale for the sale of the vessel was
                      contrary to some known facts, and her reply lacked the depth of detail requested by
                      the Panel.
                      77. The Panel finds that Universal Satcom Services FZE and its owner, Reema Sami
                      Abdullah Al Omari, are both in non-compliance with paragraph 9 of resolution 1970
                      (2011) for the provision of military materiel to Libya.

            2.        Non-lethal maritime exceptions
                      78. The Panel has identified that it is common practice that naval-type patrol vessels
                      supplied to GNA by Member States, under the auspices of the non-lethal exception
                      provided for under the authority of paragraph 10 of resolution 2095 (2013), are
                      subsequently armed post-delivery (see annex 33). This is not a difficult engineering
                      task and provides such vessels with an offensive military capability.
                      79. One Member State’s rationale for the supply of such vessels to the Libyan Coast
                      Guard was: (a) that the list of embargoed goods in resolution 1970 (2011) and
                      subsequent resolutions “leaves the burden on the Member State to define the exact
                      boundaries of the measure’s application”; 67 and (b) the statement of 30 May 2017 by
                      the Permanent Mission of Libya to the United Nations 68 that the Libyan Coast Guard
                      is a force under the direct control of GNA. The Panel has identified evidence
                      subsequent to that statement, which demonstrates that elements of the Libyan Coast
                      Guard and Navy in the east are now under the effective control of HAF (see
                      annex 33). 69
                      80. The Panel considers that paragraph 8 of resolution 2174 (2014) should now
                      apply to the transfer of such vessels and that implementation assistance notices be
                      issued to clarify whether particular technologies (for example patrol boats or wheeled
                      armoured vehicles) now have military utility in Libya and should thus fal l under the
                      auspices of paragraph 9 of resolution 1970 (2011) (see recommendation 4).


            C.        Maritime capability

            1.        Naval assets
                      81. The Panel has developed a summary of Libyan Navy and Libyan Coast Guard
                      assets available to the parties to the conflict (see annex 34). No naval asset transfers
                      have been identified as taking place in 2019.




            __________________
                 66
                    See Panel methodology in annex 3.
                 67
                    Letter from Member State to the Panel.
                 68
                    Confidential source.
                 69
                    Evidence includes the designation of a Libyan Coast Guard Commander, Abd Al -Rahman
                    al-Milad (LYi.026); HAF/Libyan Coast Guard military exercises on 29 March 2019; and the
                    announcement by HAF on 20 May 2019 of a blockade against ports in western Libya (see Jeremy
                    Binnie, “LNA announces naval blockade of western Libya”, Jane’s Defence Weekly, 23 May
                    2019, available at www.janes.com/article/88731/lna-announces-naval-blockade-of-western-
                    libya). The blockade has proved to be ineffective.

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              2.        Al Hani frigate (PF212) 70
                        82. The Panel visited the Cassar Ship Repair Limited facility in Malta on 8 and
                        9 April 2019 to inspect the weapons systems on the Al Hani frigate (PF212) and
                        determine their potential effectiveness. Recommendations for demilitarization prior
                        to the vessel’s return to Libya can be found in annex 35.


          D.            Land service military equipment

                        83. The recent conflict has seen a transition from the use of converted and armed
                        4x4 trucks (“Technicals”) 71 as a weapons platform to the preferred use of wheeled
                        armoured vehicles. These afford their crews much-enhanced protection from small
                        arms fire and fragmentation and improved tactical mobility, while providing a more
                        stable weapons platform. During the reporting period, the Panel identified five new
                        types not previously seen. A summary of the 14 different types of wheeled armoured
                        vehicles now currently in use can be found in annex 36.

              1.        Infantry armoured fighting vehicles
                        84. The Panel notes that the Al Mared 8x8 infantry armoured fighting vehicle
                        (IAFV), 72 manufactured by the King Abdullah II Design and Development Bureau
                        (KADDB) in Jordan, was deployed during the reporting period for the first time by
                        the HAF 9th Tarhuna brigade. 73 The Panel requested further clarification from Jordan
                        as to the presence of these vehicles in Libya but no response was received. The
                        Al Mared 8x8 IAFV is a new design and has not been reported to be in service
                        anywhere other than Jordan. 74
                        85. The Panel notes that the Mbombe 6x6 IAFV, 75 designed by the Paramount
                        Group, South Africa, and manufactured under licence by KADDB, was deployed by
                        HAF 76 during the reporting period. The Panel has confirmed that these vehicles are
                        not of South African origin, 77 and that only KADDB-manufactured vehicles are fitted
                        with the distinctive “snakehead” turret. The Panel requested further clarification from
                        Jordan as to the presence of these vehicles in Libya but received no response.

              2.        Infantry fighting vehicles
                        86. The Ratel-60 infantry fighting vehicle was identified as being used by the HAF
                        101st infantry battalion on 18 April 2018, 78 and was also seen with the HAF Al Saiqa
                        302nd special forces battalion on 18 April 2019. 79 This is the first time its presence
              __________________
                   70
                      Koni II-class frigate design. Construction started in the then Union of Soviet Socialist Republics
                      as SKR-201 on 22 September 1982; the frigate was commissioned in the Libyan Navy on
                      25 December 1985.
                   71
                      A “Technical” is an improvised civilian or non-combat military vehicle, modified to provide an
                      offensive capability. In Libya, they are usually a 4x4 civilian-pattern light truck with a medium
                      or heavy machine gun (predominantly DShK type) mounted in the rear of the vehicle. The term
                      originated in Somalia in the early 1990s.
                   72
                      See www.kaddb.com/kaddbs-portfolio/land-systems.
                   73
                      See www.facebook.com/1316206651852074/posts/1353048164834589/ , 18 May 2019.
                   74
                      Authoritative source: https://janes.ihs.com.
                   75
                      See www.paramountgroup.com/capabilities/land/mbombe-6/.
                   76
                      See https://twitter.com/LiBya_73/status/1130556593035255808?s=19 , 20 May 2019; and
                      www.facebook.com/Burkan.alghedab/videos/vb.2120292251386114/353692145504122/?type=2
                      &theater, 25 May 2019.
                   77
                      Letter from Member State to the Panel dated 29 August 2019.
                   78
                      See https://twitter.com/Oded121351/status/990612159896936448, 29 April 2018.
                   79
                      See https://twitter.com/Oded121351/status/1118808298491396096, 18 April 2019; and
                      https://twitter.com/Oded121351/status/1148278539659153409, 8 July 2019.

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                      in Libya has been reported by the Panel. Panel investigations continue into the supply
                      chain for this military vehicle.

            3.        Mine resistant ambush protected vehicles
                      87. In its previous report (S/2018/812, para. 110, and annex 29) the Panel noted that
                      the Caiman 6x6 MRAP, manufactured by BAE Systems Incorporated of the United
                      States, was present in Libya at the siege of Derna in August 2017. Seven well -
                      maintained Caiman 6x6 MRAP vehicles were identified during the reporting period
                      as being stored by HAF in Benghazi. 80 The Panel has written to the country of
                      manufacture to try to identify the supply chain.
                      88. The transfer of BMC Kirpi 4x4 MRAP vehicles to GNA is covered in paragraphs
                      67 to 70 above.

            4.        Protected patrol vehicles
                      89. In the same paragraph and annex of its previous report (S/2018/812, para. 110,
                      and annex 29), the Panel first identified the presence of the al-Wahsh 4x4 protected
                      patrol vehicle (PPV), 81 which is manufactured by KADDB in Jordan. The Panel has
                      observed images of these vehicles in operational use by the Tariq bin Ziyad battalion
                      of HAF 82 during 2019. The Panel requested further clarification from Jordan as to the
                      presence of these vehicles in Libya but, as in 2018, no response to Panel enquiries
                      was received. The al-Wahsh 4x4 PPV is not reported to be in service anywhere other
                      than Jordan. 83

            5.        Armoured personnel carriers
                      90. Also in the same paragraph and annex of its previous rep ort, the Panel first
                      identified the presence of the Panthera F9 4x4 armoured personnel carrier (APC), 84
                      manufactured by Minerva Special Purpose Vehicles of the United Arab Emirates. The
                      Panel has identified these vehicles as having been used by the HAF Tari q bin Ziyad
                      battalion 85 during 2019, and it is notable that the vehicles have been locally modified
                      by the addition of additional protective armour. The Panel is now investigating a
                      sighting of a number of either new or refurbished Panthera T6 4x4 APC vehic les near
                      Benghazi. 86
                      91. The Panel has identified the use of the Irigiri 4x4 APC, 87 manufactured by the
                      Nigerian Army, by HAF. 88 The Panel has requested further clarification from Nigeria
                      as to the presence of these vehicles in Libya.

            6.        Nashshab RPG-32 anti-tank rocket system
                      92. The Panel has identified from open-source information 89 (see annex 37) the
                      possession of the RPG-32 Nashshab shoulder-launched anti-tank rocket system by
                      HAF. This weapons system is produced in Jordan by a cooperative venture betw een
            __________________
                 80
                    See https://www.facebook.com/100009157008088/posts/2258828957765649/ , 20 May 2019.
                 81
                    See http://www.kaddb.com/kaddbs-portfolio/land-systems.
                 82
                    See https://twitter.com/Oded121351/status/1084717353361911808, 13 January 2019.
                 83
                    Authoritative source: https://janes.ihs.com.
                 84
                    See www.mspv.com/panthera-f9-2/.
                 85
                    See https://twitter.com/Oded121351/status/1097586142097166343, 18 February 2019.
                 86
                    See https://twitter.com/Oded121351/status/1168131362009886720, 1 September 2019.
                 87
                    Defence Blog, “Made in Nigeria ‘Igirigi’ armoured personnel carriers”, 26 August 2015.
                    Available at https://defence-blog.com/army/made-in-nigeria-igirigi-armoured-personnel-
                    carriers.html.
                 88
                    See https://twitter.com/Gorgon11/status/1133280679914090501 , 28 May 2019.
                 89
                    See https://twitter.com/Mansourtalk/status/1133996109448253440?s=08 , 30 May 2019.

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                        the Joint Stock Company Scientific Production Association Bazalt (JSC SPA Bazalt) 90
                        of the Russian Federation and KADDB, Jordan, called Jadara Equipment & Defence
                        Systems 91 (formerly the Jordan Russian Electronics Systems Company). The RPG -32
                        Nashshab only began production in Jordan in 2013, and is not in service anywhere
                        other than Jordan. 92 The Panel requested further clarification from Jordan as to the
                        presence of this weapon system in Libya but no response was received.

              7.        FGM-148 Javelin anti-tank guided missile
                        93. On 27 June 2019, forces affiliated with GNA captured a range of ammunition
                        and military equipment from HAF. Among this ammunition were at least four
                        L239A185 ammunition container assemblies for the FGM -148 Javelin anti-tank
                        guided missile (ATGM) system. The Panel identified four ATGM serial numbers
                        (370719, 370720, 370722 and 370847) and two lot/batch numbers (IAI GO002
                        MGP07 and MGP07E035-002), which when traced led to France. France explained
                        to the Panel that the missiles were present in Libya in accordance with paragraph 3
                        of resolution 2214 (2015), and that they were damaged beyond safe use and thus
                        inoperable (see recommendation 6).

              8.        9K115-2 Metis-M anti-tank guided weapon
                        94. The Panel has identified from open-source information 93 that the 9K115-2
                        Metis-M anti-tank guided weapon was possibly present in Libya in the third quarter
                        of 2016, but was certainly present in the country by 27 December 2018. The system
                        was more recently seen in the possession of GNA-AF on 14 July 2019. 94 The Panel
                        has requested information from a number of Member States in order to identify the
                        supply chain for this common weapons system (see also annex 38).

              9.        155 mm high explosive laser-homing projectile GP6 rounds
                        95. On 27 June 2019 in Gharyan, GNA-AF captured at least two 155 mm high-
                        explosive laser-homing projectile GP6 rounds, which were manufactured after 2011
                        by the China North Industries Group Corporation Limited. The detailed markings on
                        the packaging and the projectile identify these precision guided artillery projectiles
                        as part of a consignment supplied to the United Arab Emirates under contract
                        No. DP3/2/6/1/2006/23/A (see annex 39). The Panel has submitted a tracing request
                        to the country of manufacture but has not yet received a response. Regardless, the
                        Panel finds that the United Arab Emirates is in non-compliance with paragraph 9 of
                        resolution 1970 (2011) for the post-delivery transfer of this ammunition to Libya.

          10.           Pantsir S-1 and MIM-23 Hawk air defence systems 95
                        96. The Panel has established that the Pantsir S-1 surface-to-air missile system was
                        deployed to provide air defence for Jufra airbase between 5 March 96 and 19 April
                        2019 97 (see annex 40). The weapons system was sighted again near Gharyan on
                        19 June 2019. 98 The Panel notes that this particular Pantsir S-1 system is mounted on
              __________________
                   90
                      See http://bazalt.ru/en/.
                   91
                      See https://www.jadara.jo.
                   92
                      Authoritative source: https://janes.ihs.com.
                   93
                      See https://twitter.com/Oded121351/status/745852183934033920, 23 June 2016.
                   94
                      See https://twitter.com/rahbatajoura/status/1150532386419089412; and
                      https://twitter.com/rahbatajoura/status/1150532386419089412/photo/4 .
                   95
                      Other nomenclature: SA-22 Greyhound.
                   96
                      Not shown on Google Earth image of 5 March 2019.
                   97
                      Identified at 29°13'10.0"N, 15°59'44.2"E from confidential satellite imagery of 19 April 2019.
                   98
                      Seen during a road movement by low loader south of Gharyan at approximately 32°05'50.40"N,
                      12°59'10.05"E.

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                        a MAN SX45 heavy mobility truck ground mobility platform. Only the United Arab
                        Emirates uses this configuration for its Pantsir S-1 systems, which was supplied to
                        them after 2011. The complexity and costs of the system make it very unlikely that
                        the United Arab Emirates has supplied it to any other entity who could have
                        subsequently transferred it to Libya. The Panel thus finds that the United Arab
                        Emirates is in non-compliance with paragraph 9 of resolution 1970 (2011) for the
                        post-delivery transfer of this military equipment to Libya.
                        97. Confidential satellite imagery taken on 21 July 2019 shows the MIM -23 Hawk
                        surface-to-air missile system at Jufra airbase with three launchers, a command post,
                        a high-powered illuminating radar and an unidentified radar. 99 The system was
                        deployed tactically to defend the north end of the runway. The United Arab Emirates
                        received 343 MIM-23 Hawk systems between 1996 and 2000. 100 Based on the
                        location, and other confirmed United Arab Emirate military assets deployed at Jufra
                        airbase, the Panel finds it most likely that the MIM-23 Hawk system was also
                        transferred to Libya by the United Arab Emirates.

            11.         Electronic countermeasures equipment
                        98. The Panel has further investigated the use of electronic countermeasure systems
                        mentioned in its previous report (S/2018/812, annex 33). The Panel concluded that
                        the system was a Bulgarian-manufactured Samel-90 mobile IED jammer radio
                        frequency inhibition system (see annex 41), 101 and continues to investigate the supply
                        chain.
                        99. The Panel observed an unusual antenna array on the roof of the Tripoli Security
                        Directorate. GNA stated that it was for “enhancing communications with the
                        transmitters of the traffic and licensing unit” in Tripoli. 102 However, the antenna array
                        is not the type normally used for VHF or HF communications with law enforcement
                        agencies. The Panel finds that the antenna array shares many characteristics with
                        those used for the inhibition and jamming of unmanned aerial vehicles (see annex
                        42). The Council should determine whether such active jamming systems fall within
                        the category of “military equipment” and thus whether an end user certificate should
                        be required for any future transfers of such systems (see recommendation 5).
                        100. Reports are also emerging of Global Positioning System (GPS) interference over
                        western Libya. 103 Confidential sources informed the Panel that, between 14 and
                        24 July 2019, their air assets had identified GPS jamming out to 50 nautical miles
                        from the coast of Libya, from Mitiga to Misrata. As the jamming was omnidirectional,
                        the coastal hinterland of Libya was also subjected to GPS jamming to an inland
                        distance of at least 50 nautical miles. The Panel continues to investigate this issue.




            __________________
                   99
                      Identified in the area of 29°13'04"N, 15°59'07"E.
                  100
                      Authoritative source: https://janes.ihs.com.
                  101
                      See https://www.samel90.com/en/products/category/jammer-solutions-military-equipment-
                      surveillance-systems/jammer-solutions/mobile-jammer.
                  102
                      Safa Alharathy, “Tripoli Security Directorate denies installation of drone antenna over its
                      building”, Libya Observer, 3 August 2019. Available at www.libyaobserver.ly/inbrief/tripoli-
                      security-directorate-denies-installation-drone-antenna-over-its-building.
                  103
                      See https://twitter.com/MohsenDerregia/status/1171460418969071618 , 10 September 2019; and
                      United States Maritime Advisory 2019-013.

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              E.         Land service support and training

                         Haftar Armed Forces in Jordan
                         101. The Panel noted that, during April 2019, individuals from the Tariq Bin Ziyad
                         battalion of HAF graduated from a training course(s) at the Prince Hashem bin al
                         Hussein School for Special Operations 104 in Jordan (see figure IV and annex 43). The
                         Panel finds that by providing training within its territory, Jordan is in non -compliance
                         with paragraph 9 of resolution 1970 (2011).

 Figure IV
 General Khayri al Tamimi, Head of the Libyan National Army General Commander’s Office,
 during a visit to the training school in Jordan




 Source: https://m.facebook.com/story.php?story_fbid=847197048962469&id=253215761693937 .


              F.         Aviation: fixed- and rotary-wing aviation assets

                         102. No asset transfers were identified as having taken place in 2019. Previously
                         unserviceable aircraft were brought back to operational status 105 through the
                         cannibalization of other aircraft, but some were subsequently lost due to enemy action




              __________________
                   104
                         32°0'55"N, 36°07'49"E.
                   105
                         For example, the GNA-AF Mirage F1 and the HAF MiG-23U.

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                                                                                                                        S/2019/914

                       or systems failures. 106 For a list of aviation assets available to the parties to the
                       conflict, see annex 44.


            G.         Aviation: unmanned combat aerial vehicles 107

                       103. During 2019, GNA-AF and HAF used medium-altitude long-endurance
                       unmanned combat aerial vehicles (UCAVs) 108 to conduct air strikes. Since May 2019,
                       the “drone war” has escalated, and for both parties to the conflict UCAVs are now the
                       main means to conduct air strikes and drop precision -guided munitions. Irregular
                       fixed-wing air strikes by the HAF Sukhoi SU-22 were, however, noted on 15 August
                       2019 against Zuwarah, 109 and on 27 September 2019 against GNA-AF in Tripoli. 110
                       104. The operation 111 and maintenance of UCAVs are complex issues, requiring
                       months of technical and simulator training. This is beyond the current known
                       capability of the military units affiliated with GNA-AF or HAF. 112 “On the job”
                       training of local personnel in parallel with operations is probable; but it is very
                       unlikely they will reach full operational capability in the near future.
                       105. For a summary of all identified UCAV and unmanned aerial vehicle (UAV)
                       assets in Libya, see annex 45. The main features of UCAVs currently in use are
                       summarized in table 5.




            __________________
                 106
                     For example, a GNA-AF Mirage F1 (402) was lost due to engine failure near Al Watyah on
                     24 April 2019, and a GNA-AF Mirage F1 (5021) was shot down in May 2019. A MiG-23U
                     operated by HAF was shot down on 14 April 2019.
                 107
                     A summary of all unmanned aerial vehicles (also known as drones) can be found in annex 45.
                 108
                     An unmanned aerial vehicle with the capability to deliver ordnance against ground targets.
                 109
                     See annex 17.
                 110
                     See https://libya.liveuamap.com/en/2019/27-september-earlier-this-morning-an-lna-airstrike-
                     targeted, 27 September 2019.
                 111
                     In an interview on 30 September 2019, after his capture in Gharyan on or around 25 August
                     2019, LNA Colonel Faouzi bou H'rara admitted to an Emirati presence in the Rajma -based HAF
                     operations room (in the area of 32°05'06.82"N, 20°20'25.34"E). Available at
                     www.facebook.com/watch/?v=2580407078645259.
                 112
                     Six Emirati military personnel were killed at Jufra airbase on 13 September 2019. See Khaleej
                     Times, “6 UAE soldiers martyred in military operations”, 13 September 2019, available at
                     www.khaleejtimes.com/news/government/6-uae-soldiers-martyred-in-military-operations; and
                     Khaleej Times, “Bodies of six martyred servicemen arrive in UAE”, 15 September 2019,
                     available at www.khaleejtimes.com/uae/abu-dhabi/bodies-of-six-martyred-servicemen-arrive-in-
                     uae. The rank profiles of a Captain, four Warrant Officer s and a Sergeant would not be atypical
                     for a UCAV operations team.

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 Table 5
 Comparison of unmanned combat aerial vehicles used in Libya
 Type                    Manufacturer     Entity             Range               Altitude           Endurance            Payload


 Bayraktar TB2           Baykar           GNA-AF             Less than           6,860 m            Less than 24         55 kg
                         Makina, a                           200 kmb                                hours
                                                                                                                         2 x Roketsan
                         Turkey
                                                                                                                         Smart Micro
                                                                                                                         Guided
                                                                                                                         Munitions
                                                                                                                         (MAM-L), c or
                                                                                                                         8 x MAM-Cd

 Wing Loong II           Aviation         HAF                200 km using        Greater than       Greater than         480 kg Blue
                         Industry                            line of sight       9,000 m            20 hours             Arrow
                         Corporation                         or greater                                                  (BA-7) air-to-
                         of China e                          than                                                        surface
                                                             2,000 km                                                    missiles
                                                             using satellite
                                                             data link f

   a
     See https://baykardefence.com.
   b
     Extended by the deployment of relay units in late third quarter 2019, allowing for a range of 150 to 200 km from each relay
     unit.
   c
     See http://www.roketsan.com.tr/en/product/mam-l-smart-micro-munition/.
   d
     See http://www.roketsan.com.tr/en/product/mam-c-smart-micro-munition/.
   e
     See http://enm.avic.com/index.shtml.
   f
     Allows coverage over entirety of Libya.

                      106. Analysis of the capabilities of each UCAV system shows that HAF currently has
                      a significant tactical advantage, in that the Wing Loong II UCAV can deliver over
                      eight times the weight of explosive ordnance against ground targets than the GNA -AF
                      Bayraktar TB2 can. More importantly, the Panel has confirmed that the Wing Loong
                      II UCAV is being operated using a satellite data link, which means it has the capability
                      to cover all of Libya. This provides HAF with a full offensive capability and allows
                      it to achieve local air superiority. 113
                      107. The GNA-AF-operated Bayraktar TB2 UCAV could initially only be used in a
                      defensive strike capability against targets in the area, as shown in map 2. The
                      operational range of the Bayraktar TB2 UCAV was extended to approximately 150 km
                      outside GNA-AF-controlled territory by the deployment of ground relay stations in
                      late third quarter 2019. 114 This then brought the HAF airbase at Jufra within Bayraktar
                      TB2 UCAV range. GNA-AF are also trying to reduce the high attrition rate of the
                      Bayraktar TB2 UCAV by deploying it from roads rather than from fixed airbases,
                      which have proven vulnerable to HAF interdiction strikes.




              __________________
                113
                    Defined as the degree of dominance in [an] air battle … that permits the conduct of operations
                    by one side and its related land, sea and air forces at a given time and place without prohibitive
                    interference by opposing air forces.
                114
                    Confidential source; and Paul Iddon, “Turkey is fighting a formidable drone war in Libya”,
                    Ahval News, 14 September 2019, available at www.ahvalnews.com/libya/turkey-fighting-
                    formidable-drone-war-libya.

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                                                                                                                             S/2019/914

                       Map 2
                       Range comparison of unmanned combat aerial vehicles used in Libya




                       Source: Geospatial Information Section, according to specifications by the Panel of Experts on
                          Libya.

            1.         Wing Loong II unmanned combat aerial vehicles
                       108. In paragraph 124 of its 2017 report (S/2017/466) the Panel noted at least one
                       United Arab Emirates Wing Loong I UCAV based at Al-Khadim airbase since at least
                       24 June 2016. 115 The Wing Loong series of UCAVs were all supplied to the United
                       Arab Emirates after 2011. On 20 April 2019, an air strike took place on the south -
                       west approaches to Al Aziziya. 116 The Panel learned from the images of the recovered
                       remnants that the ordnance used for the strike was a Blue Arrow BA-7 (LJ-7) air-to-
                       surface missile (see annex 46). The type of weapons system was then confirmed from
                       analysis of imagery obtained by UNSMIL from subsequent attacks at Camp Moz
                       (20 April 2019), Ain Zara (21 April 2019) and Wadi Rabia (25 April 2019).
                       109. The BA-7 air-to-surface missile is ballistically paired 117 to be delivered by the
                       Wing Loong II UCAV, and by no other aviation asset identified in Libya to date (see
            __________________
                 115
                     Confirmed by Jeremy Binnie, “UAE’s forward operating base in Libya revealed”, Jane’s Defence
                     Weekly, 27 October 2016.
                 116
                     32°31'50"N, 13°01'17"E.
                 117
                     Ballistic pairing is a process that integrates a weapons system into an airframe and then qualifies
                     it for operational use. It requires software upgrades to the delivery system avionics, sighting and
                     release systems to ensure that when the missile is aimed and delivered to a target that it actually
                     follows the correct ballistic trajectory to accurately strike that target. The use of instrumented
                     range facilities is needed for live firing trials to ensure accuracy and confidence in the integrated
                     systems.

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                         annex 44). Final confirmation of the Wing Loong II/BA-7 pairing operating in support
                         of HAF occurred on 3 August 2019, when a crashed Wing Loong II UCAV, with five
                         BA-7 missiles in its immediate vicinity, was identified at Abu Ghrayn 118 (see annex
                         47). 119 Three serial numbers were identified from imagery of the BA -7 missiles, and
                         a tracing request was sent to the country of manufacture. Subsequent satellite imagery
                         clearly shows Wing Loong UCAVs operating at Jufra airbase (figures V and VI), and
                         on 23 September 2019 imagery was posted of a missile launch from a Wing Loong
                         UCAV operating over western Libya (figure VII).

              Figure V                                      Figure VI                                 Figure VII
              Wing Loong II at Jufra                        Wing Loong II at Jufra                    Wing Loong II over Tripoli
              (28 August 2019) a                            (19 September 2019) b                     (23 September 2019) c




              Source: Extract from confidential             Source: https://libya.liveuamap.com/     Source: https://libya.liveuamap.com/
                 imagery.                                      en/2019/19-september-satellite-          en/2019/23-september-uav-
                                                               image-of-uae-wing-loong-ii-              wing-loong-ii-firing-a-rocket-
                                                               taxiing, 19 September 2019.              over-tripoli, 23 September 2019.
               a
                   29°12'35.79"N, 16° 0'1.25"E
               b
                   29°12'20.56"N, 15°59'52.60"E.
               c
                   Reportedly overhead 29°12'20.56"N, 15°59'52.60"E.

                         110. Panel investigations have confirmed that the Wing Loong II UCAV was not
                         directly supplied from the manufacturer or by the country of manufacture. 120 The
                         Panel thus finds that the United Arab Emirates is in non-compliance with paragraph 9
                         of resolution 1970 (2011) for the post-delivery transfer of Wing Loong II UCAV and
                         Blue Arrow (BA-7) systems to Libya.

              2.         Bayraktar TB2 unmanned combat aerial vehicles
                         111. On 14 May 2019, HAF fighters shot down a UAV in the vicinity of Jufra but the
                         type could not be identified from the remnants. 121 On 29 May 2019, GNA-AF released
                         video imagery of a precision UCAV air strike against HAF in Qasr bin Ghashir. 122


              __________________
                   118
                       Multiple media sources, including Khalid Mahmoud, “Libya: LNA downs several drones”,
                       Asharq Al-Awsat, 4 August 2019, available at https://aawsat.com/english/home/article/
                       1843036/libya-lna-downs-several-drones. Location in area of 31°26'32"N, 15°14'12"E.
                   119
                       The Panel has yet to identify when the 2016 Wing Loong I was upgraded to the Wing Loong II
                       model in Libya.
                   120
                       Jane’s IHS reports that the BA-7 is only in operational use in three countries: China, Kazakhstan
                       and United Arab Emirates.
                   121
                       Libya Address, “LNA shoots down a drone of GNA’s militias”, 14 May 2019. Available at
                       www.addresslibya.com/en/archives/45885.
                   122
                       See https://twitter.com/Oded121351/status/1133985226290597888.

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                    Open-source information subsequently reported that the first batch of four Bayraktar
                    TB2 UCAVs was initially supplied to GNA-AF, possibly using the MV Amazon. 123
                    112. On 4 June 2019, confidential sources first informed the Panel that UCAVs were
                    being assembled at Misrata. On 9 June 2019, the type was identified as the Bayraktar
                    TB2 UCAV, manufactured by Baykar Makina 124 of Turkey, based on video imagery
                    uploaded onto social media. 125 Since then there have been regular and routine postings
                    on social media of Bayraktar TB2 UCAVs operating out of Mitiga and Misrata. 126 The
                    Panel is aware that two Bayraktar TB2 UCAVs were destroyed by HAF air strikes
                    against the Misrata air academy on 6 and 7 June 201 9, 127 with a third shot down by
                    HAF on 30 June 2019, 128 but combat losses have reportedly been much higher (see
                    annex 48).
                    113. A second batch of probably eight Bayraktar TB2 UCAVs was transferred in late
                    May and early June 2019 to replace combat losses and enhance operational
                    capability. 129 HAF responded to this on 15 August 2019 by planning and directing a
                    precision strike against the hangers at Misrata air academy (see figure VIII) that had
                    recently been built to support the Bayraktar TB2 UCAV. Further HAF att acks took
                    place across the wider airport environs on 18 August 2019 in an attempt to destroy
                    more of the new UCAV infrastructure and support facilities. 130




            __________________
              123
                  Africa Intelligence, “Recep Tayyip Erdogan’s drones fly to Fayez Sarraj’s rescue”, 13 June 2019.
                  Available at www.africaintelligence.com/mce/corridors-of-power/2019/06/13/recep-tayyip-
                  erdogan-s-drones-fly-to-fayez-sarraj-s-rescue,108361236-art. The article also claims four UCAV
                  were initially supplied, while secondary source claims six were initially supplied.
              124
                  www.ssb.gov.tr/Website/contentList.aspx?PageID=365&LangID=2.
              125
                  See https://twitter.com/Mansourtalk/status/1137718306306215936; and
                  https://twitter.com/ly_box/status/1137857595862130688.
              126
                  See, for example, Libyan Address, “The Address Journal reveals the reality of using Mitaga
                  Airport in Tripoli for military purposes”, 28 August 2019, available at www.addresslibya.com/
                  en/archives/49934, which contains a video of a Bayraktar TB2 on the runway.
              127
                  Africa Intelligence, “Recep Tayyip Erdogan’s drones fly to Fayez Sarraj’s rescue”.
              128
                  Almarsad, “More Turkish-made drones delivered to Misrata for the GNA”, 9 July 2019.
                  Available at https://almarsad.co/en/2019/07/09/more-turkish-made-drones-delivered-to-misrata-
                  for-the-gna/.
              129
                  Ibid; and Africa Intelligence, “Fayez Sarraj to get eight more Turkish drones”, 4 July 2019,
                  available at www.africaintelligence.com/mce/corridors-of-power/2019/07/04/fayez-sarraj-to-get-
                  eight-more-turkish-drones,108364176-art.
              130
                  Ahval, “Libya’s LNA targets Turkish base under construction in Misrata”, 19 August 2019,
                  available at https://ahvalnews.com/libya-turkey/libyas-lna-targets-turkish-base-under-
                  construction-misrata; Almarsad, “New photos reveal the reasons for the LNA air strikes at
                  Misrata air college”, 18 August 2019, available at https://almarsad.co/en/2019/08/18/new-
                  photos-reveal-the-reasons-for-the-lna-air-strikes-at-misrata-air-college/; and https://twitter.com/
                  il_kanguru/status/1167498601511174150.

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 Figure VIII
 Misrata air academy (14 May–6 July 2019)




                      114. The Panel has identified a series of 10 flights by two Antonov An-12BK aircraft
                      (registrations UR-CAH and UR-CNT), and one Antonov An-12BP aircraft
                      (registration UR-CGW) that delivered 53.6 tons 131 of “drone parts” and other UAV
                      components from Istanbul, Turkey, to Misrata between 27 May and 16 June 2019. For
                      these flights, the aircraft were all chartered by the Turkish office of ProAir -Charter-
                      Transport GmbH 132 and operated by Ukraine Air Alliance PJSC 133 of Ukraine.
                      115. The cargo manifests and air waybills identified the consignor for all four
                      transfers as the Embassy of Libya in Ankara and the consignee as the Ministry of the
                      Interior, Libya. Ukraine Air Alliance PJSC specifically instructed the Turkish office
                      of ProAir-Charter-Transport GmbH to ensure that all air carriage documentation was
                      clearly marked “NO DG, 134 NO WEAPONS, NO AMMO”, which is not an
                      International Civil Aviation Organization requirement for such documentation. The
                      aircraft Mode S transponders were often not visible on commercial aviation tracking
                      websites once the aircraft left Turkish air space. Full details of the case can be found
                      in annex 49.
                      116. The Panel finds that these flights transferred components for disassembled
                      Bayraktar TB2 UCAVs, and therefore Turkey, Ukraine Air Alliance PJSC, ProAir -
                      Charter-Transport GmbH and the carriers’ agent Plures Air Cargo 135 were all in
              __________________
                131
                    The word “ton” in United Nations documents refers to “metric tonne”.
                132
                    See https://www.proair.de/en.
                133
                    See www.uaa-avia.com.
                134
                    Dangerous goods.
                135
                    See https://www.plures.com.tr/en.

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                    non-compliance with paragraph 9 of resolution 1970 (2011) on the transport of
                    military materiel to Libya.
                    117. On 6 July 2019, reports emerged that part of the second batch of eight Bayraktar
                    TB2 UCAVs was delivered to Misrata 136 by an IL-76TD aircraft (registration
                    UR-COZ) operated by SkyAviatrans LLC 137 (Ukraine), and owned and also
                    contracted by Volaris Business LP 138 (United Kingdom of Great Britain and Northern
                    Ireland). Panel investigations found that the aircraft made six flights from Ankara to
                    Misrata from 3 to 21 July 2019 (see figure IX). The cargo manifests and air waybills
                    again indicated that the consignor for all six transfers was the Embas sy of Libya in
                    Ankara and the consignee was the Ministry of the Interior, Libya. ProAir-Charter-
                    Transport GmbH again chartered the aircraft. Full details of the case can be found in
                    annex 50.
                    118. The Panel cannot confirm that these flights transferred UCAV components, but
                    finds that they did transfer military materiel, and therefore that Turkey, ProAir -
                    Charter-Transport GmbH and the carriers’ agent Plures Air Cargo were all in
                    non-compliance with paragraph 9 of resolution 1970 (2011). On this occasion the
                    Panel does not find SkyAviatrans LLC or Volaris Business LP in non-compliance, but
                    does consider the due diligence protocols and procedures of the companies to be
                    totally inadequate and not fit for purpose.
                    119. On 30 July 2019, the Aviation Security Council of the State Aviation
                    Administration of Ukraine banned flights by all Ukrainian-registered aircraft into
                    Libya due to “the worsening security situation”. 139 The SkyAviatrans IL-76TD
                    aircraft (registration UR-COZ) gained an exemption from this ban from the Ukrainian
                    authorities by claiming they were operating under a contract with the Libyan Red
                    Crescent. The aircraft was subsequently destroyed by an HAF air attack against the
                    Misrata air academy 140 on 5 August 2019 (see figure X). The Panel is not yet
                    convinced of the veracity of the documentation supplied by SkyAviatrans to the
                    Ukrainian authorities to obtain the exemption 141 and continues to investigate.




            __________________
              136
                  See https://twitter.com/BabakTaghvaee/status/1147455606120419328 .
              137
                  See www.skyaviatrans.com.ua.
              138
                  See https://beta.companieshouse.gov.uk/company/SL026852.
              139
                  Permanent Mission of Ukraine to the United Nations, 1 August 2019 (confiden tial
                  communication to the Panel); and https://avia.gov.ua/informatsiya-shhodo-prijnyatih-rishen-radi-
                  z-bezpeki-aviatsiyi-derzhavnoyi-aviatsijnoyi-sluzhbi-ukrayini-u-zv-yazku-iz-zagostrennyam-
                  vijskovo-politichnoyi-situatsiyi-v-respublitsi-liviya/.
              140
                  32°20'34.07"N, 15°02'35.89"E.
              141
                  Owing to the following reasons: (a) the Libyan Red Crescent has not responded to the Panel’s
                  enquiries; (b) although signed, no name or appointment appears on the letter; and (c) the social
                  media accounts of the Libyan Red Crescent show no activity for the past two years.

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  Figure IX                                                       Figure X
  IL-76TD aircraft at Misrata air academy                         Air strike at Misrata air academy
  (6 July 2019)                                                   (5 August 2019)




  Source: Confidential.                                           Source: Digital Globe GeoEye 1 WorldView2, 11 August 2019.

                      120. The high attrition rate suffered by Bayraktar TB2 UCAVs as a result of HAF air
                      and Wing Loong II UCAV strikes led to the deployment of a third batch of Bayraktar
                      TB2 UCAVs to Misrata in late August 2019. 142
                      121. The Panel has written to Turkey and GNA requesting further information
                      regarding the transfer to Libya of Bayraktar TB2 UCAVs in non-compliance with
                      paragraph 9 of resolution 1970 (2011), but received no response.


          H.          Aviation: small unmanned aerial vehicles

                      122. The Panel has identified the use of, for the first time in Libya, small UAVs in
                      an intelligence, surveillance and reconnaissance role by both GNA -AF and HAF
                      during 2019 (see table 6 and annex 51). All of these vehicles are almost certainly
                      present in Libya in non-compliance with paragraph 9 of resolution 1970 (2011), and
                      investigations into the supply chains continue.

 Table 6
 Small intelligence, surveillance and reconnaissance unmanned aerial vehicles used in Libya a
 Entity           Type                       Remarks


 GNA-AF           Orbiter-3 b                Identified from imagery of crashed UAV remnants at Sirte on 29 July 2019

 HAF              Orlan-10 c                 Identified from imagery of crashed UAV remnants at Sirte on 23 April 2019


              __________________
                142
                      Confidential source.

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                                                                                                                        S/2019/914


 Entity           Type                     Remarks


 HAF              Mohadjer variant d       First seen in Libya on or around 16 October 2017 e
 HAF              Yabhon-HMD f             Now manufactured by Air Target Systems

   a
     See also annex 45.
   b
     See https://aeronautics-sys.com.
   c
     See https://www.stc-spb.ru.
   d
     Now incorporated within the Iran Aviation Industries Organization. See https://en.wikipedia.org/wiki/
     Iran_Aviation_Industries_Organization (www.mod.ir currently inactive).
   e
     Arnaud Delalande, “Someone gave Iranian-made drones to Libya’s Tobruk regime: Iran or Sudan?” War Is Boring, 16 October
     2017. Available at https://warisboring.com/who-gave-iranian-made-drones-to-libyas-tobruk-regime/.
   f
     See http://www.ats-ae.com/.


            I.         Aviation: commercial drones

                       123. All parties to the conflict are using low-endurance commercial drones, such as
                       the DJI Phantom 4, for intelligence, surveillance and reconnaissance tasks at the
                       tactical level. 143 On 30 September 2019, a Chilong 144 CL-11 VTOL long-endurance
                       UAV crashed near Tarhuna 145 (see figures XI and XII). This was the first example of
                       a widely available high-specification commercial UAV being used in Libya in a
                       military intelligence, surveillance and reconnaissance (ISR) role. Such equipment
                       does not fall under the auspices of paragraph 9 of resolution 1970 (2011) (see
                       recommendation 5).

  Figure XI                                                         Figure XII
  Crashed Chilong CL-11 VTOL UAV near Tarhuna                       Manufacturer’s image of Chilong
  (30 September 2019)                                               CL-11 VTOL UAV




  Source: https://twitter.com/Oded121351/status/                    Source: https://www.ecplaza.net/products/chilong-11-cl-11-
     1178609339776544768, 30 September 2019.                           hybrid-vtol_4419852.




            __________________
                 143
                     Borzou Daragahi, “Libya: UN-backed government defending capital from warlord Haftar now
                     using drones on front lines”, Independent (London), 15 May 2019. Available at
                     www.independent.co.uk/news/world/middle-east/libya-capital-khalifa-haftar-drones-war-khaled-
                     el-meshri-a8915246.html.
                 144
                     Beijing Sagetown Technologies Company Limited (see www.sageuav.com). It is referred to as
                     the YFT-CZ35 VTOL when it is marketed for military purposes (see http://www.digitaleagle-
                     uav.com/Hybrid-Engine-VTOL-Fixed-Wing-UAV-Drone-pd45577057.html).
                 145
                     32°25'51.24"N, 13°37'12.45"E.

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                J.   Air transfers and supply

                1.   Military cargo aircraft
                     124. In its previous report (S/2018/812, para. 89) the Panel reported on the
                     unexplained movement of large military cargo planes into Libya. The Panel continued
                     to monitor these military flights, but no violations of the arms embargo have ye t been
                     identified.

                2.   Civilian aircraft in support of the military operations of the forces affiliated
                     with the Government of National Accord
                     125. Arms transfers to Libya by air were routine during the reporting period, and
                     detection or interdiction was almost impossible without the implementation of an
                     inspection regime at the country’s international airports and military airbases. The
                     majority of shipments were from airports located within the Member State that was
                     supplying the particular weapons, and cooperation with Panel investigations in these
                     instances was non-existent (see recommendation 3).
                     126. The Panel has identified a range of civilian-registered aircraft that routinely
                     operate, or have recently operated, as military cargo aircraft in support of GNA-AF
                     (see summary at table 7). Most are in non-compliance with paragraph 9 of resolution
                     1970 (2011).

 Table 7
 Civilian aircraft operating in support of the Government of National Accord
 Registration        Type                    Operator                          Remarks


 UR-CAH              Antonov An-12BK         Ukraine Air Alliance PJSC a       See paragraphs 114 to 116 and annex 49

 UR-CGW              Antonov An-12BP         Ukraine Air Alliance PJSC         See paragraphs 114 to 116 and annex 49

 UR-CNT              Antonov An-12BK         Ukraine Air Alliance PJSC         See paragraphs 114 to 116 and annex 49
 UR-COZ              Illuyshin IL-76TD       SkyAviatrans LLC, b for           See paragraphs 117 to 119 and annex 50
                                             Volaris Business LP c

   a
     See http://www.uaa-avia.com.
   b
     See http://skyaviatrans.com.ua.
   c
     See company details at https://beta.companieshouse.gov.uk/company/SL026852.

                3.   Civilian aircraft in support of the military operations of the Haftar
                     Armed Forces
                     127. The Panel has identified a range of civilian-registered aircraft that routinely
                     operate, or have recently operated, as military cargo aircraft or support aircraft in
                     support of HAF, in non-compliance with paragraph 9 of resolution 1970 (2011) (see
                     summary at table 8 and annex 52 for details).




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 Table 8
 Civilian aircraft operating in support of the Haftar Armed Forces
 Registration                            Type                      Operator                         Remarks


 ER-ICS                                  Ilyushin IL-18D           Sky Prim Air SRL a               Excluded from Moldovan
                                                                                                    registry on 8 July 2015
                                                                                                    Unregistered and making
                                                                                                    internal flights only

 UP-AN601                                Antonov An-26             Space Cargo                      Removed from
                                                                   Incorporated b                   Kazakhstan registry on
                                                                                                    8 July 2015
                                                                                                    Unregistered and making
                                                                                                    internal flights only

 UP-17601                                Ilyushin IL-76TD          Sigma Airlines c                 –

 UP-17645                                Ilyushin IL-76TD          Sigma Airlines                   Seen 11 January 2019.
                                                                                                    Seen flying outside Libya
                                                                                                    since April 2017

 UR-CMP                                  Ilyushin IL-76TD          Deek Aviation FZE d              Air operating certificate
                                                                                                    revoked on 30 July 2019 e

 UR-CRC                                  Ilyushin IL-76TD          Deek Aviation FZE                Air operating certificate
                                                                                                    revoked on 30 July 2019

   a
     No contact details have been identified, and ownership may have been transferred to an as yet unidentified company.
   b
     See http://spacecargoinc.com.
   c
     See https://airsigma.pro.
   d
     The company website, www.deekaviation.com, has lapsed.
   e
     See https://open4business.com.ua/ukraine-suspends-operator-certificate-of-europe-air-carrier/.

                        128. The relevant Member States’ aviation authorities and the Libyan Civil Aviation
                        Authority have confirmed to the Panel that the aircraft flying under registrations
                        ER-ICS and UP-AN601 are not registered, 146 and thus both aircraft are operating in
                        contravention to the Convention on International Civil Aviation.
                        129. The Ilyushin IL-76TD aircraft (registered UR-CMP and UR-CRC) were both
                        destroyed by a GNA-AF directed Bayraktar TB2 UCAV strike against Jufra airbase
                        on 25 July 2019 (see figures XIII and XIV).




                __________________
                  146
                        Letter to the Panel dated 15 May 2019.

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  Figure XIII                                                                 Figure XIV
  Destroyed IL-76TD at Jufra airbase                                          Destroyed IL-76TD at Jufra airbase
  (26 July 2019)                                                              (26 July 2019)




  Source: European Space Imaging press release of 3 August 2019.              Source: https://mobile.twitter.com/Arn_Del/
                                                                                 status/1155525947040378880, 28 July 2019.

                      130. The Panel finds that Deek Aviation FZE, Sky Prim Air SRL, Space Air Cargo
                      Incorporated and Sigma Airlines are all in non-compliance with paragraph 9 of
                      resolution 1970 (2011) for their involvement in the transfer of military materiel to
                      HAF in Libya.


          IV. Unity of State institutions
          A.          Central Bank of Libya

                      131. In its 2017 report (S/2017/466, para. 213 and annex 56) the Panel reported that
                      bank notes printed on behalf of the eastern Central Bank of Libya by the Goznak JSC
                      company 147 in the Russian Federation were approved for circulation by the Presidency
                      Council of GNA on 26 May 2016, against the advice of the Central Bank of Libya.
                      The official notes are printed by De La Rue Limited. 148 The Central Bank of Libya
                      had opposed the circulation of the currency printed by Goznak based on: (a) the fact
                      that it was illegal currency and thus a contravention of the Banks Act (Law No. 1 of
                      2005 as amended by Law No. 46 of 2012); and (b) advice from international financial
                      institutions. The Central Bank’s position, which it still holds, was that the existence
                      of parallel printed currency notes is detrimental to the economy as it causes confusion,
                      undermines confidence in the currency and increases the likelihood of counterfeiting.
                      A summary of the differentiating security features can be found in annex 53.
                      132. On 14 November 2018, the Governor of the eastern Central Bank, Ali Al -Habri,
                      denied that the eastern Central Bank had any intention of printing new bank notes in
                      the Russian Federation. In contradiction, on 20 November 2018, the eastern Central
                      Bank adviser, Musbah Al-Ekari, confirmed to a Libyan television channel the total


              __________________
                147
                      See www.goznak.ru.
                148
                      See www.delarue.com.

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                           annual amounts of parallel currency printed by Goznak that the eastern Central Bank
                           had introduced into circulation (see table 9). 149

 Table 9
 Parallel currency circulated by the eastern Central Bank of Libya, 2016–2018
                                                 Denomination                      Value                       Value     Gross domestic product
 Date             Printer                       (Libyan dinars)          (Libyan dinars)      (United States dollars)             (percentage)


 2016             Goznak JSC                           20, 50               4.0 billion               2.89 billion a                   11.03 b
                                                                                                                     c
 2017             Goznak JSC                                 –              4.0 billion               2.99 billion                       7.85 d
 2018             Goznak JSC                                 –              1.7 billion               1.23 billion e                     2.55 f

        Total                                                               9.7 billion               7.11 billion                        6.31

   a
     Data from www.xe.com as at 1 September 2016 ($1.00 = LD 1.3843).
   b
     Gross domestic product (GDP) = $26.2 billion. Data from World Bank.
   c
     Data from www.xe.com as at 1 September 2017 ($1.00 = LD 1.3351).
   d
     GDP = $38.1 billion. Data from World Bank.
   e
     Data from www.xe.com as at 1 September 2018 ($1.00 = LD 1.3777).
   f
     GDP = $48.3 billion. Data from World Bank.

                           133. On 23 September 2019, the Panel was informed of the provisional withholding
                           in transit, by a Member State, of two ISO containers containing 29 million bank notes
                           (LD 50 denomination) with a face value of LD 1.45 billion. 150 These notes were
                           printed by the Goznak JSC company under a contract with the eastern Central Bank
                           dated 2 April 2018.
                           134. The Member State consulted the Central Bank of Libya, and on 9 October 2019
                           the Central Bank requested that the Member State take the necessary actions and
                           procedures, including but not limited to the seizure of the shipment, to prevent its
                           illegal use.
                           135. The Panel has noted open-source reports that a further LD 2 billion in currency
                           was flown into Benina international airport on or around 28 September 2019. The
                           Panel continues to investigate this issue. 151


                B.         Challenges to the integrity of the National Oil Corporation

                           136. On 26 December 2018, Almabruk Sultan replaced Faraj Said as the new chair
                           of the eastern National Oil Corporation, an appointment made by the interim
                           government. Although during the first months after his appointment the eastern
                           National Oil Corporation remained unobtrusive, on 12 May 2019 a letter signed by a
                           board of directors of the eastern National Oil Corporation was sent to market
                           operators (see annex 54). This letter stated that the current chair of the National Oi l
                           Corporation was now Almabruk Sultan and that the National Oil Corporation
                           headquarters were in Benghazi. In response to this communication, the Permanent
                           Mission of Libya to the United Nations reiterated that the sole legitimate authority to
                           export crude oil is the National Oil Corporation based in Tripoli and chaired by
                __________________
                     149
                         Abdulkader Assad, “Libya’s parallel central bank admits printing 9.7 billion dinar banknotes in
                         Russia”, Libya Observer, 20 November 2018. Available at www.libyaobserver.ly/economy/
                         libyas-parallel-central-bank-admits-printing-97-billion-dinar-banknotes-russia.
                     150
                         The Panel submitted sample notes for independent analys is, and the finding on 4 October 2019
                         was that they the notes were virtually identical, though 2 mm less in length, to the notes
                         examined in 2016 and reported in the report of the Panel for 2017 ( S/2017/466).
                     151
                         See www.alsaaa24.com/2019/09/30/ ‫ب‬-‫إلى‬-‫روسيا‬-‫من‬-‫ليبية‬-‫عملة‬-‫وصول‬-‫ الضراط‬/; and
                         www.facebook.com/watch/?v=2417705204974329.

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                      Mustafa Sanalla (see annex 55). On 9 October 2019, the Panel received another letter
                      from a board of directors of the eastern National Oil Corporation, the content of which
                      continued to challenge the legitimacy of the National Oil Corporation in Tripoli (see
                      annex 56).
                      137. The Panel notes that, in addition to the oil wells, export terminals and related
                      facilities in the east, HAF retains its control of the Sharara 152 and Al Feel 153 oilfields
                      (see para. 12 above).
                      138. On 2 August 2019, the Panel met with Almabruk Sultan, who indicated that the
                      eastern National Oil Corporation would persist in trying to obtain recognition as a
                      legitimate institution, with the ultimate goal of gaining control over all Libyan oil.
                      He acknowledged that efforts had been made to export crude oil and he was confident
                      that the current dynamics in the country would pave the way for a situation in which
                      the eastern authorities would at some point be able to export crude oil. He stated that
                      no other vessels had been loaded since MT Distya Ameya (IMO 9077343)
                      (S/2017/466, para. 183).
                      139. In this context, the interim government and the eastern National Oil Corporation
                      appointed a board of directors for a “new” Brega Petroleum Marketing Company in
                      the east (“eastern Brega”), 154 in order to gain control of the distribution of fuel in their
                      territory (see annex 57). During October 2019 the Panel noted signs that the eastern
                      National Oil Corporation was preparing to take control of the Inspection and
                      Measurement Department of the National Oil Corporation in Benghazi, 155 together
                      with National Oil Corporation subsidiaries such as Sirte Oil 156 and the Ras Lanuf Oil
                      and Gas Processing Company. 157
                      140. Although the National Oil Corporation in Tripoli retains its leading institutional
                      role and still controls the exploitation of natural resources, the recent decisions of the
                      eastern National Oil Corporation are a clear threat to the inte grity of the National Oil
                      Corporation. The activities of the eastern National Oil Corporation are aggravating
                      the institutional split in the country and eroding the capacity of the National Oil
                      Corporation to perform its oversight duties over the export of crude oil.
                      141. The Panel is of the view that the eastern National Oil Corporation will continue
                      trying to export crude oil (see para. 144 below). It also remains possible that eastern
                      Brega will try to exercise control over fuel distribution and the imp ort of certain
                      refined products (see para. 147 below).




              __________________
                152
                    Middle East Monitor, “Eastern Libyan forces take over El Sharara oilfield”, 7 February 2019.
                    Available at www.middleeastmonitor.com/20190207-eastern-libyan-forces-take-over-el-sharara-
                    oilfield/.
                153
                    Almarsad, “El-Fil field taken by LNA”, 21 February 2019. Available at https://almarsad.co/en/
                    2019/02/21/el-fil-field-taken-by-lna/.
                154
                    Brega is a subsidiary of the National Oil Corporation responsible for the distribution of fuel in
                    the country. The “new” eastern Brega has in effect taken over all of the assets and distribution
                    networks previously controlled by the legitimate Brega offices in the east.
                155
                    The Inspection and Measurement Department of the National Oil Corporation plays a crucial
                    role, as it is the authority that conducts the final review of the quality and the quantity of the
                    crude oil being exported.
                156
                    See https://sirteoil.com.ly. Founded in 1981, its headquarters are located in the port of Marsa al
                    Brega.
                157
                    https://raslanuf.ly (URL no longer active). Founded in 1982, its headquarters are located in Ras
                    Lanuf.

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            C.         Libyan Investment Authority

                       142. Though the Libyan Investment Authority (LYe.001) in Tripoli has asserted its
                       control of the management of assets, the interim government has a parallel board of
                       trustees, which in turn appointed a board of directors. The current chair of that board
                       of trustees is Abdallah al-Thinni, prime minister of the interim government. The
                       current chair of that board of directors is Hussein Mohamed Hussein, who was
                       appointed on 17 September 2018. He is also party to a court case on the receivership
                       of certain assets of the Libyan Investment Authority in the United Kingdom (see
                       paragraph 196 below and annex 58).


            V. Prevention of illicit exports of petroleum, including crude oil
               and refined petroleum products, under resolutions
               2146(2014) and 2362 (2017)
            A.         Focal point pursuant to resolution 2146 (2014)

                       143. On 30 July 2019, the President of the Presidency Council of GNA appointed
                       Imad Salem Ben Rajab, the General Manager of the National Oil Corporation
                       International Marketing Department, as the focal point pursuant to resolution 2146
                       (2014) (see annex 59). Since then, he has been in close contact with the Panel,
                       providing relevant information regarding attempts to illicitly export crude oil and
                       refined petroleum products. The Panel is still of the opinion that the designation
                       mechanism contained in resolution 2146 (2014) is not implementable, primarily due
                       to the lack of resources of GNA (see recommendation 7).


            B.         Prevention of illicit exports of crude oil

            1.         Attempts to illicitly export crude oil
                       144. The Panel has documented four attempts to illicitly export crude oil by the
                       eastern National Oil Corporation. They include: (a) two agreements to allocate crude
                       oil, dated 8 April and 16 May 2019; (b) a document that appears to be the terms of
                       reference for a sales and purchase contract of unknown date, but valid until 20 July
                       2019; and (c) an inquiry in the market to charter a vessel to export 12 million barrels
                       of crude oil (see annex 60).
                       145. Of the four cases, the third was the most concerning. Contractual aspec ts of this
                       attempt were designed to allow the eastern National Oil Corporation to select the
                       shipping company for the cargo, which is contrary to the common market practice. 158
                       It would have allowed the eastern National Oil Corporation to choose an ad hoc
                       shipping company and/or nominate a vessel of a flag State sympathetic to the eastern
                       authorities (see recommendation 9).




            __________________
                 158
                       In the terms of reference for the sale and purchase contract it was indicated that the terms of sale
                       were “cost insurance and freight”, instead of the standard market practice of “free on board”. In
                       cost insurance and freight agreements, the responsibilities of the seller include transporting the
                       goods to the nearest port, loading them on a vessel, paying for the insurance and freight and
                       assuming responsibility for the goods until they reach the buyer ’s nearest port. In free on board
                       agreements, the buyer assumes all costs of shipping and also assumes all responsibility for the
                       goods once loaded.

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                         146. All attempts were aborted at an early stage. To the Panel’s knowledge, no vessel
                         was nominated to load the cargo. No vessels have been designated pursuant to
                         paragraph 11 of resolution 2146 (2014).

              2.         Attempt to illicitly import aviation fuel
                         147. At the end of August 2019, the Panel received information that the (at the time)
                         Brega office in the east had requested from its headquarters in Tripoli an unusually
                         large quantity of Jet A-1 aviation fuel. This request was refused by the National Oil
                         Corporation, which was not satisfied that Brega required such extra quantities of
                         aviation fuel to support normal commercial air operations in the east.
                         148. The Panel analysed the Jet A-1 consumption in eastern Libya during 2019 (see
                         annex 61), and identified that, although commercial aviation activity remained
                         relatively constant, fuel consumption rose in relation to the conflict dynamics. In
                         order to gain access to extra aviation fuel, representatives of the eastern National Oil
                         Corporation requested that an intermediary company, Byllis Energji of Fier,
                         Albania, 159 try to arrange the purchase of 20,000 tons of Jet A-1 fuel. 160 To the Panel’s
                         knowledge, no fuel was delivered.
                         149. The Panel considers that a unilateral import of this type by the eastern National
                         Oil Corporation would primarily be used to support HAF air force operations. In such
                         circumstances, the additional aviation fuel would be considered combat supplies and
                         thus fall under the scope of military materiel in paragraph 9 of resolution 1970 (2011).
                         150. The Panel finds that such an import conducted by the eastern National Oil
                         Corporation or any parallel institution in the east co nstitutes, per se, a major threat to
                         the integrity of the National Oil Corporation and will inevitably lead to further
                         unilateral decisions (see para. 136 above) (see recommendation 10).


          C.             Prevention of illicit exports of refined petroleum products

                         151. Although the smuggling of refined petroleum products from Libya has
                         decreased compared with previous years, it still continues at significant levels.
                         Substantial profits are generated for criminal networks located within and outside
                         Libya. The supporting logistics chain generates a basic source of income for many
                         individuals at each link of the chain across the country, particularly in the south and
                         far west, where there are few other economic opportunities.
                         152. During the reporting period, the HAF offensive against the Tripoli-based armed
                         groups brought fuel smuggling to a temporary halt. After a few weeks, however, the
                         networks involved resumed their operations, mainly in the west and south of the
                         country, albeit at a lower level than before. Fuel continues to be diverted by sea and
                         overland (see paras. 166 and 175 below).
                         153. Key Libyan institutions are actively involved in curbing fuel smuggling. The
                         Libyan Coast Guard, although constrained by its limited capabilities, remained
                         vigilant. Though it has not intercepted any vessels, the Coast Guard has increased its
                         operational awareness. On 7 February 2019, the Office of the Attorney General issued
                         arrest warrants for more than 100 individuals and owners of petrol stations involved


              __________________
                   159
                       Albanian company registration number: L717100281. Address: Rr. “Ibrahim Rugova”, Sky
                       Tower, Tirana, Albania. The Panel has a copy of the company’s memorandum of incorporation
                       for reference.
                   160
                       This equates to 25,322,000 litres at a mid-range specific gravity of 1.2661, which would sustain
                       consumption in the east at current rates for over three months.

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                 in smuggling and ordered the Central Bank of Libya to freeze the accounts of the
                 respective businesses (see annex 62).
                 154. Brega is responsible for the supply of fuel to the four distribution companies:
                 Sharara Oil Services, Libya Oil, Al Rahila and Turek Saria. In November 2018, in
                 order to improve the transparency of supply and public oversight, Brega started to
                 publish details of the fuel deliveries made to individual petrol stations (see para. 159
                 below).

            1.   Fuel distribution mechanism
                 155. In paragraphs 147 and 148 of its previous report (S/2018/812), the Panel
                 explained the system for fuel imports and how demand is determined. The Panel has
                 also noted a “major consumer’s committee” that meets every month to determine
                 import requirements. Brega has a key role, as it provides the demand estimates, which
                 are initially calculated as the average consumption of the past five years, plus 2 per
                 cent.
                 156. Once the refined products are imported, title and responsibility are tr ansferred
                 to Brega, which is in charge of supplying fuel to the four distribution companies.
                 Since early 2019, the four distribution companies have been required by Brega to
                 make advance payments for their fuel. No delivery notes to distribution companies
                 are issued by Brega’s supply department until its financial department confirms that
                 payment has been received. Although this measure was adopted at the national level,
                 eastern Brega has not complied with this internal procedure since the HAF offensive
                 began.
                 157. Brega has also developed a list of licensed “trusted” petrol stations, based on
                 “passing” a physical inspection. No fuel is delivered to any unlisted petrol station (see
                 annex 63). In September 2018, the new standards to regulate petrol stations became
                 fully binding (S/2018/812, para. 152). New licences to operate and sell fuel are
                 granted by the National Oil Corporation. However, petrol stations are operating in
                 contravention of the new standards by using pre-September 2018 National Oil
                 Corporation licences that have not been revoked. In December 2018, a single office
                 in the Ministry of Economy assumed responsibility for issuing the planning
                 permission to build new petrol stations, which is a reversion to the pre-2011 system.
                 158. Refined products, gasoline and diesel are delivered to the distribution
                 companies at LD 0.1016 ($0.072) per litre. Fuel is retailed to the petrol stations at
                 LD 0.14 ($0.099) per litre and sold to the public at LD 0.15 ($0.11) . Figures XV to
                 XVIII below provide an indication of the quantities of petroleum products imported
                 by the National Oil Corporation (2018 and 2019), locally refined (2015 to 2019) and
                 distributed by Brega (2010 to 2019). See annex 64 for detailed figures.




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              Figure XV
              Fuel imported by the National Oil Corporation, 2018–July 2019
              (Tons)

              450 000.00


              400 000.00                                                                                         Gasoline


                                                                                                                 Diesel
              350 000.00


              300 000.00


              250 000.00


              200 000.00


              150 000.00


              100 000.00


               50 000.00


                    0.00




              Source: Developed by the Panel of Experts on Libya using data from the National Oil Corporation.

              Figure XVI
              Fuel internally refined by the National Oil Corporation, 2015–2018
              (Tons)

               1 800 000.00


               1 600 000.00


               1 400 000.00


               1 200 000.00


               1 000 000.00
                                                                                                                  Gasoline
                                                                                                                  Diesel
                800 000.00                                                                                        Kerosene


                600 000.00


                400 000.00


                200 000.00


                       0.00
                                   2015                  2016                 2017                  2018

              Source: Developed by the Panel of Experts on Libya using data from the National Oil Company.




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            Figure XVII
            Fuel distributed by Brega, 2010–April 2019
            (Millions of litres)

            6 000



            5 000



            4 000


                                                                                                                Gasoline
            3 000
                                                                                                                Diesel
                                                                                                                Kerosene


            2 000



            1 000



                 0
                        2010       2011   2012   2013   2014     2015      2016     2017     2018     2019

            Source: Developed by the Panel of Experts on Libya using data from the Brega Petroleum Marketing Company.

            Figure XVIII
            Fuel distributed by Brega according to territory, 2010–2019 a
            (Millions of litres)




            Source: Developed by the Panel of Experts on Libya using data from the Brega Petroleum Marketing Company.
                Figures for 2019 are estimated.
              a
                HAF controls territory in the east and south of Libya, GNA controls the remainder.




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              2.         Distribution companies
                         159. The National Oil Corporation devolved responsibility to the four distribution
                         companies to ensure that they checked whether petrol stations met the new national
                         standards and supplied fuel only to those that did, which led to the finding that over
                         20 per cent of the existing petrol stations did not comply with the new r equired
                         national standards outlined in paragraph 157 above. However, the distribution
                         companies continue to distribute fuel to petrol stations that hold pre -September 2018
                         licences. The activity continues because it provides an economic benefit to the
                         distribution companies and forestalls the possibility of legal action should supply be
                         denied.
                         160. Local distribution companies are registered as separate legal entities under the
                         names of the four main distribution companies. This has led to confusion as to the
                         legal status of these companies, generated legal disputes and prevented a cohesive
                         approach.
                         161. The fuel distribution companies have high operating costs, mainly due to
                         overstaffing, which they are reluctant to address. The regulated pricing structur e,
                         shown in paragraph 158 above, means that their profit margins are dictated by their
                         operating costs and efficiency. Lack of control of operating costs and inefficient
                         management means that the profit margin is currently low or non -existent. The
                         business model is complicated further as historical debt remains unquantified and
                         unresolved, while the companies continue to accrue debt with Brega. In 2017 that
                         debt stood at LD 570 million ($403 million). 161 The requirement by Brega for advance
                         payment (see para. 156 above) means the distribution companies face continuing
                         major liquidity problems.
                         162. Authoritative sources are of the opinion that the financial situation of the
                         distribution companies will only worsen, and that there is a real risk of a significant
                         deterioration in their ability to effectively distribute fuel. Senior individuals,
                         including the Minister for the Interior and Defence, are calling for the abolishment of
                         the monopoly to ensure that owners of petrol stations can purchase refined petroleum
                         products directly from Brega (see annex 65).
                         163. Since June 2019, Brega has been using mobile petrol stations to distribute fuel
                         directly to the public in Tripoli. This ensures a reasonable level of supply during the
                         current conflict.

              3.         Zawiyah network
                         164. In its previous report (S/2018/812, para. 156 and annex 47), the Panel explained
                         the central role of the Zawiyah network in fuel diversion, organized around the
                         Zawiyah oil complex. The Al-Nasr brigade, headed by Mohammed Kashlaf (LYi.025),
                         operates under the umbrella of the Petroleum Facilities Guards, and is still in charge
                         of the security of the oil complex (see para. 57 above and annex 21).
                         165. The Municipal Council of Zawiyah has praised the role of those in charge of
                         providing security to the oil complex. It did, however, accuse Brega and the four
                         distribution companies of a lack of control over the fuel distribution network, thus
                         facilitating the conditions under which fuel is smuggl ed (see annex 66). The Panel
                         continues to receive evidence indicating that the Al-Nasr brigade maintains a central
                         role in the smuggling activities and benefits from the trafficking of fuel distributed
                         from the oil complex. 162 A description of the network and its modus operandi can be
              __________________
                   161
                         Meeting with Brega high official, Istanbul, Turkey, July 2019.
                   162
                         During the reporting period, one litre of fuel (benzene) in Zawiyah black market = LD 0.75
                         ($0.53). In Zuwarah, fuel sold at LD 1.75 ($1.24).

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                       found in annex 21. From the oil complex to its final destination, whether smuggled
                       by sea or overland, fuel transits through several key checkpoints under the control of
                       different armed groups. A description can be found in anne x 67.

            4.         Illicit exports by sea
                       166. In the west, Zuwarah and Abu Kammash 163 remain the key points from which
                       refined petroleum products, principally marine gas oil (0.1 per cent sulphur), are
                       smuggled by sea. Details of the specifications can be found in annex 68. The Panel
                       has also observed small diversions from Marsa al Dilah, 164 a small unfinished port
                       west of Zawiyah.
                       167. In its previous report, (S/2018/812, paras. 165–167), the Panel provided a
                       detailed description of the modus operandi for illicit exports from Libya. Fuel is
                       normally smuggled using small single-hull product carriers, which are loaded off the
                       coast of Zuwarah or Abu Kammash by smaller auxiliary ships or fishing boats, some
                       of which have modified tanks. During the reporting period, the pumping station
                       located at the Abu Kammash Chemical Factory 165 remained operational.
                       168. Smuggling networks from Zuwarah and Abu Kammash continued to operate
                       during the reporting period with the support of local sponsors. The so-called Zuwarah
                       Operations Room, headed by Zakaria Koshman, Wiyar Shalki and Osama Qutara, is
                       in control of the Abu Kammash chemical plant and provides coverage for many of
                       these operations.
                       169. The Panel has identified several fuel smugglers. One of the most active during
                       2019 has been Daniel Al Attushi, a Libyan national who is already included in the list
                       of arrest warrants issued by the Office of the Attorney General in December 2017
                       (S/2018/812, para. 143 and annex 43).

            5.         Vessels designated by the Committee
                       170. No vessels were added to the sanctions list during the reporting period. The
                       mechanism contained in resolution 2146 (2014) requires that a focal point appointed
                       by the Government of Libya communicate with the Committee with respect to the
                       measures in that resolution and in particular inform the Committee of any vessels
                       involved in illicit exports. As the focal point remained ab sent until 30 July 2019 (see
                       para. 143 above), the implementation mechanism was, and still remains, ineffective
                       (see recommendation 7).

            6.         Vessels involved in fuel smuggling
                       171. In its 2016 report (S/2016/209, para. 202) and its 2018 report (S/2018/812,
                       para. 178), the Panel reported on the modus operandi of fuel smuggling by sea. The
                       majority of the vessels sail south from Malta heading to the Gulf of Gabes, 166 Tunisia.
                       When 40 to 60 nautical miles off the Tunisian coast, they head east to Zuwarah.
                       Loading is conducted by fishing boats or through dedicated pipelines (see para. 167).
                       After the loading operation, which can take from one to two days, they usually return
                       towards Malta, where some of the vessels loiter outside the 12 nautical mile limit of
                       Maltese territorial waters until undertaking a ship -to-ship transfer of product (see
                       recommendations 8 and 9).
                       172. During the past nine months, increased pressure by local and international
                       actors, combined with instability in the country, has resulted in most of the vessels
            __________________
                 163
                     33°04'27"N, 11°44'12"E.
                 164
                     32°47'33"N, 12°44'48"E.
                 165
                     33°05'04"N, 11°49'40"E.
                 166
                     Centred at 34°14'13"N, 10°49'03"E.

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                         now being loaded 70 nautical miles off the coast of Libya. See annex 69 for an
                         indication of the area. Multiple ship-to-ship transfers are accomplished in no fewer
                         than four days, depending on the size of the tanker being loaded.
                         173. None of the vessels involved display any AIS 167 signal. If inspected, the fishing
                         boats employed in the transfers attribute their high fuel loads to long fishing periods
                         on the high seas. As there is no monitoring system for fisheries in Libya, the local
                         authorities are not aware of the location, course or speed of these fishing vessels.
                         174. The Panel continues to observe vessels that display suspicious navigational
                         patterns indicating illicit activities. Some of these vessels are listed in table 10.

 Table 10
 Vessels of interest
 Name                                    IMO number          Flag                                      Remarks


 Ali Mercan                              8992730             Panama                                    Products tanker (378 GT)

 Bonnie B                                6810055             Cyprus                                    Products tanker (1,580 GT)

 Maraya                                  7514517             Samoa                                     Cargo ship (640 GT)

 Ocean 61                                8870865             Panama                                    Products tanker (1,584 GT)

 Ozu 2                                   8918887             Unknown                                   Fishing trawler (276 GT)

 Rose 10                                 7511125             Panama                                    Products tanker (1,282 GT)

 Rose 20                                 8004662             United Republic of Tanzania               Products tanker (1,313 GT)

 Shahat                                  7820590             Libya                                     Fishing trawler (128 GT)

 Sifana (formerly Reem 1)                9046758             United Republic of Tanzania               Products tanker (780 GT)

 Sky White                               7922491             Sierra Leone                              Fishing trawler (277 GT)
 Turu                                    8408777             Panama                                    Products tanker (399 GT)

 Source: Confidential
 Abbreviation: GT, gross tons.

              7.         Illicit exports by land
                         175. In its previous report (S/2018/812, para. 182), the Panel reported on refined
                         petroleum products, mainly benzene, being illicitly exported overland from several
                         Libyan regions. This continues today at different scales. This activity generates a
                         small but stable profit for many individuals in regions where high rates of
                         unemployment are prevalent and almost no other economic activities are available.
                         176. Fuel smuggling in lower amounts is considered to be socially acceptable. It is
                         broadly assumed that petroleum is a Libyan resource, from which all citizens are
                         entitled to benefit. In many regions the informal economy is prevalent and the parallel
                         market is open for those willing to purchase fuel and transport it at their own risk to
                         be sold in other areas, including outside Libya.



              __________________
                   167
                         The Automatic Identification System (AIS) is a tracking system, and is mandatory for vessels
                         greater than 300 gross tons.

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                        177. In the south, most of the fuel stations remain closed or sell fuel at unofficial
                        rates. The HAF military campaign in the south sought to put an end to this activity, 168
                        but the impact was low. Although some of the stations reopened to the public in
                        January and February 2019, and parallel market fuel prices were temporarily reduced
                        from LD 1.5 to LD 2.0 ($1.08 to $1.44) per litre to LD 0.5 ($0.36) per litre, fuel
                        trafficking later resumed. The black-market price is currently LD 1.0 ($0.72) per litre.
                        178. In the east, small amounts of fuel continue to be diverted from the Sarir
                        refinery, 169 as initially indicated in paragraph 185 of the Panel’s previous report.
                        179. In western Libya, fuel is smuggled from Zuwarah by land to Tunisia. Porous
                        borders and the prevalence of the informal economy on the Tunisian side of the border
                        are contributing to the diversion. The Government of Tunisia has approved the
                        development of an economic free zone in Ben Guardane, 170 and its impact on illicit
                        exports of fuel remains to be assessed.


            VI. Implementation of the assets freeze on designated entities
             A.         Overview

                        180. The Panel has continued its engagement with representatives of the two
                        designated entities, the Libyan Investment Authority, also known as the Libyan
                        Foreign Investment Company (LYe.001), the Libyan Africa Investment Portfolio
                        (LYe.002) and all other interested parties. The Panel continues to primarily
                        investigate: (a) the legal authority of the present Libyan Investment Authority
                        administration; (b) the payment of interest on frozen accounts; (c) the payment of
                        management fees; and (d) the treatment of subsidiaries. The Libyan Investment
                        Authority has laid stress on its strategy to improve transparency, governance and
                        accountability in the management of the company and its assets (see annex 70).
                        181. The Panel has consistently reported that the Libyan Foreign Investment
                        Company is a separate legal financial entity from the Libyan Investment Authority,
                        and should be treated as such. 171
                        182. The complexity of the financial situation surrounding the frozen assets
                        necessitates the adding of capacity to the Panel in order to make efficient and effective
                        progress on a growing investigation portfolio during its next mandate.


             B.         Palladyne/Upper Brook case

                        183. In paragraphs 208 to 226 of its previous report, the Panel reported on the control
                        of three Upper Brook investment funds worth a total of $700 million, which were
                        established in the Cayman Islands during 2007 by the Libyan Investment Authority
                        and the Libyan Africa Investment Portfolio. These are now commonly referred to as
                        the Palladyne/Upper Brook funds. The funds were frozen by the United Kingdom
                        under the Libya (Restrictive Measures) (Overseas Territories) Order 2011.


             __________________
                  168
                      Almarsad, “LNA says it will attack fuel smugglers”, 5 March 2019. Available at
                      https://almarsad.co/en/2019/03/05/lna-says-it-will-attack-fuel-smugglers/.
                  169
                      27°40'15"N, 22°29'35"E.
                  170
                      Riadh Bouazza, “Free trade zone to be established on Tunisian-Libyan Border”, Arab Weekly,
                      17 March 2019. Available at https://thearabweekly.com/free-trade-zone-be-established-tunisian-
                      libyan-border.
                  171
                      See S/2013/99, para. 225, S/2017/466, paras. 237 and 238, and S/2018/812, para. 232.

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                      184. In 2014, the Libyan Investment Authority removed the first director it
                      appointed, Palladyne International Asset Management, owing to concerns over the
                      management of the funds. The appointment by the Authority of two individuals as
                      new directors to replace Palladyne International Asset Manage ment was immediately
                      challenged in the Grand Court of the Cayman Islands by Palladyne International Asset
                      Management.
                      185. The final judgment in the Cayman Islands was delivered on 30 January 2019, 172
                      and Palladyne International Asset Management appealed the judgment on 19 March
                      2019. This appeal is pending, and the result will certainly have an impact on the future
                      management of these three investment funds. Immediately after the draft judgment
                      was delivered in December 2018 to all the parties involved in the litigation, the
                      Libyan Investment Authority removed the two directors appointed in 2014. In January
                      2019, the Authority reappointed Palladyne International Asset Management as the
                      director of the three investment funds.
                      186. On 6 February 2019, the Chair of the Libyan Investment Authority’s Board of
                      Directors, Ali Mahmoud Hassan, was arrested. After his arrest, the remaining
                      members of the Authority’s Board of Directors denied knowledge of the decision to
                      reappoint Palladyne International Asset Management. On 20 February 2019, the
                      remaining members of the Board of Directors appointed Khalid Khalifa Taher (one of
                      the Board members) as acting Chair of the Board. The Board then issued a decision
                      voiding all decisions taken by Ali Mahmoud Hassan.
                      187. On 23 February 2019, the President of GNA, in his role as Chair of the Board
                      of Trustees of the Authority, invalidated the 20 February 2019 decision taken by its
                      Board of Directors. At the same time, the Administrative Control Authority of Libya
                      took similar action. The rationale was that the decision by the Board of Directors had
                      been taken in the absence of Ali Mahmoud Hassan, and was therefore invalid.
                      188. The Chair of the Board of Trustees then appointed his Chief of Staff, Youssef
                      Al Mabrouk, as Deputy Chair of the Board of Directors, to act in the absence of the
                      Chair. The Chair of the Board of Trustees then appointed Mustafa al Manea to the
                      Authority’s Board of Directors, and formed an ad hoc committee, headed by the
                      Minister for Planning, to liaise with the Office of the Attorney General on the legal
                      issues facing the Libyan Investment Authority as an entity.
                      189. Ali Mahmoud Hassan was released from prison on or about 18 April 2019. On
                      22 April 2019, two members of the Libyan Investment Authority’s Board of Directors
                      resigned, leaving five remaining members, including the newly appointed Deputy
                      Chair. On 24 April 2019, the Authority’s Board of Directors revoked the January 2019
                      decision that gave control to Palladyne International Asset Management of the
                      Palladyne/Upper Brook companies, and appointed four new Board members to the
                      companies.
                      190. On 15 May 2019, the Panel wrote to the Chair of the Libyan Investment
                      Authority Board of Trustees seeking clarification as to the new management structure
                      of the three funds in the Cayman Islands. On 6 June 2019, Ali Mahmoud Hassan,
                      Chair of the Authority’s Board of Directors, responded on behalf of the Chair of the
                      Board of Trustees. In summary, the response maintained that: (a) the two directors
                      appointed in 2014 were removed because they refused to recognize the authority of
                      the GNA-appointed Board of Directors, and could legally act without any Board
                      oversight; (b) Palladyne International Asset Management had been reappointed as
                      director of the Palladyne/Upper Brook funds on short notice as a temporary solution,
                      which also ensured that the Libyan Investment Authority remained compliant with
              __________________
                172
                      Grand Court of the Cayman Islands, Palladyne International Asset Management BV v. Upper
                      Brook (A) Limited et al., Cause No. FSD 0068 of 2016 (NSJ), Judgment.

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                    Cayman laws on due diligence; and (c) Palladyne International Asset Management
                    knew the portfolio in detail, had provided detailed monthly performance reports on
                    the three funds and was willing to participate in an investigation into the value and
                    location of the assets and of its fee-charging structure.
                    191. Even though the Libyan Investment Authority Board of Directors emphasized
                    that Palladyne International Asset Management provides detailed monthly reports on
                    the three funds, the Panel is of the view that the following points merit consideration:
                          (a)   The monthly reports have not been certified by an Administrator since 2014;
                          (b) Some of the reports seen by the Panel do not specify the location of the
                    assets/investments but instead broadly indicate the allocation of assets in terms of
                    geographical region and sector, rather than in terms of companies;
                          (c) Since 2018, only the Libyan Investment Authority has received the reports
                    for all three Palladyne/Upper Brook funds;
                          (d) The Libyan Africa Investment Portfolio does not have complete
                    information on its investments. Although the Portfolio had given the Authority the
                    power to act on its behalf, it appears that at one time the Portfolio rescinded that
                    decision; however, an order by the Deputy Chair of the Authority’s Board of Directors
                    dated 31 March 2019 overruled that action by the Portfolio.
                    192. The events set out above illustrate the changing decisions of the Libyan
                    Investment Authority’s Board of Directors, impeding a strategic and coherent
                    management approach to the investment funds. Furthermore, effective an d regular
                    oversight is not being achieved as no Administrator 173 has been appointed to submit
                    the monthly performance reports, and there is insufficient information to allow the
                    Authority to identify the securities held by the three investment funds. Althoug h the
                    Authority has indicated that it will shortly appoint a forensic auditor, no other
                    concrete steps have been established to allow it to assume effective control over the
                    three investment funds.

                    Authority over the Libyan Investment Authority
                    193. The leadership disputes discussed in the previous report of the Panel
                    (S/2018/812, paras. 222 and 223 and annex 58) continue to affect the functioning of
                    the Authority (also known as the Libyan Foreign Investment Company), the Libyan
                    Africa Investment Portfolio and all subsidiaries.
                    194. On 10 April 2019, the Supreme Court of Libya decided the two appeals filed
                    against the judgments of the Benghazi Court of Appeals (Administrative Chamber)
                    by the Presidency Council (S/2018/812, annex 58, paras. 8 and 9). Both judgments
                    were overturned on the grounds of lack of jurisdiction.
                    195. The Panel is aware of a pending case in Libya, filed by the former Chair o f the
                    Board of Directors of the Libyan Investment Authority, Abdulmagid Breish. During
                    2019, the Supreme Court of Libya found that the removal of Mohsen Derrigia in
                    March 2013 as Chair of the Board of Directors was illegal.
                    196. Judicial proceedings continue in the United Kingdom that highlight the ongoing
                    disputes. Ali Mahmoud Hassan, the current Chair of the Board of Directors of the
                    Authority, has submitted an application to the High Court of Justice of the United
                    Kingdom to lift the receiverships that were instituted because of the leadership
            __________________
              173
                    An administrator is responsible for the accounting of the investments and reporting results to the
                    clients. The administrator prepares the monthly or quarterly statements sent to the client that
                    show the client’s holdings, gains, losses and balances. The administrator also answers questions
                    from clients relating to these items.

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               dispute. There have been several hearings and the final decision is expected in
               November 2019. Further details of these legal issues can be found in annex 71.


          C.   Management and custodian fees

               197. The payment of management and custodian fees is an issue raised by the Libyan
               Investment Authority, who consider them to be losses incurred due to the assets
               freeze. The Panel is of the view that these charges are part of the cost of doing
               business and therefore cannot be termed or accounted for as losses.
               198. In paragraphs 224 to 226 of its previous report, the Panel noted the Authority ’s
               non-compliance with the determination and notification procedure in paragraph 19 (a)
               of resolution 1970 (2011) with regard to payment of fees. Further cases were
               examined during the reporting period.
               199. The Authority has provided the Panel with details of: (a) custodian fees in the
               amount of approximately $55 million, charged by two banks located in the United
               Kingdom, from 2011 onward; and (b) management fees of approximately
               $12.5 million charged by one of those banks. These figures, provided by the
               Authority, relate to the equity portfolio and demonstrate the purported side effects of
               sanctions. The Authority has clearly stated to the Panel that one of its custodian banks
               does not provide accurate data on management fees and therefore the Authority is
               unable to comply with the Panel’s request for detailed information.
               200. The system currently in place involves the custodian bank providing a monthly
               invoice for custodian fees, which are then debited fro m the account of the Libyan
               Investment Authority. The custodian fees include charges for services such as the
               maintenance of the securities records, the maintenance of cash accounts, the
               safekeeping of the assets and the administration of the assets. The Panel wrote directly
               to the bank, requesting details relating to the management of funds in its custody, but
               was informed that data-privacy restrictions prevented the bank from sharing such
               details directly. The Panel has written to the United Kingdom for c larification, but
               has not yet received the detailed financial data it requested.
               201. A bank in Bahrain had been regularly deducting its management fees from the
               “free account” for the funds held, in separate bank accounts, on behalf of the Libyan
               Investment Authority and the Libyan Foreign Investment Company. Those funds
               should have been frozen, but were not due to a misinterpretation of the provisions of
               the assets freeze. The Member State is now taking the necessary steps to fully
               implement paragraph 19 (a) of resolution 1970 (2011).
               202. It is clear that provisions of paragraph 19 (a) of resolution 1970 (2011) are not
               being properly interpreted by some Member States. The Panel recommends that
               Member States review the measures put in place for the proper implementation of the
               assets freeze and advise the financial institutions on the correct procedures to be
               followed, so that divergent practices do not continue and the provisions of paragraphs
               19 and 20 of resolution 1970 (2011) are followed in their entirety.


          D.   Subsidiaries

               203. In paragraphs 218 to 221 of its previous report, the Panel reported o n the
               treatment of subsidiaries. This has been a recurring issue during the reporting period,
               and requires resolution.
               204. The varying approaches by Member States are affecting the proper
               implementation of the assets freeze, and it is difficult to ensure that the funds and


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                 economic resources, inter alia, are being preserved for the Libyan people as intended.
                 One case serves as an illustration. A company located in the jurisdiction of Member
                 State “A” is owned by the Libyan Investment Authority. The physica l funds for that
                 company are held by a custodian bank in Member State “B”. As that company is not
                 specifically included in the sanctions list, Member State “B” does not consider that
                 its assets should be frozen, even though the company is owned entirely by the Libyan
                 Investment Authority, a designated entity. The funds are thus freely available to
                 disburse through the custodian bank in Member State “B”, thereby avoiding the assets
                 freeze (see para. 207 below).
                 205. The Panel notes that paragraph 17 of resolution 1970 (2011) is relevant: “freeze
                 without delay all funds, other financial assets and economic resources … which are
                 owned or controlled, directly or indirectly, by the individuals or entities liste d … or
                 by individuals or entities acting on their behalf or at their direction, or by entities
                 owned or controlled by them.”
                 206. The Panel also notes that paragraph 15 of resolution 2009 (2011) provides that
                 funds, other financial assets and economic resources belonging to the Libyan
                 Investment Authority and the Libyan Africa Investment Portfolio outside Libya that
                 were frozen as at 16 September 2011 shall remain frozen by Member States.
                 Otherwise, the Libyan Investment Authority and Libyan Africa Investment Portfolio
                 shall no longer be subject to the measures imposed in paragraph 17 of resolution 1970
                 (2011).
                 207. Following the rule of harmonious construction, paragraph 15 of resolution 2009
                 (2011) should be read along with paragraph 17 of resolution 1970 (2011). The
                 application of the assets freeze would be limited, or almost non-existent, if only assets
                 held directly in the name of a designated entity were to be frozen. In law, direct or
                 beneficiary ownership and/or control is an important factor in determining the assets
                 held by a company, and should be a determining factor for the wording of the assets
                 freeze provisions in all sanctions measures. The Panel is of the opinion that the assets
                 of a subsidiary should be frozen where the designated entity has a controlling interest
                 and can therefore dictate or influence the decisions of that subsidiary.
                 208. The Panel has found that some Member States and financial institutions consider
                 beneficial owners and control when determining which assets should be frozen,
                 including those of entirely owned subsidiaries. Others do not.
                 209. The Panel is of the view that the Committee’s Implementation Assistance Notice 1,
                 which clearly states that subsidiaries are not subject to the assets freeze, is in direct
                 conflict with, and contrary to, the provisions of the resolutions. Notice 1 is not a legal
                 instrument and thus cannot overrule or contradict the provisions of a Security Council
                 resolution. The Panel considers that this obvious contradiction requires resolution
                 (see recommendation 11).


            E.   Additional factors

                 210. The Panel examined other issues such as: (a) problems obtaining information
                 from financial institutions; (b) the consequences of Implementation Assistance Notice
                 6 on the freezing of interest and other income generated by frozen funds; and (c) the
                 existence of a parallel Libyan Investment Authority board of directors in the east.
                 Details are provided in annex 71.
                 211. The lack of accurate and/or precise information from Member States is proving
                 to be a major impediment to gaining a complete overview of the frozen assets.
                 Information from one Member State identified a massive discrepancy between two



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                   consecutive annual reporting figures, which is still being reconciled. The Panel
                   continues to monitor the situation.


          VII. Implementation of the assets freeze and travel ban on
               designated individuals
            A.     Update on designated individuals of the former regime

                   212. On 2 November 2018, the Panel interviewed Abu Zayd Umar Dorda (LYi.006),
                   Saadi Qadhafi (LYi.015) and Abdullah Al-Senussi (LYi.018) while they were in the
                   custody of the Tripoli Revolutionaries Brigade. The Panel explained the assets freeze
                   and travel ban measures to the designated individuals and discussed the delisting
                   procedure with them. The individuals stated that the asset freeze measures were not
                   sufficiently transparent.
                   213. The Panel possesses additional identifying information for the following
                   individuals:
                        LYi.006
                        Name:                           Abu Zayd Umar Dorda

                        Good quality also known as:     Dorda Abuzed OE

                        Passport number:                FK117RKO (date of issue: 25 November
                                                        2018; date of expiry: 24 November 2026;
                                                        place of issuance: Tripoli)

                        Place of birth:                 Alrhaybat

                        LYi.009
                        Name:                           Aisha Muammar Muhammed Abu Minyar
                                                        Qadhafi

                        Date of birth:                  1 January 1978

                        Passport number:                03824970 (date of issue: 4 May 2014; date of
                                                        expiry: 3 May 2024; place of issuance:
                                                        Muscat)

                        Identification number:          98606612


              B.   Update on individuals designated after the adoption of resolution
                   2174 (2014)

                   214. In 2018, the Committee designated eight individuals pursuant to paragraph 22 (a)
                   of resolution 1970 (2011), paragraph 4 (a) of resolution 2174 (2014) and
                   paragraph 11 (a) of resolution 2213 (2015). The Panel is investigating the status of
                   these individuals.
                   215. On 16 February 2019, the Panel interviewed Mohammed Kashlaf (LYi.025) and
                   Abd Al-Rahman al-Milad (LYi.026) in Libya. Details of the interviews can be found
                   in annex 72.
                   216. The Coast Guard authorities confirmed that Abd Al-Rahman al-Milad was
                   suspended from his duties on or about 9 April 2018. Nevertheless, they consider him


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            to be one of their top men and stressed his work in rescuing migrants. The Panel asked
            why he was working on vessels, as he was the supervisor at a small port located within
            the Zawiyah oil complex. The Coast Guard authorities explained that such supervisors
            have the authority to combat human trafficking and that they need to go to sea
            occasionally for the morale of personnel.
            217. In paragraph 237 of its previous report, the Panel provided additional identifying
            information for Mohammed Kashlaf (LYi.025). That information was subsequently
            found to be erroneous. The Office of the Attorney General has since provided the
            updated information on Mohammed Kashlaf (LYi.025).
            218. The Panel has obtained additional identifying information for the following
            individuals:
                 LYi.023
                 Name:                            Ahmad Oumar Imhamad al-Fitouri

                 Passport number:                 LY53FP76 (date of issue: 29 September 2015;
                                                  place of issuance: Tripoli)

                 Address:                         c) Dbabsha-Sabratah

                 National identification          119880387067
                 number:

                 LYi.025
                 Name:                            Mohammed al-Hadi al-Arabi Kashlaf

                 New name:                        Mohammed Al Amin Al Arabi Kashlaf

                 Name in original script:          ‫محمد األمين العربي كشالف‬

                 Date of birth:                   2 December 1985

                 Passport number:                 C17HLRL3 (date of issue: 30 December 2015;
                                                  place of issuance: Zawiya)

                 LYi.027
                 Name:                            Ibrahim Saeed Salim Jadhran
                 Also known as:                   Ibrahim Saeed Salem Awad Aissa Hamed
                                                  Dawoud Al Jadhran

                 Date of birth:                   29 October 1982

                 Personal identification          137803
                 number:

                 National identification          119820043341
                 number:

                 Passport number:                 S/263963 (date of issue: 8 November 2012)




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          C.   Non-compliance with the travel ban

               219. There were two instances of non-compliance with the travel ban. Abu Zayd
               Umar Dorda (LYi.006) was released from custody in Libya on 17 February 2019. He
               travelled that day from Tripoli to Tunis and then onward to Egypt. The Panel
               requested further details from Tunisia and Egypt. The Egyptian authorities stated that
               they were only informed of his travel to Cairo after his departure from Tunis. They
               were informed of his critical medical condition, which was confirmed after a medical
               examination upon his arrival in Cairo. The Egyptian authorities stated that they
               allowed him to stay on humanitarian grounds. Tunisia also informed the Panel that he
               transited the country as part of a humanitarian emergency.
               220. The Panel met Abu Zayd Umar Dorda (LYi.006) in Cairo on 6 March 2019. He
               stated that the Libyan authorities had released him on condition that he did not remain
               in Libya. He chose to travel to Egypt as he had family residing there. GNA is paying
               for his travel, treatment and stay in Cairo. The Libyan authorities also assured him
               that they would ensure further medical treatment in a European country. The Panel
               notes that no exemption request was submitted through either the Permanent Mission
               of Libya to the United Nations or through the relevant United Nations office. Libya
               did submit an ex post facto exemption request.
               221. Sayyid Mohammed Qadhaf al-Dam (LYi.003) has availed himself of an
               exemption from the travel ban since November 2015. The last extension he was given
               was valid until 23 May 2019. The Committee did not receive any further extension
               request and his continued presence in Egypt is in non-compliance with the travel ban.


      VIII. Actions taken for the effective implementation of the assets
            freeze and travel ban measures
               222. Paragraph 12 of resolution 2441 (2018) established specific provisions for the
               implementation of the assets freeze and travel ban. In accordance with its mandate,
               the Panel addressed several Member States, requesting further information on the
               actions taken to effectively implement the measures, particularly with regard to the
               individuals designated by the Committee in 2018. Only two replies have been
               received, and they yielded no actionable information.
               223. The Panel held bilateral discussions with some Member States to inquire on
               their measures for effective implementation. The Panel also attended two meetings,
               convened by the Netherlands, at The Hague headquarters of the Judicial Cooperation
               Unit of the European Union (Eurojust) in January and June 2019. It emerged that,
               while most European countries have a legal framework to implement United Nations
               sanctions, the framework does not include provision for further investigations to
               collect evidence and identify direct or indirect assets before effective implementation
               takes place. In some countries, there is no mechanism to verify the implementation
               of sanctions. One Member State expressed its inability to answer the Panel ’s specific
               queries, as it would affect ongoing investigations. The Panel concludes that little
               specific information can be expected from Member States, due to either their own
               ongoing investigations or because no investigations have been initiated.
               224. Enquiries were also conducted in Libya with reference to seven of the eight
               individuals designated in 2018. The Office of the Attorney General notified the Panel
               that action had been initiated against some individuals long before their designation
               by the Committee. Arrest warrants were issued against Mohammed Kashlaf (LYi.025)
               and Abd Al-Rahman al-Milad (LYi.026) in December 2017 (S/2018/812, para. 143
               and annex 43). Arrest warrants for the remaining individuals have since been issued.


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                Simultaneously, instructions have been issued to the Central Bank of Libya to freeze
                accounts, to the Real Estate Registration Office to identify property and to all border
                crossing points. Though the necessary administrative measures have been taken,
                Libya has not yet effectively implemented the asset freeze measures. For instance,
                Mohammed Kashlaf (LYi.025) confirmed that he is still paid by the government.
                225. The Panel noted that Member States are unable to effectively implement the
                travel ban owing to a lack of complete information, such as the full names and
                passport details of travellers.
                226. Passengers travel in and out of a country by land, air and sometimes sea. In
                order to effectively monitor the entry of designated individuals subject to a travel ban,
                the Member States should have an electronic passenger profiling system to screen the
                passenger manifests of all modes of travel. Only a few countries currently have such
                systems. It is, however, essential to have a system to process information of at least
                those travelling by air (see annex 73). The Global Travel Assessment System, which
                is freely available from the World Customs Organization, meets the above needs and
                Member States should be encouraged to use that or a similar system.
                227. During its discussions with some Member States, the Panel observed that there
                was a lack of awareness of the implications of non-compliance with the travel ban
                and assets freeze measures. Similarly, some Member States and designated
                individuals were often unaware of the exemption or delisting procedures available to
                them, despite the clear provisions in paragraphs 15 to 20 of resolution 1970 (2011),
                paragraph 12 of resolution 2441 (2018) and the provisional guidelines of the
                Committee on the conduct of its work. Furthermore, all Member States may not
                necessarily have national legislation specifically for the implementation of these
                measures subsequent to the adoption of Security Council resolutions. The Panel has
                explained the procedures to the national authorities and the various designated
                individuals it has met.
                228. It is essential to have wider dissemination of information on the modalities to
                implement, and the procedures to seek exemption from, the assets freeze and the
                travel ban. Discussions on difficulties faced in the implementation of the measures at
                the national level could pave the way for remedial action. This has already been
                initiated by the Committee.


            IX. Recommendations
                229. The Panel recommends:


                Immunity of the Panel of Experts

                To the Security Council
                Recommendation 1.      To remind Member States of their obligations under the
                                       provisions of article VI, section 22, of the Convention on the
                                       Privileges and Immunities of the United Nations to respect the
                                       immunity of experts on mission. [see para. 4]


                Arms embargo

                To the Security Council
                Recommendation 2.      To consider initiating an effective inspections regime to
                                       interdict or deter arms transfers by sea as initially authorized

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                                   by paragraph 4 of resolution 2292 (2016) and extended by
                                   resolution 2473 (2019), and within Libyan ports. [see para. 64]
              Recommendation 3.    To extend the scope of resolution 1970 (2011), as amended by
                                   subsequent resolutions, to initiate an effective inspections
                                   regime to interdict or deter arms transfers by air through the
                                   independent inspection of aircraft arriving at Libyan airports.
                                   [see para. 125]
              Recommendation 4.    To consider requiring that the transfer of military technology
                                   such as unarmed naval or Coast Guard patrol vessels, or
                                   wheeled armoured vehicles, be subject to advance approval, in
                                   accordance with paragraph 8 of resolution 2174 (2014). [see
                                   para. 80]
              Recommendation 5.    To determine whether equipment, such as electronic inhibition
                                   and jamming systems designed to decoy or down UAVs and
                                   UCAVs, or commercial UAVs used for military ISR, fall within
                                   the ambit of military-related materiel, as set out in paragraph 9
                                   of resolution 1970 (2011). [see paras. 99 and 123]

              To the Committee
              Recommendation 6. To provide guidance as to whether the term “combat by all
                                means” in paragraph 3 of resolution 2214 (2015) overrides the
                                requirements of paragraph 9 of resolution 1970 (2011) and as
                                subsequently amended. [see para. 93]


              Measures in relation to attempts to illicitly export crude oil and
              refined petroleum products from Libya

              To the Security Council
              Recommendation 7.    To review the usefulness, coherence and appropriateness of the
                                   information mechanism contained in paragraph 3 of resolution
                                   2146 (2014), in particular to enable the Committee to be
                                   informed by Member States of vessels transporting crude oil or
                                   refined petroleum products, through the auspices of the Panel.
                                   [see para. 143]
              Recommendation 8.    To extend the scope of the measures contained in paragraph 5
                                   of resolution 2146 (2014) to authorize Member States to
                                   inspect, on the high seas off the coast of Libya, vessels bound
                                   to or from Libya which they have reasonable grounds to believe
                                   are illicitly exporting crude oil or refined petroleum products.
                                   [see para. 171]
              Recommendation 9.    To extend the scope of the measures contained in paragraph 11
                                   of resolution 2213 (2015) to those entities or individuals
                                   involved in the illicit export of crude oil or refined petroleum
                                   products, and particularly to the owners of vessels listed
                                   pursuant to paragraph 11 of resolution 2146 (2014). [see
                                   paras. 145 and 171]
              Recommendation 10. To extend the scope of the measures contained in resolution
                                 2146 (2014) to the illicit import of refined petroleum products.
                                 [see para. 150]



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            Asset freeze and travel ban

            To the Committee
            Recommendation 11. To review the applicability of Implementation Assistance
                               Notice 1 in view of its contradiction with the resolutions. [see
                               para. 209]


            Designation criteria

            To the Committee
            Recommendation 12. To consider the information provided separately by the Panel
                               on individuals meeting the designation criteria contained in the
                               relevant Security Council resolutions.


            General

            To the Committee
            Recommendation 13. To update the sanctions list with the additional identifying
                               information. [see paras. 213 and 218]




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          X. Annexes




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 Annex 1:       Overview of the evolution of the Libya sanctions regime

 1.    By resolution 1970 (2011), the Security Council expressed grave concern at the situation in Libya,
 condemned the violence and use of force against civilians and deplored the gross and systematic
 violation of human rights. Within that context, the Council imposed specific measures on Libya, under
 Chapter VII of the Charter of the United Nations, including the arms embargo, which relates to arms
 and related materiel of all types, including weapons and ammunition, military vehicles and equipment,
 paramilitary equipment, and spare parts for the aforementioned, in addition to the provision of armed
 mercenary personnel. The arms embargo covers both arms entering and leaving Libya. The Council
 also imposed a travel ban and/or an asset freeze on the individuals listed in the resolution. Furthermore,
 the Council decided that the travel ban and the asset freeze were to apply to the individuals and entities
 designated by the Committee established pursuant to resolution 1970 (2011) concerning Libya involved
 in or complicit in ordering, controlling or otherwise directing the commission of serious human rights
 abuses against persons in Libya.

 2.     By resolution 1973 (2011), the Security Council strengthened the enforcement of the arms
 embargo and expanded the scope of the asset freeze to include the exercise of vigilance when doing
 business with Libyan entities, if States had information that provided reasonable grounds to believe that
 such business could contribute to violence and use of force against civilians. Additional individuals
 subject to the travel ban and asset freeze were listed in the resolution, in addition to five entities subject
 to the freeze. The Council decided that both measures were to apply also to individuals and entities
 determined to have violated the provisions of the previous resolution, in particular the provisions
 concerning the arms embargo. The resolution also included the authorization to protect civilians and
 civilian populated areas under threat of attack in Libya. In addition, it included a no-fly zone in the
 airspace of Libya and a ban on flights of Libyan aircraft.

 3.    On 24 June 2011, the Committee designated two additional individuals and one additional entity
 subject to the targeted measures. By resolution 2009 (2011), the Security Council introduced additional
 exceptions to the arms embargo and removed two listed entities subject to the asset freeze, while
 allowing the four remaining listed entities to be subjected to a partial asset freeze. It also lifted the ban
 on flights of Libyan aircraft.

 4.   By resolution 2016 (2011)), the Security Council terminated the authorization related to the
 protection of civilians and the no-fly zone. On 16 December 2011, the Committee removed the names
 of two entities previously subject to the asset freeze.




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 5.   In resolution 2040 (2012), the Council directed the Committee, in consultation with the Libyan
 authorities, to review continuously the remaining measures with regard to the two listed entities – the
 Libyan Investment Authority and the Libyan Africa Investment Portfolio – and decided that the
 Committee was, in consultation with the Libyan authorities, to lift the designation of those entities as
 soon as practical.

 6.   In resolution 2095 (2013), the Council further eased the arms embargo in relation to Libya
 concerning non-lethal military equipment.

 7.     By resolution 2144 (2014), the Council stressed that Member States notifying to the Committee
 the supply, sale or transfer to Libya of arms and related materiel, including related ammunition and
 spare parts, should ensure such notifications contain all relevant information, and should not be resold
 to, transferred to, or made available for use by parties other than the designated end user.

 8.    By resolution 2146 (2014), the Council decided to impose measures, on vessels to be designated
 by the Committee, in relation to attempts to illicitly export crude oil from Libya and authorized Member
 States to undertake inspections of such designated vessels.

 9.    By resolution 2174 (2014), the Council introduced additional designation criteria and requested
 the Panel to provide information on individuals or entities engaging or providing support for acts that
 threaten the peace, stability of security of Libya or obstructing the completion of the political transition.
 The resolution strengthened the arms embargo, by requiring prior approval of the Committee for the
 supply, sale or transfer of arms and related materiel, including related ammunition and spare parts, to
 Libya intended for security or disarmament assistance to the Libyan government, with the exception of
 non-lethal military equipment intended solely for the Libyan government. The Council also renewed its
 call upon Member States to undertake inspections related to the arms embargo, and required them to
 report on such inspections.

 10. By resolution 2213 (2015), the Council extended the authorizations and measures in relation to
 attempts to illicitly export crude oil from Libya until 31 March 2016. The resolution further elaborated
 the designation criteria listed in resolution 2174 (2014).

 11. By resolution 2214 (2015), the Council called on the 1970 Committee on Libya to consider
 expeditiously arms embargo exemption requests by the Libyan government for the use by its official
 armed forces to combat specific terrorist groups named in that resolution.




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 12. By resolution 2259 (2015), the Council confirmed that individuals and entities providing support
 for acts that threaten the peace, stability or security of Libya or that obstruct or undermine the successful
 completion of the political transition must be held accountable, and recalled the travel ban and assets
 freeze in this regard.

 13. By resolution 2278 (2016) the Council extended the authorizations and measures in relation to
 attempts to illicitly export crude oil, while calling on the Libyan Government of National Accord (GNA)
 to improve oversight and control over its oil sector, financial institutions and security forces.

 14. By resolution 2292 (2016), the Council authorized, for a period of twelve months, inspections on
 the high seas off the coast of Libya, of vessels that are believed to be carrying arms or related materiel
 to or from Libya, in violation of the arms embargo.

 15. By resolution 2357 (2017), the Council extended the authorizations set out in resolution 2292
 (2016) for a further 12 months.

 16. By resolution 2362 (2017), the Council extended until 15 November 2018 the authorizations
 provided by and the measures imposed by resolution 2146 (2014), in relation to attempts to illicitly
 export crude oil from Libya. These measures were also applied with respect to vessels loading,
 transporting, or discharging petroleum, including crude oil and refined petroleum products, illicitly
 exported or attempted to be exported from Libya.

 17. By resolution 2420 (2018), the Council further extends the authorizations, as set out in resolution
 2292 (2016) and extended by resolution 2357 (2017), for a further 12 months from the date of adoption
 of the resolution.

 18. By resolution 2441 (2018), the Council extended until 15 February 2020 the authorizations
 provided by and the measures imposed by resolution 2362 (2017), in relation to attempts to illicitly
 export crude oil from Libya.

 19. To date the Committee has published six implementation assistance notices which are available
 on the Committee’s website.1




       1
           http://www.un.org/sc/committees/1970/notices.shtml.




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 Annex 2:     Acronyms and abbreviations

  ACA         Administrative Control Authority
  AGO         Attorney General’s Office
  AIS         Automatic Identification System
  APC         Armoured Personal Carrier
  AQ          Al-Qaida
  ASM         Air to Surface Missile
  ATGM        Anti-Tank Guided Missile
  ATGW        Anti-Tank Guided Weapon
  CBL         Central Bank of Libya
  CCMSR       Conseil du commandement militaire pour le salut de la République
  CEO         Chief Executive Office
  CIHL        Customary International Humanitarian Law
  Committee   Committee established pursuant to Security Council resolution 1970 (2011) concerning
              Libya
  Council     United Nations Security Council
  DC          Detention Centre
  DCIM        Department for Combatting Illegal Migration
  ECB         European Central Bank
  ECBL        Eastern Central Bank of Libya
  ENOC        Eastern National Oil Corporation
  EU          European Union
  EUBAM       European Union Border Assistance Mission
  EUC         End-user certificate
  Eurojust    EU Judicial Cooperation Unit
  EUNAVFOR    EU Naval Force Mediterranean
  EUR         Euro
  FACT        Front pour l’alternance et la concorde au Tchad
  GMMR        Great Man-Made River
  GNA         Government of National Accord
  GNA-AF      Government of National Accord Affiliated Forces
  GSLF        Gathering of the Sudan Liberation Forces
  GT          Gross Tonnes
  HAF         Haftar Affiliated Forces
  HAS         Hardened Aircraft Shelter




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  IAFV        Infantry Armoured Fighting Vehicle
  ICAO        International Civil Aviation Organization
  IFV         Infantry Fighting Vehicle
  IAN         Implementation Assistance Notice
  IDP         Internally Displaced Persons
  IED         Improvised explosive device
  IHL         International Humanitarian Law
  IMC         International Medical Corps
  IMO         International Maritime Organization
  IOM         International Organization for Migration
  ISIL        Islamic State in Iraq and the Levant
  JEM         Justice and Equality Movement
  JSC         Joint Stock Company
  KADDB       King Abdullah II Design and Development Bureau
  Km          kilometres
  LAIP        Libyan African Investment Portfolio
  LCG         Libyan Coast Guard
  LFB         Libyan Foreign Bank
  LFIC        Libyan Arab Foreign Investment Company
  LIA         Libyan Investment Authority
  LIFG        Libyan Islamic Fighting Group
  LNA         Libyan National Army
  LOC         Lines of Communication
  LRIT        Long-range identification and tracking system
  LTP         Long Term Portfolio
  LYD         Libyan Dinar
  MMSI        Maritime Mobile Service Identity
  MRAP        Mine Resistant Ambush Protected
  MSPV        Minerva Special Purpose Vehicle
  NGO         Non-governmental organization
  NM          Nautical Miles
  NOC         National Oil Corporation
  OCHA        Office for the Coordination of Humanitarian Affairs
  OHCHR       Office of the High Commissioner for Human Rights
  OPV         Offshore Patrol Vessel
  Panel       Panel of Experts




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  PBIED        Person-borne Improvised Explosive Device
  PC           Presidency Council
  PFG          Petroleum Facilities Guard
  PGM          Precision Guided Munitions
  PIAM         Palladyne International Asset Management
  PPV          Protected Patrol Vehicle
  RAMP         Reserves Advisory and Management Programme
  RSF          Rapid Support Forces
  SAM          Surface to Air Missile
  SBIED        Suicide Borne IED
  SDF          Special Deterrence Force
  SGBV         Sexual Gender Based Violence
  SLA          Sudan Liberation Army
  SLA/AW       Sudan Liberation Army/Abdul Wahid
  SLA/MM       Sudan Liberation Army/Minni Minawi
  SRSG         Special Representative of the Secretary-General
  TPF          Tripoli Protection Force
  TRB          Tripoli Revolutionaries Brigade
  UAE          United Arab Emirates
  UCAV         Unmanned Combat Aerial Vehicle
  UFDD         Union de Forces pour la Démocratie et le Développement
  UFR          Union of Forces of Resistance
  UN           United Nations
  UNCLOS       UN Convention on the Law of the Sea
  UNHCR        United Nations High Commissioner for Refugees
  UNMAS        UN Mine Action Service
  UNSMIL       UN Support Mission in Libya
  US AFRICOM   United States Africa Command
  US$          United States Dollars
  WB           World Bank
  WCO          World Customs Organization




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 Annex 3:       Methodology

 1.      The Panel ensured compliance with the standards recommended by the Informal Working Group
 of the Security Council on General Issues of Sanctions (S/2006/997). Those standards call for reliance
 on verified, genuine documents and concrete evidence and on-site observations by the experts, including
 taking photographs, wherever possible. When physical inspection is not possible, the Panel will seek to
 corroborate information using multiple, independent sources to appropriately meet the highest
 achievable standard, placing a higher value on statements by principal actors and first-hand witnesses
 to events

 2.      The Panel used satellite imagery of Libya procured by the United Nations from private providers
 to support investigations, as well as open source imagery. Commercial databases recording maritime
 and aviation data were referenced. Public statements by officials through their official media channels
 were accepted as factual unless contrary facts were established. Any mobile phone records from service
 providers were also accepted as factual. While the Panel wishes to be as transparent as possible, in
 situations in which identifying sources would have exposed them or others to unacceptable safety risks,
 the Panel decided not to include identifying information in this document and instead placed the relevant
 evidence in United Nations secure archives.

 3.     The Panel reviewed social media, but no information gathered was used as evidence unless it
 could be corroborated using multiple independent or technical sources, including eyewitnesses, to
 appropriately meet the highest achievable standard of proof.

 4.      The spelling of toponyms within Libya often depends on the ethnicity of the source or the quality
 of transliteration. The Panel has adopted a consistent approach in the present update. All major locations
 in Libya are spelled or referenced as per the UN Geographical Information System (GIS) map at
 appendix A.

 5.       The Panel has placed importance on the rule of consensus among the Panel members and agreed
 that, if differences and/or reservations arise during the development of reports, it would only adopt the
 text, conclusions and recommendations by a majority of five out of the six members including the
 Coordinator. In the event of a recommendation for designation of an individual or a group, such
 recommendation would be done on the basis of unanimity.

 6.     The Panel is committed to impartiality in investigating incidents of non-compliance by any
 party.




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 7.      The Panel is equally committed to the highest degree of fairness and has offered the opportunity
 to reply to Member States, entities and individuals involved in the majority of incidents that are covered
 in this update. Their response has been taken into consideration in the Panel’s findings. The
 methodology for this is provided in appendix B.

 8.      The Panel’s methodology, in relation to its investigations concerning IHL, IHRL and human
 rights abuses, is provided in appendix C.




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 Appendix A to Annex 3: UN GIS place name identification
 Figure A.3.1
 UN GIS place names Libya




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 Appendix B to Annex 3: ‘The opportunity to reply’ methodology used by the Panel

 1.      Although sanctions are meant to be preventative not punitive, it should be recognized that the
 mere naming of an individual or entity2 in a Panel’s report, could have adverse effects on the individual.
 As such, where possible, individuals concerned should be provided with an opportunity to provide their
 account of events and to provide concrete and specific information/material in support. Through this
 interaction, the individual is given the opportunity to demonstrate that their alleged conduct does not
 fall within the relevant listing criteria. This is called the ‘opportunity to reply’.

 2.         The Panel’s methodology on the opportunity to reply is as follows:

 (a)        Providing an individual with an ‘opportunity to reply’ should be the norm;

 (b)   The Panel may decide not to offer an opportunity of reply if there is credible evidence that it
 would unduly prejudice its investigations, including if it would:

             (i)     Result in the individual moving assets if they get warning of a possible recommendation
             for designation;
             (ii)      Restrict further access of the Panel to vital sources;
             (iii)     Endanger Panel sources or Panel members;
             (iv)      Adversely and gravely impact humanitarian access for humanitarian actors in the field;
             or
             (v)     For any other reason that can be clearly demonstrated as reasonable and justifiable in the
             prevailing circumstances.
 3.     If the circumstances set forth in 2 (b) do not apply, then the Panel should be able to provide an
 individual an opportunity to reply.

 4.     The individual should be able to communicate directly with the Panel to convey their personal
 determination as to the level and nature of their interaction with the Panel.

 5.     Interactions between the Panel and the individual should be direct, unless in exceptional
 circumstances.



       2
            Hereinafter just the term individual will be used to reflect both.




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 6.     In no circumstances can third parties, without the knowledge of the individual, determine for the
 individual its level of interaction with the Panel.

 7.      The individual, on the other hand, in making their determination of the level and nature of
 interaction with the Panel, may consult third parties or allow third parties (for example, legal
 representative or his government) to communicate on his/her behalf on subsequent interactions with the
 Panel.




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 Appendix C to Annex 3: Violations relating to IHL, IHRL, and acts that constitute human
                        rights abuses investigative methodology

 1.      The Panel adopted the following stringent methodology to ensure that its investigations met the
 highest possible evidentiary standards, despite it being prevented from visiting all of Libya. In doing so
 it has paid particular attention to the “Informal Working Group on General Issues of Sanctions Reports”,
 S/2006/997, on best practices and methods, including paragraphs 21, 22 and 23.

 2.      The Panel’s methodology, in relation to its investigations concerning IHL, IHRL and human
 rights abuses, is set out as below:

 (a)    All Panel investigations are initiated based on verifiable information being made available to
 the Panel, either directly from sources or from media reports.

 (b)    In carrying out any investigations on the use of explosive ordnance against the civilian
 population, the Panel will rely on at least three or more of the following sources of information:

            (i)    At least two eye-witnesses or victims;

            (ii)   At least one individual or organization (either local or international) that has also
            independently investigated the incident;

            (iii) If there are casualties associated with the incident, and if the casualties are less than ten
            in number, the Panel obtains copies of death certificates and medical certificates. In incidents
            relating to mass casualties, the Panel relies on published information from the United Nations
            and other organizations;

            (iv) Technical evidence, which includes imagery of explosive events such as the impact
            damage, blast effects, and recovered fragmentation. In all cases, the Panel collects imagery from
            at least two different and unrelated sources. In the rare cases where the Panel has had to rely on
            open source imagery, the Panel verifies that imagery by referring it to eyewitnesses or by
            checking for pixilation distortion;

                   a. In relation to air strikes, the Panel often identifies the responsible party through
                   crater analysis or by the identification of components from imagery of fragmentation;
                   and

                   b. The Panel also analyses imagery of the ground splatter pattern at the point of impact
                   from mortar, artillery, or free flight rocket fire to identify the direction from which the




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                 incoming ordnance originated. This is one indicator to assist in the identification of the
                 perpetrator for ground fire when combined with other source information.

          (v)     The utilisation of open source or purchased satellite imagery wherever possible, to
          identify the exact location of an incident, and to support analysis of the type and extent of
          destruction. Such imagery may also assist in the confirmation of timelines of the incident;

          (vi) Access to investigation reports and other documentation of local and international
          organizations that have independently investigated the incident;

          (vii) Other documentation that supports the narrative of sources, for example, factory
          manuals that may prove that the said factory is technically incapable of producing weapons of
          the type it is alleged to have produced;

          (viii) In rare instances where the Panel has doubt as to the veracity of available facts from
          other sources, local sources are relied on to collect specific and verifiable information from the
          ground. (For example, if the Panel wished to confirm the presence of an armed group in a
          particular area);

          (ix) Statements issued by or on behalf of a party to the conflict responsible for the incident;
          and/or

          (x)    Open source information to identify other collaborative or contradictory information
          regarding the Panel’s findings.

 (c)     In carrying out its investigations on depravation of liberty and associated violations the Panel
 relies on the following sources of information:

          (i)    The victims, where they are able and willing to speak to the Panel, and where medical
          and security conditions are conducive to such an interview;

          (ii)    The relatives of victims and others who had access to the victims while in custody. This
          is particularly relevant in instances where the victim dies in custody;

          (iii) Interviews with at least one individual or organization (either local or international) that
          has also independently investigated the incident;

          (iv)   Medical documentation and, where applicable, death certificates;

          (v)    Documentation issued by prison authorities;



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            (vi)    Interviews with medical personnel who treated the victim, wherever possible;

            (vii) Investigation and other documentation from local and international organizations that
            have independently investigated the incident. The Panel may also seek access to court
            documents if the detainee is on trial or other documentation that proves or disproves the narrative
            of the victim;

            (viii) Where relevant, the Panel uses local sources to collect specific and verifiable information
            from the ground, for example, medical certificates;

            (ix)    Statements issued by the party to the conflict responsible for the incident; and/or

            (xx) Open source information to identify other collaborative or contradictory information
            regarding the Panel’s findings.

 (d)     In carrying out its investigations on other violations, which can include forced displacement and
 threats against medical workers, the Panel relies on information that includes:

            (i)    Interviews with victims, eyewitnesses, and direct reports where they are able and willing
            to speak to the Panel, and where conditions are conducive to such an interview;

            (ii)    Interviews with at least one individual or organization (either local or international) that
            has also independently investigated the incident;

            (iii)   Documentation relevant to verify information obtained;

            (iv)    Statements issued by the party to the conflict responsible for the incident; and/or

            (v)    Open source information to identify other collaborative or contradictory information
            regarding the Panel’s findings.

 (e)    The standard of proof is met when the Panel has reasonable grounds to believe that the incidents
 had occurred as described and, based on multiple corroboratory sources, that the responsibility for the
 incident lies with the identified perpetrator. The standard of proof is “beyond a reasonable doubt”.

 (f)    Upon completion of its investigation, wherever possible, the Panel provides those responsible
 with an opportunity to respond to the Panel’s findings in so far as it relates to the attribution of
 responsibility. Detailed information on incidents will not be provided when there is a credible threat
 that would threaten Panel sources.




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 (g)    If a party does not provide the Panel with the information requested, the Panel will consider
 whether this is of sufficient gravity to be considered as non-compliance with paragraph 16 of resolution
 2441 (2018), and thus consideration for reporting to the Committee.

 3.     The Panel will not include information in its reports that may identify or endanger its sources.
 Where it is necessary to bring such information to the attention of the Council or the Committee, the
 Panel may include more source information in confidential annexes.

 4.      The Panel will not divulge any information that may lead to the identification of victims,
 witnesses, and other particularly vulnerable Panel sources, except: 1) with the specific permission of
 the sources; and 2) where the Panel is, based on its own assessment, certain that these individuals would
 not suffer any danger as a result. The Panel stands ready to provide the Council or the Committee, on
 request, with any additional imagery and documentation to supports the Panel’s findings beyond that
 included in its reports. Appropriate precautions will be taken though to protect the anonymity of its
 sources.




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 Annex 4:        Member States, organizations and institutions consulted

 1.    This list excludes certain individuals, organisations or entities with whom the Panel met, in order
 to maintain the confidentiality of the source(s) and so as not to impede the ongoing investigations of
 the Panel.
 Table 4.1
 Member States, organizations, institutions and individuals consulted


                                                                                               Institution /
   Country / Location        Government                       Representative or Organization
                                                                                               Individual

   China                                                      Permanent Mission to the UN

   Egypt                                                                                       Abu Zayd Umar
                                                                                               Dorda (Lyi.006),
                                                                                               Other individuals

   France                    Ministries of Foreign Affairs,   Permanent Mission to the UN      Individuals
                             Finance and Defence              Embassy to Libya

   Germany                   Ministry of Foreign Affairs      Permanent Mission to the UN
                                                              Embassy to Libya (in Tunis)

   Italy                     Ministries of Foreign Affairs,   Permanent Mission to the UN      Individuals
                             Justice and Finance              HQ EU NAVFOR
                             Prosecutors in Palermo and
                             Catania

   Jordan                    Ministry of Foreign Affairs      Permanent Mission to the UN      Individuals

   Libya                     Ministries of Foreign Affairs,   Permanent Mission to UN          Individuals,
                             Interior and Defence, Central    UNDP                             Designated
                             Bank of Libya                                                     Entities,
                                                              UNSMIL
                                                                                               Libyan Foreign
                                                                                               Bank

   Malta                     Ministry of Foreign Affairs,     Cassar Shipyard                  Individuals
                             Central Bank

   Netherlands                                                Embassy to Libya
                                                              Eurojust

   Spain                     Ministry of Justice              EU Satellite Centre




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                                                                                            Institution /
      Country / Location   Government                      Representative or Organization
                                                                                            Individual

      Tunisia                                              EU Delegation to Libya           Individuals
                                                           EUBAM
                                                           UNMAS

      Turkey               Ministry of Foreign Affairs                                      Libya Investment
                           Ministry of Customs and Trade                                    Authority,
                                                                                            Individuals

      United Kingdom       Foreign and Commonwealth        Permanent Mission to the UN      Financial
                           Office and Treasury             Embassy to Libya (in Tunis)      institutions,

                                                           NGO AOAV                         Individuals

      USA                  State Department a              Mission to the UN
                                                           World Bank a


 a
     By VTC.




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 Annex 5:         Summary of Panel correspondence (14 September 2018 to 24 October 2019)

 Table 5.1
 Correspondence with Member States (2362 (2017) Mandate) (14 September to 15 November 2018)

                                Number of letters    Number of unanswered
   Member State                 sent by the Panel    letters by Member State   Remarks
   Belgium                             1                       0
   Germany                             1                       0
   Italy                               1                       0
   Jordan                              1                       1
   Libya                               2                       1
   Luxembourg                          1                       0
   Spain                               1                       0
   Sweden                              1                       1
   Switzerland                         1                       0
   Turkey                              3                       0
   UK                                  1                       0
   Ukraine                             2                       1
   USA                                 1                       1
   Total                               17                      5                  71% responded


 Table 5.2
 Correspondence with Member States (2441 (2018) Mandate) (16 November 2018 to 24 October 2019)

                                Number of letters    Number of unanswered
   Member State / Territory     sent by the Panel    letters by Member State   Remarks
   Albania                             2                       2
   Algeria                             1                       1
   Angola                              1                       1
   Anguilla                            1                       0
   Antigua and Barbuda                 1                       0
   Australia                           1                       1
   Belgium                             1                       0
   Belize                              1                       1
   Bolivia                             3                       3
   Botswana                            2                       1
   Bulgaria                            5                       1
   British Virgin Islands              1                       0
   Canada                              1                       0




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                              Number of letters   Number of unanswered
   Member State / Territory   sent by the Panel   letters by Member State   Remarks
   Cayman Islands                     1                       1
   Chad                               3                       0
   China                              5                       3
   Egypt                              4                       2
   Eritrea                            1                       1
   Estonia                            1                       0
   Ethiopia                           1                       1
   France                             9                       0
   Germany                            3                       3             Requested more time

   Greece                             3                       0
   Iran                               3                       0
   Ireland                            2                       2
   Isle of Man                        1                       0
   Israel                             1                       1
   Italy                              7                       1
   Jamaica                            1                       1
   Jordan                            12                      10
   Kazakhstan                         5                       1
   Lebanon                            1                       1
   Libya                             50                      43
   Luxembourg                         1                       0
   Malta                              9                       1
   Marshall Islands                   4                       4
   Moldova                            7                       2
   Morocco                            4                       3
   Netherlands                        5                       0
   Nigeria                            5                       1
   Norway                             1                       0
   Oman                               2                       1
   Pakistan                           1                       1
   Panama                             6                       3
   Russian Federation                 5                       4
   Saint Kitts and Nevis              1                       1
   Samoa                              2                       1
   Seychelles                         4                       1
   Singapore                          1                       0
   South Africa                       6                       1
   Spain                              1                       0




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                                  Number of letters    Number of unanswered
   Member State / Territory       sent by the Panel    letters by Member State    Remarks
   Sudan                                  2                        2
   Syria                                  2                        1
   Tanzania                               5                        5
   Thailand                               1                        1
   Togo                                   4                        3
   Tunisia                                9                        2
   Turkey                                29                       16
   Ukraine                               11                        0
   United Arab Emirates                  26                       16
   United Kingdom                       14                       1
   United States of America              7                       7
   Total                                313                     161                   48% responded



 Table 5.3
 Correspondence with regional organizations and other entities (2362 (2017) Mandate) (14 September to
 15 November 2018)

                                  Number of letters    Number of unanswered
   Organization or entity         sent by the Panel       letters by entity       Remarks
   European Union                        1                       0
   Total                                 1                       0                    100% responded


 Table 5.4
 Correspondence with regional organizations and other entities (2441 (2018) Mandate) (16 November 2018 to
 24 October 2019)

                                  Number of letters    Number of unanswered
   Organization or entity         sent by the Panel       letters by entity       Remarks
   EuroControl                           1                        0
   EU Satellite Centre                   1                        0
   Libya CAA                             4                        0
   LNA                                  16                       15               Including Email
   Total                                22                       15                   32% responded




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 Table 5.5
 Correspondence with commercial companies (2362 (2017) Mandate) (14 September to 15 November 2018)

                                 Number of letters   Number of unanswered
   Company                       sent by the Panel    letters by company      Remarks
   Commerzbank                          1                     0
   Total                                1                     0                   100% responded


 Table 5.6
 Correspondence with commercial companies (2441 (2018) Mandate) (16 November 2018 to 24 October 2019)

                                 Number of letters   Number of unanswered
   Organization or entity        sent by the Panel     letters by company     Remarks
   Akkar                                1                     1
   Berlin Aviation                      1                     0
   BMC Turkey                           1                     0
   Carter Ruck                          2                     0
   CBL                                  2                     0
   Containerships                       1                     0
   Contaz                               2                     2
   Deek Aviation                        1                     1
   Dickens and Madson                   1                     0
   East CBL                             2                     0
   East NOC                             5                     5
   Ekol                                 1                     0
   FlightRadar24                        1                     0
   Global Air Transport                 2                     0
   Golden Eagle Trading F.Z.E.          2                     0
   Goznal J.S.C.                        1                     0
   GDC Carriers                         1                     0
   Gumrukleme                           1                     1
   Hassan Energy                        1                     0
   IOMAX USA                            2                     1
   LIA                                  1                     0
   Maersk                               1                     0
   Mavana                               1                     0
   Mercedes                             1                     0
   MSPV UAE                             1                     0
   NBF UAE                              1                     0
   Netoil                               1                     1
   Nexus                                1                     1




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                                Number of letters   Number of unanswered
   Organization or entity       sent by the Panel     letters by company   Remarks
   Nissan                              2                       0
   Palm Charters                       1                       0
   Patron Group                        2                       2
   Plures AIr                          2                       2
   ProAir Germany                      1                       0
   ProAir Turkey                       1                       1
   Reederei                            1                       0
   Satcom Universal UAE                4                       1
   Sera Denixclik Tasimacilik          1                       0
   Sky AviaTrans                       1                       0
   Soylu Gemi Geri                     1                       1
   Space Cargo                         1                       1
   Standard Aero                       1                       1
   Sulaco Group                        1                       0
   Toyota                              3                       1
   Ukraine Air Alliance                1                       0
   Total                              63                    23             63% responded




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 Annex 6:            Maps of the conflict 3

 Figure 6.1
 Map of the conflict in Tripoli




       3
           See appendix A for list of codes for armed groups.




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 Figure 6.2
 Map of the wider conflict in Libya




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 Appendix A to Annex 6: Map codes for armed groups in Libya
 GNA-AF Prominent Groups                              G43 Mustafa bin Rabia martyrs brigade
                                                      G44   Nalut military council
 G1 166 Battalion                                     G45   Ousoud Tajura
 G2 301 Infantry Battalion                            G46   Tarhuna Protection Force
 G3 302 Infantry Battalion                            G47   * Union de la force de la resistance
 G4 Abu surra martyr's battalion (Ali Busriba)        G48   Zintan military council
 G5 Border Protection Force                           G49   Zuwarah Protection Force
 G6 Nawasi Brigade
 G7 Tripoli Revolutionary Brigade                             HAF Prominent group
 G8 Central Security Force Abu Salim (A. Kikli)       H1      102 infantry battalion
 G9 Halbous Battalion                                 H2      106 brigade legion
 G10 Hateen Battalion                                 H3      116 Infantry battalion
 G11 Mahjoub Brigade                                  H4      117 infantry battalion
 G12 Janzour Knights (Fursan Janzour)                 H5      127 infantry battalion
 G13 Nasr brigade                                     H6      128 infantry battalion
 G14 National mobile force battalion                  H7      152 mechanized brigade
 G15 Somoud battalion                                 H8      155 infantry battalion
 G16 South Protection Force                           H9      192 infantry battalion
 G17 Special Deterrence Force                         H10     78 infantry battalion
 G18 Rahbat al-Duru’ battalion                        H11     Tawhid Salafi brigade
 G19 Bunyan al Marsous                                H12     * Gathering of the Sudan Liberation Forces
 G20 Dhaman Battalion                                         (GSLF)
                                                      H13     9 brigade (Kaniyat)
       GNA-AF Other Groups                            H14     Khalid bin al Walid battalion
                                                      H15     * Rapid Support Forces
 G21 105 battalion                                    H16     Sa'iqa special forces
 G22 165 Guard and Protection Force Battalion         H17     Tariq bin Ziyad
 G23 + 30 brigade                                     H18     * Sudan Liberation Army/Minni Minawi
 G24 411 Border Protection                                    (SLA/MM)
 G25 42 brigade                                       H19     Barq al Nasr
 G26 6 infantry brigade                               H20     Soboul al Salam battalion
 G27 Abu Ghilan Martyr's battalion                    H21     120 special forces battalion
 G28 Al Laa'sar brigade
 G29 Al Madina battalion                              HAF Other Groups
 G30 Al Rawased
 G31 Bab Tajura battalion                             H22     101 light infantry brigade
 G32    * Conseil de Commandement Militaire Pour le   H23     107 infantry battalion legion
        Salut de la Republique                        H24     111 infantry battalion
 G33 Farouq brigade                                   H25     115 infantry battalion
 G34 General Security Service                         H26     12 infantry brigade
 G35 Hamdi bin Rajab Martyr's battalion               H27     121 infantry battalion
 G36 Haitham Kathrawi battalion                       H28     123 infantry battalion
 G37 Ibrahim Hneish battalion                         H29     124 artillery battalion
 G38 * Justice and Equality Movement (JEM)            H30     129 infantry battalion
 G39 Marsa brigade                                    H31     134 Zaltan battalion
 G40 Martyr Mohamed al Kilani brigade                 H32     140 infantry brigade
 G41 Misrata country martyrs brigade                  H33     142 infantry brigade
 G42 Muammar Al Dhawi battalion                       H34     145 infantry brigade




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 H35        153 infantry battalion                   H52      6th force
 H36        155 infantry battalion                   H53      93 brigade
 H37        166 infantry battalion                   H54      Ain Mara martyrs brigade company
 H38        173 infantry battalion                   H55      Awbari zone
 H39        201 battalion                            H56      Awliya al Dam Bu Hdima
 H40        21 special forces battalion (Zawiyahh)   H57      * Le Front pour l’alternance et la concorde au
 H41        210 mechanized infantry battalion                 Tchad
 H42        22 brigade                               H58      * Oruba battalion
 H43        26 combat brigade                        H59      * Sudan Liberation Army/Abdul Wahid
 H44        27 brigade                                        (SLA/AW)
 H45        276 infantry battalion                   H60      + * Sudanese Liberation Army/Transitional
 H46        298 tank battalion                                Council (SLA/TC)
 H47        303 infantry battalion                   H61      Wadi battalion
 H48        306 infantry battalion
 H49        4 brigade                                + Denotes location and/or details not verified by the
 H50        409 infantry battalion                     Panel.
 H51        60 infantry support battalion            * Denotes foreign armed group.




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 Annex 7:        Arrest warrants issued on 1 January 2019 by the AGO.

 Figure 7.1
 List of arrest warrants issued by the AGO against Chadian, Sudanese and Libyan nationals




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 Source: AGO.




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 Figure 7.2
 Unofficial translation of the above document


          Translated from Arabic

          Attorney’s General Office

          Date : 02.01.2019

          Ref.N°140

          Mr. Head of the Libyan Intelligence Service
          Mr. Head of the General Intelligence Service

          Greetings,

          As a reference to the ongoing investigations concerning the events mentioned in case n°5 of 2018 Ref.:
          e.m.h; Intelligence.

          to the claims addressed to Attorney General’s Office concerning the attack that took place previously by
          armed groups against oil fields and ports.

          To the claims linked to the attack against the Taminhint , and the intervening in the combat that was
          between some of the Libyan tribes.

          To the claims on the events linked to killings, kidnapping, and robberies against a number of Libyans in the
          south of Libya by groups of Chadian opposition present in Libya.

          To the incoming statements from investigative bodies to the Attorney’s General Office on cases of some
          Libyan nationals who sought the assistance of members of the Sudanese and Chadian oppositions and the
          cooperation of some of their members in the combat taking place between the warrying parties.

          We order,

          Firstly, to search and investigate on the following individuals listed in this note, apprehend and bring them
          in for committing the abovementioned events and their affiliation to armed groups. They are :

              1. Ali Ahmed Abdallah                  Tchadian Opposition
              2. Hamed Juru Marqi                    Tchadian Opposition
              3. Mohamed Mussa Adam                  Tchadian Opposition
              4. Mohamed Ahmed Nasr                  Tchadian Opposition
              5. Adam Hssein                         Tchadian Opposition
              6. Mohamed Abdallah Ahmed              Tchadian Opposition
              7. Omar Abakr Tijani                   Tchadian Opposition
              8. Bichara Hajer Aybu                  Tchadian Opposition
              9. Hasan Musa Kelley                   Sudanese Opposition
              10. Mahmat Mahdi Ali                   Tchadian Opposition




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                11. Abubakar Tolli                   Tchadian Opposition
                12. Alashi Ourdugo                   Tchadian Opposition
                13. Barki Yusef                      Tchadian Opposition
                14. Timan Erdimi                     Tchadian Opposition
                15. Jaber Abubakar                   Sudanese Opposition
                16. Arko Minnawi                     Sudanese Opposition
                17. Abdelkarim Cholloy               Sudanese Opposition
                18. Hamad Hasan Abderrehim           Tchadian Opposition
                19. Musa Elhaj Azraq                 Tchadian Opposition
                20. Mahmat Nuri                      Tchadian Opposition
                21. Mohamed Hasan Boulmaye           Tchadian Opposition
                22. Masud Jeddi                      Tchadian Opposition
                23. Abdullah Jennah                  Sudanese Opposition
                24. Kenga Bey Tabul                  Tchadian Opposition
                25. Hamad Hasan Abderrehim           Tchadian Opposition
                26. Musa Alhaj Azraq                 Tchadian Opposition
                27. Mohamed Hakimi                   Tchadian Opposition
                28. Musa Mohamed Zein                Tchadian Opposition
                29. Othman Al Quni                   Sudanese Opposition
                30. Musa Hilal                       Sudanese Opposition
                31. Ali Omar Tqadim                  Sudanese Opposition

            Secondly, search and investigate the following Libyan nationals and working on apprehending them and
            bringing them in. They are:

                1.   Abdelhakim Alkhuweldi Belhaj
                2.   Hmadan Ahmed Hamdan
                3.   Ibrahim Saeed Jadhran
                4.   Shaaban Masud Hediyeh
                5.   Ali Haouni
                6.   Mokhtar Arkheiss

            Please accept my highest respect and consideration

            General Attorney
            Siddiq Ahmed Assour
            (Head of Investigations Bureau)




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 Annex 8:      Consultancy contract between General Dagalo and Dickens and Madson (Canada)

 Figure 8.1
 Consultancy contract dated 7 May 2019 between General Mohamed Hamdan Dagalo and Dickens and Madson
 (Canada) Incorporated




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 Source: U.S. Department of Justice under the Foreign Agents Registration Act. https://efile.fara.gov/docs/6200-Exhibit-AB-20190617-8.pdf




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 Annex 9:          Attack on NOC headquarters in Tripoli

 1. On 10 September 2018, an unidentified group of armed men entered the NOC headquarters by
 force, killing 2 and injuring 37 staff. Three IEDs were detonated, causing substantial damage to the
 premises. The building is still under renovation.
  Figure 9.1                                           Figure 9.2
  Armed attacker                                       Armed attacker




  Source : Confidential                                Source: Confidential


  Figure 9.3                                           Figure 9.4
  Condition of the premises in                         Condition of the premises in
  September 2019                                       September 2019




  Source : Confidential                                Source: Confidential




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 Annex 10:        ISIL claim of responsibility for MFA attack of 25 December 2018

 Figure 10.1
 ISIS claim of responsibility




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 Annex 11:       Initial attack on Tripoli International Airport (TIA)

 1. Neighbourhoods surrounding TIA and the airport road have been at the frontline of conflict since
 HAF usurped the TIA and grounds on 5 April 2019. Although the facility was destroyed in the 2014
 conflict and is no longer in operation, it remains a strategic asset. HAF briefly lost control of some areas
 to GNA-AF on 7 and 8 April 2019 before regaining their position. The Panel has been unable to visit
 the site for an assessment.
 2.    A photograph of a designated individual, Abd Al-Rahman al-Milad (LYi.026) posing with GNA
 fighters in the vicinity of the airport was obtained by the Panel on 8 April 2019.

  Figure 11.1                                              Figure 11.2
  HAF fighters at Tripoli international                    Abd Al-Rahman al-Milad (LYi.026) near Tripoli
  airport on 5 April 2019                                  international airport on 8 April 2019




  Source:                                                  Source: Confidential source. The same image was
  https://m.facebook.com/warinformationdi                  subsequently published at
  vision/photos/                                           https://almarsad.co/en/2019/04/08/gna-forces-
  a.1621302997911303/265274882476671                       collaborating-with-un-sanctioned-smugglers/.
  0/?type=3&source=54.




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 Annex 12:      Threats to and attacks on GNA Minister of Finance

 1.   On 25 September, two individuals, one with known association to the GNA-AF Nawasi brigade,
 Muhammad Abu Dara’, attacked and threatened the GNA Minister of Finance and other staff.
 Figure 12.1
 GNA Minister of Finance accuses Al-Tahir Urwah and Muhammad Abu Dara’ of the attack




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 Figure 12.2
 Official translation of the above document.


                Translated from Arabic

                Government of National Accord
                Minister of Finance




                                                Urgent and important


                      Sirs,
                      The facts of the case are as follows: at 2 p.m. on Wednesday, 25 September 2019,
                an individual named Al-Tahir Urwah, who claimed to be Deputy Chief of the Libyan
                Intelligence Service, came to our workplace at the Ministry of Finance Secretariat on
                Sikkah road. After we had shown him in, he attacked us, claiming that the Ministry
                of Finance had stopped disbursing the salaries of Libyan Intelligence Service staff.
                He refused to leave the office, forcing us depart from the office and leave him there.
                      After he had left the Ministry building, he came back at 3 p.m. that same day
                with another individual named Muhammad Abu Dara‘. The latter also attacked us,
                leaving a 9 mm calibre bullet in my hand. He then left.
                      These facts are being passed on for your information and so that you can take
                the necessary legal measures and open an urgent investigation.
                                                      Regards,

                                                             (Signed) Faraj Abdulrahman Bu Matari
                                                                                Minister of Finance

       Acting Public Prosecutor
       Minister of Finance

                cc:
                President of the Presidency Council of the Government of National Accord
                Chief of the Superior Council of the Judiciary
                Head, Audit Bureau
                Head, Administrative Oversight Agency
                The concerned Deputy Minister of Finance
                Archive



 Figure 12.3




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 Statement by the Ministry confirming the attack




 Figures 12.4




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 Statements on social media by Muhammad Abu Dara’ threatening GNA Minister of Finance




 Source: https://www.facebook.com/profile.php?id=100027889903236




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 Annex 13:           Attack on Mitiga airport (1 September 2019)4

 Incident details

 1.      At approximately 01:30 hours (local) on 1 September 2019 explosive ordnance (EO) detonated
 in two locations within the airport boundaries (see figure 13.1). The attack was executed minutes after
 the landing of a Libyan Airlines Airbus A330-200 as the passengers from the Haj pilgrimage had
 disembarked and were walking to the terminal building.

 Figure 13.1
 Location of EO impact points at Mitiga international airport (1 September 2019)




 Source: Google Earth Pro image is from 23 July 2019 for illustrative purposes only. The aircraft shown is not the one damaged.




        4
            Information from UNSMIL supported by multiple media sources.




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 2.      This attack was the latest in a series of attacks against Mitiga international airport using land
 service ammunition5 since the conflict started on 4 April 2019. UNSMIL has recorded fifteen such
 attacks during the current conflict additional to HAF air strikes.6

 3.      UNSMIL deployed an inspection team to the airport on 1 September 2019, and determined the
 damage reported at table 13.1. The UNSMIL technical assessment of impact area two was constrained
 by the removal of physical forensic evidence prior to their arrival and indistinctive crater patterns. This
 report will not consider this impact area further.

 Table 13.1
 Damage to Mitiga international airport from EO impact

     Impact                                          Geo-
     area          Impact point                      coordinates            Damage a

       1           Main aircraft parking area        32o54’17.52”N,         ▪ Fragmentation damage to rear and tail of Airbus A330-200
                                                     13o16’35.40” E
                                                                            ▪ Minor crater in aircraft pan (2.36m x 0.89m).

                   Main terminal car park                                   ▪ 105m West of terminal and 406m from crater in aircraft pan.
                                                     32°54'20.49"N          ▪ Fragmentation damage to parked vehicles.
       2           Main terminal car park
                                                     13°16'19.58"E
                                                                            ▪ Minor infrastructure damage to a civilian building and retaining
                   Main terminal car park                                     wall;

 a
     As reported by UNSMIL.


 4.     The airport authorities suspended air operations and closed the airport, which was not re-opened
 for commercial traffic until 3 September 2019.

 Technical analysis of physical evidence and determination of EO type

 5.    The UNSMIL inspection team measured the crater (figure 2) on the aircraft parking pan as being
 2.36m x 0.89m. It was located 41m away from the parked aircraft.




           5
               Using ground based weapons systems as opposed to the HAF air strikes.
           6
               (23, 24) June 2019, (7, 17, 22, 29) July 2019, and (3, 4, 7, 11, 15, 16, 24, 27) August 2019.




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 Figure 13.2
 Crater on Mitiga international airport aircraft parking pan (1 September 2019)




 Source: https://www.libyaobserver.ly/news/renewed-rocket-attacks-tripoli’s-mitiga-airport-injure-hajjis.


 6.     The dimensions of the crater and the distinctive “splatter” pattern identified by UNSMIL
 technical specialists on the ground at the aircraft parking pan are highly indicative of the impact
 detonation of an indirect fire weapon system of between 81mm to 107mm. Based on the current
 weapons systems available to armed groups in Libya today, this would mean the use of either an 82mm
 high mortar or 107mm Type 63 free flight rocket (FFR) system for this attack. It is almost certain that
 the damage was not the result of the detonation of the 6.5kg high explosive warhead of a 122mm BM
 21 “Grad” FFR.

 7.     The 107mm Type 63 FFR system has the greater range of the weapon options, with a maximum
 range of 8,500m. From this, and the analysis of the crater dimensions and “splatter” pattern, the Panel




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 finds it almost certain that the explosive ordnance was firing from a location along an approximate back
 bearing of 1850 (+/- 150) from the impact point as shown in figure 13.3.

 Figure 13.3
 Location of firing point (1 September 2019)




 Source: Image from Google Earth, 23 July 2019.


 8.     Confidential sources have indicated that the firing point was highly likely to have been in the
 south-west corner of the area illustrated above at a location called Camp Moz.7

 Casualties

 9.      Two crew members of the aircraft and five aircraft technicians were reportedly injured in the
 attack.




        7
            Near 32°50'47.95"N, 13°16'8.08"E




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 Attribution of responsibility

 10.    Although no armed group has yet taken responsibility for this attack, it is certain that HAF units
 were not responsible for this attack, as they had no ground forces anywhere near the area of the firing
 point.

 11.     There were some claims from a confidential source that the Tajura-based GNA-AF 33rd Brigade
 (a.k.a. Rabhat al-Durua’) was responsible for the attack as they are involved in an internal-GNA-AF
 conflict with the Special Deterrence Force (SDF) who control the prison at the airport in which 33rd
 Brigade individuals are detained. Notwithstanding this claim though, the “banana project” area has also
 recently being used as a staging area for the 2nd Brigade, the Nawasi battalion, the Somoud brigade and
 battalion 301. Elements of the now dispersed Tripoli Revolutionaries Brigade (TRB) may also have
 transited this area, and as they have recently had a member imprisoned by the SDF, they too would have
 a motive for the attack.

 12.     An alternative claim is that perpetrators were from a mixed group of ex-regime supporters,
 Haftar supporters and criminals from Ghararaat. They are known to have previously attacked the airport
 in 2017/2018 and they have serious issues with the SDF.

 Analysis of violations of IHL

 13.    The Panel has initially analysed the applicable law in relation to this incident on the basis of its
 own independent investigations. The Panel has complied with the methodology listed at appendix C to
 annex 3 of this report.

 By the armed group (AG)

 14.      IHL requires that parties follow the IHL principle of distinction8 and take all feasible precautions
 to distinguish between civilian objects and military objectives. The Panel finds that the impact area at
 the civilian airport was a civilian object and not a legitimate military objective at that time, and thus the
 AG failed to respect relevant principles of IHL, including those relating to proportionality,9 as the
 likelihood of excessive harm to civilian objects could have reasonably been anticipated in the
 circumstances as the AG were certainly aware of the status of the location as a civilian international
 airport.

       8
           CIHL Rule 7 – The Principle of Distinction between Civilian Objects and Military Objectives.
       9
           Under IHL “launching an attack which may be expected to cause incidental loss of civilian life, injury to civilians, damage
           to civilian objects, or a combination thereof, which would be excessive in relation to the concrete and direct military
           advantage anticipated, is prohibited”.
           (Emphasis added). See CIHL Rule 14.




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 15.    It is reasonable to expect that the AG commander planning, directing and ordering this attack
 was aware of the civilian status of this part of the airport, given that this information is readily available,
 and the AG commander should have taken this into consideration when assessing if there were any
 ‘concrete and direct military advantage’ to the attack.10

 16.     IHL also requires military commanders and those responsible for planning and executing
 decisions regarding attacks to take all feasible precautions to avoid, and in any event to minimize (…)
 damage to civilian objects.11 The fact that the AG was aware that this was a civilian location, where
 there would certainly be a congregation of civilians as a civilian aircraft had just landed, meant that they
 should have been particularly vigilant when undertaking a proportionality assessment and making use
 of available precautionary measures to minimize the incidental loss of civilian life and damage to
 civilian property.12 It is also not yet clear what precautionary measures were taken, if any, by the AG.
 If taken, then the precautionary measures were ineffective.

 Panel findings

 17.     The Panel finds that by attacking the civilian area of Mitiga international airport at that time,
 that the AG were in violation of CIHL Rule 7 - The Principle of Distinction between Civilian Objects
 and Military Objectives, 13 CIHL Rule 14 – Proportionality in Attack14 and CIHL Rule 15 – Principle of
 Precautions in Attack.15




       10
          See CIHL Rule 14.
       11
          See 1) CIHL Rule 15; and 2) Article 13(1) of Additional Protocol II to the Geneva Conventions.
       12
          See commentary to CIHL Rule 14, and the United States Department of Defense Law of War Manual (2015), p.1033,
          which requires combatants to assess in good faith the information that is available to them, when conducting attacks.
       13
          https://ihl-databases.icrc.org/customary-ihl/eng/docs/v1_rul_rule7.
       14
          https://ihl-databases.icrc.org/customary-ihl/eng/docs/v1_rul_rule14.
       15
          https://ihl-databases.icrc.org/customary-ihl/eng/docs/v1_rul_rule15.




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 Annex 14:         GNA indiscriminate use of S-125 Nova Pechora missiles

 Incident details

 1.     On 13 June 2019 video imagery showed GNA-AF firing an S-125 Nova Pechora16 medium
 range surface to air missile (SAM) from an improvised launcher in an indirect fire role against HAF
 ground targets in Tripoli.

  Figure 14.1                                                      Figure 14.2
  S-125 Nova Pechora SAM on GNA-AF improvised                      S-125 Nova Pechora SAM fired from GNA-AF
  launcher                                                         improvised launcher




  Source: @oded121351. Twitter Video Extract. 13 June 2019. Accessed 17 June 2019. [L] and [R].

 2.     The use of surface to air missiles (SAM) from improvised launchers in the indirect fire role
 against populated areas is a violation of IHL no matter the circumstances. Many factors affect the
 accuracy17 and precision18 of an indirect fire weapon system, including meteorological conditions, the
 suspension system of the launcher, knowledge of the ballistic trajectories for differing ranges, the
 condition of the rocket motor propellant, accuracy of sighting system, and the professionalism of the
 crew. All these require substantial modelling, field testing, statistical analysis of fall of shot under
 known conditions, and training. From this a Circular Error Probability (CEP)19 can be derived. For a
 purpose designed free flight rocket system, such as the 122mm GRAD multi-barrel rocket launcher at



      16
         Alternative designation SA-3 Goa.
      17
         The ability to hit a designated target.
      18
         The ability to hit the designated target consistently.
      19
         The CEP is the radius of a circle around a mean point of impact in which over 50% of the rounds fired will impact. A
         large CEP indicates the level of precision of the weapons system.




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 a range of 20km the CEP and variables mean that a deflection error of 160m either side of the target
 and a range error of 300m would not be untypical.20 For an improvised system such as the S-125 Nova
 Pechora21 SAM, fired in a surface to surface role, there is virtually no possibility the crew could know
 the CEP.

 Panel findings

 3.     The Panel finds that by firing indiscriminately towards a target within a civilian populated area
 the GNA-AF are in violation of CIHL Rule 11 - Indiscriminate Attacks,22 CIHL Rule 14 –
 Proportionality in Attack23 and CIHL Rule 15 – Principle of Precautions in Attack.24




       20
          GICHD. February 2017. Explosive Weapon Effects. pp32-33. (ISBN: 978-2-940369-61-4). Geneva: GICHD.
       21
          NATO designation SA-3 Goa.
       22
          https://ihl-databases.icrc.org/customary-ihl/eng/docs/v1_rul_rule11.
       23
          https://ihl-databases.icrc.org/customary-ihl/eng/docs/v1_rul_rule14.
       24
          https://ihl-databases.icrc.org/customary-ihl/eng/docs/v1_rul_rule15.




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 Annex 15:           Attack on Tajura DCIM Detention Centre (2 July 2019)

 1.      At 23:28.41 hours and 23:39.33 hours local time25 on 2 July 2019, two items of explosive
 ordnance (EO) were dropped from a military aircraft and detonated within the Dhaman military
 compound26 at Tajura. One EO detonated in the detention centre and the second EO in a Dhaman
 brigade vehicle repair workshop and storage area (see image 15.1 for general layout of the Dhaman
 military compound).

 Image 15.1
 Layout of Dhaman military compound and EO strikes




 Source: Imagery from Google Earth Pro. Information from confidential sources.




       25
          Timings obtained from security camera footage of the area. The camera is located at 32°50'3.53"N, 13°23'5.84"E and is facing
          NorthEast. https://www.facebook.com/100004332917324/videos/1319047484916336/?s=100024356882840&sfns=mo. The Panel
          notes that this is a little used social media account, last used in November 2016. The Panel is convinced of the veracity of the video.
          Accessed on 5 July 2019.
       26
          ‫ضمان كتيبة‬. EO Strike 1, 32°50'3.58"N, 12°23'9.50"E; EO Strike 2, 32°50'3.79"N, 13°23'5.50"E.




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 2.      On 6 July 2019 Maxar Technologies Incorporated (www.maxar.com) released satellite imagery
 of the aftermath of the attack that were taken on 3 July 2019 (images 15.2 and 15.3). The Panel has re-
 orientated this imagery to allow for an easy direct comparison to image 15.1.

 Image 15.2
 Maxar satellite image of Dhaman compound and EO strikes (3 July 2019)




                                                  GNA Dhaman Brigade




            DCIM Detention Centre




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 Image 15.3
 Maxar satellite image of area of EO strikes (3 July 2019)




                                                                      UNHCR
                                                                   Geo-coordinates




                         DCIM Detention Centre                                          GNA Dhaman Brigade




 Casualties

 3.      The initial UN OCHA report27 stated that local health sector partners had indicated that at least
 53 refugees and migrants were killed, with 130 injured, and this has been widely reported.
 Notwithstanding this, a highly experienced independent investigator informed the Panel that there was
 minimal evidence to support this when the site was visited on 3 July 2019, less than fifteen hours post-
 attack. Only very low levels of human remains or tissue were observed, blood levels were very low on
 the surrounding infrastructure and surfaces, and there was no strong distinctive smell associated with
 decaying remains or body tissue. There were not the usual levels of such evidence that would be

      27
           OCHA. Humanitarian Update. Attack on Tajura detention centre. 3 July 2019.




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 expected, even after the evacuation of casualties and cadavers, if an item of explosive ordnance had
 detonated within such a densely occupied building. The Panel continues to investigate casualty levels,
 but currently cautions against the accuracy of the initial local health sector reports, as this incident is
 being used in the propaganda war between the parties to the conflict.

 Notification and warnings

 4.      The locations of all DCIM detention centres and refugee/migrant camps were routinely notified
 to all parties to the conflict, but the Panel could not identify any formal protocols for notification.28
 OHCHR had certainly informed parties to the conflict of the geo-coordinates of detention facilities,29
 and reminded them30 of their obligations regarding the protection of civilians and civilian objects. In a
 statement on 8 May 2019 UNHCR had called for refugees and migrants in detention centres in conflict
 areas to be immediately evacuated to safety.31

 5.      The Panel notes, for example, that the geo-coordinates provided to the Panel by UNHCR for the
 DCIM detention centre, (32050’03.3”N, 13023”08.1”E), were for a single point only located 30m
 equidistant between the detention centre and the Dhaman brigade vehicle workshop (see image 15.3).
 If these had been sent to the parties then they would require interpretation by a strike targeting team 32
 as to which building was the DCIM detention centre.

 6.     The Panel investigated how the notification system worked, including the level of geo-
 coordinate detail disseminated and made recommendations of best practice (an extract of which is at
 appendix A).

 Technical analysis of physical evidence and determination of EO type

 7.      Post blast crater photogrammetry analysis by the Panel of imagery (image 15.4) determined that
 the size of the crater resulting from the air strike that impacted on the detention centre, was 4.3m




       28
          The Panel has learned that, for example, on 5 May 2019 UNSMIL used the Viber messaging app to pass the geo-coordinates for some
          locations, including the Tajura DCIM detention centre, to the leadership of both parties to the conflict. The Panel developed an
          Advisory Note covering best practices for humanitarian deconfliction (see appendix A)
       29
          Panel Source. OHCHR also asserts both parties to the conflict were informed of the geo-locations of the detention facilities.
          https://www.ohchr.org/EN/NewsEvents/Pages/DisplayNews.aspx?NewsID=24784&LangID=E.
       30
          OCHA. Situation Report No 23. 10 May 2019.
       31
          Ibid.
       32
          International best practice requires “legal sign off” before a strike is authorized by the responsible commander. This only occurs after
          selection of the ordnance to be used, and bomb damage impact and blast predictions.




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 diameter.33 The crater profile is highly indicative of that typically caused by the sub-surface detonation
 of a high explosive (HE) aircraft (A/C) bomb.

 Image 15.4
 Post blast crater




 Source: Extracted from https://www.nytimes.com/video/world/africa/100000006594125/libya-airstrike-migrant.html?smid=pl-share.


 8.     This crater size and profile falls within the dimensional parameters for the detonation of
 approximately 90kg of high explosives (TNT equivalent) at a burial depth of 1.2m (figure 15.1).

 Figure 15.1
 Explosive Engineers Tool Box prediction of crater size and profile




 Source: Explosive Engineers Tool Box (EETB). Assumes initiation at a burial depth of 1.2m due to impact.




       33
            A confidential source later reported measuring the crater as 4.2m x 2.8m.




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 9.      This explosive mass estimate is close to the 91.4kg (TNT equivalent) explosive mass of the
 Mark 82 variant HE A/C bomb or a similar type. The damage levels physically observed, and the
 security camera imagery of the explosion, provide qualitative evidence in support of this technical
 estimate.

 10.    The Panel thus finds that an HE A/C bomb with an explosive content of approximately 90kg
 was almost certainly the cause of the explosion.

 11.     Explosives engineering analysis predicts that for an explosive device the size of an HE A/C
 bomb (net explosive content (NEC) of 90 kg) the blast overpressure will result in 99 per cent fatalities
 at a radius of up to 8.3m from the point of detonation, with permanent hearing damage expected out to
 a radius of 42.4m.34 These figures will be reduced to a degree as the A/C bomb detonated sub surface
 inside a space protected by the concrete walls between the rooms in the detention centre. Fatalities and
 injuries from fragmentation effects would be dependent on the spatial density of the inhabitants, who
 would act as “fragmentation traps”.35

 Attribution of responsibility

 12.      Although various allegations as to the perpetrators of the incident have been made, the Panel
 notes that at a press conference in Benghazi on 3 July 2019, Ahmed al-Mismari, the HAF spokesperson,
 admitted that the HAF had conducted the air strikes.36 He reportedly went on to say that the HAF
 regarded the base as a legitimate target and that the HAF had repeatedly targeted it with airstrikes and
 artillery. The Panel notes that no claim was made that solely HAF-owned air assets were used in the
 air strikes.

 13.     On 4 July 2019, the GNA Minister of Interior and Defence, Fathi Bashagha, claimed that the
 attack was conducted by the United Arab Emirates using an American manufactured F-16 jet.37 He then
 went on to suggest that Egypt could also be complicit by allowing the UAE aircraft to refuel in Egypt.




       34
          See C. N. Kingery and G. Bulmash, “Airblast parameters from TNT spherical air burst and hemispherical surface burst”, Technical
          Report ARBRL-TR-0255 (Ballistics Research Laboratory, Aberdeen Proving Ground, Maryland, United States, April 1984).
          Assuming peak reflected pressure surface burst.
       35
          The Panel does not yet have sufficient information to model this aspect of the warhead’s capability with any degree of acceptable
          accuracy for this incident.
       36
          https://www.yenisafak.com/en/news/haftar-forces-admit-to-libya-migrant-camp-airstrike-3484837. Accessed on 5 July 2019.
       37
          https://www.wsj.com/articles/libyas-tripoli-government-blames-u-a-e-for-deadly-airstrike-11562255129. Accessed on 5 July 2019.




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 14.      The Panel has established that, until now, the only night operational capability38 for the delivery
 of explosive ordnance by the HAF was the Wing Loong unmanned combat air vehicle (UCAV), and
 possibly the IOMAX Archangel. The HAF is not operating any assets under its sole control with a night
 operational capability to accurately and precisely deliver HE A/C bombs of the type used in this
 incident. The attack on Tajura shows some of the hallmarks of the use of precision guided munitions
 (PGM), as the odds of two unguided ‘dumb’ aircraft bombs both hitting the roofs of buildings, in what
 is a relatively under developed area in terms of low spatial density infrastructure, would be very low.

 15.     The Panel also has independent evidence from a reliable confidential source39 that an unknown
 number of Mirage 2000-9 fighter ground attack (FGA) were using Al Khadim airbase,40 and Jufra41 as
 operating bases at that time. The HAF does not possess such aircraft types. A full maintenance and
 weapons support team would also need to be provided by the supplying Member State, as the HAF has
 neither the training, equipment or explosive ordnance types to support the operation of such an aircraft
 type. The Mirage 2000-9 has a fully night operational capable airframe, with the capability to also
 deliver PGM.

 16.      Therefore, the Panel finds it highly probable that the air strike was conducted using PGM at
 night by a modern FGA aircraft owned and operated by a Member State, acting in direct support of the
 HAF. The Panel reserves identification of this Member State until further physical evidence or imagery
 emerges to increase attribution confidence levels, and continues to investigate the circumstances of the
 air strikes.


 Continuity of evidence

 17.     The Panel has concerns about the continuity of physical evidence and hence the veracity of the
 claims by the local health partners to OCHA as to the effects of the explosion within the DCIM detention
 centre.

 18.     Firstly, there appears to be a disparity between the damage levels observed immediately post
 blast from the security camera imagery (image 15.5) and those that were recorded by the media and
 other investigators the next day (image 15.6). The security camera footage clearly shows a determined


      38
         This is the capability to accurately and precisely deliver explosive ordnance against a specific target using the avionic system paired to
         the airframe and weapons system, as opposed to a pilot’s judgement as to the right release point using passive night vision goggles
         (PNG).
      39
         Two further confidential sources have also indicated that Mirage 2000-9 aircraft are now operating in Libya in support of the HAF.
      40
         Centred on 31°59'59.10"N, 21°11'40.22"E. The Panel has previously reported on the development and use of Al Khadim airbase by
         the UAE in paragraphs 124 to. 125 and annex 35 of S/2017/466, and pargraphs 111 to 113 of S/2018/812.
      41
           Centred on 29°11'54.15"N, 16°0'4.86"E.




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 effort to break down a door to allow the migrants to egress the building post blast. This would not have
 been required if the wall had been destroyed by the blast. Similarly, the security camera imagery shows
 an intact roof gutter line and a wall where the door is; that roof line and wall is no longer there in image
 15.6. Independent investigators also report a small bulldozer working in the immediate area on their
 arrival, but the activity stopped during the period of their visit.

  Image 15.5                                                                      Image 15.6
  Immediate post-blast imagery from security camera42                             Post-blast imagery from media43




 Sources: Source: 1) Extracted from
 https://www.facebook.com/100004332917324/posts/1319048021582949?s=100024356882840&sfns=mo. Accessed on 5 July 2019.
 [L]; and 2) extracted from https://almarsad.co/en/2019/07/06/satellite-images-and-video-footage-reveal-new-facts-on-tripoli-migrants-
 detention-centre/. Accessed on 6 July 2019. Verified by ground eye-witnesses that visited on 3 July 2019 [R].



 19.    Secondly, the opinion of an independent investigator concerning the low levels of forensic
 evidence vis-à-vis human remains and tissue (see earlier) are to a degree supported by the imagery.
 Close examination of images 15.4 shows no signs of blood splatter on the white colour walls in the
 immediate area of the bomb crater. This is highly unusual for the claimed number of casualties with
 what would have been a very high occupational spatial density at the time of the explosion.44

 20.     Thirdly, the security camera video imagery shows the 10:52 minutes between the explosions,
 and a further 3:09 minutes imagery post explosion. No individuals were observed leaving the detention
 centre. In the time shown post the second explosion the rescuers had still not managed to unlock or



       42
          Source: Extracted from https://www.facebook.com/100004332917324/posts/1319048021582949?s=100024356882840&sfns=mo.
          Accessed on 5 July 2019.
       43
          Source: Extracted from https://almarsad.co/en/2019/07/06/satellite-images-and-video-footage-reveal-new-facts-on-tripoli-migrants-
          detention-centre/. Accessed on 6 July 2019. Verified by ground eye-witnesses that visited on 3 July 2019
       44
          The Panel estimates, based on photogrammetry and the claimed casualty levels, that each individual would have been occupying no
          more than 2.2m2 of floorspace. That figure assumes everyone in that part of the detention centre was a fatality or injury.




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 break down the door to gain access to the detention centre building, and no migrants or refugees had
 emerged from that side of the building. This evidence contrasts the claims mentioned in the OCHA
 humanitarian update45 that some refugees and migrants were fired upon by guards as they tried to
 escape.

 21.    The Panel makes no findings regarding these continuity of evidence related issues, but includes
 them for background and to assist in any future independent investigation.

 Analysis of violations of IHL.

 22. The Panel has initially analysed the applicable law in relation to this incident on the basis of its
 own independent investigations. The Panel has complied with the methodology listed at appendix C to
 annex 3 of this report.46

 By the HAF

 23.     Although it is highly probable that the airframe that delivered the explosive ordnance in this
 attack was operated by a Member State, those operations were almost certainly in support of the HAF
 against targets developed by and agreed upon with the HAF air operations organization. Thus, the HAF
 bears a large burden of command and operational responsibility for the attacks. The Member State
 supporting the HAF with the air assets used in this attack will also highly probably have violated IHL,
 and the Panel continues to investigate this aspect.

 24.    The Panel investigations demonstrated that, while it is possible that some individual fighters
 may have been present in the Dhaman brigade workshop and storage area, there were civilians,
 including children, in the detention centre at the time of the air strikes.

 25.      IHL requires that parties follow the IHL principle of distinction47 and take all feasible
 precautions to separate civilians and military objectives. The Panel finds that although it is possible that
 the air strike targeted some GNA-AF fighters, the HAF and the Member State failed to respect relevant
 principles of IHL, including those relating to proportionality,48 as the likelihood of excessive harm to
 civilians and civilian objects could have reasonably been anticipated in the circumstances because:



      45
         OCHA. Humanitarian Update. Attack on Tajura detention centre. 3 July 2019.
      46
         The Panel has had its findings confidentially and independently peer reviewed by a legally qualified expert from another Panel.
      47
         See Article 50 of Additional Protocol I to the Geneva Conventions. https://ihl-databases.icrc.org/ihl/INTRO/470.
      48
         Under IHL “launching an attack which may be expected to cause incidental loss of civilian life, injury to civilians, damage to civilian
         objects, or a combination thereof, which would be excessive in relation to the concrete and direct military advantage anticipated, is
         prohibited”. (Emphasis added). See CIHL Rule 14.




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            (1)     This likelihood of excessive harm to civilians and civilian objects could have reasonably
            been anticipated in the circumstances because: (i) the detention centre was a civilian object
            prima facie immune from attack; (ii) the detention centre was functional on the day of the air
            strike; and (iii) that the timing of the attack at night would be such as to cause a
            disproportionately high number of civilian casualties. It is reasonable to expect that a
            commander ordering these air strikes should have been aware of the above factors, given that
            this information is readily available, and should have taken them into consideration when
            assessing the ‘concrete and direct military advantage’ of the air strikes.49

            (2)      The Panel notes that the HAF has not provided any information that demonstrated that a
            significant number of those who died or injured were fighters affiliated to the GNA-AF. Instead,
            initial information collected by the UN and other organizations from local health partners
            suggest that the attack may have resulted in the deaths of at least 53 refugees and migrants, with
            130 injured,50 although this data is still being investigated by the Panel and should be viewed
            with caution at this time (see above).

            (3)    It is also relevant that one aircraft bomb detonated inside the detention centre, and not
            “near” the detention centre in an area the fighters affiliated to the GNA-AF may have been
            expected to gather.

 26. IHL requires military commanders and those responsible for planning and executing decisions
 regarding attacks to take all feasible precautions to avoid, and in any event to minimize, incidental loss
 of civilian life, injury to civilians and damage to civilian objects.51 The fact that the HAF and Member
 State would be aware that it was a detention centre and thus a civilian location where there would
 ordinarily be a congregation of civilians (see above), meant that the HAF and/or Member State should
 have been particularly vigilant when undertaking a proportionality assessment and making use of
 available precautionary measures to minimize the incidental loss of civilian life and damage to civilian
 property.52 It is also not yet clear what precautionary measures were taken, if any, by the HAF and/or



       49
          See CIHL Rule 14.
       50
          In the Galic Trial Judgement (2003), the International Criminal Tribunal for Former Yugoslavia held in respect of a shelling at a
          football tournament that “Although the number of soldiers present at the game was significant, an attack on a crowd of approximately
          200 people, including numerous children, would clearly be expected to cause incidental loss of life and injuries to civilians excessive
          in relation to the direct and concrete military advantage anticipated”. See http://www.icty.org/x/cases/galic/tjug/en/gal-
          tj031205e.pdf.
       51
          See 1) CIHL Rule 15; and 2) Article 13(1) of Additional Protocol II to the Geneva Conventions.
       52
          See commentary to CIHL Rule 14, and the United States Department of Defense Law of War Manual (2015), p.1033, which requires
          combatants to assess in good faith the information that is available to them, when conducting attacks.




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 Member State, including confirmation that the detention centre was not operational, on the day of the
 attack. If taken the precautionary measures were ineffective.

 By the GNA-AF

 27. Imagery from a confidential source taken the morning after the air strike clearly shows the remains
 of a 4x4 ‘Technical’ with a quad 14.5mm heavy machine gun mounted in the rear of the vehicle (image
 15.7). 23 mm ammunition was also observed on the floor in the same area as the vehicle, which was
 located in the damaged workshop and storage area of the Dhaman brigade (image 15.8).53 This evidence
 confirms that this particular building was a legitimate military target, but this alone does not justify
 offensive action against the building (see above).

  Image 15.7                                                            Image 15.8
  Destroyed Quad 14.5mm heavy machine gun                               Ammunition for ZSU 23-2 anti-aircraft cannon




 Sources: Confidential [L] and [R].

 28. IHL requires that parties follow the IHL principle of distinction and take all feasible precautions
 to separate civilians and military objectives.54



       53
          An open source released a report after the drafting of this letter that provides further evidence of the presence of weapons, ammunition
          and military equipment in the GNA Dhaman Brigade workshop and store. https://almarsad.co/en/2019/07/06/satellite-images-and-
          video-footage-reveal-new-facts-on-tripoli-migrants-detention-centre/. Accessed on 7 July 2019. This evidence was supported by the
          observations of a ground eye-witness.
       54
          CIHL Rules 23 and 24.




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 29. IHL requires that persons deprived of their liberty be held in premises which are removed from the
 combat zone,55 and that in case of displacement all possible measures be taken in order that the civilian
 population may be received under satisfactory conditions of safety.56

 30. The Panel finds that the GNA-AF has violated IHL by locating a DCIM detention centre within a
 known military compound as:

            (1)     Feasible precautions were not taken to separate the civilians held in the DCIM detention
            centre from the wider military objective of the Dhaman military compound;

            (2)   That persons deprived of their liberty and held in the DCIM detention centre were not
            removed from the combat zone; and

            (3)      Satisfactory conditions of safety were not established.


 Summary of findings

 29. The Panel finds that:

            (1)   The HAF deliberately planned and directed two air strikes on the Dhaman military
            compound on 2 July 2019 that resulted in civilian fatalities and casualties;

            (2)   A Member State deliberately executed at least two air strikes, on the Dhaman military
            compound on 2 July 2019 that resulted in civilian fatalities and casualties;

            (3)     The Panel is unconvinced that the HAF and the Member State respected principles in
            relation to proportionality in this incident. If precautionary measures were taken, they were
            largely inadequate and ineffective;57




       55
          CIHL Rule 121.
       56
          CIHL Rule 131.
       57
          A further indicator that the IHL principles in regard to proportionality are being deliberately ignored by the HAF was the recent
          statement by the HAF Spokesperson, Ahmed Al-Mismari, that buildings in Tripoli with rooftop antennae would be legitimate targets
          for air strikes. https://twitter.com/Lyobserver/status/1148132108109352960 and
          https://www.facebook.com/HamzaAlibye/videos/2398685393743262/?s=505040097&sfns=mo. Accessed on 8 July 2019.




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           (4)      As the HAF had been notified of the geo-coordinates for the DCIM managed detention
           centres, the HAF is: 1) highly probably responsible for IHL violations regarding the failure on
           its part to undertake the requisite detailed assessments relating to proportionality and precautions
           in this attack; and 2) almost certainly responsible for failing to ensure that relevant precautions
           were taken to minimize the effects on civilians as a result of the air strikes;

           (5)     Those officers of the HAF that passed the information, or who were otherwise involved
           in the intelligence gathering and targeting processes in relation to this incident, may also be
           responsible for any IHL violations to the extent of their contribution; and

           (6)     The GNA violated IHL by locating a DCIM detention centre within the perimeter of a
           known military compound, and also by the failure to immediately evacuate the DCIM detention
           centre after the first air strike of 7 May 2019.




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 Appendix A to Annex 15: Humanitarian deconfliction – best practice58

 Background

 1. The processes and mechanisms used are often referred to as deconfliction mechanisms,
 humanitarian notification for deconfliction or humanitarian deconfliction. This document will use the
 latter term.

 2. OCHA defines deconfliction59 as the exchange of information and planning advisories by
 humanitarian actors with military actors in order to prevent or resolve conflicts between the two sets
 [of] objectives, remove obstacles to humanitarian action, and avoid potential hazards for humanitarian
 personnel.

 3. In effect, the aim should be notify parties to the conflict of the presence of humanitarian agencies
 and protected facilities in order to allow those agencies to safely engage in their operational activities,
 or to ensure the parties are aware of the location of facilities protected by international humanitarian
 law (IHL). It can also contribute to the development of humanitarian space, which allows humanitarian
 actors to provide assistance and services according to humanitarian principles and in line with IHL.

 4. There are debates as to whether the term notification should be used, as deconfliction may suggest
 that military permission is needed for humanitarian actors to engage in their work. That discussion will
 continue, but is not an issue for Libya currently, where protection has to be the priority.

 5. On 3 May 2016 the Security Council adopted resolution 2286 (2016), which covers the protection
 of medical facilities during conflict in accordance with IHL. On 25 May 2017 the Secretary General
 emphasised the recommendations in resolution 2286 (2016),60 in particular that parties to armed conflict
 should: record[…] and map […] the presence of personnel exclusively engaged in medical duties, their
 means of transport and equipment, as well as hospitals and other medical facilities, and regularly
 update this information, including through enhanced information exchanges and real-time coordination
 with medical and humanitarian actors on the ground and the use of appropriate technology.




       58
          Extract from Panel Advisory of 2 August 2019.
       59
          https://www.unocha.org/sites/unocha/files/Stay_and_Deliver.pdf.
       60
          https://news.un.org/en/story/2017/05/558172-attacks-hospitals-and-medical-staff-symptoms-grave-disregard-international-law.




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 6. Humanitarian deconfliction to the highest standards of accuracy has become essential due to the
 introduction of precision guided munitions (PGM) with a circular error probability (CEP)61 of less than
 5m. When added to the danger area of the PGM warhead, for example 75m for a medium sized PGM,
 it allows a strike planning team62 to select targets within just over 80m of a civilian object and still argue
 that the principle of proportionality had been met and that appropriate precautionary measures had been
 taken.63

 7. Although some international organizations, such as ICRC and MSF, have their own bilateral
 arrangements to parties to a conflict, and OCHA in Yemen have developed a sophisticated humanitarian
 deconfliction system to contribute to a “no-strike” list of the Saudi Arabia-led coalition, there are no
 international standards or guidelines. The concept is evolving as experience is gained in ongoing
 conflicts.

 8. The use of a humanitarian deconfliction mechanism does not absolve the parties to a conflict from
 their obligations under IHL to: 1) protect the civilian population from the effects of armed force; and 2)
 protect the provision of, and access to, impartial medical assistance and humanitarian aid in non-
 international armed conflicts such as Libya today.

 9. Although the use of a humanitarian deconfliction mechanism does not necessarily prevent the
 indiscriminate use of explosive ordnance, the Head of OCHA in Yemen has stated that their system is
 “largely effective”. It may also assist in longer-term investigations in to IHL violations and the
 establishment of accountability. It is fundamentally a humanitarian imperative to protect life.

 Implementation of an effective humanitarian deconfliction mechanism

 10. There are a range of tasks necessary to develop and then implement an effective humanitarian
 deconfliction mechanism (see table 15.A.1). A coordinated multi-agency approach is essential to
 success.




      61
         Circular Error Probability is a measure of a weapon system’s precision or accuracy. It is defined as the radius of a circle, centred
         about the mean, whose boundary is expected to include the landing points of 50 per cent of the warheads.
      62
         International best practice requires “legal sign off” before a strike is authorized by the responsible commander. This only occurs after
         selection of the ordnance to be used, and bomb damage impact and blast predictions.
      63
         Under IHL “launching an attack which may be expected to cause incidental loss of civilian life, injury to civilians, damage to civilian
         objects, or a combination thereof, which would be excessive in relation to the concrete and direct military advantage anticipated, is
         prohibited”. (Emphasis added). See CIHLR 14.




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 Table 15.A.1
 Development and implementation tasks

  #     Activity                                       Remarks
  1     Determine interested parties within the    ▪    Plus others as appropriate.
        international community


  2     Engage in dialogue with parties to the     ▪    SRSG engagement?
        conflict to introduce the concept to them.
  3     Agree lead agency                          ▪    This has traditionally been OCHA.

  4     Appoint individual as Humanitarian         ▪    Responsible for the development, accuracy and dissemination of a
        Deconfliction Co-ordinator (HDC)
                                                        consolidated no-strike list.
                                                   ▪    Should be a senior appointment due to the sensitivity of role and
                                                        impact of inaccurate data. (P4/P5 equivalent).
                                                   ▪    HDC will require support to develop initial list.

  5     Agree geo-coordinate system to be used     ▪    Decimal (15.0008763N) or Long/Lat (32050’03.3”N).
                                                   ▪    Conversion between the two can lead to “data garbling”.
                                                   ▪    Long/Lat best if Google Earth Pro to be used for mapping.

  6     Agree mapping system to be used            ▪    Google Earth Pro readily available.
                                                   ▪    Essential all agencies use same system to reduce coordinate errors.

  7     Develop notification list format and       ▪    Examples at annex A.
        mapping file
                                                   ▪    Locations can also be plotted on Google Earth and shared via .kmz
                                                        files.

  8     Agencies send location details to HDC      ▪

  9     HDC develops “no strike” list              ▪    This will initially be a time-consuming process.

  10    “No strike” list sent to participating     ▪    Agencies to confirm the accuracy of their data in the list.
        agencies for review and confirmation
  11    Participating agencies confirm accuracy    ▪
        or amendments to “no strike” list
  12    Amended “no strike” list developed and     ▪
        finalised.
  13    “No strike” list disseminated to           ▪    Secondary checks at agency discretion.
        participating agencies.
  14    “No strike” list disseminated to           ▪    Wide dissemination to senior individuals in, and HQ, of both parties
        conflicting parties




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                                                  until a single point of contact established. “Shot gun” approach
                                                  initially.
                                              ▪   Individuals’ requested to sign for” the receipt of the “no strike” list.
                                              ▪   If no signature obtained then record the name, appointment, contact
                                                  details, and time and date handed over.

  15   Repeat serials 7 to 13                 ▪   Weekly, or as major changes to list due to relocation or new
                                                  establishment of “safe places”



 Key factors

 11. Key factors to consider include:

           (1)    The locations of corner points of individual buildings in isolation is essential;

           (2)    Large facilities such as hospitals can be boundary corner point coordinates;

           (3)    A common geo-coordinate system must be agreed and used;

           (4)    A common mapping system must be agreed and used;

           (5)    One individual should be nominated as the HDC; and

           (6)    It is essential that parties to conflict formally accept receipt of each “no strike” list.




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 Annex 16:             Attack on Tebu communities in Murzuq (5 August 2019)

 Introduction64

 1.      The indiscriminate use of explosive ordnance (EO) during the air strikes that took place on the
 5 August 2019 against Tebu neighbourhoods in Murzuq was indicative of a developing pattern of
 similar IHL violations by the HAF.

 Background

 2.      These air strikes are as the result of heightened tensions and clashes between the Tebu ethnic
 group (30% of the city’s population) and the Ahali community (66% Arab Fezazna and 4% Tuarag) in
 the Murzuq area over the last year. These clashes have allegedly included the shelling of the Ahali
 communities in early August 2019 by the Tebu resulting in a reported nineteen fatalities. It is assessed
 that the 5 August 2019 air strikes were the result of an effort by the Ahali to persuade the HAF to
 support them against the Tebu.

 3.       Tensions between the two communities exist due to: 1) Tebu resentment of past Ahali support
 for Gaddafi; 2) Ahali support for HAF auxiliary forces led by the Awlad Suleiman and Zwai tribes; 3)
 Ahali resentment towards the expansion of Tebu political and economic influence since 2011; 4) the
 restriction, or lack of access, of the Ahali community to the Tebu controlled local health services; 5)
 Ahali concerns that the Tebu are changing the demographic composition of the area; and 6) control over
 smuggling networks. The situation in the area is complex and fragile.

 4.      After the fall of Gaddafi in 2011 the Tebu took over control of the city administration, to the
 detriment of the Ahali community, Arab tribes, and other minority groups. In February 2019 the HAF,
 supported by the Arab tribes namely the Fezzan, Awlad Suleiman and Zwai tribes, besieged the city of
 Murzuq and temporarily took control, which effectively re-established Ahali domination for few days.
 After the withdrawal of the HAF in late February 2019, latent tensions escalated again as the Tebu
 retook control. This make the imposition of internal security within the city almost impossible, although
 mediation by tribal elders permitted temporary ceasefires, which were almost immediately broken
 shortly after. Fifteen individuals were killed during two days of violence in early June 2019 and the
 HAF Khaled Ibn al-Walid battalion intervened in an attempt to establish law and order. Conflict
 reignited after their intervention with allegedly 60 individuals being killed since the start of August



       64
            Developed from a confidential source’s internal report and other Panel sources.




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 2019.65 There is a real risk that the conflict will escalate further as the Tebu are neither internally unified
 nor aligned to either of the main parties to the wider armed conflict in Libya.

 Incident details

 5. At 02:47 hours local time on 5 August 2019 four consecutive air strikes targeted Tebu
 neighbourhoods in Murzuq.66 One air strike impacted very close to a civilian wedding location in Blad
 District (Al Qalaa neighbourhood), shortly followed by a second after first responders had attended.
 The Panel has not yet assessed whether this was a deliberate “double tap” attack.67 The other two air
 strikes impacted in District 17. Locations are shown in image 16.1.

 Image 16.1
 Ethic community and EO strike area




 Source: Imagery from Google Earth Pro. Information from confidential sources.




       65
          It is not yet clear if this data includes the casualties from the air strikes.
       66
          Centred approximately on 25°54'50"N, 13°54'38"E.
       67
          “Double tap” refers to a deliberate practice where there is a short delay after the first strike allowing the attendance of first responders
          and investigators, who are then targeted by the second strike.




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 Casualties

 6.     The initial open source reports indicated 42 fatalities and more than 60 injured. The Panel has
 obtained medical records from Murzuq hospital that confirms the 42 casualties (see appendix A).

 Technical analysis of physical evidence and determination of EO type

 7.      The Panel has only obtained limited imagery (extracted from video)68 of the air strike locations
 so far, but this is sufficient to confirm that the location had been subjected to high explosive attack
 (images 16.2 and 16.3).

  Image 16.2                                                         Image 16.3
  Damaged infrastructure with characteristics of                     Damaged infrastructure with characteristics of
  high explosives damage                                             high explosives damage




 Source: Confidential

 8.      There was initially only one image of a fragment from an item of explosive ordnance available
 to date (image 16.4) for visual analysis, but that fragment is sufficient for the Panel to identify the
 explosive ordnance used at that point as almost certainly a BA-7 Blue Arrow air to surface missile

       68
            https://twitter.com/AlarabyTV/status/1158377118830514178?s=08, 5 August 2019.




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 (ASM) (image 16.5). Further imagery was made available on 29 August 2019 from a confidential source
 (image 16.6 and 16.7), which confirms this initial assessment. This missile type is used in Libya
 exclusively from the Wing Loong II unmanned combat air vehicle (UCAV), which are flown in
 operational support of the HAF by a Member State.

  Image 16.4                                                Image 16.5
  EO fragment at air strike                                 BA-7 ASM at Paris Air Show




  Notes:                                                    Notes:
  1. Rearward facing equally spaced bolt.                   1. One of eight rearwards facing equally spaced bolts
  2. Reduction in fuselage diameter (identifiable after     2. Reduction in fuselage diameter.
  “trumpeting” due to impact).


  Image 16.6                                                Image 16.7
  BA-7 fragment at air strike                               BA-7 fragment at air strike




 Sources: Confidential and Janes’ IHS. www.janes.ihs.com.



 Attribution of responsibility

 9.      On the same day as the air strikes, the HAF spokesperson, Ahmed Al Mesmari, stated that the
 air operations room of the HAF had targeted the Government of National Accord (GNA) backed armed




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 group of Hassan Musa al-Souqy (a.k.a. al-Tibaoui) (the Southern Protection Force) with aviation
 assets.69 This group is probably supported by Chadian mercenaries, and there is a real risk that it will
 retaliate for the air strikes.

 10.     The Ministry of the Interior, House of Representatives and Mayoralty of Murzuq have also
 alleged that HAF were the perpetrators, and all three organizations have condemned the attack and
 either condemned UNSMIL or asked for a UN investigation (see appendix B).70

 11.      Based on technical analysis and an understanding of the conflict dynamics in the area the Panel
 finds that the air strikes were planned and directed by the HAF, and executed by a Member State acting
 in their direct operational support.

 Analysis of violations of IHL

 12.    The Panel has initially analysed the applicable law in relation to this incident on the basis of its
 own independent investigations. The Panel has complied with the methodology listed at appendix C to
 annex 3 of this report.

 By the HAF and Member State

 13.     Although it is almost certain that the airframe that delivered the explosive ordnance in this attack
 was a Wing Loong II UCAV operated by a Member State, those operations were in support of the HAF
 against targets developed by and agreed upon with the HAF air operations organization. Thus, the HAF
 bears a large burden of command and operational responsibility for the attacks. The Member State
 supporting the HAF with the air assets used in this attack will also highly probably have violated IHL,
 and the Panel continues to investigate this aspect.

 14.     IHL requires that parties follow the IHL principle of distinction71 and take all feasible
 precautions to separate civilians and military objectives. The Panel finds that the HAF and the Member
 State failed to respect relevant principles of IHL, including those relating to proportionality,72 as the
 likelihood of excessive harm to civilians and civilian objects could have reasonably been anticipated in
 the circumstances because:



       69
          https://www.youtube.com/watch?v=-Mq1uB1x3Oc&t=141s. Accessed 7 August 2019.
       70
          Official UN translations have been requested. The Panel summarizes the contents of each letter in the annex.
       71
          See Article 50 of Additional Protocol I to the Geneva Conventions. https://ihl-databases.icrc.org/ihl/INTRO/470.
       72
          Under IHL “launching an attack which may be expected to cause incidental loss of civilian life, injury to civilians, damage to civilian
          objects, or a combination thereof, which would be excessive in relation to the concrete and direct military advantage anticipated, is
          prohibited”. (Emphasis added). See CIHL Rule 14.




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            (1)     the location was obviously a civilian community; and

            (2)   the timing of the attack at night would be such as to cause a disproportionately high
            number of civilian casualties.

 14.     It is reasonable to expect that the HAF commander planning, directing and ordering these air
 strikes was aware of the above factors, given that this information is readily available, and the HAF
 commander should have taken them into consideration when assessing if there were any ‘concrete and
 direct military advantage’ to the air strikes.73

 15.     IHL requires military commanders and those responsible for planning and executing decisions
 regarding attacks to take all feasible precautions to avoid, and in any event to minimize, incidental loss
 of civilian life, injury to civilians and damage to civilian objects.74 The fact that the HAF and member
 State would have been aware that this was a civilian location, where there would ordinarily be a
 congregation of civilians (see above), meant that they should have been particularly vigilant when
 undertaking a proportionality assessment and making use of available precautionary measures to
 minimize the incidental loss of civilian life and damage to civilian property.75 It is also not yet clear
 what precautionary measures were taken, if any, by the HAF and/or Member State. If taken, then the
 precautionary measures were ineffective.

 Summary of findings

 17.        The Panel finds that:

            (1)      The HAF deliberately planned and directed at least one air strike, and almost certainly a
            further three, on a primarily Tebu area of Murzuq on 5 August 2019 that resulted in civilian
            fatalities and casualties;

            (2)      A Member State deliberately executed at least one air strike, and almost certainly a
            further three, on a primarily Tebu area of Murzuq on 5 August 2019 that resulted in civilian
            fatalities and casualties;




       73
          See CIHL Rule 14.
       74
          See 1) CIHL Rule 15; and 2) Article 13(1) of Additional Protocol II to the Geneva Conventions.
       75
          See commentary to CIHL Rule 14, and the United States Department of Defense Law of War Manual (2015), p.1033, which requires
          combatants to assess in good faith the information that is available to them, when conducting attacks.




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            (3)   The Panel is unconvinced that the HAF and the Member State, and their respective
            commanders, respected principles in relation to proportionality in this incident. If precautionary
            measures were taken, they were largely inadequate and ineffective; and

            (4)     Any individuals that passed the information, or who were otherwise involved in the
            intelligence gathering and targeting processes in relation to this incident, may also be
            responsible for any IHL violations to the extent of their command responsibility.




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 Appendix A to Annex 16: List of fatalities from Murzuq hospital

 Image A.16.1
 Murzuq Hospital list of fatalities




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 Source: Confidential




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 Appendix B to Annex 16: Official Libyan statements

 Image B.16.1
 Statement of House of Representatives




 PANEL SUMMARY

 This document denounces the air strikes, the silence of the UN, and calls on UNSMIL and the international human rights
 NGOs to take action (although it is not specific on what type of action it expects).




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 Image B.16.2
 Statement of Ministry of Interior




 PANEL SUMMARY

 This document denounces the raid (naming the location as the Al Kalaa neighbourhood), requests dialogue between the
 elders to reduce tensions and calls for a UN investigation into the “war crime”.




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 Image B.16.3
 Statement of Mayoralty of Murzuq




 PANEL SUMMARY

 This document denounces the attack, states casualties of 43 dead and 60 injured, and accuses the HAF. It also holds the
 SRSG, Ghassan Salame, responsible as they allege he considers “Haftar’s militia as an army”.




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 Annex 17:              Attack on Zuwarah airport (15/16 August 2019)

 Incident details

 1.     The HAF air force attacked Zuwarah international airport76 with air delivered explosive
 ordnance (EO) at 07:09 hours (local time) on 15 August and at 07:30 hours (local time) on 16 August
 2019,77 reportedly delivered by a Sukhoi SU-22 fighter ground attack (FGA) aircraft. On 15 August
 2019 the HAF spokesperson, Ahmad al-Mismari stated that they had targeted the airport as it was being
 used as base for Turkish unmanned aerial vehicles (UAV).78 In his statement he claimed that the strikes
 had avoided the runway (see later). The airport was closed until 18 August 2019, and all air operations
 suspended until the runway had being repaired.

 2.      UNSMIL deployed an inspection team to the airport on 17 August 2019, and much of the
 information contained in this annex is from that visit. UNSMIL determined the following damage (also
 see figure 17.1):

 Table 17.1
 Damage to Zuwarah international airport from EO impact

                           Impact point                    Geo-
     Air strike date                                       coordinates          Damage a

     15 Aug 2019           Runway 06/24 (NE)               32057’20.6”N,        ▪ Crater
                                                           12001’17.2”E

     15 Aug 2019           Off edge of Runway 06/24        32057’19.6”N,        ▪ Crater (1.6m)
                           (NE)                            12001’18.9”E

     15 Aug 2019           Off edge of Runway 06/24        32057’19.6”N,        ▪ Crater (1.0m)
                           (NE)                            12001’18.5”E

     15 Aug 2019           Off edge of Runway 06/24        32057’29.5”N,        ▪ Crater (1.4m)
                           (NE)                            12001’17.3”E

     16 Aug 2019           Building under construction     32057’01.6”N,        ▪ Virtually no damage to building
                           for new fire station            12001’05.7”E
                                                                                ▪ Pre-fabricated guard building severely damaged
     16 Aug 2019           Guard building                  32057’01.8”N,        ▪ Three civilian vehicles damaged
                                                           12001’06.1”E
                                                                                ▪ One military vehicle damaged

 a
     Crater dimensions are for diameter in m.




         76
            Centred on 32°57' 22.22"N, 12° 01' 23.61"E.
         77
            UNSMIL information.
         78
            https://twitter.com/spoxlna/status/1161997777917947904, 15 August 2019. Accessed 25 August 2019.




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 Figure 17.1
 Location of EO impact points at Zuwarah international airport (15 and 16 August 2019)




 Technical analysis of physical evidence and determination of EO type

 3.    The UNSMIL inspection team measured the crater to the side of the runway as 1.0m, 1.4m and
 1.6m.

 4.     Initial reports were that RBK cluster bomb units (CBU) were the EO used for the strike. The
 Panel supports this reporting based on:

           (1)   One recovered fragment (figures 17.2 and 17.3) has a virtually identical profile, shape
           and approximate dimensions (400mm v 450mm) as that of the nose of an RBK-500 CBU
           (example at figure 17.4).




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            (2)   Other recovered fragments (figures 17.5 and 17.6) have the same shape and approximate
            dimensions (30cm v 25cm) as the ZAB-2.5M incendiary bomblet dispensed by the RBK-500
            CBU (example at figure 17.7), which contains 117 bomblets.


  Figure 17.2                       Figure 17.3                 Figure 17.4
  Recovered fragment a              Recovered fragment b        RBK-500 CBU c




  Figure 17.5                       Figure 17.6                 Figure 17.7
  Recovered fragments d             Recovered fragment e        RBK-500 CBU f




            a
              UNSMIL.
            b
              UNSMIL. (Image rotated for comparative effect).
            c
              UNMAS Libya.
            d
              UNSMIL.
            e
              Ibid
            f
              UNMAS Libya


 5.      It is highly likely that the crater damage was due to the impact of CBUs that had not dispensed
 their bomblets during flight. This could be due to either: 1) a failure within the expulsion system within
 the CBU itself; or 2) the delivery aircraft attack profile was too fast and at too low level to allow correct
 functioning of the expulsion unit.

 6.    The RBK-500 CBU is one of the ordnance types that are ballistically paired to be delivered from
 a SU-22 FGA, has been seen in Libya before and is known to be in the possession of the HAF air force.




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 Casualties

 7.    The airport manager reported that there were two casualties from the air strike on 16 August
 2019 among the guards from GNA-AF 105 battalion.

 Attribution of responsibility

 8.         HAF has taken responsibility for this air strike.

 Analysis of violations of IHL

 9.     The Panel has initially analysed the applicable law in relation to this incident on the basis of its
 own independent investigations. The Panel has complied with the methodology listed at appendix C to
 annex 3 of this report.


 By the HAF

 10. The Panel is unconvinced of the veracity of the HAF claim that they conducted air strikes against
 the airport due to UCAV usage as:

           (1)    The only hanger large enough to store or hide a UCAV was untouched and over 280m
           from the buildings damaged;

            (2)        The buildings damaged were not large enough to store or hide a UCAV in; and

            (3)    It is not logical to hit one end of the runway, as the UCAV have short take-off profiles
            and could easily use the rest of the runway.

 11.    The airframe that delivered the explosive ordnance in this attack is known by the Panel to be
 operational with the HAF, and the HAF air operations centre almost certainly planned, directed and
 ordered these attacks. The HAF thus bears the command and operational responsibility for these attacks.

 12.     IHL requires that parties follow the IHL principle of distinction79 and take all feasible
 precautions to distinguish between civilian objects and military objectives. The Panel finds that the
 civilian airport was a civilian object and not a legitimate military objective at that time, and thus the
 HAF failed to respect relevant principles of IHL, including those relating to proportionality,80 as the
      79
           CIHL Rule 7 – The Principle of Distinction between Civilian Objects and Military Objectives.
      80
           Under IHL “launching an attack which may be expected to cause incidental loss of civilian life, injury to civilians, damage to civilian objects,




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 likelihood of excessive harm to civilian objects could have reasonably been anticipated in the
 circumstances as the HAF air operations organization must have been aware of the status of the location
 as a civilian international airport.

 13.     It is reasonable to expect that the HAF commander planning, directing and ordering these air
 strikes was aware of the civilian status of the airport, given that this information is readily available,
 and the HAF commander should have taken this into consideration when assessing if there were any
 ‘concrete and direct military advantage’ to the air strikes.81

 14.     IHL requires military commanders and those responsible for planning and executing decisions
 regarding attacks to take all feasible precautions to avoid, and in any event to minimize (…) damage to
 civilian objects.82 The fact that the HAF were aware that this was a civilian location, where there would
 ordinarily be a congregation of civilians (see above), meant that they should have been particularly
 vigilant when undertaking a proportionality assessment and making use of available precautionary
 measures to minimize the incidental loss of civilian life and damage to civilian property.83 It is also not
 yet clear what precautionary measures were taken, if any, by the HAF and/or Member State. If taken,
 then the precautionary measures were ineffective.

 Panel findings

 15.     The Panel finds that by attacking Zuwarah international airport at that time that the HAF were
 in violation of CIHL Rule 7 - The Principle of Distinction between Civilian Objects and Military
 Objectives,84 CIHL Rule 14 – Proportionality in Attack85 and CIHL Rule 15 – Principle of Precautions
 in Attack.86




           or a combination thereof, which would be excessive in relation to the concrete and direct military advantage anticipated, is
           prohibited”. (Emphasis added). See CIHL Rule 14.
       81
          See CIHL Rule 14.
       82
          See 1) CIHL Rule 15; and 2) Article 13(1) of Additional Protocol II to the Geneva Conventions.
       83
          See commentary to CIHL Rule 14, and the United States Department of Defense Law of War Manual (2015), p.1033, which requires
          combatants to assess in good faith the information that is available to them, when conducting attacks.
       84
          https://ihl-databases.icrc.org/customary-ihl/eng/docs/v1_rul_rule7.
       85
          https://ihl-databases.icrc.org/customary-ihl/eng/docs/v1_rul_rule14.
       86
          https://ihl-databases.icrc.org/customary-ihl/eng/docs/v1_rul_rule15.




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 Annex 18:          Attack on Mitiga airport (6 September 2019)87

 Incident details

 1.     At approximately 03:30 hours (local) on 6 September 2019, one item of explosive ordnance
 (EO) detonated on the perimeter wall north area of the airport and the other two EO impacted in the sea.
 This was followed at 04:45 hours (local) by the detonation of three more items of EO on the runway88
 and two taxiways89 (see figure 18.1).

 Figure 18.1
 Location of EO impact points at Mitiga airport (6 September 2019)




 Source: Base image from Google Earth Pro, 23 July 2019.




      87
         Information from UNSMIL supported by multiple media sources.
      88
         EO 1 at 32°53'59.61"N, 13°16'32.57"E.
      89
         EO 2 at 32°53'38.43"N, 13°16'9.91"E, and EO 3 at 32°53'44.18"N, 13°16'54.95"E.




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 2.      This attack was the latest in a series of attacks against Mitiga airport using land service
 ammunition90 since the conflict started on 4 April 2019. UNSMIL has numerous attacks during the
 current conflict additional to HAF air strikes.91

 3.      UNSMIL deployed an inspection team to the airport on 6 September 2019, and determined the
 damage reported at table 18.1. The UNSMIL technical assessment of the impact areas was assisted by
 the fact that no physical forensic evidence prior had been removed prior to their visit.

 Table 18.1
 Damage to Mitiga airport from EO impact (6 September 2019)

     Impact
     point          Impact point                Geo-coordinates         Damage a

       1            Aircraft parking apron      32°53'59.61"N,          ▪ Minor crater in aircraft pan (2.08m x 1.49m).
                                                13°16'32.57"E           ▪ Remnants of 122mm free flight rocket (FFR) main body in crater
                                                                          at 300 angle of entry.

       2            Taxiway                     32°53'38.43"N,          ▪ Tail unit of 9M22U 122mm FFR in tarmac.
                                                13°16'9.91"E

       3            Taxiway                     32°53'44.18"N,          ▪ Minor damage.
                                                13°16'54.95"E           ▪ Fragmentation probably from a 122mm FFR.

 a
     As reported by UNSMIL.


 Technical analysis of physical evidence and determination of EO type

 5.      At impact point 1, the dimensions of the crater (2.08m x 1.49m) and the distinctive “splatter”
 pattern identified by UNSMIL technical specialists on the ground at the aircraft parking pan are highly
 indicative of the impact detonation of an indirect fire weapon system, in this case a 122mm FFR (figure
 18.2). The direction of fire was identified from this splatter pattern as being along a bearing of 1800 (+/-
 15o). The 300 angle of entry indicates that the rocket was fired at near maximum range.

 6.      The tail unit of a 9M22U 122mm FFR was positively identified by the UNSMIL ammunition
 specialist at the scene of impact point 2, whereas there was little useful fragmentation for identification
 purposes at impact point 3.




           90
                Using ground based weapons systems as opposed to the HAF air strikes.
           91
                Covered in annex 13.




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 Figure 18.2
 Crater at impact point 1 (6 September 2019)




 Source: Base image from Google Earth Pro, 23 July 2019.



 7.      The standard 9M22U 122mm FFR (often referred to as the “Grad”) is fired from the BM21
 multi-barrel rocket launcher (MBRL) to a maximum range of 20,380m. From this, and the analysis of
 the crater dimensions and “splatter” pattern, the Panel finds it almost certain that the explosive ordnance
 was firing from a location along an approximate back bearing of 1800 (+/- 150) using a centre line
 between the impact points as shown in figure 18.3. The location area has previously been identified as
 one in which the BM21 MBRL system has been based and operated from.




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 8.       A confidential source provided information and satellite imagery of the launcher location for
 this attack being at 32°41'52.45"N, 13°18'30.59"E (also see figure 18.3).

 Figure 18.3
 Location of firing point (6 September 2019)




 Source: Base image from Google Earth Pro, 23 July 2019. BM21 location is from confidential satellite imagery.




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 Subsequent attacks

 18. A further FFR strike against the airport took place at 23:49 hours on 9 September 2019. One
 9M22U 122mm FFR impacted in the proximity of the control tower and the other next the Air Afriqiyah
 hanger.

  Figure 18.4                                       Figure 18.5
  Mitiga airport under attack (9 September 2019)    Impact damage (9 September 2019)




 Source: Confidential.


 GNA-AF response

 8.      As part of the “drone propaganda war” the GNA-AF released heavily edited video imagery of a
 UCAV strike against a BM21 MBRL on 8 September 2019 that the GNA-AF alleged had been used in
 the attacks on Mitiga. The Panel geo-located the position of the BM21 MBRL92 and established it was
 23,120m from the impact point of the 6 September 2019 attacks. Therefore it could not have initiated
 the attack against Mitiga on 6 September 2019 from this particular location as it would have been
 outside the maximum range of the system (see figures 18.6 and 18.7). Notwithstanding that, the GNA-
 AF strike against this particular BM21 MBRL raises potential IHL concerns.




       92
            32°41'52.45"N, 13°18'30.59"E.




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  Figure 18.6                                             Figure 18.7
  Location of BM21 MBRL (10 July 2019)                    GNA-AF imagery of UCAV strike against
                                                          BM21 MBRL (X 2019)




  Source: Google Earth Pro (10 July 2019)                 Source: Extract from video (2.21 to 2.40min) at
                                                          https://www.youtube.com/watch?v=d65m6F-
                                                          r_AY&feature=youtu.be (Imagery orientated to face north).


 9.       Although imagery of the UCAV strike was almost certainly released for internal propaganda
 reasons, it illustrates an operational limitation of the Turkish supplied and operated Bayraktar TB2
 UCAV. This UCAV is limited in the quantity and size of explosive ordnance that it can deliver, and
 thus the amount of net explosive mass that can be delivered onto a target. In this case, although the
 precision guided munition destroyed the BM21 MBRL, there was insufficient explosive mass to ensure
 total destruction of the payload of 9M22U 122mm FFRs. After the initial explosion (see figure 18.8) at
 least three 9M22U 122mm FFR were launched ballistically (see figures 18.9 and 18.10) as a result of
 this initial explosion. On launch the missiles were subjected to the forces of firing, as in a planned
 launch, and thus the fuzing systems would have been armed as designed. These rockets would then fly
 in a ballistically stable profile, then impact and detonate indiscriminately within the surrounding civilian
 area. Although the maximum range of the system is 20,380m, it is much more likely that the missiles
 would land and detonate at lesser ranges.




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 Figure 18.8
 UCAV initial missile strike on BM21 MBRL




 Source: Extracted from video at https://www.youtube.com/watch?v=d65m6F-r_AY&feature=youtu.be, (@ 2.31 min).

 Figure 18.9
 Resultant uncommanded 9M22U 122mm FFR launch BM21 MBRL (3 seconds after strike)




 Source: Extracted from video at https://www.youtube.com/watch?v=d65m6F-r_AY&feature=youtu.be, (@ 2.34 min).

 Figure 18.10
 Resultant uncommanded 9M22U 122mm FFR launch BM21 MBRL (10 seconds after strike)




 Source: Extracted from video at https://www.youtube.com/watch?v=d65m6F-r_AY&feature=youtu.be, (@ 2.41 min).




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 Casualties

 10. None reported.

 Attribution of responsibility

 11.     Although the 122mm BM21 MBRL is ubiquitous in Libya the location of the firing point area
 makes it certain the HAF was responsible for this attack. The following HAF units were known to be
 in vicinity of the launch area at the time:93

            (1)      9th brigade (formerly the 7th brigade, a.k.a. the Kanyat);

            (2)      155th brigade;

            (3)      192nd brigade; and

            (4)      Tariq bin Ziyad battalion.

 Analysis of violations and potential violations of IHL

 12.    The Panel has initially analysed the applicable law in relation to this incident on the basis of its
 own independent investigations. The Panel has complied with the methodology listed at appendix C to
 annex 3 of this report.

 By the HAF affiliated armed group

 13.      The use of FFR in the indirect fire role against populated areas is a violation of IHL no matter
 the circumstances. Many factors affect the accuracy94 and precision95 of an indirect fire weapon system,
 including meteorological conditions, the suspension system of the launcher, knowledge of the ballistic
 trajectories for differing ranges, the condition of the rocket motor propellant, accuracy of sighting
 system, and the professionalism of the crew. All these require substantial modelling, field testing,
 statistical analysis of fall of shot under known conditions, and training. From this a Circular Error
 Probability (CEP)96 can be derived. For the BM21 MBRL firing the 9M22U 122mm FFR at a range of



       93
          Confidential source.
       94
          The ability to hit a designated target.
       95
          The ability to hit the designated target consistently.
       96
          The CEP is the radius of a circle around a mean point of impact in which over 50% of the rounds fired will impact. A large CEP
          indicates the level of precision of the weapons system.




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 nearly 20km the CEP and variables mean that a deflection error of 160m either side of the target and a
 range error of 300m would not be untypical.97

 14.     IHL requires that parties follow the IHL principle of distinction98 and take all feasible
 precautions to distinguish between civilian objects and military objectives. The Panel finds that the
 impact areas at the civilian airport were civilian objects and not legitimate military objectives at that
 time, and thus HAF failed to respect relevant principles of IHL, including those relating to
 proportionality,99 as the likelihood of excessive harm to civilian objects could have reasonably been
 anticipated in the circumstances as the HAF were certainly aware of the status of the location as a
 civilian international airport.

 15.    It is reasonable to expect that the HAF commander planning, directing and ordering this attack
 was aware of the civilian status of this part of the airport, given that this information is readily available,
 and the HAF commander should have taken this into consideration when assessing if there were any
 ‘concrete and direct military advantage’ to the attack.100

 16.    IHL also requires military commanders and those responsible for planning and executing
 decisions regarding attacks to take all feasible precautions to avoid, and in any event to minimize (…)
 damage to civilian objects.101 The fact that the HAF were aware that this was a civilian location, where
 there would ordinarily be civilians working shifts, meant that they should have been particularly vigilant
 when undertaking a proportionality assessment and making use of available precautionary measures to
 minimize the incidental loss of civilian life and damage to civilian property.102 It is also not yet clear
 what precautionary measures were taken, if any, by the HAF. If taken, then the precautionary measures
 were ineffective.




      97
         GICHD. February 2017. Explosive Weapon Effects. pp32-33. (ISBN: 978-2-940369-61-4). Geneva: GICHD.
      98
         CIHL Rule 7 – The Principle of Distinction between Civilian Objects and Military Objectives.
      99
         Under IHL “launching an attack which may be expected to cause incidental loss of civilian life, injury to civilians, damage to civilian
         objects, or a combination thereof, which would be excessive in relation to the concrete and direct military advantage anticipated, is
         prohibited”. (Emphasis added). See CIHL Rule 14.
     100
         See CIHL Rule 14.
     101
         See 1) CIHL Rule 15; and 2) Article 13(1) of Additional Protocol II to the Geneva Conventions.
     102
         See commentary to CIHL Rule 14, and the United States Department of Defense Law of War Manual (2015), p.1033, which requires
         combatants to assess in good faith the information that is available to them, when conducting attacks.




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 Potentially by the GNA-AF

 17.     IHL requires military commanders and those responsible for planning and executing decisions
 regarding attacks to take all feasible precautions to avoid, and in any event to minimize, incidental loss
 of civilian life, injury to civilians and damage to civilian objects.103

 18.     If the uncommanded launches of 9M22U 122mm FFRs as a result of the Bayraktar TB2 UCAV
 strike against the BM21 MBRL was an isolated incident (paragraphs 8 and 9), then it could not have
 been “reasonably foreseen” by the GNA-AF and is thus not a violation of IHL.

 19.    However, if uncommanded launches of 9M22U 122mm FFRs are a frequent or routine
 occurrence whenever BM21 MBRL are attacked by the precision guided munitions from a Bayraktar
 TB2 UCAV, then the situation could be “reasonably foreseen”. The impact of the 9M22U 122mm
 FFRs would then be considered as indiscriminate, and routine violations of IHL would be occurring.

 Panel findings

 20.    The Panel finds that by attacking the civilian area of Mitiga airport at that time that a HAF was
 in violation of CIHL Rule 7 - The Principle of Distinction between Civilian Objects and Military
 Objectives,104 CIHL Rule 14 – Proportionality in Attack105 and CIHL Rule 15 – Principle of Precautions
 in Attack.106




      103
          See Article 13(1) of Additional Protocol II to the Geneva Conventions and CIHL Rule 15.
      104
          https://ihl-databases.icrc.org/customary-ihl/eng/docs/v1_rul_rule7.
      105
          https://ihl-databases.icrc.org/customary-ihl/eng/docs/v1_rul_rule14.
      106
          https://ihl-databases.icrc.org/customary-ihl/eng/docs/v1_rul_rule15.




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 Annex 19:            List of DCIM detention centres

 Table 19.1
 List of DCIM detention centres as of 20 October 2019

  Region               Area                     Detention centre                   Status                                 # Detainees

  West                 Tripoli                  Ain Zara                           Non Operational                        0

  West                 Tripoli                  Qasr bin Ghashir                   Non Operational                        0

  West                 Tripoli                  Gharyan                            Non Operational                        0

  West                 Tripoli                  Zintan                             Operational                            Unavailable

  West                 Tripoli                  Zliten                             Operational                            Unavailable

  West                 Tripoli                  Tajura                             Operational107                         200

  West                 Misrata                  Misrata (Karareem)                 Non Operational                        203

  West                 Zuwarah                  Zuwarah                            Operational                            278

  West                 Zawiya                   Abu Isa                            Operational                            105

  West                 Tripoli                  Abu Salim                          Operational                            677

  West                 Tripoli                  Elsabaa                            Operational                            516

  West                 Tripoli                  Janzour (Subsidiary DC)            Operational                            72

  West                 Sabratha                 Sabratha                           Operational                            50

  West                 Zawiya                   Shohada’ Nasr                      Operational                            1229

  West                 Sirte                    Sirte                              Operational                            106

  West                 Khoms                    Suq al Khamis                      Operational                            191

  West                 Tripoli                  Tariq al Sikka                     Operational                            257

  South                Sebha                    Sebha                              Operational                            Unavailable

  South                Sebha                    Brak al Shati                      Operational                            Unavailable

  East                 Tobruk                   Tobruk                             Operational                            22

  East                 Benghazi                 Ganfouda                           Operational                            222




     107
           Of the three DC ordered closed by the GNA Ministry of Interior on 1 August 2019, the Tajura facility continues to house detainees.
           There are two DC in Khoms. Khoms “One” DC is not listed as it was previously ordered closed in addition to the 1 August 2019
           order, and is confirmed as closed. The Misrata DC is also confirmed closed.




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   Region                Area       Detention centre   Status        # Detainees

  East                   Bayda      Baya               Operational   16

  East                   Ajdabiya   Ajdabiya           Operational   Unavailable

  East                   Shahat     Shahat             Operational   40

  East                   Kufra      Kufra              Operational   150



 Source: Confidential.




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 Annex 20:       Ministry of Interior statement on DC closures

 Figure 20.1
 Ministry of Interior statement of 1 August 2019




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 Figure 20.2
 Official translation

            Issued on 1 August 2019

            Ministry of the Interior Decisions

            Decision of the Acting Minister of the Interior
            No. 1421 (2019) concerning the closure of illegal migrant shelters

            The Acting Minister of the Interior,

            Having reviewed the Constitutional Declaration of 3 August 2011 and its amendments;

            The Libyan Political Agreement, which was signed on 17 December 2015;

            Act No. 10 (1992) on security and police;

            Act No. 19 (2010) on countering illegal migration;

            Act No. 6 (1987) on the entry into, residency in and exit from Libya of aliens, and its amendments;

            Cabinet Decision No. 125 (2015) regarding the implementing regulation for Act No. 6 (1987) on the entry into,
            residency in and exit from Libya of aliens, and its amendments;

            Presidential Council Decision No. 4 (2016) on the formation of the Government of National Accord;

            Presidential Council Decision No. 12 (2016) on the delegation of authority in relation to mandates;

            Government of National Accord Presidential Council Decision No. 1371 (2018) on mandates;

            Cabinet Decision No. 145 (2012) adopting the organizational structure and the competencies of the Ministry of
            the Interior and organizing its administrative apparatus;

            Cabinet Decision No. 386 (2014) on the establishment of the Department for Combating Illegal Migration;

            Minister of the Interior Decision No. 982 (2012) on the adoption of the internal organization of the Ministry of
            the Interior;

            The letter dated 10 August 2019 from the Chief of Staff of the Minister of the Interior;

            Decides




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           Article 1

           The following illegal migrant shelters shall be closed: 1. The Misratah shelter;
           2. The Tajura’ shelter;
           3. The Khums shelter.

           Article 2

           The directors of the shelters covered by article 1 of the present decision shall categorize residents and take
           appropriate measure to carry out deportation.

           Article 3

           The present decision shall enter into force on the date of its issuance. All provisions that contravene its provisions
           are rescinded.




           (Signed) Fathi Ali Bashagha Acting Minister of the Interior




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 Annex 21:             Al-Nasr brigade, al-Nasr DC and the Zawiyah network

 1. On 5 July 2014, the then commander of the Petroleum Facilities Guards, put Mohamed Kashlaf
 (LYi.025), the head of al-Nasr brigade, in charge of the security of the Zawiyah oil complex. Al-Nasr
 brigade, with a force of around 3.000 men, has controlled the security of the complex and surrounding
 areas since 2014. The al-Nasr DC is located on the southern edge of the oil complex.
 2.     The brigade is involved in a range of illicit activities. It expanded operations to organizing
 logistics for truck tankers in and out of the oil complex (see paragraph 158 of S/2018/812). The brigade
 knows which regional fuel stations in Zawiyah, Surman, Sabratah, Al Ajaylat participate in smuggling,
 and collects the ¨taxes¨ paid by the trucks that load and deliver back and forth.
 3.    Trafficking and extortion of migrants is another income source for individuals within the
 brigade’s network. The al-Nasr DC is a known hub for human trafficking where migrants are subject to
 various forms of human rights abuses. Several migrants interviewed by the Panel named and positively
 identified the individual who heads the al-Nasr DC as “Osama” or “Osama Zawiyah.” Either he or the
 individuals under his control facilitated the exploitation, abuse and extortion of migrants. Sexual
 exploitation and violence, beatings, starvation, and other degrading treatment, including to minors,
 frequently occur. Osama is a close associate of Mohamed Kashlaf.
 4.    Despite Libyan authorities’ attempted closure of al-Nasr DC following the designation of Kashlaf
 in June 2018, it remains fully operational. The adjacent Zawiyah port, approximately 3 km away from
 the DC, also remains a main disembarkation point for migrants intercepted at sea by the LCG. Abd Al-
 Rahman al-Milad (LYi.026) a.k.a. Al Bija was previously the commander of that port.
 5.    Following an attack on the Qasr bin Ghashir DC on 23 April 2019, as a result of the conflict in
 Tripoli, the al-Nasr DC received approximately 800 transferred migrants. The facility exceeds capacity,
 housing as of September 2019 approximately 1,230 migrants. The resources provided to the DC by the
 Libyan authorities are not adequately managed and are overstretched.108
 6.   Kashlaf works closely with his brothers Nuri and Abdallah and also with his cousins Walid,
 Khamza and Samir. Walid Kashlaf plays an essential role in moving and investing the revenues
 generated by the network. Abd Al-Rahman al-Milad a.k.a. Al Bija is also a known close associate.
 7.    The Kashlaf clan, from the tribe Awlad Abuhumeira, operates under the umbrella of Ali
 Boushriba, the tribe’s most influential element in Zawiyah.




      108
            Confidential sources.




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 Figure 21.1
 Exact location of the Al-Nasr DC




  Source: © 2019 DigitalGlobe Inc.




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 Annex 22:             ISIL (QDe.115) in Libya’s killings in Fuqaha (9 April 2019)

 Incident details

 1.     On 9 April 2019, open source media reported109 that at least thirteen vehicles belonging to ISIL
 in Libya entered the town of Fuqaha where they immediately cut electricity power and phone
 communication lines/cell towers. Their first target was Abdelkafi Ahmed Abdelkafi, a member of the
 municipal guard who was taken by force from his house to the municipality building where he was
 slaughtered. Once in the Municipality building they abducted Miftah Sasi, Head of the Municipal
 Guard, and burned the building. Another victim of this assault was Ahmed Sassi, Head of the
 Municipality, whose house was stormed, and he was murdered in his sleep, then burned along with his
 house. The group killed at least three other people and burned more than two other buildings, before
 leaving the town of Fuqaha at 01:45 hours (local time).

 2.     On 9 April 2019, ISIL in Libya published a statement in its official media branches taking
 responsibility for the killing of the Head of the Municipal Guard and the Head of the Municipality,
 together with other “wanted” individuals and arrested others. They also admitted to burning the
 municipality building and two other civilian houses.

 Figure 22.1
 Statement of ISIL in Libya on the Fuqaha attack (9 April 2019)




 Source: https://ou7zytv3h2yaosqq.f101.ml/38002. Accessed 10 June 2019.




      109
            https://www.libyaobserver.ly/news/gunmen-attack-fuqaha-town-al-jufra-central-libya,




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 3.     On 9 April 2019, open source media quoted the Head of the Municipality of Jufra, who stated
 that members of HAF, supported by some of the local population, intercepted some members of ISIL
 Libya, killing five of them and freeing Miftah Sasi.110

 4.    On 9 April, ISIL media branch ‘A'amaq’ published a statement claiming the incursion in Fuqaha
 was aimed against Haftar affiliates. The statement also again claimed the killing of the Head of the
 Municipal Guard and the Head of the Municipality, as well as the killing and apprehension of other
 HAF members.

 Figure 22.2
 Statement of ISIL (Qde.115) on the Fuqaha attack




 Source: https://ou7zytv3h2yaosqq.f101.ml/38007. Accessed 10 June 2019.




      110
            http://aldiywan.ly/2019/04/09/‫مجزر‬-‫مرتكبي‬-‫من‬-5-‫مقتل‬-‫الجفرة‬-‫بلدية‬-‫عميد‬/.




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 5.     On 15 April 2019, ISIL in Libya again released video imagery of their 8 April 2019 incursion
 into Al Fuqaha, which showed events very similar to the aforementioned crimes. Screenshots of this
 imagery are at figures 22.3 to 22.7.

     Figure 22.3                                                       Figure 22.4
     Burning of a civilian house a                                     Abduction of civilians




     Figure 22.5                                                       Figure 22.6
     Headquarters of the Fuqaha municipal Guard                        Miftah Sassi in custody of ISIL Libya




 a
     All imagery (22.3 to 22.6) from video extract. https://ou7zytv3h2yaosqq.f101.ml/38052. 15 April 2019. Accessed 10 June 2019.




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 Annex 23:       Arbitrary detention of Deputy Minister of Defence, Ouheida Abdallah Najim

 1. On 22 April 2019, GNA Deputy Minister of Defence, Ouheida Abdallah Najim, while returning
 home from his office, was abducted in Tripoli. An unidentified group of armed men stopped his convoy
 and took him, his driver and one security member of his team by force. All were transferred to an
 unknown location in Misrata.
 2. Abdallah Najim spent 42 days arbitrarily detained in that unknown location. During this period,
 no explanation or information was provided for his arbitrary detention.
 3. On or about 3 June 2019 he was taken back to Tripoli and abruptly released in the premises of the
 AGO. This latter office conveyed that it had no grounds for detaining or arresting him.
 4. To date, Abdallah Najim is neither aware of the reasons behind his abduction and detention, nor
 of the identities or affiliations of the perpetrators.
 5.    It is the Panel’s understanding that an official investigation has not yet been launched.




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 Annex 24:      Disruptions to the GMMR

 Background
 1. Libya’s national water supply system is nearly completely derived from underground aquifers in
 southern desert areas pumped via the GMMR and underground wells. Even though disruptions to supply
 remain localized, the entire system is growing increasingly fragile due to infrastructure deterioration,
 theft, and intermittent attack. Two such attacks occurred in May and July 2019, of which one is detailed
 below.
 Figure 24.1
 Map of the Great Man-Made River (GMMR)




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 Source: Britannica


 2.    The gradual stripping of metals from the pumping stations and other wells to sell for scrap has
 severely degraded infrastructure over time. Attacks on and thefts to wells have dramatically increased
 since mid-2017 (see figure 24.2). The Panel estimates that 100 wells in the Hasawna area alone have
 been destroyed. The main pumping station at Qasr bin Ghashir that delivers water to the capital is
 severely degraded from repeated acts of vandalism.

 Figure 24.2
 Total number of wells destroyed since August 2016




 Source: Libyan Water Authority


 Incident details
 In October 2017, the SDF arrested al-Mabruk Hneish. In retaliation, HAF 219 brigade purportedly led
 by his brother, Khalifa Hneish, took control of the southern Hasawna water control station and




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 threatened to disrupt the supply if al-Mabruk was not released. A negotiation produced the resumption
 in the water supply, but al-Mabruk remained in detention.
 4.    On 19 May 2019, 219 brigade took control of the southern Hasawna water control station and
 then denied supply to the western coastal region including Tripoli (population of approximately 2.5 to
 3 million). Water supply was denied for approximately 36 hours (see appendix A). The Panel considers
 that such a lengthy denial of supply falls within the ambit of an “attack against an object indispensable
 to the survival of the civilian population”.
 5.  Negotiations took place during the period of water denial, resulting in the eventual release of al-
 Mabruk Hneish in June 2019.
 Attribution of responsibility
 6.      Although 219 brigade was in control of the local area during the time of this incident, and there
 is little doubt that an incident in non-compliance with CIHL 54 – “attacks against objects indispensable
 for the survival of the population” took place, the Panel has not yet been able to find compelling
 evidence of the individual or organization responsible.
 System vulnerability
 7.   The design of the complete water system means that there are vulnerable points throughout the
 system that if attacked or captured means that Tripoli can easily be threatened with the denial of supply
 and has been illustrated above.




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 Appendix A to Annex 24. Documentary evidence
 Figure A.24.1
 Statement by the United Nations Resident and Human Coordinator, dated 20 May 2019




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 Figure A.24.2
 Statement by the administration of the Great Man Made River dated 21 May 2019




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 Panel summary of the above statement
 This confirms the stoppage of water supply in May 2019 to the cities in central and western Libya. It
 identifies the perpetrator as Belqasim Hneish and highlights that there were two previous instances in
 October and November 2017, where this individual had attacked the Hassawna water complex and
 disrupted the water flow.




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 Annex 25:      Failure to implement a release order for Prime Minister Baghdadi al Mahmoudi

 1.     The Panel has identified the failure to implement a release order in favour of former Prime
 Minister Baghdadi al Mahmoudi, adopted after a severe deterioration of his health condition was
 medically confirmed.
 2.     The release order was issued by the Ministry of Justice on 10 July 2019, and endorsed by the
 President of the Presidency Council on 20 July 2019.
 3.      The Panel is investigating the kidnapping and later assassination on 7 August 2019 of Walid al
 Tarhouni, a senior official of the Ministry of Justice, as there are indications that his death is connected
 to the release decision.




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 Figure 25.1
 Release order issued by the Ministry of Justice on 10 July 2019




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 Figure 25.2
 Release order endorsed by the GNA on 20 July 2019




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 Annex 26:          The enforced disappearance of Ms. Siham Sergewa (17 July 2019)

 Incident details

 1. On 17 July 2019, a group of masked and armed men entered the home of Ms. Siham Sergewa, a
 Member of the House of Representatives and women's rights activist, shot and wounded her husband,
 physically assaulted one of her sons and abducted her to an unknown location.
 2.    Media reported that HAF affiliated groups were more likely to be guilty, as her kidnap effectively
 silenced her opposition to the HAF offensive against Tripoli111 112.
 3.   On 18 July 2019, UNSMIL released a statement113 deploring the enforced disappearance of Siham
 Sergewa and called on the relevant authorities to investigate the matter and for her immediate release.
 4.     On 4 August 2019, the official Facebook page of the ‘interim government’ posted a video and a
 statement114 of Ibrahim Bushnaf, minister of interior of the ‘interim government’ accusing "terrorist
 groups" and "sleeper cells" of the kidnapping, but produced no evidence to support their accusation of
 terrorist entities. Ibrahim Bushnaf indicated that investigations were being conducted on the case.
 5.    On 7 August 2019, UNSMIL released a statement115 expressing the concern over the continued
 enforced disappearance of Ms. Siham Sergewa, noting that the statements made by the ‘interim
 government’ authorities do “not convey any reassurance about the wellbeing and the whereabouts of
 Ms. Sergewa”.
 6.    On 17 October 2019, UNSMIL released a statement116 condemning once again the abduction and
 the disappearance of Ms. Sergewa, and reiterating the legal responsibility of relevant authorities in
 eastern Libya to establish her fate and whereabouts.
 7.    Attempts by the Panel to contact Ms. Siham Sergewa’s close family members were unsuccessful.
 The Panel sought details of the ongoing investigations from the ‘interim government’ and is yet to
 receive a response. The fate of Siham Sergewa is unknown to date.




      111
          https://libyaalahrar.tv/2019/08/05/‫سرقي‬-‫اختطفوا‬-‫إرهابيون‬-‫أم‬-‫الدم‬-‫أولياء‬/.
      112
          https://edition.cnn.com/2019/07/20/africa/libya-sergewa-intl/index.html
      113
          https://unsmil.unmissions.org/unsmil-statement-continued-enforced-disappearance-house-representative-member-siham-sergawa
      114
          https://www.facebook.com/117982735202495/videos/784011072017339/.
      115
          https://unsmil.unmissions.org/unsmil-statement-continued-enforced-disappearance-house-representative-member-siham-sergawa.
      116
          https://unsmil.unmissions.org/three-months-after-kidnapping-mp-sergewa-unsmil-calls-her-immediate-releases-and-all-victims




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            Annex 27:           Summary of non-compliance with the sanctions measures (arms) in support of GNA117

            1.      Tables 27.1 to 27.3 summarizes the non-compliances with paragraph 9 of resolution 1970 (2011) covering, air and
            aviation violations, land service equipment violations and maritime violations identified or confirmed during the period of
            this report. The Panel also finds the GNA to be in non-compliance with paragraph 9 of resolution 1970 (2011) for all these
            cases.

            Table 27.1
            Air and aviation non-compliances

                                                                   Responsible party(ies) in non-compliance
             Generic Type           Means / Equipment              with paragraph9 to 1970 (2011)                  Remarks

             New equipment          Bayraktar-TB2 UCAV a           ▪ Turkey                                        ▪ The Member States have not responded to Panel enquiries.
                                                                                                                   ▪ Supply and import.
                                                                   ▪ GNA

             New equipment          Orbiter-3 UAV b                ▪ GNA                                           ▪ The supply chain has yet to be ascertained as Member State has not
                                                                                                                     responded to Panel enquiries.
                                                                                                                   ▪ Import.

             Transportation         Ilyushin IL-76TD               ▪ Turkey                                        ▪ Destroyed on ground at Misrata international airport on 6 August 2019.
                                    Registered UR-COZ              ▪ Turkish Office of ProAir-Charter-
                                                                                                                   ▪ Panel identified 130 tonnes of suspicious freight cargo on five flights
                                                                                      c                              between 3 to 6 July 2019 consigned by the Libyan Embassy, Ankara to
                                                                     Transport GmbH                                  the Ministry of Interior, Libya.
                                                                   ▪ Plures Air Cargo,d Turkey
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                       Also included at table 27.4 is a case of illegal import of blank firing pistols by an organised criminal group(s).
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                                                                   Responsible party(ies) in non-compliance
            Generic Type               Means / Equipment           with paragraph9 to 1970 (2011)             Remarks
            Transportation             Ilyushin IL-18 Registered   ▪ Turkey                                   ▪ Panel identified 4.1 tonnes and 8.9 tonnes of UAV components
                                                                                                                consigned on two flights on 28 May 2019, by the Libyan Embassy,
                                       UR-CNT                      ▪ Ukraine Air Alliance P.J.S.C.   e
                                                                                                                Ankara to the Ministry of Interior, Libya.
                                                                   ▪ Turkish Office of ProAir-Charter-
                                                                       Transport GmbH
                                                                   ▪ Plures Air Cargo, Turkey

            Transportation             Ilyushin IL-18 Registered   ▪ Turkey                                   ▪ Panel identified 5.2 tonnes and 6.9 tonnes of UAV components
                                                                                                                consigned on two flights on 30 May 2019 by the Libyan Embassy,
                                       UR-CGW                      ▪ Ukraine Air Alliance P.J.S.C.              Ankara to the Ministry of Interior, Libya.
                                                                   ▪ Turkish Office of ProAir-Charter-
                                                                       Transport GmbH
                                                                   ▪ Plures Air Cargo, Turkey

            Transportation             Ilyushin IL-18 Registered   ▪ Turkey                                   ▪ Panel identified 5.4 tonnes and 5.3 tonnes of UAV components
                                                                                                                consigned on two flights on 31 May and 2 June 2019 by the Libyan
                                       UR-CAH                      ▪ Ukraine Air Alliance P.J.S.C.              Embassy, Ankara to the Ministry of Interior, Libya.
                                                                   ▪ Turkish Office of ProAir-Charter-
                                                                       Transport GmbH
                                                                   ▪ Plures Air Cargo, Turkey

                                                                   ▪                                          ▪


                  a
                      https://baykarsavunma.com/#en.
                  b
                      https://aeronautics-sys.com.
                  c
                      https://www.proair.de/en.
                  d
                      https://www.plures.com.tr/en.
                  e
                      http://www.uaa-avia.com/en.




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            Table 27.2
            Land service non-compliances

                                                                       Responsible party(ies) in non-compliance
             Generic Type                Means / Equipment             with paragraph 9 to 1970 (2011)              Remarks

             New equipment               Kirpi 4 x 4 APC a             ▪ Presidency of Defence Industries,b         ▪ The Member States have not responded to Panel enquiries.
                                                                           Turkey                                   ▪ Delivery to Libya confirmed verbally by Minister of Interior of
                                                                                                                      Libya to Panel on 31 July 2019.
                                                                       ▪ Akdeniz Roro Deniz Tasimaciligi Turizm
                                                                           Sanayi ve Ticaret Limited Sti,c Turkey   ▪ Supply and import.

                                                                       ▪ GNA

             New equipment               Toyota armoured trucks        ▪ GNA Ministry of Interior, Libya            ▪ The Member States have not responded to Panel enquiries.
                                                                                                                    ▪ Delivery to Libya confirmed verbally by Minister of Interior of
                                                                                                                      Libya to Panel on 31 July 2019.
                                                                                                                    ▪ Import.

             New equipment               Counter-UAV RF                ▪                                            ▪ Under investigation
                                         Inhibition and Jamming
                                         System

                   a
                       https://www.bmc.com.tr/en.
                   b
                       https://www.ssb.gov.tr/Default.aspx?LangID=2.
                   c
                       http://www.akdenizroro.com.tr/en/.
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            Table 27.3
            Maritime non-compliances

                                                                        Responsible party(ies) in non-compliance
                Generic Type                Means / Equipment           with paragraph 9 to 1970 (2011)            Remarks

                Military support            Landing Ship Tank Ibn Ouf   ▪ Italian Navy a                           ▪ Maintenance work to an armed naval vessel in December 2017 and
                                                                                                                     January 2018.
                                            (L132)

                Transportation              MV Amazon                   ▪ Akdeniz Roro Deniz Tasimaciligi          ▪ Moldova forcibly removed the vessel’s flag status on 25 May 2019.
                                                                          Turizm Sanayi ve Ticaret Ltd STI         ▪ Provisionally registered with Togo International Registration Bureau
                                            (IMO 7702657)                 (Turkey)                                   on 14 June 2019.
                                                                                                                   ▪ Togo cancelled the provisional registration on 20 August 2019.


            a
                Italian vessels Capri (A5353) and Tremeti (A5349).




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            Table 27.4
            Organised crime non-compliances

                                                                         Responsible party(ies) in non-compliance
             Generic Type                 Means / Equipment              with paragraph 9 to 1970 (2011)             Remarks

             Illegal import by            Atak Zorak Type 2918           ▪ Aykar Makliyat Uluslararsi,a Turkey       ▪ Seized by customs at Al Khoms on 17 December 2018.
             organised criminal           blank firing pistols x 5,000
             group

             Illegal import by            Ekol P29 blank firing          ▪ Brother Company for International Trade   ▪ Seized by customs at Misrata on 30 December 2018.
             organised criminal           pistols x 20,000                Toys Shop,b Tunisia
             group                                                       ▪ Al Kasr Textile Factory, Tripoli, Libya


                    a
                        https://www.aykardenizcilik.com/en/index.php.
                    b
                        Mr Nofal Mustafa, +216 24 524XXX.
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            Annex 28:         Summary of non-compliance with the sanctions measures (arms) in support of HAF

            1.     Tables 28.1 to 28.3 summarizes the non-compliances with paragraph 9 of resolution 1970 (2011) covering, air and
            aviation violations, land service equipment violations and maritime violations identified or confirmed during the period of
            this report. The Panel also finds HAF to be in non-compliance with paragraph 9 of resolution 1970 (2011) for all these cases.

            Table 28.1
            Air and aviation non-compliances

                                                         Responsible party(ies) in non-compliance with
             Generic Type         Means / Equipment      paragraph 9 to 1970 (2011)                      Remarks

             Confirmed            Wing Loong II UCAV a   ▪ United Arab Emirates                          ▪ Paired with the Blue Arrow (BA-7) air to surface missile system.

             New equipment        Mohadjer-2 UAV b       ▪                                               ▪ The supply chain has yet to be fully ascertained as Member State has
                                                                                                           not responded to Panel enquiries.

             New equipment        Orlan-10 UAV c         ▪                                               ▪ The supply chain has yet to be fully ascertained as Member State has
                                                                                                           not responded to Panel enquiries.

             New equipment        Yabhon-HMD UAV d       ▪ United Arab Emirates                          ▪ The supply chain has yet to be fully ascertained as Member State has
                                                                                                           not responded to Panel enquiries.

             Transportation       Antonov AN-26          ▪ Space Cargo Inc,e UAE                         ▪ De-registered by Kazakhstan aviation registry on 7 September 2015.
                                  Displaying UP-AN601                                                    ▪ UP-AN601 markings were removed from aircraft in May 2015, but
                                                                                                           have subsequently been remarked as a “false flag”
                                                                                                         ▪ Now flying illegally within Libya as a “stateless” aircraft.

             Transportation       Ilyushin IL-76TD       ▪ Deek Aviation FZE,g UAE                       ▪ Destroyed on ground at Jufra air base on 25 July 2019.
                                  Registered UR-CMP

             Transportation       Ilyushin IL-76TD       ▪ Deek Aviation FZE, UAE                        ▪ Destroyed on ground at Jufra air base on 25 July 2019.
                                  Registered UR-CRC

             Transportation       Ilyushin IL-76TD       ▪ Sigma Airlines,h Kazakhstan                   ▪ Identified flying in military support in April and June 2019.
                                  Registered UP-17601                                                    ▪ Made suspicious flights from Jordan from 23 to 26 June 2019.




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                                                                       Responsible party(ies) in non-compliance with
            Generic Type               Means / Equipment               paragraph 9 to 1970 (2011)                       Remarks
            Transportation             Ilyushin IL-76TD                 ▪ Sigma Airlines, Kazakhstan                    ▪ Identified at Tamanhant, Sebha on 29 January 2019.
                                       Registered UP-17645

            Transportation             Ilyushin IL-76TD                 ▪                                               ▪ Still under investigation.
                                       Registered UP-17655

                                                                        ▪                                               ▪


                  a
                      http://enm.avic.com/index.shtml.
                  b
                      Iran Aviation Industries Organization (IAIO). www.mod.ir.
                  c
                      https://www.stc-spb.ru.
                  d
                      http://www.ats-ae.com. No URL for Adcom Systems.
                  e
                      http://spacecargoinc.com.
                  f
                      http://www.europeair.kiev.ua. Ceased trading on 9 August 2019 under Order No908.
                  g
                      www.deekaviation.com. URL not operable. Q4-76, Block Q4 Street, Al Ruqa Al Hamra, Sharjah, UAE.
                  h
                      https://airsigma.pro.
                  j
                      Uses www.sonnig.com, which diverts to www.sipj.net.
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            Table 28.2
            Land service non-compliances

                                                               Responsible party(ies) in non-compliance
             Generic Type        Means / Equipment             with paragraph 9 to 1970 (2011)            Remarks

             New equipment       Panthera F9 APC a             ▪                                          ▪ The supply chain has yet to be ascertained.

             New equipment       Mbombe 6 x 6 IAFV b           ▪ Jordan                                   ▪ South Africa confirmed that it has not transferred to Libya, and that
                                                                                                            Jordan is the only other manufacturer
                                                                                                          ▪ Only Jordan manufactures with the “snakehead” turret seen in Libya.

             New equipment       Mared 8 x 8 IAFV              ▪ Jordan                                   ▪ Jordan has not responded to Panel enquiries, but this system is not
                                                                                                            manufactured by anyone else, first displayed in 2018 and has not
                                                                                                            been sold to any other Member State.

             New equipment       Caiman 6 x 6 MRAP c           ▪                                          ▪ The supply chain has yet to be ascertained.

             New equipment       Irigiri 8 x 8 IAFVd           ▪                                          ▪ The supply chain has yet to be ascertained as Member State has not
                                                                                                            responded to Panel enquiries.

             New equipment       Ratel-60 IAFV e               ▪                                          ▪ Responsibility yet to be ascertained as Member State has not
                                                                                                            responded to Panel enquiries.

             New equipment       MIM-23 Hawk SAM f             ▪ United Arab Emirates                     ▪ Providing close air defence at Jufra air base.

             New equipment       Pantsir S-1 SAMg              ▪ United Arab Emirates                     ▪ Providing close air defence at Al Khadim and Jufra air bases.

             New equipment       Blue Arrow (BA-7) air to      ▪ United Arab Emirates                     ▪ Paired with the Wing Loong II UCAV.
                                 surface missile h

             New equipment       Nashshab RPG-32 variant       ▪ Jordan                                   ▪ Jordan has not responded to Panel enquiries, but this system is not
                                                                                                            manufactured by anyone else, and has not been sold to any other
                                 anti-tank rocket launcher j
                                                                                                            Member State.

             New equipment       155mm High Explosive          ▪ United Arab Emirates                     ▪ The supply chain has yet to be fully ascertained as the UAE has not
                                                                                                            responded to Panel enquiries.
                                 Laser Guided Projectile
                                 GP6k




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                                                                       Responsible party(ies) in non-compliance
            Generic Type                Means / Equipment              with paragraph 9 to 1970 (2011)            Remarks
            New equipment               Radio Frequency (RF)           ▪                                          ▪ Responsibility yet to be ascertained as Member State could not
                                                                                                                    identify initial export.
                                        Inhibition and Jammer
                                        Systeml

            Military support            Military training in           ▪ Jordan                                   ▪ Jordan has not responded to Panel enquiries, but the name of the
                                                                                                                    school is on the wall of a building in the imagery.
                                        Jordanm

                                                                       ▪                                          ▪


                   a
                       http://www.mspv.com.
                   b
                       http://www.kaddb.com.
                   c
                       https://www.baesystems.com/en-us/our-company.
                   d
                       https://www.army.mil.ng/corps-services/.
                   e
                       No URL as company closed.
                   f
                       http://raytheon.com.
                   g
                       www.ump.mv.ru.
                   h
                       http://en.norincogroup.com.cn.
                   j
                       https://www.jadara.jo.
                   k
                       http://en.norincogroup.com.cn.
                   l
                       https://www.samel90.com.
                   m
                        https://www.jaf.mil.jo.
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            Table 28.3
            Maritime non-compliances

                                                                            Responsible party(ies) in non-compliance
             Generic Type              Means / Equipment                    with paragraph 9 to 1970 (2011)                      Remarks
             New equipment             Offshore Patrol Vessel               ▪ Universal Satcom Services F.Z.Z., UAE              ▪ CEO, Al Omari, also in non-compliance due to her personal
                                                                                                                                   involvement in the transfer.
                                       (OPV) Al Karama a                    ▪ Reema Sami Abdullah Al Omari

                                                                            ▪                                                    ▪


                   a
                       https://universalsatcom.com. Closed by UAE authorities for trading outside area of licence permissions.




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 Annex 29:             MV Esperanza to Al Khoms (17 December 2019)

 1.      Between 13 to 17 December 2019 the MV Esperanza (IMO 9252785) offloaded three containers
 (serial numbers CSOU 410121-9, CSFU 964715-0 and CSFU 964827-0), which during a subsequent
 inspection by Al Khoms port customs authorities were found to contain 3,000 Atak Zoraki 2918 blank
 firing pistols.118

 2.     Two Turkish companies consigned the containers to three consignee companies in Libya (table
 29.1).

 Table 29.1
 Consignors and Consignees

  Container                Consignor in Turkey                               Consignee in Libya
  CSFU410121-0             Aykar Makliyat         Siyavuspasa Man            Al Sahab Company
                           Uluslararsi a          Barbaros 5 SK,
                                                  Kocksinan Is Hane No:
                                                  2/20,
                                                  Istanbul
  CSFU964715-0             Hama Kagit             San Bolgesi Mah            Nardeen Al-Haya      +2189449XXXX3
                           Tekstil Insaat b       Ayrosan 6 Fblok No:        Company
                                                  1/49, Ikitelli, Istanbul
  CSFU964827-0             Aykar Makliyat         Siyavuspasa Man            Qraulin Company
                           Uluslararsi            Barbaros 5 SK,
                                                  Kocksinan Is Hane No:
                                                  2/20,
                                                  Istanbul

           a
               http://www.aykardenizcilik.com/en/iletisim.php.
           b
               hamatekstil@gmail.com.


 3.    The Bills of Lading and Cargo Manifests for the three containers do not list the weapons (see
 appendix A).

 4.     As of 20 October 2019 the Turkish investigation into this incident was still ongoing, and the
 Panel continues to monitor.119




     118
           Confidential source in Misrata.
     119
           Communication from Member State of 5 August 2019.




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 Appendix A to Annex 29: Shipping documentation
 Image A.29.1
 Bill of Lading Container CSOU410121-9




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 Image A.29.2
 Cargo Manifest Container CSOU410121-9




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 Image A.29.3
 Bill of Lading Container CSFU964715-0




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 Image A.29.4
 Cargo Manifest Container CSFU964715-0




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 Image A.29.5
 Bill of Lading Container CSFU964827-0




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 Image A.29.6
 Cargo Manifest Container CSFU964827-0




 Sources: Confidential




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 Annex 30:          MV Esperanza to Misrata (30 December 2018)

 1.     On 30 December 2018 the MV Esperanza (IMO 9252785) offloaded a container (serial number
 CSOU 125725-5), which during a subsequent inspection by Misrata port customs authorities on 7
 January 2019 was found to contain 20,000 Ekol-Voltran P29 blank firing pistols.

 2.      The pistols were sold by the manufacturer (Voltran) to a Turkish company, Bahriye Nur
 Karabilgin / Cem Gumrukleme Gida, on 10 December 2018. The invoice listed the price as TRY
 849,600 (US$ 159,569).120 Yet the invoice from Bahriye Nur Karabilgin / Cem Gumrukleme Gida listed
 the price at US$ 114,000 to a company listed on their invoice as “Brothers Company for International
 Trade Toys Shop, Liberty Shipping Logistic (LLC), Tunisa”. Neither the Tunisian authorities nor the
 Panel could elicit a response from this company.

 3.     Bahriye Nur Karabilgin / Cem Gumrukleme Gida listed the weapons at US$ 114,000 on their
 invoice to the Tunisian company. This equates to a loss of approximately US$ 45,000 (see appendix
 A). Panel investigations continue as to the rationale for this, but Bahriye Nur Karabilgin / Cem
 Gumrukleme Gida has not responded to the Panel enquiries.

 3.     Analysis of the available shipping documentation (see appendix B) identified a discrepancy
 between the consignee listed on the Bill of Lading (Alfasr Textile Factory, Libya) and that listed on the
 Export Customs Declaration (Brothers Company for International Trade).121

 4.    Bahriye Nur Karabilgin / Cem Gumrukleme Gida incurred an administrative monetary penalty
 imposed on them by the Ministry of Trade of Turkey for export irregularities.

 5.         The full supply chain is at figure 30.1.




      120
          Exchange rate on 10 December 2018 was US$ 1.00 = TRY 5.32434.
          https://www.xe.com/currencycharts/?from=US$&to=TRY.
      121
          Company address is Société Brothers International Trading Company L.L.C. (registered number 1223805C), 9 Rue El Amir
          Abdelkader , Jammal, Monastir, Tunisia. The company is now not located at this address and trading activities have ceased. Owned
          by Ramiz Arbouk (ID 04190992), 85 Avenue La Liberte, 5020 Jemmel, Monastir, Tunisia. A contact number for Brothers Company
          for International Trade of +216 24 5XXXX2 was provided on shipping order.




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 Figure 30.1
 Supply chain for 20,000 Ekol-Voltran P29 blank firing pistols




 5.    The Panel finds Société Brothers International Trading Company LLC of Tunisia in non-
 compliance with paragraph 9 of resolution 1970 (2011).




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 Appendix A to Annex 30: Invoice for sale of EKOL P29 blank firing pistols
 Image A.30.1
 Voltran invoice




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 Image A.30.2
 CEM Gumrukleme invoice




 Sources: Confidential




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            Appendix B to Annex 30: Documentation for blank firing pistol transfer on MV Experanza (30
                                    December 2018)

            Table B.30.1
            Analysis of Ekol P29 blank firing pistol transfers (Misrata) (seized on 7 January 2019)

              Date                 Document              Purchaser                     Shipping Agent             Consignee                Remarks
              10 Dec 2018          Voltran Invoice       Bahriye Nur Karabilgin /      Contaz Ship Management
                                   15714                 Cem Gumrukleme Gida           Ltd,a
                                   (Image A.X.1)         Silah Hiozm, Dis Tic,         Kat 7, Bay Plaza,
                                                         Feritpaşa Mah. Rauf           Hal Yolu Caddesi 5,
                                                         Denktaş Cad. No: 8/Z091,      Kozyatagi Mah,
                                                         Konya,                        Kadikoy, 34742 Istanbul,
                                                         Turkey                        Turkey
              22 Dec 2018          Bill of Lading                                      Contaz Ship Management     Alfasr Textile Factory   No address for consignee
                                   MER1802199                                                                     Tripoli Libya            Container CSOU125725-5
                                   (Image B.X.2)                                                                                           Declared as toys
              22 Dec 2018          Customs Declaration                                                            Brothers Company         False documentation
                                                                                                                  for International
                                                                                                                  Trade Toys Shop,
                                                                                                                  Tunis, Tunisia



                     a
                         www.contaz.com.



            Image B.30.1
            Contaz bill of lading




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 Image B.30.2
 False customs declaration by consignor




 Sources: Confidential.




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 Annex 31:           BMC Kirpi 4 x 4 on MV Amazon to Tripoli (18 May 2019)

 1.     On 30 April 2019, Mr Fathi Bashagha, Minister of the Interior and Defence of the Government
 of National Accord (GNA), reportedly visited Turkey, where military cooperation between the two
 countries was discussed.122

 2.     The Panel received confidential information, and then noted subsequent media coverage (see
 annex A), that at about 12:00 hours (Local)123 on Saturday, 18 May 2019 a consignment of armoured
 vehicles was unloaded at the Ro-Ro Terminal on Pier 3 in Tripoli port, Libya, from the motor vessel
 (MV) Amazon (IMO 7702657), then a Moldovan-flagged Ro-Ro cargo vessel.124

 3.      The Panel has identified the armoured vehicles as Kirpi 4 x 4 Mine Resistant Ambush Protected
 (MRAP) vehicles manufactured by BMC of Turkey125 (see figures 31.1 and 31.2).126 Imagery of the
 interior of the vehicles indicates that these are ‘new’ vehicles (see figure 31.3).

     Figure 31.1                                       Figure 31.2                                Figure 31.3
     BMC Kirpi offloading from Amazon a                BMC company imagery of Kirpi b             Kirpi vehicle interior c




 a
   https://m.facebook.com/100035146145193/posts/130283384819866/#_=_.
 b
   https://www.bmc.com.tr/en/defense-industry/kirpi.
 c
   Confidential source.



 4.      Although no weapons were observed on the Kirpi 4x4 MRAP vehicles, they are designed to be
 fitted with heavy machine guns if turreted or fitted with specialist weapons mounts. As these vehicles



       122
           www.libyaobserver.ly/inbrief/interior-minister-arrives-turkey-discuss-military-and-security-cooperation.
       123
           All timings are Local.
       124
           Satellite imagery of the vehicle entering port is at appendix A.
       125
           BMC, Oruç Reis Mahallesi Tem Otoyolu, Atış Alanı Mevkii Tekstilkent Caddesi No.12, Koza Plaza A Blok 4, Kat No:1004, Esenler,
           İstanbul, Turkey. www.bmc.com.tr.
       126
           All imagery was originally from a confidential source unless otherwise indicated.




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 were supplied turreted, the Panel considers that, due to the ease of weapon mounting for the end user,
 neither paragraph 9 nor paragraph 10 of resolution 2095 (2013) applies. Once armed by the GNA their
 military utility changes from being protective vehicles to vehicles with an offensive capability.

 5.     Some of the vehicles were then subsequently seen on social media video been driven in convoy
 through the streets of Tripoli. The Panel has identified that the vehicles were received on behalf of: 1)
 the Al Somoud Brigade commanded by designated individual Salah Badi (LYi.028) by his assistant
 Ashraf Mami, of the Al Somoud Brigade; and 2) the Al Marsa militia commanded by Mohamed Bin
 Ghuzzi, (see figure 31.4).127 Vehicles were also supplied to the 33 infantry regiment led by Bashir
 Khalfalla.

 Figure 31.4
 Ashraf Mami (L) and Mohammed bin Ghuzzi (R) at Tripoli port on 18 May 2019




 Source: https://scontent-mxp1-1.xx.fbcdn.net/v/t1.0-
 9/60704862_2223762161005751_3543772288954400768_n.jpg?_nc_cat=108&_nc_eui2=AeEv3DBM4WxxRHSAJPkYNi3bdnI6acveHVAai0
 vOpoXjughTiKR9dD_oZZelABEFbmeqqPzxIsN2P7RfwzrzlHEgd5JBmQ3uhu2ZMaLJjfcQsA&_nc_oc=AQniNnUh1np4_SqOj5d6o2AXmH
 OPaqIbH2sQqZrQYldN4rbsr_CIgP2Jc9pg8bv_7Tg&_nc_ht=scontent-mxp1-1.xx&oh=aaff8485e7eeca1d1c7d413531912a0a&oe=5E12151E.


 6.      The Panel also identified that at least two Ford 2533 commercial trucks equipped with gantries
 and an empty flatbed, and painted in a military olive green, were also discharged from the vessel (figures
 31.5 and 31.6). These were equipped with gantries that were almost certainly designed to support the
 antennae of a command, control, computers and communication (C4) system for unmanned combat
 aerial vehicles (UCAV) (see figure 31.7 for comparison). The Panel assesses that these were the vehicles
 to carry the C4 system for the Bayraktur TB2 UCAV.




      127
            https://almarsad.co/en/2019/06/07/the-case-of-the-illegal-ukranian-flights-from-turkey-to-libya-special-rep7ort/, and confidential source.




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  Figure 31.5                                     Figure 31.6                            Figure 31.7
  Ford 2533 truck offloaded from                  Ford 2533 trucks offloaded from        Ford 2533 trucks with C4 gantry on
  Amazon                                          Amazon                                 manufacturers’ website




 Source for 31.9: https://baykarsavunma.com/sayfa-Komuta-Kontrol--Haberlesme-Bilgisayar-ve-Istihbarat-C4I.html. Accessed 2 September
 2019.

 7.      The Panel identified that the ship’s voyage commenced at Samsun, Turkey, on 9 May 2019,
 with its declared destination being Izmir, Turkey. The vessel transited the Bosphorous on 11 May 2019
 and went ‘dark’ for the night of 14/15 May 2019 after having been last identified in the vicinity of Izmir
 port. Izmir is also the location of the Pınarbaşı production plant128 of the Kirpi 4 x 4 armoured vehicles.
 The vessel re-appeared on its automatic identification system (AIS) at 12:18 hours on 15 May 2019. It
 then changed its destination to Tripoli at 15:16 hours on 15 May 2019. Table 31.1 shows the timeline
 for the vessel’s voyage, and the route is illustrated at appendix B.


 Table 31.1
 Timeline and route of Amazon

                                Arrival                        Departure
   Port                         Time       Date                Time        Date               AIS         Remarks
   Samsun, Turkey               18:25      21 April 2019       20:47       9 May 2019         ✓           -

   Bosphoros, Turkey            06:53      11 May 2019         08:41       12 May 2019        ✓           Transit
   Dikili, Turkey               20:47      13 May 2019         18:01       14 May 2019        ✓           At anchor
      128
            https://www.bmc.com.tr/en/corporate/about.




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                              Arrival                            Departure
    Port                      Time        Date                   Time        Date                AIS          Remarks
    Izmir, Turkey             22:09       14 May 2019            12:48       15 May 2019         ✓            -
    Izmir port area,          22:56       14 May 2019            12:18       15 May 2019         Dark         Possible Izmir
    Turkey                                                                                                    port visit
    Egri Liman                16:06       15 May 2019            -           -                   ✓            Changed
    Channel                                                                                                   destination to
                                                                                                              Tripoli
    Tripoli, Libya            12:02       18 May 2019            -           -                   ✓            Last AIS log 4:05
                                                                                                              hours, 19 May
                                                                                                              2010

 Source: Confidential.

 8.    The Panel has confirmed that the vessel docked at Tripoli port, Ro-Ro Terminal on Pier 3, on 18
 May 2019 at 12.02 hours and departed on 20 May 2019 at 12:26 hours. The vessel sailed to Samsun
 port, Turkey arriving at 14:20 hours on 28 May 2019.

 9.   The vessel is owned by Maya Roro S.A.,129 and was operated by Akdeniz Roro Deniz Tasimaciligi
 Turizm Sanayi ve Ticaret Limited Sti.130

 10. As a result of this illicit shipment the Moldovan Flag Administration forcibly excluded the MV
 Amazon, MV Beril (IMO 7600720) and MV Mira (IMO 7637319), all owned or operated by Akdeniz
 Roro Deniz Tasimaciligi Turizm Sanayi ve Ticaret Ltd STI from the Moldovan Flag Registry, (see
 appendix C). The MV Amazon was subsequently provisionally reflagged under the Togo Maritime
 Administration on 14 June 2019. On learning of the illicit activities of the MV Amazon the Togo
 Maritime Administration also promptly cancelled the provisional registration on 20 August 2019 (see
 appendix D).

 11. The Panel identified that the vehicles were sold to the Presidency of Defence Industries, as BMC
 have only directly exported such vehicles to Qatar, Turkmenistan or Tunisia.131 In a meeting with the
 Panel on 31 July 2019 the Minister of Interior and Defence, Fathi Bashagha, acknowledged the transfer
 of Kirpi armoured vehicles for the Ministry of Interior through the port of Tripoli on 18 May 2019.




      129
          c/o Akdeniz Roro Deniz Tasimac, Dagilgan Kume Evleri 30/A, Evci Mah, Akdeniz, 33100 Mersin, Turkey.
      130
          Akdeniz Roro Deniz Tasimac, Dagilgan Kume Evleri 30/A, Evci Mah, Akdeniz, 33100 Mersin, Turkey.
          http://www.akdenizroro.com/filo.html (the remainder of the website is inaccessible as at 10 June 2019). Note same physical and web
          address as vessel owner Maya Roro S.A.
      131
          Letter to Panel from BMC dated 1 July 2019.




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 12. The Panel thus finds Turkey, the GNA and Akdeniz Roro Deniz Tasimaciligi Turizm Sanayi ve
 Ticaret Limited Sti. in non-compliance with paragraph 9 of resolution 1970 (2011) for their certain
 involvement in the procurement and physical transfer of military material to the GNA.




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 Appendix A to Annex 31: Satellite imagery of MV Amazon entering Tripoli port

  Figure A.31.1
  Satellite image of BMC Kirpi on deck of MV Amazon on docking




 Source: Confidential.




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 Appendix B to Annex 31: Route of MV Amazon between 21 April and 18 May 2019

 Figure B.31.1
 Route of MV Amazon



                                               Bosphorous
                                             11 May, 06:53 to
                                               08:41 hours



                                   Dikli anchorge area,
                                                                        Samsun port, Turkey
                                          Turkey
                                                                       21 April, 18:25 hours
                                13 May, 20:47 hours to 14
                                                                       to 9 May, 20:47 hours
                                    May, 18:01hours




                   Tripoli, Libya
                   18 May, 12:02
                       hours

                                                                     Izmir Port (possible),
                                                    Egri Liman              Turkey
                                                      Channel      14 May, 22:56 hours to 15
                                                   15 May, 16:06       May, 12:18 hours
                                                       hours




 Source: Developed by panel.




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 Appendix C to Annex 31: Moldovan Flag Administration decision of 25 May 2019




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 Source: Member State




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 Appendix D to Annex 31 Togo Flag Administration decision of 20 August 2019




 Source: Member State.




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 Annex 32:      OPV Al Karama

 Rationale for classification as military equipment

 1.       Naval ships are differentiated from civilian ships by their design, construction and purpose.
 Generally, naval ships are damage resilient, with the ability to seal off multi-compartments for damage
 control purposes to enable the vessel to “float and fight” after multiple catastrophic events. Civilian
 vessels have lesser damage control measures designed in to them, which enables the vessel to “float”
 after a single catastrophic event. OPV Al Karama is a naval ship by design and construction.

 2.      Naval ships are either armed, or have the capability of being armed, with weapon systems. When
 decommissioned the vessel has its armaments removed, but the ability to remount armaments on its
 deck and superstructure generally remains. The design of the vessel specifically includes hard mounting
 points on the deck and superstructure for naval ordnance that will absorb and safely transfer the forces
 of firing. Civilian vessels are not designed with the capability to mount naval ordnance, and thus their
 superstructure may not be capable for weapons use. OPV Al Karama was designed to mount one 40mm
 cannon and two 20mm cannons. On arrival in Benghazi, OPV Al Karama was then re-equipped with
 one 40mm cannon and two 20mm cannons in exactly the same positions that they were in during Irish
 naval service. OPV Al Karama is a naval ship by its capability to mount naval ordnance with no
 strengthening of deck or superstructure required.

 3.     Merchant vessels are designed to carry passengers or cargo. OPV Al Karama was designed to
 carry a naval crew not passengers. The storage on OPV Al Karama is designed to support its naval
 operations, e.g. ammunition magazines for the weapons, food supplies for the crew and spare parts. It
 does not have holds suitable for the efficient and cost-effective movement of civilian cargo. Its
 accommodation is not designed for passengers.

 4.      Naval vessels are painted grey. Civilian vessels are not, to avoid confusion for obvious reasons.
 The then Avenhorn was transferred to the new UAE owners still painted naval grey, despite there been
 time and the capability to repaint a civilian colour. There was time though to paint the new name Al
 Karama (“Dignity”) on the vessel for the voyage, and this is the name that it entered Libyan military
 service under.

 5.    Although the Dutch purchasers had drawn up tentative plans for conversion to a “yacht” no
 work had been done to prepare the vessel for such a conversion before it was sold.




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 6.      The vessel Avenhorn was registered by the Dutch purchasers in Belize as a “Patrol Vessel” and
 sold as such. They were told that it was to be used for counter-piracy operations near Egypt. The vessel
 then had its registration transferred to Panama by the new UAE owners, where it was declared as a
 “Pleasure Yacht” and renamed Al Karama. This was a deliberate mis-declaration by the new UAE
 owners. After delivery to the Libyans on 17 May 2018 the OPV Al Karama was then removed from the
 Panama registry on 23 July 2018 by the new UAE owners, who declared it was for “demolition”.
 Another deliberate mis-declaration by the new UAE owners, and another indication of a deliberate
 attempt to disguise the transfer of the vessel.

 7.      The vessel left Rotterdam bound for Alexandria, Egypt on 4 May 2018. When the vessel was
 south of Sicily on the morning of 15 May 2018 the crew were instructed by the new UAE owners to
 divert to Benghazi, Libya and deliver the vessel to a Rear Admiral Farag. The crew were falsely told
 that the vessel had been sold “in transit”.132 The vessel arrived in Benghazi on 17 May 2018, flying the
 Libyan naval flag, and was met by senior naval officers aboard the armed Libyan Coast Guard patrol
 vessel ‘247 Izrig’.133

 Non transmission of AIS or LRIT

 8.      The offshore patrol vessel (OPV) Al Karama (IMO 7820693), is still not transmitting its
 automatic identification system (AIS) or long-range identification and tracking system (LRIT), which
 is a requirement for civilian vessels. Signals from these systems were last detected in the port of
 Benghazi on 22 May 2018 and since then the vessel has remained ‘dark’.

 Naval operations

 9.      The OPV Al Karama was next observed leaving harbour on 29 March 2019 when taking part in
 a joint naval exercise at sea with HAF naval infantry and the ‘247 Izrig’ (figures 32.3 and 32.4). 134 It
 was last seen alongside in Ras Lanuf on 26 April 2019 (see appendix 11).




      132
          Confidential source(s).
      133
          https://www.youtube.com/watch?v=v6SZfyRc_ww.
      134
          https://www.facebook.com/warinformationdivision/posts/2632791356762457?__tn__=. Accessed 9 April 2019.




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  Figure 32.3                                                     Figure 32.4
  OPV Al Karama at sea (28 Mar 2019)                              OPV Al Karama at sea (R) with patrol
                                                                  vessel 247 Izreg (L) (28 Mar 2019)




  Source:                                                        Source:www.facebook.com/warinformationdivisio
  www.facebook.com/warinformationdivision/photos/pcb.263279135   n/photos/pcb.2632791356762457/26327899100
  6762457/2632789716762621/?type=3&theater.                      95935/?type=3&theater.


 Evidence of non-compliance

 10.    The findings of the Panel are supported by independent and corroborated testimonies of
 witnesses and the documentary and imagery evidence shown in the appendices at table 32.1:

 Table 32.1
 Documentary and imagery evidence

  Appendix Evidence Type Remarks
     1     Documentary   International Merchant Marine Registry of Belize registration
                         certificate dated 3 August 2017, which registers the Al Karama
                         (then known as the Avenhorn) as a patrol vessel. Certificate
                         obtained by Russel Ventures.
     2     Documentary   Contract of Sale signed 1 February 2018 between Universal
                         Satcom Services F.Z.E. (UAE) and Ahl Ai-Thiqa Security and
                         Safety Equipment Imports Company, Benghazi Libya). Note that
                         this predates the sale of the vessel to Universal Satcom Services
                         F.Z.E. from the then owner, Russell Ventures Limited
                         (Seychelles) (the parent company of Dick van der Kamp
                         Shipsales, Netherlands)
     3     Documentary   Memorandum of Agreement dated 26 February 2018 for sale of
                         the Al Karama (then known as the Avenhorn) by Russell
                         Ventures Limited (Seychelles) to Universal Satcom Services
                         FZE




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  Appendix Evidence Type Remarks
      4    Documentary   Bill of Sale dated 29 March 2018 for sale of the Al Karama (then
                         known as the Avenhorn) by Russell Ventures Limited
                         (Seychelles) to Universal Satcom Services FZE
      5    Documentary   Invoices from Russell Ventures Limited (Seychelles) to
                         Universal Satcom Services FZE dated 26 February and 9 March
                         2018
      6    Documentary   Payments from Universal Satcom Services FZE to Dick van der
                         Kamp Shipsales BV, acting for Russell Ventures Limited
                         (Seychelles) dated 27 February, 26 March, 27 March and 28
                         March 2018
      7    Documentary   Panama Registration Authority Navigation Special Registry
                         certificate of 23 April 2018, which registers the Al Karama (then
                         known as the Avenhorn) as a pleasure yacht. Certificate obtained
                         by Universal Satcom Services FZE
      8    Documentary   Email dated 27 May 2018 from Reema Sami Abdullah Al Omari
                         to Dick van den Kamp Shipsales confirming the sale of the
                         vessel to the “Libyan Ministry of Transportation” during its
                         voyage to Alexandria, Egypt
      9    Documentary   Government of Fujairah company registration certificate for
                         Universal Satcom Services FZE identifying Reema Sami
                         Abdullah Al Omari as Owner.
     10    Documentary   Company certificate for Ahl al-Thiqa Security and Safety
                         Equipment Imports Company, Benghazi.
     11    Imagery       Imagery from confidential source showing OPV Al Karama to in
                         Ras Lanuf on 20 April 2019.
     12    Imagery       Plan showing retrofitting of weapons to Al Karama




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 Appendix 1 to Annex 32: International Merchant Marine Registry of Belize registration
                        certificate dated 3 August 2017

 Image 32.1.1
 Certificate of registration




           Patrol Vessel




 Source: Member State.




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                                                                                                                                     S/2019/914



 Appendix 2 to Annex 32: Contract of Sale dated 1 February 2018135 for sale of the vessel by
                         Universal Satcom Services F.Z.E. to Ahl al-Thiqa Security and Safety
                         Equipment Imports Company, Benghazi136

 Image 32.2.1
 Contract of Sale




      135
            Better quality image has been requested from source.
      136
            Note that the preambular text predates (1 February 2018) the purchase of the vessel from Russel Ventures Limited, although the front
            cover is dated 17 April 2019.




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 Source: Confidential




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 Image 32.2.2
 Official translation of the above document


            Translated from Arabic

            Contract for the sale of a vessel

            Universal Satcom Services FZE
            17 April 2018

            Universal Satcom Services FZE
            Fujairah Free Zone, PO Box 50462
            Contract No. 2018/05/001V

            Contract of sale

            On Thursday, 1 February 2018, the present contract was concluded between:

            1.    Universal Satcom Services, a company specialized in technical maritime services,
            registered in the Fujairah Free Zone, United Arab Emirates, represented in the present
            contract by Rima Sami al-Umari in her capacity as Director-General of the company, and
            referred to hereinafter as “the first party”.

            2.   The Ahl al-Thiqa Safety and Security Equipment Import Company, a company
            specialized in providing safety and security equipment, registered in Benghazi, Libya,
            represented in the present contract by Mr. Bushnaf Hasan Hamad and referred to
            hereinafter as “the second party”.

            Introduction

            The two parties have agreed that the first party shall provide a maritime vessel with the
            technical specifications set out in the annex to the present contract, and that the second
            party shall pay the funds specified in the contract in accordance with the conditions
            specified therein.

            The two parties have agreed to the following:

            1.    The introduction set forth above shall constitute an inseparable part of the contract.

            2.    The first party undertakes to supply the maritime vessel and hand it over to the
            second party within a period of no more than 90 days as of the date of the contract, and to
            take receipt of the instalment.




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           3.    The value of the contract for the supply of the vessel, under the present contract,
           shall be US$ 1,500,000 (one million five hundred thousand United States dollars).

           4.   Terms of payment:
                 50 per cent of the value of the contract upon signature;

                  25 per cent of the value of the contract once the vessel has been shown and
           inspected at the port of Alexandria by the second party;

                  25 per cent of the value of the contract upon definitive receipt of the vessel in the
           port of Benghazi.

           5.    The prices agreed upon in the present contract shall be final and fixed, and shall not
           be subject to increase. No changes to the value of the contract may be requested owing to
           currency fluctuation; or any rise in market prices; or costs of production, labour or
           transport; or changes in taxes and duties; or the imposition or new taxes or duties; or any
           other reason.

                    In addition to the cost, the prices shall include all expenses and fees incurred by
           the first party in fulfilling the contract, including transport fees; port and dock duties;
           storage, unloading, assembly, testing and verification expenses, and any other
           commitments that are needed in order to supply the vessel to which the present contract
           refers.

           6.   The first party affirms that the vessel shall be handed over in good and proper
           condition, and without any flaw.

           7.    The crew that will convey the vessel to the port of Benghazi shall provide technical
           training to the crew of the second party, namely general training on how to operate the
           vessel and the equipment on board, for a period of no more than a week from the date of
           the handover.

           8.   The second party shall host the crew in Benghazi during the training period and shall
           then make arrangements for them to travel out of Libya.

           9.   The first party disclaims all responsibility for the vessel after it has been handed
           over to the second party. The vessel’s flag and all its registration markings shall be
           removed from the moment of its handover, and the second party shall make the necessary
           arrangements to obtain the required licences and certificates, which are as follows:

                  International tonnage certificate;




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                   Minimum safe manning certificate;
                   Authorization letter from Panama Maritime Authority;
                   Seaworthiness certificate;
                   Navigation special registry certificate;
                   Radio station provisional licence.

            The contract has been signed and accepted by:

                          The first party: Universal Satcom The second party: the Ahl al-Thiqa
                          Services company;                 Safety and Security Equipment
                                                            Import Company.

                          Signed: (Signature, seal)                      Signed: (Signature, seal)

                          Date:                                          Date:




 PANEL NOTE:

 The technical specifications referred to are not included in this document but are in the possession of the Panel.




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 Appendix 3 to Annex 32: Memorandum of Agreement dated 26 February 2018137 for sale of the
                         Al-Karama

 Image 32.3.1
 Memorandum of agreement




 Source: Confidential.




      137
            First page only for clarity. Remainder available from the Panel’s records.




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 Appendix 4 to Annex 32: Bill of Sale dated 29 March 2018 for sale of the Al-Karama

 Image 32.4.1
 Bill of Sale




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 Source: Confidential.




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 Appendix 5 to Annex 32: Invoices from Russell Ventures Limited (Seychelles) to Universal
 Satcom Services FZE

 Image 32.5.1
 Invoices




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 Source: Confidential.




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 Appendix 6 to Annex 32: Example payments from Universal Satcom Services FZE to Dick van
                         der Kamp Shipsales BV, acting for Russell Ventures Limited
                         (Seychelles)

 1. Four payments were made of US$ 52,500 (27 February 2018), US$ 157,500 (22 March 2019),
 US$ 157,500 (27 March 2019) and US$ 157,500 (28 March 2019). Documentation for one payment
 only is included in the report, the remainder is in the possession of the Panel.




 Source: Confidential




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 Source: Confidential




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 Appendix 7 to Annex 32: Panama Registration Authority Navigation Special Registry
                         certificate of 23 April 2018

 Image 32.7.1
 Panama Registration Certificate




                                        Pleasure Yacht




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 Image 32.7.2
 Extract showing reason falsely declared for deregistration (ORIGINAL) 138




 Image 32.7.3
 Extract showing reason falsely declared for deregistration (OFFICIAL UN TRANSLATION)




 Sources: Member State




     138
           Member State letter to Panel dated 31 October 2018.




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 Appendix 8 to Annex 32: Email dated 27 May 2018 from Reema Sami Abdullah Al Omari to
 Dick van den Kamp Shipsales

 Image 32.8.1
 Email from Reema Al Omari




                                 Reema Al Omari




                                 Reema Al Omari




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 Appendix 9 to Annex 32: Government of Fujairah company registration certificate for
                         Universal Satcom Services FZE

 Image 32.9.1
 Company registration certificate




                                       Reema Al Omari




                                      Reema Al Omari




 Source: Confidential.




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 Appendix 10 to Annex 32: Company certificate for Ahl al-Thiqa Security and Safety
                          Equipment Imports Company, Benghazi

 Image 32.10.1
 Company certificate




 Source: Confidential.


 Image 32.10.2
 Panel translation


            Copy of the commercial registry                                          16/12/2012

            Commercial name : Ahl al-Thiqa Company for Safety and Security Apparel Imports

            Company created by: Contract of establishment ……        Based in Benghazi

            Duration of the company: 25 yrs      Starting from 11/12/2012 Ending on 11/12/2037

            Capital :      500,000 LYD
            Paid/Cash :    150,000 LYD

            Members of the Board of Directors:




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                                                                    Date of
              Name                   Nationality    Position        nomination    Based       Address
              Bushnaf Hasan Hamed    Libyan         Commissioner    16/12/2012    Benghazi    Benghazi
              Hani Fathi Belkacem    Libyan         Member          16/12/2012    Benghazi    Benghazi


                                                                   Date of
           Name                     Nationality    Position        nomination    Based       Address
           Bushnaf Hasan Hamed      Libyan         Legal Advisor   16/12/2012    Benghazi    Benghazi




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 Appendix 11 to Annex 32: OPV Al Karama (fitted with weapons) (Ras Lanuf – 26 April 2019)

 Image 32.11.1
 Al Karama in Ras Lanuf




                          40mm Cannon       20mm Cannon




 Source: Confidential




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 Appendix 12: Plan showing retrofitting of weapons to Al Karama

 Image 32.12.1
 Retrofitting of Al Karama




 Source: Confidential




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 Annex 33:                Non-lethal maritime exceptions

 ‘Stan Patrol 1605’ Class patrol boats

 1.      A Member State transferred eight ‘Stan Patrol 1605’ Class patrol boats to the Libyan Coast
 Guard on 10 January and 22 April 2013. The vessels were manufactured by Damen Shipyard Group of
 the Netherlands,139 and are referred to in paragraph 77 of S/2018/812. Although the vessels were
 unarmed on transfer, they were fitted with generic equipment mounts,140 which are also particularly
 suitable for the mounting of light weapons. The Panel has identified that a number of these vessels have
 then been armed subsequent to transfer, thus converting them into armed naval vessels.

 2.      The current names, weaponry mounted on them, and last known locations of the vessels are at
 table 33.1. Imagery is at figures 33.1 to 33.4.

 Table 33.1
 Names and last identified locations of Libyan Coast Guard Stan Patrol 1605 Class vessels

    #             Name              Location               Coordinates             Date               Remarks
    217           Burdi             Tobruk                 32°04’36.77”N,          Oct 2017
                                                           23°58’52.58”E
    227           Sloug             Ras Al Hilal           32°52’58.06”N,          May 2018
                                                           22°11’22.92”E
    237           Besher            Benghazi               32°06’03.31”N,          Feb 2016           Identified as armed with one BMP-1 73mm
                                                           20°02’51.62”E                              Gun.
    247           Izreg             Benghazi               32°06’03.31”N,          Mar 2019           Identified as armed with one ZSU-23-2
                                                           20°02’51.62”E                              cannon.
    257           Libda             Al Khoms               32°40’42.56”N,          Jan 2019
                                                           14°14’25.21”E
    267           Talil             Zawiyah                32°47’33.45”N,          Nov 2018           Identified as armed with two 12.7 x 108mm
                                                           12°44’52.61”E                              DShK-M variant heavy machine gun.
    277           Tukra             Az Zuwaytinah          30°57’15.21”N,          Mar 2018
                                                           20°06’42.18”E
    287           Qaminis           Misrata                32°22’20.46”N,          Dec 2018           Unarmed on 25 April 2016.
                                                           15°12’57.72”E


 Source: Some data from confidential source.




        139
              https://products.damen.com/en/ranges/stan-patrol/stan-patrol-1605/deliveries/spa-1605-burdi-sloug-besher-izreg.
        140
              Letter from Member State of 16 April 2019.




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   Image 33.1                                                 Image 33.2
   237 Besher (Left)                                          247 Izreg
   Benghazi based                                             Benghazi based




   Image 33.3                                                 Image 33.4
   247 Izreg                                                  267 Talil
   Benghazi based                                             Zawiyah based




 Sources: 1) 33.1 and 33.2 from https://www.albawabhnews.com/show.aspx?id=1789870; 2) 33.3 from
 https://www.youtube.com/watch?time_continue=1&v=lp2S4czOoUs. (0.27 min); and
 https://www.facebook.com/1431260937150207/photos/a.1835184040091226/1985294058413556/?type=3&theater; and 4) 33.4 from
 https://www.facebook.com/warinformationdivision/photos/pcb.2632791356762457/2632789800095946/?type=3&theater.


 ‘Corrubia’ Class patrol boats

 3.     A Member State has confirmed the transfer of two ‘Corrubia’ Class patrol boats to the Libyan
 Coast Guard, which were previously in service as G92 ‘Alberti’141 and G115 ‘Zannotti’.142 The first
 vessel was delivered on 21 October 2018 and named ‘Fezzan (658)’ by the Libyan Coast Guard. The
 second vessel was delivered in 24 November 2018 and named ‘Ubari (660)’ (figures 33.5 and 33.6).




     141
         http://www.gdf.gov.it/repository/re.t.l.a/centro-navale/bandi-di-gara-e-contratti/anno-2016/affidamento-del-servizio-ordinaria-e-
         straordinaria-manutenzione-g.-92-alberti.
     142
         http://www.gdf.gov.it/repository/re.t.l.a/centro-navale/bandi-di-gara-e-contratti/anno-2017/fornitura-materiale-elettrico-occorrente-al-
         201cg.-115-zanotti201d.




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 4.      The ‘Corrubia’ Class Patrol Boat is a 27m monohull designed as a multiple role tactical
 platform, and normally has a standard weapon fit of a 30mm / 82 calibre Breda-Mauser Cannon, 1 x
 12.7mm medium machine gun and 2 x 7.62mm medium machine guns. The Panel received details of
 the demilitarization of these vessels prior to transfer from the Member State,143 and that States’ rationale
 that the transfer fell under the auspices of paragraph 10 of resolution 2095 (2013).

  Figure 33.5                                                            Figure 33.2
  Fezzan (658) in Tripoli (21 Oct 2018)                                  Ubari (660) in Tripoli (24 Nov 2018)




 Sources: 1) www.libyaakhbar.com/libya-news/30905.html and www.libyaobserver.ly/news/italy-sends-libya-boat-“fezzan”; and 2)
 www.libyaobserver.ly/inbrief/libyan-coast-guard-receives-new-vessel-italy.




      143
            Letter from Member State of 31 May 2019.




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            Annex 34:            Operational naval assets

            1.    The Panel has compiled an analysis of the current and potentially future operational vessels of the
            Libyan Navy and Coast Guard. The data, which is at tables 34.1 and 34.2 is not yet exhaustive as
            research continues.
            Table 34.1
            Operational Libyan Navy / Coast Guard vessels144

             Generic Type            Type                       Hull #   Vessel Name    Location        Remarks

             Patrol Vessel           Damen Stan Patrol 1605 a   217      Burde          Tobruk          Probable HAF controlled.
                                                                227      Sloug          Ras Al Hilal    Probable HAF controlled
                                                                237      Besher         Benghazi        HAF controlled.
                                                                247      Izreg          Benghazi        HAF controlled.
                                                                257      Libda          Al Khoms
                                                                267      Talil          Zawiyah         Loose GNA-AF control.
                                                                277      Tukra          Az Zuwaytinah
                                                                287      Qaminis        Misrata
             Patrol Vessel           Damen Stan Patrol 2606                                             Delivered in 2013. b


             Patrol Boat             Raidco RPB20               317      Akrma          Benghazi        HAF controlled. Delivered in April 2013.c
                                                                327      Janzur         Benghazi        HAF controlled
             Patrol Boat             Corrubia Class             658      Fezzan         Tripoli         Donated 2018 by Italy (ex G115 Zanotti)
                                                                660      Ubari          Tripoli         Donated 2018 by Italy (ex G192 Aliberti)
             Patrol Boat             PV30-LS Class              634      Sadadahe                       Six ordered for Coast Guard from Croatia 2006 - 2008.f
                                                                                                        Reported non-operational.
             Patrol Boat             Hameln Class               206      Al-Kifah       Tripoli         Seen 2017.g
             Patrol Boat             Bigliani Class             644      Zuwarah                        Maintained by Italy in May 2017 (ex G83 Macchi).
                                                                648      Ras Al Jadar                   Maintained by Italy in May 2017 (ex G86 Buoncore).
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                  144
                        Multi source Panel research.
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            Generic Type               Type                                  Hull #     Vessel Name          Location            Remarks
                                                                             654        Sabratha                                 Maintained by Italy in May 2017 (ex G82 Galiano).
                                                                             656        Zawia                                    Maintained by Italy in May 2017 (ex G84 Fortuna).
            Fast Attack                Combattante Class II G                534        Shafak               Tripoli             Under request to go to Tunisia for repair.
            Craft-Missile
            Fast Attack                Osa II Class                                                                              Not confirmed.
            Craft-Missile
            Offshore Patrol            Aisling Class                         P23        Al-Karama            Benghazi            HAF controlled.
            Vessel
            Minesweeper                Natya Class (Type 266ME)                                                                  Not confirmed
            Frigate                    Koni II Class                         212        Al Hani              Malta               Embargoed.
            Landing Ship               PS700 Class                           132        Ibn Ouf              Tripoli             Refitted in France 2012.
            Tank                                                                                                                 Maintained by Italy in 2017/2018.
                                                                                                                                 Plans for refit by France in 2019.
                                                                             134        Ibn Haritha          Tripoli             Repaired in Abu Sitta 2018.
            Salvage Vessel             Spasilac                              722        Al Munjed            Tripoli             Under repair in 2017.

                      a
                          Donated by Netherlands in 2013.
                      b
                          http://amiinter.com/pdf/MediterraneanDNavies-Oct2013.pdf.
                      c
                          Ibid.
                      d
                          J.Binnie. Janes HIS. 23 June 2013.
                      e
                          634 listed but not confirmed. Alternates are 638 Marsit, TBC Tagreft. Originally numbered 301 – 306.
                      f
                          https://www.adria-mar.hr/index.php?option=com_content&view=article&id=46&Itemid=67&lang=en. Accessed 24 July 2019.
                      g
                          https://twitter.com/jeremybinnie/status/920571076580724736?lang=en. Accessed 24 July 2019.




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            Table 34.2
            Proposed Libyan Navy / Coast Guard vessels

             Generic Type           Type                                 Qty       Supplier                      Remarks

             Patrol Boat            FPB 98 Mk1                           2         OCEA S.A. France              Under Committee consideration.

             Patrol Boat            Tuzla Class                          4         Dearsan and Gulhan,a Turkey   Under Committee consideration.


             Patrol Boat            ‘500’ Class                          10        Italy                         To be donated by Italy. CP515-CP522, CP526 and
                                                                                                                 CP535. Italy considers the vessels do not fall under the
                                                                                                                 list of embargoed goods (military equipment) referred
                                                                                                                 to in resolution 1973 (2011) and as subsequently
                                                                                                                 amended.




                    a
                        http://www.dearsan.com/en/products/57m-patrol-boat.html.
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 Annex 35:             Al Hani frigate (PF212)

 Introduction

 1.      The work on the frigate by Cassar Shipyard was primarily focused on ensuring that the vessel
 is seaworthy with a navigation capability. The two diesel engines have been overhauled, which will
 now allow the vessel to cruise at 12 knots, with a theoretical top speed of 16 to 18 knots, but the primary
 single gas turbine is irreparable and is only in the vessel now for ballast and trim requirements. The
 integrity of the hull was achieved by replacing over 950m2 of the steel plate of the hull. The navigational
 radar is a commercial after-fit and is operational.

 Offensive capability

 2.       It is highly unlikely that the major weapons systems on the frigate can function effectively, even
 if the ammunition were now available in Libya and in good condition. In 2014 the Libyan Navy plan
 was for the vessel to got to Cassar Shipyards in Malta for the seaworthiness work, and when complete
 the vessel was to proceed to Poland for maintenance and overhaul of the major weapon systems. The
 requirement for the work in Poland being a strong indicator of the ineffectiveness of the weapon systems
 at that time. There is now no intention that the work planned for Poland will ever take place due to the
 further degradation of the weapon systems over the last five years.145

 3.      Figure 35.1 is a schematic of the vessel showing the location of the major weapons systems
 cross-reference against Table 1, which summarises the Panel’s assessment operability of the weapons
 systems. The red code letters refer to the weapons systems shown in tables 35.1 and 35.2.

 Figure 35.1
 Silhouette of Koni II Class frigate




 Source: www.janes.ihs.com/. Accessed 5 March 2019.


      145
            Interview with the Chief Engineer of Al Hani, 9 March 2019.




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 Table 35.1
 Type and status of major weapons systems fitted to Al Hani (PF212)

                                                                                    Range
    Code      Type                              #     Fire Control Radar                     Remarks
                                                                                    (m)

     A        AK-230 30mm 63 Calibre            4     MR-104 Rhys                   2,000    ▪ Operable after maintenance.
              Cannon                                   (Drum Tilt)                             Currently rusted.
                                                                                             ▪ Manual line of sight operation
                                                                                               only

     B        AK726 76mm 59 Calibre             4     MR-105 Turel                  15,700   ▪ Operable after maintenance.
              Gun                                     (Hawk Screech)                           Currently rusted.
                                                                                             ▪ Manual line of sight operation
                                                                                               only

     C        S4K33 Osa-MA2 Surface             2     4R33 Baza MPZ-301             10,000   ▪ Inoperable
              to Air Missile Twin                     (Pop Group)
              Launchers
              (SA-N-4 Gecko)

     D        4K51 P-15M ‘Termit’               4     3Ts-25 Garpun                 8,000    ▪ Inoperable
              Ship to Surface Missile                 (Plank Shave)
              Launchers
              (SS-N-2C Styx)

      E       RBU-6000 Smerch-2                 1     Hercules MG322 Sonar          5,500    ▪ Possibly operable
              213mm Twelve Tube
              Anti-Submarine Mortar
              Launcher

      F       Type 40 USET-95                   2     Active / Passive              10,000   ▪ Possibly operable
              400mm Torpedo Twin                      Homing
              Tubes

 Note 1: Status of weapon systems determined during Panel inspection on 9 March 2019.



 4.      Notwithstanding the Panel’s assessment of the weapon systems’ operability, the Panel considers
 that it may be prudent for the vessel to undertake some basic demilitarization of the weapons systems
 prior to final handover to the Libyan Navy. This would deter any attempts to try and even obtain basic
 functionality of the weapons systems. Cassar Shipyard have indicated that this could be easily done at
 low cost. Table 35.2 summarizes the Panel’s recommendations for such weapon system
 demilitarization.




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 Table 35.2
 Panel recommendation for basic demilitarization of major weapons systems fitted to Al Hani (PF212)

    Code    Type                     Remarks
     B      AK726 76mm 59            ▪ Remove and destroy MR-105 Turel (Hawk Screech) control panel from
            Calibre Gun                operations room.
     C      S4K33 Osa-MA2            ▪ Remove and destroy 4R33 Baza MPZ-301 (Pop Group) control panel
            Surface to Air Missile     from operations room.
            Twin Launchers           ▪ Cut a one-metre length out of the umbilical control cable at the
            (SA-N-4 Gecko)             launcher end.
                                     ▪ Weld a steel bar across the guidance elevation rails inside the launcher.
                                     ▪ Manufacture and weld a 10mm thick steel circular plate and fit over top
                                       of missile launcher.
     D      4K51 P-15M ‘Termit’      ▪ Remove and destroy 3Ts-25 Garpun (Plank Shave) control panel from
            Ship to Surface            operations room.
            Missile Launchers        ▪ Cut a one-metre length out of the umbilical control cable at the
            (SS-N-2C Styx)             launcher end.
                                     ▪ Full circular weld shut around the forward and rear launch tube covers.
                                     ▪ Cut 4 x 200mm diameter holes along inner side of launch tube to act as
                                       an escape vent for launch motor gases.
      E     RBU-6000 Smerch-2        ▪ Remove and destroy launcher.
            213mm Twelve Tube
            Anti-Submarine
            Mortar Launcher
      F     Type 40 USET-95          ▪ Full circular weld shut around the forward and rear tube covers.
            400mm Torpedo            ▪ Cut 4 x 200mm diameter holes along inner side of launch tube to act as
            Twin Tubes                 an escape vent for expulsion gases.


 Operational capability

 5.      Although referred to as a frigate, the age, design, lack of operable major weapons systems means
 that this vessel presents little threat to other naval vessels, particularly if the recommended
 demilitarization action is initiated to prevent any attempts to bring major weapons systems back into
 service. It is only suitable now for the patrolling of littoral coastal waters and seamanship training.

 6.     Theoretically the 76mm naval guns with their 15.7km maximum range could present a threat to
 the coastal strip. Their effectiveness though would be very limited unless the vessel had quality
 communications to well-trained naval gunfire support spotting teams ashore. Even if utilised in this role




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 the blast effects of the approximate 0.5kg high explosive content of a single 76mm shell are no worse
 than those of the 82mm mortars in plentiful supply to the major armed groups within Libya. This risk
 is assessed by the Panel as currently low.




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            Annex 36:       Illicit supply of armoured vehicles to Libya

            1. The Panel has compiled a summary of the wheeled armoured vehicle assets available to the armed groups in Libya,
            and imagery to assist identification is at appendix A. Some of these vehicles may have been transferred to Libya for
            protective use under the auspices of paragraph 9 of resolution 2095 (2013), and have subsequently been modified to provide
            an offensive military capability (see appendix B).

            2.    Wheeled armoured vehicles include, wheeled infantry armoured fighting vehicles (IAFV), infantry fighting vehicles
            (IFV), light armoured vehicles (LAV), light armoured multi-purpose vehicles (LAMV), mine resistant ambush protected
            (MRAP) vehicles, protected patrol vehicles (PPV) and armoured personnel carriers (APC). The technical differences
            between type are often minimal and dependent on: 1) armour protection levels; 2) crew capacity; 3) the ability to mount
            turreted weapons; and 4) the manufacturer’s marketing strategy. Their ease of modification with a weapons fit makes them
            a “force multiplier”, and removes them from a “non-lethal” status.

            Table 36.1
            Armoured vehicle assets

             Entity           Name                Type       Manufacturer   State        Supplier    Reported                 Remarks

             Libyan           Cobra
                                      b           LAMV       Streit         UAE          UAE         Paragraph 118 and        ▪ Delivered in August 2012 in
             Government a                                                                            annex 26 to S/2016/209     violation of para 9(b) of
                                                                                                                                resolution 1970 (2011).

             Libyan           Cougar c            LAMV       Streit         UAE          UAE         Paragraph 118 and        ▪ Delivered in August 2012 in
             Government a                                                                            annex 26 to S/2016/209     violation of para 9(b) of
                                                                                                                                resolution 1970 (2011).

             Libyan           Spartan d           LAV        Streit         UAE          UAE         Paragraph 118 and        ▪ Delivered in August 2012 in
             Government a                                                                            annex 26 to S/2016/209     violation of para 9(b) of
                                                                                                                                resolution 1970 (2011).




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            Entity            Name                Type   Manufacturer   State          Supplier   Reported                 Remarks
            Saw’iq brigade,   Jaise               MRAP   Nimr           UAE            UAE        Paragraph 119 and        ▪ Delivered in 2013.
            Zintan                                                                                annex 27 to S/2016/209

            GNA-AF            Kirpi 4X4 f         MRAP   BMC            Turkey         Turkey     New 2019                 ▪ Delivered 18 May 2019.

            HAF               Al Mared 8 x 8 g    IAFV   KADDB          Jordan         Jordan     New 2019                 ▪ First seen 19 May 2019.

            HAF               Al Wahsh 4 x 4 h    PPV    KADDB          Jordan         Jordan     Annex 28 to S/2018/812   ▪

            HAF               Caiman j            MRAP   BAE Systems    UK                        Annex 28 to S/2018/812   ▪ Seen at Derna, August 2017.
                                                                                                                           ▪ Seen at Benghazi, May 2018.

            HAF               Jais                MRAP   Nimr           UAE                       Annex 28 to S/2018/812   ▪ Seen at Derna, August 2017.

            HAF               Mbombe 6 x 6 k      IAFV   Paramount      South Africa   Jordan     New 2019                 ▪ First Seen Benghazi 19 May
                                                                                                                             2019.

            HAF               Panthera T6 4 x 4   APC    MSPV
                                                                  l     UAE                       Paragraph 142 and        ▪ Delivered April/May 2015.
                                                                                                  annex 29 to S/2016/209
                                                                                                                           ▪ Delivered 17 April 2016 on
                                                                                                  and
                                                                                                                             Bahro Abha.
                                                                                                  Paragraph 160 and
                                                                                                  annex 40 to S/2017/466

            HAF               Panthera F9 4 x 4   APC    MSPV m         UAE                       Annex 28 to S/2018/812   ▪ Seen at Derna, June 2018.

            HAF               Spartan n           LAV    Streit         UAE                       Annex 28 to S/2018/812   ▪ Seen at Derna, June 2018.

            HAF               Tygra p             APC    Mezcal         UAE                       Paragraph 160 and        ▪ Supplied 17 April 2016 on Bahro
                                                                                                  annex 40 to S/2017/466     Abha.

            HAF               Irigiri q           APC    Nigerian                                 New 2019                 ▪ Single source reported as seen in
                                                         Army                                                                Tripoli 2015. Also seen in
                                                                                                                             January 2016 in cargo hold of
                                                                                                                             ship.s

            HAF               Ratel-60 r          IFV    Sandock        South Africa              New 2019                 ▪ First seen 18 April 2018 near
                                                         Austral                                                             Tripoli with HAF 302 Battalion.t
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            a
                The vehicles supplied to the Libyan government in 2012 are now in use by both parties to the conflict.
            b
                https://www.armored-cars.com/cobra-lamv/.
            c
                https://www.armored-cars.com/cougar-lamv/.
            d
                https://www.armored-cars.com/spartan-asv/.
            e
                https://www.nimr.ae/product/jais4x4/.
            f
                https://www.bmc.com.tr/en/defense-industry/kirpi.
            g
                http://www.kaddb.com/en-us/KADDBs-PORTFOLIO/LAND-SYSTEMS.
            h
                http://www.kaddb.com/en-us/KADDBs-PORTFOLIO/LAND-SYSTEMS.
            j
                https://www.baesystems.com/en/product/caiman-mrap-vehicles.
            k
                http://www.paramountgroup.com/capabilities/land/mbombe-6/.
            l
                http://mspv.com/military/.
            m
                http://mspv.com/military/.
            n
                https://www.armored-cars.com/spartan-asv/.
            p
                http://www.mezcalarmor.com/Armored-Personnel-Carriers/Tygra.
            q
                http://www.vanguardngr.com/2012/06/army-to-unveil-first-nigerian-built-apc/.
            r
            https://www.armyrecognition.com/south_africa_african_army_wheeled_armoured_vehicle/ratel_20_6x6_armoured_infantry_fighting_vehicle_
            20mm_cannon_technical_data_sheet_specifications_pictures_video_11601163.html.
            s
                https://twitter.com/DonKlericuzio/status/684663686108151808.
            t
                https://twitter.com/Oded121351/status/1118808298491396096.




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 Appendix A to Annex 36: Identification imagery of wheeled armoured vehicles

 Table A.36.1
 Armoured vehicle imagery




    Name: COBRA LAMV                                     Name: COUGAR LAMV
    Manufacturer: Streit Armoured Cars (UAE)             Manufacturer: Streit Armoured Cars (UAE)
    Affiliation: GNA-AF                                  Affiliation: GNA-AF
    First Seen: 2012                                     First Seen: 2012
    First Reported: S/2016/209, para. 118 and annex 26   First Reported: S/2016/209, para. 118 and
                                                         annex 26




    Name: SPARTAN LAV                                    Name: KIRPI MRAP
    Manufacturer: Streit Armoured Cars (UAE)             Manufacturer: BMC TURKEY
    Affiliation: GNA-AF / HAF                            Affiliation: GNA-AF
    First Seen: 2012                                     First Seen: 2019
    First Reported: S/2016/209, para. 118 and annex 26   First Reported: NEW




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    Name: RATEL-60 IFV                            Name: JAIS MRAP
    Manufacturer: Sandock Austral, South Africa   Manufacturer: NIMR (UAE)
    Affiliation: HAF                              Affiliation: Saw’iq Brigade, Zintan / HAF
    First Seen: 2016                              First Seen: 2013
    First Reported: Not previously reported       First Reported: S/2016/209, para. 119 and
                                                  annex 27




    Name: MARED 8x8 IAFV                          Name: AL WAHSH 4x4 PPV
    Manufacturer: KADDB (Jordan)                  Manufacturer: KADDB (Jordan)
    Affiliation: HAF                              Affiliation: HAF
    First Seen: 2019                              First Seen: 2016
    First Reported: NEW                           First Reported: S/2016/209, annex 26




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    Name: CAIMAN MRAP                                  Name: MBOMBE 6 x 6 IAFV
    Manufacturer: BAe Systems / Armor Holdings (UK /   Manufacturer: Paramount (South Africa)
    USA)                                               Affiliation: HAF
    Affiliation: HAF                                   First Seen: 2019
    First Seen: 2012                                   First Reported: NEW
    First Reported: S/2016/209, annex 26




    Name: PANTHERA T6 APC                              Name: PANTHERA F9 APC
    Manufacturer: MSPV (UAE)                           Manufacturer: MSPV (UAE)
    Affiliation: HAF                                   Affiliation: HAF
    First Seen: 2016                                   First Seen: 2018
    First Reported: S/2016/209, annex 26               First Reported: S/2018/812, annex 28




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    Name: TYGRA APC                                      Name: IGIRIGI APC
    Manufacturer: Mezcal (UAE)                           Manufacturer: Army (Nigeria)
    Affiliation: HAF                                     Affiliation: HAF
    First Seen: 2016                                     First Seen: 2015
    First Reported: S/2017/466, para. 160 and annex 40   First Reported: Not previously reported




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 Appendix B to Annex 36: Examples of modified wheeled armoured vehicles

 1.      This appendix provides examples of wheeled armoured vehicles, which may have been
 transferred to Libya for protective use under the auspices of paragraph 9 of resolution 2095 (2013), that
 have subsequently been modified to provide an offensive military capability.

     Figure B.36.1                                         Figure B.36.2
     Streit Spartan LAV modified with a Type 63            Streit Cougar LAMV modified with a 9M133
     107mm multi barrel rocket launcher fitted to          Kornet ATGW b
     ‘snakehead’ cupola a




     Figure B.36.3
     KADDB Al Wahsh PPV modified with an
     73mm SPG-9 recoilless gun fitted to
     ‘snakehead’ cupola c




 a
   https://twitter.com/towersight/status/1169271329033531392, 4 September 2019.
 b
   https://twitter.com/Oded121351/status/1084717353361911808, 14 January 2019.
 c
   https://twitter.com/Oded121351/status/1102829446191558656, 5 March 2019.




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 Annex 37:            Nashshab RPG-32 anti-tank rocket launcher

 1.       On 28 May 2019 the Panel identified from open source information the possession of the RPG-
 32 Nashshab shoulder-launched anti-tank rocket system by HAF (image 37.1). This weapon system is
 produced in Jordan by a co-operative venture between the Joint Stock Company “Scientific Production
 Association “Bazalt” (JSC “SPA “Bazalt”) of Russia (http://bazalt.ru/en/) and the King Abdullah II
 Design and Development Bureau (KADDB) (http://www.kaddb.com/) called the Jadara Equipment and
 Defence Systems (initially the Jordan Russian Electronics Systems Company) (JRESCO)
 (https://www.jadara.jo) (image 37.2). The Panel notes that, according to authoritative open source
 information,146 the Royal Jordanian Army is the only known user of this weapons system to date.

 Image 37.1
 RPG-32 Nashshab with HAF (28 May 2019)




 Source: https://twitter.com/Mansourtalk/status/1133996109448253440?s=08. 30 May 2019.

 Image 37.2
 Original manufacturers image a




 Source: https://www.jadara.jo/jadara-products. Accessed 11 June 2019.




      146
            www.janes.ihs.com.




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 3.     On 27 June 2019, GNA-AF captured a range of ammunition and military equipment from HAF.
 Among this ammunition was at least one RPG-32 Nashshab rocket tube (image 37.3). The image clearly
 shows all of the markings on the rocket tube, which should assist the Jordanian authorities in assisting
 the Panel in establishing the supply chain for the RPG-32 Nashshab to Libya.

 Image 37.3
 RPG-32 Nashshab captured from HAF at Gharyan (27 June 2019)




 Source: Confidential

 4.     The Panel has written to Jordan requesting clarification of the supply chain for this weapon
 system but has received no response.

 5.     The Panel finds Jordan in non-compliance with paragraph 9 of resolution 1970 (2011) for the
 provision of military material to the LNA.




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 Annex 38:            9K-115-M Metis RPG-32 ATGW

 1.     The 9K115-2 Metis, or a variant was first observed as possibly being in use in Libya during
      147
 2016. The presence was confirmed by open source imagery on 21 December 2018 (figure 38.1) and
 14 July 2019 (figures 38.2 and 38.3).

 Image 38.1
 9K-115-M Metis ATGW confirmed in Libya (21 December 2018




 Source: https://twitter.com/Oded121351/status/1076092905331351552, 21 December 2018. Accessed 29 August 2019.




      147
            https://twitter.com/Oded121351/status/745852183934033920, 23 June 2016. Accessed 29 August 2019.




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  Image 38.2                                                          Image 38.3
  9K115-2 Metis with GNA-AF(14 July 2019)                             9K115-2 Metis with GNA-AF (14 July 2019)




  Sources: 1) https://twitter.com/rahbaTajura/status/1150532386419089412. Accessed 29 August 2019. [L]; and 2)
  https://twitter.com/rahbaTajura/status/1150532386419089412/photo/4. Accessed 29 August 2019. [R].



 2.     This ATGW system is designed and manufactured by the KPB Instrument Design Bureau
 (www.kpbtula.ru) of the Russian Federation. The Panel has written to the Member State requesting
 information to assist in the identification of the supply chain of these ATGW to Libya.

 3.    The Panel identified open source information148 alleging that the ATGW were supplied by
 Turkey. The Panel considers this unlikely and investigations continue.

 4.          Panel investigations into the supply chain of these ATGW continue.




      148
            Source: Wolfram Lacher, (2019) “Who is Fighting Whom in Tripoli: How the 2019 Civil War is Transforming Libya’s Military
            Landscape,” SANA Briefing Paper, Box 1, Photo 4, p.14, Geneva: Small Arms Survey.
            http://www.smallarmssurvey.org/fileadmin/docs/T-Briefing-Papers/SAS-SANA-BP-Tripoli-2019.pdf.




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 Annex 39:         155mm HE Laser Homing Projectile GP6

 1.     The Panel identified from open source information149 that on 27 June 2019, forces affiliated to
 the GNA captured ammunition from the HAF. This ammunition included some projectiles with
 characteristics virtually identical to the 155mm High Explosive (HE) Laser Homing Projectile (LHP)
 GP6, which is manufactured by the China North Industries Group Corporation Limited (NORINCO).150

 2.      A sealed ammunition container was marked “UAE Armed Forces, Joint Logistics Command C
 and F Section”. Analysis of the imagery has identified the following markings and documentation,
 which with the cooperation of the manufacturer’s Member State would allow the supply chain for this
 particular ammunition to be established.

            (a)  Ammunition container for a Contract Number, (DP3/2/6/1/2006/23/A) with a Lot
            Number of 3-14-519;

            (b)    Packed 155mm HE LHP Projectile with a Lot Number of 3 356 2014;

            (c)    Unpacked 155mm HE LHP Projectile with a Lot Number of 3 354 2014;

            (d)     Quality Certificate for “GP6 155mm Laser Homing Projectile” dated 25 December 2014
            for Lot Number “G6-3-14-356”. Inspected by “Huligiang”; and

            (e)    Packing Note dated 25 December 2014 for “GP6 155mm Laser Homing Projectile”,
            Code No. “GP6 155/45, for Series No. “G6-3-14-356”. Manufactured by “China North
            Industries Corporation”.




      149
          Video imagery of post capture is at
          https://www.facebook.com/138077846597370/videos/2124863734479235/?v=2124863734479235. (See 1 min 36 sec to 2 min 09
          sec)
      150
          www.norinco.com.




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  Image 39.1                                              Image 39.2
  Extract from open source video showing                  Ibid
  ammunition container markings




  Image 39.3                                              Image 39.4
  155mm HE LHP projectile                                 155mm HE LHP projectile
  Lot Number 3 356 2014                                   Lot Number 3 354 2014




  Image 39.5                                              Image 39.6
  QC for 155mm HE LHP projectile                          Packing Note for 155mm HE LHP projectile
  Lot Number 3 356 2014                                   Lot Number 3 356 2014




 Sources: 1) Extract from video imagery of post capture is at
 https://www.facebook.com/138077846597370/videos/2124863734479235/?v=2124863734479235. and 2)
 https://www.facebook.com/138077846597370/posts/567454386993045?s=518287117&sfns=xmo.




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 3.       The Panel has identified that the United Arab Emirates has previously taken delivery of 155mm
 HE LGP GP6 ammunition from the manufacturer.151 The Panel thus finds that, based on: 1) it being a
 confirmed system in Emirati use; 2) the accurate markings on the primary ammunition packaging; 3)
 the colour being distinctive of Chinese rather than Russian Federation ammunition; 4) the previous use
 of Chinese 155mm precision guided munitions in Libya;152 5) the fact that the explosive type is marked
 “A-IX-II” (seen on Chinese ammunition) rather than “A-IX-2” (seen on Russian Federation
 manufactured ammunition); and 6) the prior use of Chinese manufactured 155 mm precision guided
 artillery projectiles in Libya,153 that this Chinese manufactured ordnance was a post-delivery transfer to
 Libya by the United Arab Emirates.

 4.       The Panel has written to the United Arab Emirates requesting clarification of the supply chain
 for this weapon system but has received no response.

 5.     The Panel finds the United Arab Emirates in non-compliance with paragraph 9 of resolution
 1970 (2011) for the provision of military material to the HAF.




      151
          Christopher F Foss. UAE confirms Chinese 155mm AH4 gun howitzer acquisition. Jane’s Defence Weekly.
          http://www.janes.ihs.com/. 28 February 2019.
      152
          https://armamentresearch.com/chinese-gp1-series-guided-artillery-projectiles-in-libya/.
      153
          In paras. 157 to 159 of Panel report S/2017/446 the Panel were inconclusive as to the identity of remnants of a similar projectile.
          Although a Jane’s report had identified the remnants as being from a Russian manufactured 155mm Krasnopol precision guided
          artillery projectile, the Panel subsequently, in paras.115 and 117 of Panel report S/2018/812, assessed the projectile remnants as being
          from a Chinese 155mm GP-1A precision guided artillery projectile.




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 Annex 40:          Pantsir S-1 surface to air missile system (SAM)

 1.    Analysis of open source and confidential satellite imagery identified that at least two Pantsir S-1
 SAM systems were deployed to provide air defence cover for Jufra air base between 5 March and 19
 April 2019 (see figures 40.1 to 40.4).

     Figure 40.1                                                   Figure 40.2
     Jufra air base (5 March 2019)a                                Jufra air base (19 April 2019) b




     Figure 40.3                                                   Figure 40.4
     Jufra air base (5 March 2019)c                                Jufra air base (19 April 2019)b




 a
   Google Earth. Accessed 19 August 2019. Location at 29 013’10.0”N, 15059’44.2”E.
 b
   Confidential source.
 C
   Google Earth. Accessed 19 August 2019. Location at 29 012’31.13”N, 16000’3.64”E.




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 2.     The Panel confirmed from open source imagery (see figure 40.5) the deployment of Pantsir S-1
 surface to air missile (SAM) systems in support of HAF during a road move north in the area of
 Gharyan.154 The Panel also noted an unverified media report155 that refers to a statement made by a
 representative of the GNA-AF Joint Operations Room of West Libya on 20 June 2019, which claims
 that its forces destroyed four Pantsir S-1 SAM systems on 18 June 2019.

  Figure 40.5
  Pantsir S-1 in support of HAF near Gharyan (18 June 2019)




 Source: https://www.jana-ly.co/‫بالصور‬-‫وصول‬-‫منظومة‬-‫دفاع‬-‫جوي‬-‫روسي‬-‫متنقل‬/.



 The Pantsir S-1 SAM system(s) seen in Libya use the MAN SX45 Heavy Mobility Truck as the
 system’s ground mobility and transporter erector launcher (TELAR) platform. Only the UAE uses this
 configuration for their Pantsir S-1 systems156 (figures 40.6 and 40.7). All other export variants are
 mounted on either a 1) BAZ-6909 8x8; 2) Ural-53234 8x8; 3) KamAZ-6560 8x8; or 4) Asrolog MKZT-
 79230 chassis.




      154
          32031’36.67”N, 13013’2.94”E.
      155
          https://www.libyaobserver.ly/news/libyan-air-force-destroys-russian-air-defense-system-used-haftars-forces.
      156
          Binnie J. UAE may have deployed Pantsir S-1 to Libya. Jane’s Defence Weekly. 19 June 2019. London.




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     Figure 40.6                                                  Figure 40.7
     Pantsir S-1 in support of HAF near Gharyan                   Pantsir S-1 in UAE on MAN SX45 platform b
     (18 June 2019) a




 a
     https://twitter.com/Oded121351/status/1141224351045443584.
 b
     Extracted from UAE military promotional video at https://www.mod.gov.ae/.

 The Panel has written to the United Arab Emirates requesting clarification of the supply chain for this
 weapon system but has received no response.
 The Panel finds the United Arab Emirates in non-compliance with paragraph 9 of resolution 1970
 (2011) for the provision of military material to HAF.




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                                                                                                                             S/2019/914



 Annex 41:          Samel-90 electronic countermeasures system

 1. In its report S/2018/812157 the Panel first reported on the HAF use of a roof mounted electronic
 countermeasures (ECM) system during a visit to Tunis on 18 September 2017. The Panel identified the
 system in use again during a visit by the HAF leadership to the Tamanhint air base in Sebha on 13
 February 2019.158

 2.    The Panel made a preliminary identification of the ECM system and requested the assistance of
 the manufacturer’s Member State in the positive identification of the system. The Member State
 response was that there were insufficient identification details (…) to confirm Bulgarian origin. The
 Panel then consulted with independent ECM specialists159 who confirmed that this system was very
 likely a Bulgarian manufactured Samel-90 mobile improvised explosive device (IED) jammer radio
 frequency (RF) inhibition system.160 This finding was based on imagery analysis (figures 41.1 to 41.6),
 which confirmed that:

            a.   The antenna array is identical in antenna length, separation, and colour coding on the HAF
                 system and that shown on the manufacturer’s website; and
            b.   The roof container is identical in size and shape on both systems.
 3.    An extensive open source search of ECM systems identified no other Radio Frequency (RF)
 Inhibition and Jammer Systems with these very specific characteristics.

 4.    The panel considers that the direct supply of this ECM system from the manufacturer, or by the
 manufacturer’s Member State, is highly unlikely. It is almost certainly present due to post-delivery
 diversion by the initial purchaser, or subsequent owner.

 5.    The Panel finds the supplier in non-compliance with paragraph 9 of resolution 1970 (2011) for
 the provision of military material to HAF. The Panel continues to investigate.




      157
          Para. 121 and annex 33.
      158
          https://twitter.com/Oded121351/status/1095925042272260097.
      159
          https://solutions-ew.com.
      160
          https://www.samel90.com/en/products/category/jammer-solutions-military-equipment-surveillance-systems/jammer-solutions/mobile-
          jammer.




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  Image 41.1                                                         Image 41.2
  HAF ECM equipment at Tamanhint (Sebha) air base                    HAF ECM equipment from manufactuers website
  (13 February 2019)




  Note virtually identical type and length of rear antennae array.




  Image 41.3                                                         Image 41.4
  HAF ECM equipment at Tamanhint (Sebha) air base                    HAF ECM equipment from manufactuers website
  (13 February 2019)




  Note the Red, Yellow and Dark Green colour coding and antennae profiles are identical on the forward antennae array, albeit
  in a different layout.




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                                                                                                                          S/2019/914




  Image 41.5                                                        Image 41.6
  HAF ECM equipment at Tamanhint (Sebha) air base                   HAF ECM equipment from manufactuers website
  (13 February 2019)




  Note the virtually identical profile, colouring and design of the roof mounted containers




 Sources: 1) LH images from https://twitter.com/Oded121351/status/1095925042272260097, 14 February 2019; and b) RH images from
 https://www.samel90.com/en/products/product/jammer-solutions-military-equipment-surveillance-systems/jammer-solutions/mobile-
 jammer/mobile-jammer, accessed 7 September 2019




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 Annex 42:            UAV inhibition and jamming system

 1. The Panel noted a report in open source media161 of the presence of an unusual antennae array on
 the roof of the Tripoli Security Directorate in Libya. The Panel is unconvinced that the array is for the
 declared purpose of enhancing communications with the transmitters of the traffic and licensing unit in
 Tripoli, as the antennae are not the type normally used for law enforcement high frequency (HF) or very
 high frequency (VHF) communications.

 2.   The suspicious antennae array consists of a V-dipole antenna and a flat plate antennae facing
 skywards, all connected to the base equipment by, probably, eight coaxial cables. This particular
 antennae array shares many characteristics with those used for the inhibition and jamming of UAV or
 UCAV, an example being the Gergedan IHA Anti Drone and RCIED Jammer System manufactured by
 Aselsan A.S. (www.aselsan.com.tr), see figures 42.1 to 42.4.


  Image 42.1                                                         Image 42.2
  GNA ECM equipment on Tripoli                                       ECM equipment from manufactuers website
  SecurityDirectorate (3 August 2019)




  Note virtually identical angle and length of V-Pole antennae.



     161
           https://www.libyaobserver.ly/inbrief/tripoli-security-directorate-denies-installation-drone-antenna-over-its-building. Accessed 5
           August 2019.




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                                                                                                                                     S/2019/914



  Image 42.3                                                        Image 42.4
  GNA ECM equipment on Tripoli                                      ECM equipment from manufactuers website
  SecurityDirectorate (3 August 2019)




  Note the similarity in the plate antenna and tripod.

 Sources: 1) LH images from https://www.libyaobserver.ly/inbrief/tripoli-security-directorate-denies-installation-drone-antenna-over-its-
 building. Accessed 5 August 2019; and 2) RH images from Comparison source: Gergedan IHA Anti Drone RCIED Jammer System.
 https://www.aselsan.com.tr/GERGEDANIHA_AntiDrone_Rcied_Jammer_System_4224.pdf. Accessed 5 August 2019.

 3.    The Panel consulted with independent ECM specialists162 who confirmed that this system was
 very likely designed primarily for the inhibition and jamming of UAVs.

 4.    The Panel considers that, as this inhibition and jamming system has clear military utility, being
 specifically designed to decoy or down UAV and UCAV by the emission of active electromagnetic
 signals, it falls within the category of military equipment pursuant to paragraph 9 of resolution 1970
 (2011).




      162
            https://solutions-ew.com.




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 Annex 43:          HAF military training in Jordan

 1.      A wide range of recent open source imagery (see images 43.1 to 43.6) dated 26 April 2019
 showed imagery of individuals from the HAF Tariq Bin Ziyad battalion graduating from a recent
 military training course(s) at the Prince Hashem bin al Hussein School for Special Operations.163
 2.      The training was visited by general Khayri al Tamimi, Head of the HAF general commander's
 office (shown circled in images 43.1 and 43.3).

  Image 43.1                                                  Image 43.2
  Jordanian SOF Officers accompany general Khayri             Vehicle checkpoint (VCP) drills
  al Tamimi




  Image 43.3                                                  Image 43.4
  HAF general Khayri al Tamimi meets students                 Confidence training




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           https://ipfs.io/ipfs/QmXoypizjW3WknFiJnKLwHCnL72vedxjQkDDP1mXWo6uco/wiki/Joint_Special_Operations_Command_(Jord
           an).html.
           Geo-coordinates: 32°0'55"N 36°7'49"E.




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                                                                                                                                     S/2019/914




  Image 43.5                                                            Image 43.6
  Prisoner handling training                                            Unarmed combat training




 Sources: 1) https://twitter.com/Oded121351/status/1122025974743302145/photo/1; 2)
 https://m.facebook.com/story.php?story_fbid=847197048962469&id=253215761693937; 3) https://alurdunyya.net/2757;
 https://m.facebook.com/story.php?story_fbid=1187692564722517&id=258861140939002; 4) https://www.libyaakhbar.com/libya-
 news/929549.html; 5) https://www.alderaah-news.net/world/4693555/‫األردن‬-‫فى‬-‫مهمة‬-‫اجتماعات‬-‫عقد‬-‫عن‬-‫يعلن‬-‫الليبى‬-‫ ;الجيش‬and 6) https://mena-
 monitor.org/news/‫الليبيين‬-‫الضباط‬-‫يتفقد‬-‫التميمي‬-‫اللواء‬/. Accessed 27 April 2019.


 3.     The Panel finds Jordan in non-compliance with paragraph 9 of resolution 1970 (2011) for the
 provision of military support to HAF.




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            Annex 44:         Operational military aviation assets

            1.     The panel is compiling an analysis of the current military aviation assets of the GNA-AF and HAF. The data, which is
            at tables 44.1 and 44.2 is not yet exhaustive as research continues. Aircraft shown in red italics have been damaged or destroyed
            since the start of the conflict on 4 April 2019.

            Table 44.1
            GNA-AF operational military aviation air assets

             Type                    Model                      Tail #     Serial #   Construction #        Last seen     Remarks
             Transport Helicopter    Mi-2                       06                    529946106             Jun 2018      ▪

                                     Mi-2                       86                    529913086             Aug 2018      ▪

                                     Mi-8                       1464   a
                                                                                                            2016          ▪ From Egypt.

                                     Mi-8                                                                                 ▪

                                     Mi-171E                    7304                  171E00196137304U      Apr 2019      ▪ Ex-Air Transport Europe, Slovakia.

                                     Mi-171E                    7305                  171E00196137304U      Apr 2019      ▪ Ex-Air Transport Europe, Slovakia.

                                     CH-47 Chinook              LC010                                       Aug 2018      ▪ Damaged on 4 Apr 2019..b

             Attack Helicopter       Mi-24                      918                                         Apr 2019      ▪

                                     Mi-24                      962                                         Apr 2019      ▪

                                     Mi-35   c
                                                                954                                                       ▪ From Sudan.

                                     Mi-35                      959                                                       ▪

                                     KA50/52 Alligator/Hokum                                                Possible      ▪ Single source

             Fighter Ground          Mirage F-1AD               403                                         Apr 2019      ▪ Crashed on 24 April 2019 due to engine
                                                                                                                            failure
             Attack
                                     Mirage F-1ED               501                                         May 2019      ▪ Shot down May 2019.e
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            Type                   Model                  Tail #   Serial #   Construction #     Last seen   Remarks
                                   Mirage F-1ED           508                                    Apr 2019    ▪ Cannibalized at Misrata.

                                   Mirage F1-BD           205 ?                                              ▪ Missing parts and need engine. At Mitiga.

                                   MiG-23MLD              117                 2960326117/18125   Apr 2019    ▪ Tripoli military parade. Probably ex-6117.


                                   MiG-23MLD              474                 2960326474/18418   Apr 2019    ▪ Probably ex-6474.

                                   MiG-23U                8212                                   Apr 2019    ▪

                                   MiG-23                 7202                                   Apr 2019    ▪

            Ground Attack          G2A-E Galeb            116                                    Apr 2019    ▪ One shot down on 4 July 2019.
                                                                                                               Registration number not yet known
                                   G2A-E Galeb            134                                    Apr 2019    ▪

                                   G2A-E Galeb            173      10173                         Sep 2018    ▪

                                   G2A-E Galeb            182      10182                         Feb 2019    ▪

                                   G2A-E Galeb            187      10187                         Apr 2019    ▪

                                   G2A-E Galeb            205      10205                         Apr 2019    ▪

                                   G2A-E Galeb            207      10207                         Apr 2019    ▪

            Trainer / Ground       Aero L-39C Albatross   1102                                   Apr 2019    ▪
            Attack
                                   Aero L-39C Albatross   1108                                   Apr 2019    ▪

                                   Aero L-39C Albatross   1939                131939             Apr 2019    ▪

                                   Aero L-39C Albatross   1941                                   Apr 2019    ▪

                                   Aero L-39C Albatross   3602                                   Apr 2019    ▪

                                   Aero L-39C Albatross   3605                                   Jul 2019    ▪ One shot down on 4 July 2019.g
                                                                                                             ▪ Registration number not yet known.
                                   Aero L-39C Albatross   9440                                   Aug 2019    ▪ One destroyed at Misrata on 7 Aug 2019.h

                                   Aero L-39C Albatross   9441                931441             Apr 2019    ▪

                                   Aero L-39C Albatross   9443                931443             Apr 2019    ▪ One shot down on 10 April 2019.
                                                                                                               Registration number not yet known.




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            Type                           Model                                  Tail #        Serial #       Construction #               Last seen         Remarks
                                           Aero L-39C Albatross                   9445                                                      Apr 2019          ▪ One crashed due to engine malfunction.
                                                                                                                                                                Registration number not yet known.
                                                                                                                                                              ▪


                   a
                       Reported in paragraph 134 to S/2016/209.
                   b
                       https://medium.com/war-is-boring/libyas-chinook-helicopters-are-old-as-hell-97595e4e94ca. Accessed 24 July 2019.
                   c
                       Reported in paragraph 85 to S/2014/106.
                   d
                       https://twitter.com/Oded121351/status/1120921862039642112. Accessed 25 April 2019.
                   e
                       https://www.independent.co.uk/news/world/middle-east/libya-national-army-pilot-portugal-captured-tripoli-fighter-jet-lna-a8903176.html. Accessed 24 July 2019.
                   f
                       https://thedefensepost.com/2019/07/05/libya-lna-l-39-downing/. Accessed 24 July 2019.
                   g
                       https://twitter.com/BabakTaghvaee/status/1147109862532423680.
                   h
                       https://www.egypttoday.com/Article/2/73685/LNA-destroys-fighter-jet-on-Misrata-Airport-runway.
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            Table 44.2
            HAF operational military air assets

             Type                       Model               Tail #     Serial #   Construction #   Last seen    Remarks

             Transport Helicopter       Mi-2                23                                     Sep 2018     ▪

                                        Mi-2                057                   5410225057                    ▪ Ex Sudan 373.

                                        Mi-2                089                                    Oct 2017     ▪

                                        Mi-8/17                                                    May 2018     ▪

                                        Mi-8/17                                                    May 2018     ▪

                                        Mi-8/17                                                    May 2018     ▪

             Utility Helicopter         AW-109              5A-DTJ                                 May 2018     ▪

             Attack Helicopter          Mi-24P              785        2175a                       Feb 2019     ▪

                                        Mi-24P              353b                                   Apr 2019     ▪ Painted grey.

                                        Mi-35P              193                                    July 2019    ▪ Painted grey.

             Fighter Ground Attack      MiG-23UB            8008c                                  July 2019d   ▪

                                        MiG-23UB            7502   e
                                                                                                   Aug 2019     ▪ Two seater. Possibly above.

                                        Mig-23BN            4136                                   Aug 2019     ▪ Maintenance in Labraq.f

                                        MiG-21Fg            243h                                   Apr 2019     ▪ Eight MiG-21 delivered from Egypt pre-
                                                                                                                  Mar 2015.
                                                                                                                ▪
                                        Mig-21UM                                                   Apr 2019     ▪

                                        Mig-21F             404j                  75066404         Apr 2019     ▪ One shot down on 14 Apr 2019.k
                                                                                                                ▪ Registration number not confirmed.
                                        Su-22UM-3K          16                                     Apr 2019     ▪ Al-Watyah.l

                                        Su-22UM-3K          23                                     Oct 2019     ▪ One destroyed at Al-Watyah on 19n
                                                                                                                  June 2019.m Other over Tripoli on 10
                                                                                                                  October 2019.n
                                        Mirage F-1AD        402                                    Apr 2019     ▪ Needs major inspection and is not flying.

                                        Mirage F-1ED        515                                                 ▪ Needs major inspection and is not flying.




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            Type                               Model                                 Tail #       Serial #       Construction #               Last seen       Remarks
            Ground Attack                      IOMAX Archangelp                      2282                                                     Jul 2016        ▪ From UAE.

                                               IOMAX Archangel                                                                                                ▪

                                               IOMAX Archangel                                                                                                ▪

                                               IOMAX Archangel                                                                                                ▪

                                               IOMAX Archangel                                                                                                ▪ Destroyed May 2019.

                                               IOMAX Archangel                                                                                                ▪ Destroyed May 2019.

            Trainer / Ground                   Aero L-39C Albatross    q
                                                                                     N393WA       533623                                      May 2018        ▪ Operated by Sonnig S.A.r
            Attack                                                                                                                                            ▪ Was last seen in 2018 demilitarized.

                                               Aero L-39C Albatrosss                 9444                                                     Jul 2019        ▪ Emergency landing in Tunisia on 22
                                                                                                                                                                July 2019.
            Trainer                            Marchetti                             310                         29-004                                       ▪
                                               SF-260WL

                   a
                       Reported in paragraph 122 to S/2017/446.
                   b
                       1) https://twitter.com/Arn_Del/status/1119000886041292801. Accessed 18 April 2018. and 2) https://twitter.com/aldin_ww Accessed 20 April 2018.
                   c
                    https://libya.liveuamap.com/en/2019/13-april-video-preparations-of-lna-air-force-today-for-strikes. Accessed 13 April 2019; and
                   https://twitter.com/SaharaNws/status/1153608120708542464/photo/1 Accessed 22 July 2019.
                   d
                       Coordinates 29°11'59.43"N, 16°00'18.75"E. Jufra Airbase.
                   e
                       https://twitter.com/Mansourtalk. Accessed 21 April 2019.
                   f
                       https://twitter.com/Oded121351/status/1155695244828205057. Accessed 4 August 2019.
                   g
                       Reported in paragraph 135 and annex 28 to S/2016/209.
                   h
                       https://twitter.com/lna_not. 10 April 2019.
                   j
                       https://twitter.com/lna_not. 9 April 2019.
                   k
                       https://southfront.org/pro-gna-forces-shot-down-mig-21-of-libyan-national-army-near-tripoli/. Accessed 26 July 2019.
                   l
                       https://twitter.com/search?q=aldin&src=typd. 19 April 2019.
                   m
                        https://twitter.com/Oded121351/status/1154735525393252352. Accessed 26 July 2019.
                   n
                       https://www.marsad.ly/en/2019/10/09/libyan-army-downs-warplane-for-haftars-forces-in-southern-tripoli/. Accessed 11 October 2019.
                   p
                       Reported in paragraph 128 to S/2017/446 as AT-802i.
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            q
                Reported in paragraph 92 and annex 28 to S/2018/812.
            r
                Now http://www.sipj.net.
            s
                Reported in paragraph 92 and annex 28 to S/2018/812.




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            Annex 45:     Operational unmanned (combat) aerial vehicle (UAV and UCAV) assets

            1.     The panel has complied an analysis of the current UAV and UCAV assets of the GNA-AF and HAF. The data, which
            is at tables 45.1 and 45.2 is not yet exhaustive as research continues. UAV/UCAV shown in red italics have been damaged
            or destroyed since the start of the conflict on 4 April 2019.

            Table 45.1
            GNA-AF operational UAV/UCAV assets

             Type                  Model                    Tail #     Serial #   Last seen   Remarks
             Unmanned Combat       Bayraktar TB2                                  Jun 2019    ▪ UCAV destroyed at Mintage on 6 Jun 2019.a
             Aerial Vehicle        Bayraktar TB2                                  Jun 2019    ▪ One destroyed at Mitaga on 6 Jun 2019.b
             (UCAV)
                                   Bayraktar TB2                                  Jun 2019    ▪ UCAV destroyed at Mitiga on 30 Jun 2019.c

                                   Bayraktar TB2                                  Jul 2019    ▪ Report of 6 Jul 2019 stated four UCAV destroyed.d Details not known.

                                   Bayraktar TB2                                  Jul 2019    ▪ 8 x UCAV delivered 3 - 6 Jul 2019. Highly likely by Sky Aviatrans IL-76
                                                                                                (UR-COZ).
                                   Bayraktar TB2                                  Jul 2019    ▪ UCAV destroyed on 22 Jul 2019. Details TBC.

                                   Bayraktar TB2                                  Jul 2019    ▪ Report of 31 Jul 2019 now claims 8 UCAV destroyed.e

                                   Bayraktar TB2                                  Jul 2019    ▪ Ibid

                                   Bayraktar TB2                                  Jul 2019    ▪ Ibid

                                   Bayraktar TB2                                  Aug 2019    ▪ UCAV destroyed near Sirte on 3 Aug 2019.f

                                   Bayraktar TB2                                  Aug 2019    ▪ Reported destroyed near Al Nimwah air base on 5 Aug 2019. g

                                   Bayraktar TB2                                  Jul 2019    ▪

                                   Bayraktar TB2                                  Oct 2019    ▪ Near Misrata.

             Unmanned Aerial       Orbiter 3                                                  ▪ Three alleged donated by Turkey.
             Vehicle (UAV)
                                   Orbiter 3                                      Jul 2019    ▪ UAV destroyed on 29 Jul 2019.h

                                   Orbiter 3                                      Jul 2019    ▪ UAV destroyed on 31 Jul 2019.j
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            Type                           Model                                 Tail #         Serial #      Last seen         Remarks
                                           Possible Vestel Karayel                                                              ▪ Imagery limited.k

                                                                                                                                ▪


                   a
                       https://www.egypttoday.com/Article/1/71282/Libyan-army-destroys-2nd-Turkish-drone-at-Mitiga-Int-l. Accessed 24 July 2019.
                   b
                       Ibid.
                   c
                       https://www.express.co.uk/news/world/1147321/turkey-news-libya-civil-war-Khalifa-Haftar-Recep-Tayyip-Erdogan-world-war-3. Accessed 24 July 2019.
                   d
                    1) https://aawsat.com/english/home/article/1801511/lna-sarraj-seeking-weapons-turkey-compensate-militia-losses; and 2)
                   https://www.egypttoday.com/Article/1/71282/Libyan-army-destroys-2nd-Turkish-drone-at-Mitiga-Int-l. Accessed 24 July 2019.
                   e
                       https://m.aawsat.com/english/home/article/1837556/libya’s-sarraj-admits-receiving-arms-turkey. Accessed 31 July 2019.
                   f
                       https://twitter.com/libyaalahrartv/status/1157625597687939072?s=12. Accessed 4 August 2019.
                   g
                       https://www.alaraby.co.uk/english/indepth/2019/8/21/the-significance-of-drones-in-the-libyan-conflict.Accessed 5 September 2019.
                   g
                       https://twitter.com/BabakTaghvaee/status/1155930634000318464. Accessed 29 July 2019
                   h
                       https://twitter.com/Mansourtalk/status/1156901216762421248?ref_. Accessed 8 August 2019
                   j
                       https://twitter.com/Oded121351/status/1146768533281497093. Accessed 7 August 2019.




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            Table 45.2
            HAF operational UAV/UCAV assets

             Type                             Model                              Tail #          Serial #      Last seen             Remarks

             Unmanned Combat                  Wing Loong II UCAV                                                                     ▪ Maintained and operated by UAE. Two identified on satellite mage of
                                                                                                                                       23 Jul 2016, IHS 1650890, CNES. Possible up to eight deployed, but
             Aerial Vehicle (UCAV)
                                                                                                                                       unconfirmed.
                                              Wing Loong II UCAV                                               Aug 2019              ▪ UCAV destroyed near Abugrein on 3 Aug 2019.a Probably at
                                                                                                                                       31°19'21.10"N, 15°16'25.32"E.
                                              Wing Loong II UCAV                                               Oct 2019              ▪ Near Tripoli

             Unmanned Aerial                  Yabhon-HMD                                                       Jun 2019              ▪ Four captured by GNA at Gharyan on 29 Jun 2019.
             Vehicle (UAV)
                                              Yabhon-HMD                                                       Jun 2019              ▪

                                              Yabhon-HMD                         25                            Jun 2019              ▪

                                              Yabhon-HMD                         26                            Aug2019               ▪ Inspected by Panel on 4 Aug 2019.

                                              Possible Orlan-10                                                Apr 2019              ▪ Destroyed on 29 Apr 2019 east of Sirte by GNA forces.b

                                                                                                                                     ▪


                    a
                        https://twitter.com/libyaalahrartv/status/1157625597687939072?s=12. Accessed 4 August 2019. Well reported.
                    b
                        Twitter, @oded121351. 29 April 2019.
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 Annex 46:             Blue Arrow (BA-7) air to surface missile164

 1.      During the night of 19/20 April 2019, GNA-AF units were attacked by aerially delivered
 explosive ordnance whilst 28 km along the road heading south west from Al Azizya to Yefren. The
 Panel obtained from a confidential source, imagery of missile remnants at the scene and this has been
 used in this analysis.

 2.      The Panel also has imagery from two other night strikes near Camp Moz165 and Wadi Rabia,
 which show similar component types as the Al Azizya strike.166 Video imagery167 shows other air
 attacks on Tripoli, which are almost certainly from air to surface missiles as: 1) the explosive ordnance
 is in powered flight, indicating a rocket motor; and 2) the missile trajectory is flat, not parabolic,
 indicating it is operating under guidance and not in free flight.

 3.     The Panel identified a range of characteristics that are virtually identical to those of the Blue
 Arrow BA-7 (LJ-7) air to surface missile (ASM) or variant (see table 1 and appendix A for the Al
 Azizya air strike).168 The Panel has compared the imagery against a range of known ASM and only the
 BA-7 ASM has the specific characteristics shown in table 46.1.

 Table 46.1
 Analysis of recovered components

    Images in
                        Component                        Technical comment
    Annex
       A/B              Missile fuselage                 ▪ Reduction in missile diameter
       C/D              Missile fuselage                 ▪ Eight rearward facing equally spaced securing bolts


 4.     The only aviation asset currently available to the parties at that time with a known night flying
 capability were the two HAF Mi-24P attack helicopters. These do not have the capability to fire BA-7
 missiles with any degree of accuracy. The BA-7 ASM is ballistically paired169 to very few delivery




      164
            Also see Wing Loong II annex 47.
      165
            Near 32°50'47.95"N, 13°16'8.08"E.
      166
            Although the Panel is still analysing those images in detail and corroborating the source, the images show other unique
            characteristics of the BA-7 such as the profile of the rear fins and venturi.
      167
          https://sputniknews.com/middleeast/201904281074523730-air-strike-libya-tripoli/.
      168
          Imagery from Al Azizya air strike on 19/20 April 2019 is at appendix B.
      169
          This is a process to integrate the weapons system to an airframe type and then operationally qualify it for use. It requires software upgrades to the
          delivery system avionics, sighting and release systems to ensure that when the missile is aimed and delivered to a target that it actually follows
          the correct ballistic trajectory to accurately strike that target. The use of instrumented range facilities is needed for live firing trials to ensure




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 systems, and it is the technical assessment of the Panel that the weapon system has not been ballistically
 paired with any of the indigenous aviation assets identified in Libya to date.170 Such ballistic pairing
 requires a high level of technical skill, supported by extensive live trials on instrumented ranges to
 validate the ballistic pairing. No such ranges have ever been identified in Libya.

 5.     The BA-7 ASM is ballistically paired to fly with the Wing Loong II series of unmanned aerial
 vehicle (UAV) that have been operated in Libya in support of HAF by the United Arab Emirates since
 2016.

 6.       The Panel has written to the United Arab Emirates requesting clarification of the supply chain
 for this weapon system but has received no response. The Panel thus finds the United Arab Emirates in
 non-compliance with paragraph 9 of resolution 1970 (2011) for the provision of military material and
 support to HAF.




           accuracy and confidence in the integrated systems.
     170
           See annex 44.




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 Appendix A to Annex 46: Imagery analysis (Al Azizya air strike 20 April 2019)
 Image A.46.1
 Comparison of remnants against confirmed BA-7




  A. Imagery of missile remnant                               B. BA-7 Missile Paris Air Show
  Note: Reduction in fuselage diameter (identifiable after    Note: Reduction in fuselage diameter
  “trumpeting” due to impact)




  C. Imagery of missile remnant                               D. BA-7 Missile Paris Air Show
  Note: Rearward facing equally spaced bolt                   Note: One of eight rearwards facing equally spaced bolts

 Sources: 1) Confidential source; and 2) Janes IHS Defence.




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 Appendix B to Annex 46: Imagery from Al Aziziya airstrike (20 April 2019)
 Image B.46.1
 Still imagery showing of BA-7 Blue Arrow remnants




 Source: Confidential




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 Annex 47:           UAE Wing Loong II UCAV used in support of HAF operations

 1.     On 3 August 2019, a crashed Wing Loong II UCAV being used in support of HAF operations
 was located near Abughrayn by GNA-AF (see images 47.1 to 47.4).

  Image 47.1                                                          Image 47.2
  Crashed Wing Loong II UCAV near Abugrein                            Ibid
  (3 August 2019)




  Image 47.3                                                          Image 47.4
  Ibid                                                                Ibid




 Sources: 1) https://twitter.com/libyaalahrartv/status/1157625597687939072?s=12; and 2) Confidential source.


 2.     The serial numbers of three Blue Arrow (BA-7) ASM located at the crash site were identified
 from the imagery as: 1) E-111-002 dated 15 September 2015; 2) E-013-002 dated 15 September 2015;




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 and 3) E-236-001 dated 15 January 2015 (see images 47.5 to 47.7). A tracing request was sent to the
 country of manufacture.

  Image 47.5                                                          Image 47.6
  Blue Arrow (BA-7) ASM serial number E-111-002                       Blue Arrow (BA-7) ASM serial number E-013-002
  dated 15 September 2015                                             dated 15 September 2015




  Image 47.7                                                          Image 47.8
  Blue Arrow (BA-7) ASM serial number E-236-001                       Blue Arrow (BA-7) ASM at crash site
  dated 15 September 2015




 Sources: 1) https://twitter.com/libyaalahrartv/status/1157625597687939072?s=12; and 2) Confidential source.


 3.       The Panel has written to the United Arab Emirates requesting clarification of the supply chain
 for this weapon system but has received no response.




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 4.     The Panel finds the United Arab Emirates in non-compliance with paragraph 9 of resolution
 1970 (2011) for the provision of military material to the HAF.




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 Annex 48:           Turkish Bayraktar TB-2 UCAV operating in support of the GNA

 Operations

 3.    The Panel became aware of the presence of a medium altitude long endurance UAV being
 operated in support of the GNA-AF on 14 May 2019 when open source information showed the
 remnants of a UAV that was downed in the area of Jufra. The first clear video imagery of a UAV
 operating over Tripoli was posted on social media on 4 June 2019 (figure 48.1), which was of a very
 different design to the Wing Loong II UCAV known to be operating in support of HAF at that time.
 Confirmatory imagery has appeared widely on social media since, including clear video imagery of a
 Bayraktar TB2 UCAV taxying on Mitiga international airport runway on 28 August 2019.171

 Figure 48.1
 Probable HAF Bayraktar TB2 UCAV over Tripoli (4 June 2019)




 Source: Extracted from video at https://www.youtube.com/watch?v=Fe-cc6jb5uQ&feature=youtu.be. Accessed 2 September 2019. Also see:
 https://twitter.com/ly_box/status/1137857595862130688.


 2.    Until late July 2016 the Bayraktur TB2 UCAV operations were primarily against HAF positions
 on the front line between the two parties around Libya. This was due to their range being line of sight
 limited to between 150 to 200km. This changed on 26 July 2019 when Jufra air base, which is 360km

     171
           https://www.addresslibya.com/en/archives/49934.




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 from Misrata, was attacked and two IL-76TD aircraft were destroyed on the ground.172 As the strike
 was obviously conducted using precision guided munitions, and no fixed wing aircraft were identified
 in the area, this was a very strong indicator that ground based relay units had being placed strategically
 at the edge of GNA-AF controlled areas. These relay systems would extend the range of a Bayraktur
 TB2 UCAV by another 150km to 200km, thus bringing Jufra within their range.173

 Casualty rate

 3.    HAF has specifically targeted the GNA-AF UCAV capability with some degree of success, but
 the claimed number of Bayraktar TB2 losses (15) now exceeds the twelve reported as been delivered
 to the GNA-AF. This is illustrative of the major propaganda battle surrounding the “drone war”. Table
 48.1 summarises the confirmed and claimed Bayraktar TB2 losses to date.

 Table 48.1
 Summary of HAF Bayraktar TB2 UCAV destroyed (14 May 2019 to date)

  Date                      Location                Confirmed           Claimed             Remarks
  14 May 2019               Jufra                   Imagery   a
                                                                                            ▪
  01 Jun 2019               Gharyan                                     HAF   b
                                                                                            ▪
  06 Jun 2019               Mitiga                                      HAF c               ▪ Destroyed on ground by FGA.
  06 Jun 2019               Mitiga                                      HAF d               ▪ Destroyed on ground.
  13 Jun 2019               Mitiga                                      Media e             ▪ Destroyed on ground. Date TBC.
  13 Jun 2019               Mitiga                                      Ibid                ▪ Destroyed on ground. Date TBC.
  30 Jun 2019                                                           Media f             ▪
  25 Jul 2019               Jufra                   Imagery             HAF g               ▪
  1 Aug 2019                Mitiga                                      Media h             ▪ Destroyed on ground.
  5 Aug 2019                Al Nimwah                                   HAF j               ▪ Destroyed on ground.
  3 Sep 2019                Wadi al-Rabie                               HAF k               ▪ Shot down.
  13 Sep 2019               Jufra                                       HAF                 ▪
  13 Sep 2019               Jufra                                       HAF                 ▪
  13 Sep 2019               Kufru                                       HAF                 ▪
  19 Oct 2019               Misrata                                     HAF                 ▪

            a
                Includes https://www.addresslibya.com/en/archives/45885. Multiple sources.
            b
                https://aawsat.com/english/home/article/1750766/lna-announces-downing-turkish-drone-tripoli-battles.



      172
           1) European Space Imaging Press Release of 3 August 2019. Image of 29 July 2019; and 2)
        https://mobile.twitter.com/Arn_Del/status/1155525947040378880, 28 July 2019; and 3)
           https://www.bloomberg.com/news/articles/2019-07-26/tripoli-government-says-it-struck-haftar-s-main-forward-airbase. Accessed 2
           September 2019.
      173
           A confidential source has also confirmed the likely deployment of ground based relay stsems.




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           c
             https://www.addresslibya.com/en/archives/46875.
           d
             https://www.addresslibya.com/en/archives/46880.
           e
             https://www.africaintelligence.com/mce/corridors-of-power/2019/06/13/recep-tayyip-erdogan-s-drones-fly-to-fayez-sarraj-s-
           rescue,108361236-art.
           f
             https://www.africaintelligence.com/mce/corridors-of-power/2019/07/04/fayez-sarraj-to-get-eight-more-turkish-drones,108364176-
           art.
           g
             Includes https://www.addresslibya.com/en/archives/48741. Multiple sources.
           h
             https://www.addresslibya.com/en/archives/49064.
           j
             https://www.alaraby.co.uk/english/indepth/2019/8/21/the-significance-of-drones-in-the-libyan-conflict.
           k
             https://twitter.com/Oded121351/status/1168782590804971520.
           l
             http://english.alarabiya.net/en/News/north-africa/2019/09/13/Libyan-army-destroys-Turkish-aircraft-positions-in-Misrata.html.



 Turkish military support to UCAV operations

 4.    The Panel noted that in a statement to the media on 6 June 2019, the commander of the HAF air
 force organization, major general Mohammad Al-Manfour, commented on the presence of thirty
 Turkish fighters working for militias allied to the GNA-AF.174 A subsequent more extensive media
 report175 on 30 June 2019 produced a list of twenty-one names and imagery of eighteen Turkish
 passports of a claimed Turkish military support team in Libya led by Major General Irfan Tut Ozert.
 The other three individuals being from Pakistan. The report also showed imagery from a security camera
 showing the team checking in to their hotel in Tripoli.

 5.    Supporting documentation for the media report included a handwritten memo (figure 48.2)
 allegedly from the GNA Minister of Interior and Defence, Fathi Bashagha, to the immigration authority
 requesting entry facilitation for five members of the team; but the Panel notes that these names do not
 match any on the eighteen passport copies published.

 6.    On 23 July 2019, the Panel met with the Turkish Ministry of Foreign Affairs (MFA) in Ankara,
 Turkey. The MFA stated that the above event was to review the security of their Embassy, but provided
 no further details. One of the passports published proved to be of an official at the meeting in Ankara.
 The Panel assesses that most of the team were deployed to operate and maintain the Bayraktar TB2
 UCAV. Turkey has yet to respond to the Panel request for clarification.176




     174
         https://www.addresslibya.com/en/archives/46872. Accessed 2 September 2019.
     175
         https://almarsad.co/en/2019/06/30/bayraktar-killer-drones-run-by-turkish-military-experts-in-tripoli-exclusive-al-marsad-report/.
         Accessed 2 September 2019.
     176
         Panel letter of 12 July 2019.




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  Figure 48.2                                                                 Figure 48.3
  Handwritten note on headed Ministry of Interior paper                       Panel translation
  allegedly from GNA Minister of Interior

                                                                              On the instructions of the Minister of Interior,
                                                                              please provide the afore mentioned people with
                                                                              access visas to the Libyan territory upon their
                                                                              arrival at Mitiga airport.




 Source: Confidential source.

 7.    A subsequent media report claims that further Turkish military personnel arrived at Misrata
 international airport on 23 August 2019 on board a Libyan Wings commercial flight from Ankara or
 Istanbul.177

 8.   The Panel has written to Turkey requesting clarification of the supply chain for this weapon
 system but has received no response.




      177
            https://ahvalnews.com/libya-turkey/mercenaries-arrived-turkey-libyas-misrata-says-lna-spokesperson.




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 Annex 49:         Transfer of military material to GNA-AF by UAA P.J.S.C. AN-12

 1.      Three Ukrainian registered Antonov AN-12BK aircraft (registrations UR-CAH, UR-CAJ and
 UR-CNT) and one Ukrainian registered Antonov AN-12BP aircraft (registration UR-CGW) were
 identified by the Panel operating in support of the GNA-AF as a military cargo aircraft. The aircraft
 were operated by Ukraine Air Alliance P.J.S.C.178 of 21 Vozziednannia Avenue, 02154 Kiev, Ukraine,
 but owned by Cargo Air Chartering179 of X1-05, SAIF Zone, PO Box 8408, Sharjah, United Arab
 Emirates.

 2.      Ukraine Air Alliance P.J.S.C was approached by the Turkish office of ProAir-Charter-Transport
        180
 GmbH (ProAir Charter) with a proposal for ten charter flights during May and June 2019 to transfer
 aviation spare parts to Libya. All cargo on these flights was consigned by the Libyan Embassy in Ankara
 to the Ministry of Interior in Tripoli. The Panel obtained copies of the Air Waybill and Cargo Manifest
 for ten flights made between 27 May and 16 June 2019 from Istanbul to Misrata by the Antonov AN-
 12 aircraft (UR-CAH, UR-CAJ, UR-CGW and UR-CNT) that transported 62.5 tonnes of UAV
 components (see sample at appendix A). The Panel is in the possession of all the other Air Waybills
 and Cargo Manifests for these flights.

 3.      On 29 May 2019 the operations department of Ukraine Air Alliance P.J.S.C sent an Email (at
 15:53 hours from to specifically instruct ProAir Charter to ensure that the Air Waybills were all clearly
 and exactly marked in the handling information part of the form as “NO DG,181 NO AMMO, NO
 WEAPON” (see appendix B). Such information is not routinely submitted, nor required, unless designed
 to try and disguise the military nature of a cargo. The same Email instructed ProAir Charter to ensure
 that the nature of the cargo exactly matches “generator, spare parts, consumer goods etc” on
 documentation. The cargo on the flights shown at table 49.1 was all listed as “Spare Parts (Mirrors,
 Lights, Indicators, Brake Systems, Tyres)”. The Panel wrote to Turkey and the GNA-AF requesting
 clarification of the cargo but received no response.

 4.     On 29 May 2019 ProAir Charter sent an Email (using same Email addresses) to Ukraine Air
 Alliance P.J.S.C confirming that “all unmanned aerial vehicle components (…) are not related to DG,
 AMMO, WEAPON and dual-use cargo” (see appendix B). The Panel is unaware of any large
 commercial unmanned aerial vehicles (UAV) being used by the Ministry of Interior of Libya, and none



     178
         http://www.uaa-avia.com/.
     179
         http://www.cargoairchartering.aero.
     180
         https://www.proair.de/en. Baris Mah, Belediye Cad, Ginza Lavinya Apt 30D, Beylikduzu, Istanbul, Turkey. (Fax: +90 212 872 0780).
     181
         Dangerous Goods.




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 have ever been observed at airports or in flight. The only UAV identified as operating from GNA-AF
 airfields is the Bayraktar TB2 unmanned combat aerial vehicle (UCAV).

 5.      The Antonov AN-12 has a load capacity of 20 tonnes, yet the flights listed in table 49.1 were
 for loads of between 4.1 to 8.9 tonnes, which indicates that the cargo “bulked out” the load compartment
 before maximum weight could be achieved. This is indicative of large bulky items such as the fuselage
 or wings of a UAV that are large, yet air filled and relatively light. All flights took place at night between
 approximately 23:45 hours to 06:30 hours, and the aircraft Mode S transponders were often not seen on
 commercial aviation tracking websites once the aircraft had left Turkish air space. Both these suggest
 an attempt to disguise their destination. ProAir Charter also obtained diplomatic clearance from the
 Ministry of Foreign Affairs of Turkey to fly to Misrata with aviation spare parts. Again this is unusual
 for a commercial flight.

 6.      The cargo agent used for all flights was Plures Air Cargo182 of No 9, Block B3, Egs Business
 Park, Yeşilköy, Bakırköy, Istanbul, Turkey, who would also certainly have been aware of the true nature
 of the cargo based on the external packaging. This is the same cargo agent used for the suspicious flights
 of Ilyushin IL-76TD aircraft (UR-COZ) (see annex 50).

 Table 49.1
 Ukraine Air Alliance P.J.S.C. AN-12 aircraft flights using flight number UKL4073 from Ankara to Misrata

    Departure                                                                              Mass
    Date                  #                 Flight             From          To            (tonnes)       Declared Cargo

    28 May 2019           UR-CNT            UKL4073            Ankara        Misrata       4.1            ▪ Drone parts
                                                                                                          ▪ Was initially for 8.9
                                                                                                            tonnes but that cargo too
                                                                                                            big for aircraft.

    29 May 2019           UR-CAJ            UKL 4075           Ankara        Misrata       5.2            ▪ Furniture parts

    30 May 2019           UR-CGW            UKL4073            Ankara        Misrata       5.2            ▪ Ground Control Station,
                                                                                                            Data Terminal System,
                                                                                                            Aviation Spare Parts,
                                                                                                            Mobile Tool Case, Drone
                                                                                                            Fuselage

    30 May 2019           UR-CGW            UKL4073            Ankara        Misrata       6.9            ▪ Brake Disc Set, Nose
                                                                                                            Landing Gear, Generator,
                                                                                                            Wing Pitot, Mechanical
                                                                                                            Tools

      182
            https://www.plures.com.tr/en. Also listed on the Air Waybill as Plures Travel Akt Turism Kargo Havacilik Insaat TIC Ltd STI,
            Istanbul, Turkey.




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   Departure                                                          Mass
   Date           #             Flight        From       To           (tonnes)       Declared Cargo

   31 May 2019    UR-CAH        UKL4073       Ankara     Misrata      5.4            ▪ Generator, UAV Wing
                                                                                       and Tail, Fuelling Station

   1 June 2019    UR-CAJ        UKL4073       Ankara     Misrata      4.3            ▪ Ground Control Station,
                                                                                       UAV Fuselage, Radio
                                                                                       Tools

   2 June 2019    UR-CAH        UKL4073       Ankara     Misrata      5.3            ▪ Generator, UAV Fuselage

   15 June 2019   UR-CNT        UKL4082       Ankara     Misrata      6.2            ▪ UAV Fuselage, UAV
                                                                                       Wing, Ground Data
                                                                                       Systems, Spare Parts,
                                                                                       Tools

   15 June 2019   UR-CAJ        UKL4085       Ankara     Misrata      5.9            ▪ Ground Control Stations,
                                                                                       Fuelling Station, Spare
                                                                                       Parts, Tools

   16 June 2019   UR-CAJ        UKL4087       Ankara     Misrata      5.1            ▪ Drone Fuselage, Drone
                                                                                       Wings, Fuel Station,
                                                                                       Tripods, Tools

                                                         TOTAL        53.6 tonnes



 7. An analysis of the Cargo Manifests for the above flights identified that components for at least
 three complete UCAV (table 49.2).

 Table 49.2
 Analysis of UCAV components shipped between 28 May – 16 June 2019.

   Departure                    UAV        UAV       Ground Control    Data Terminal         Other UAV
   Date           #             Fuselage   Wings     Station           Station               Components

   28 May 2019    UR-CNT                                                                            1

   29 May 2019    UR-CAJ                                                                            0

   30 May 2019    UR-CGW                                  1                      1                  1

   30 May 2019    UR-CGW                                                                            1

   31 May 2019    UR-CAH                      1                                                     1

   1 June 2019    UR-CAJ           1                      1




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    Departure                   UAV        UAV      Ground Control   Data Terminal    Other UAV
    Date           #            Fuselage   Wings    Station          Station          Components

    2 June 2019    UR-CAH          1                                                        1

    15 June 2019   UR-CNT          1          1                                             1

    15 June 2019   UR-CAJ                                  1                                1

    16 June 2019   UR-CAJ          1          1                                             1

                   TOTALS          4         3             3               1                9



 8. On 30 July 2019, the Aviation Security Council of the Aviation Service of Ukraine issued
 instructions that banned flights by all Ukrainian registered aircraft from conducting flights into Libya
 due to “the worsening security situation”.

 9. The Panel has written to Turkey, Ukraine Air Alliance P.J.S.C., Pro Air Charter and Plures Air
 Cargo requesting clarification and further information on the activities of these particular aircraft. Only
 Ukraine Air Alliance P.J.S.C responded.

 10. The Panel finds Turkey, Ukraine Air Alliance P.J.S.C., ProAir Charter and Plures Air Cargo in
 non-compliance with paragraph 9 of resolution 1970 (2011) for their almost certain involvement in the
 transfer of military material to the GNA-AF.




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 Appendix A to Annex 49: Air freight documentation (example)

 Image A.49.1
 Cargo Manifest (UR-CNT) flight UKL 4073 from Istanbul to Misrata




 Source: Confidential.




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 Image A.49.2
 Air Waybill (UR-CNT) flight UKL 4073 from Istanbul to Misrata




 Source: Confidential.




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 Appendix B to Annex 49: Email correspondence

 Image B.49.1
 Ukraine Air Alliance P.J.S.C Email to ProAir Charter (29 May 2019)




 Source: Confidential.




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 Image B.49.2
 ProAir Charter Email to Ukraine Air Alliance P.J.S.C (29 May 2019)




 Source: Confidential.




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 Annex 50:         Transfer of military material to the GNA-AF by Sky AviaTrans L.L.C. IL-76

 1.     The panel identified a Ukrainian registered Ilyushin IL-76TD (registration UR-COZ) operating
 in support of the GNA-AF as a military cargo aircraft. The aircraft was operated by Sky AviaTrans
 L.L.C. of 37/97 Jilanskaya Str, 01033 Kiev, Ukraine,183 but owned by Volaris Business LP of Suite
 4199, 5 Mitchel House, Edinburgh, EH6 7BD.

 2.       On 1 August 2018 Sky AviaTrans L.L.C. and Volaris Business LP concluded an agreement on
 the provision of air services, in which Sky AviaTrans L.L.C. would transport cargo for Volaris Business
 LP. The contract184 places the onus on Volaris Business LP obtaining the relevant flight documentation,
 import/export permits and customs clearances, and makes it clear that the aircraft shall not be used to
 transport military related cargo. The document was signed on behalf of Volaris Business LP by O.M.
 as a director of the company. O.M. is also listed as an “individual person with significant control” on
 Form SLP PSC01 received at Companies House, Scotland on 6 June 2018, where Volaris Business LP
 is registered as a “wholesale” business. The document was signed on behalf of by Sky AviaTrans L.L.C.
 by O.K. as the Finance Director, as O.M. is also a Director of Sky TransAvia L.L.C.185

 3.      On 4 June 2019 Sky AviaTrans L.L.C. was approached by the Turkish office of ProAir-Charter-
 Transport GmbH186 (ProAir Charter) with a proposal for five charter flights during May and June 2019
 to transfer car spare parts to Libya. For all these flights the Libyan Embassy in Ankara consigned the
 cargo to the Ministry of Interior in Tripoli. All the Air Waybills were marked in the Handling
 Information part of the form as “NO DG,187 NO AMMO, NO WEAPON”. Such information is not
 routinely submitted, nor required, unless designed to try and disguise the military nature of the cargo.

 4.      The Panel obtained examples of the Air Waybill and Cargo Manifest for the flights made
 between 3 – 21 July 2019 from Ankara to Misrata by the Ilyushin IL-76TD aircraft (UR-COZ) (see
 sample at appendix A). The Panel is in the possession of all the other Air Waybills and Cargo Manifests
 for these flights.




     183
         http://skyaviatrans.com.ua/about-us/. Although their Air Operator Certificate lists a different address of 6 Mykola Shepekliev St,
         03062 Kiev, Ukraine. Tel +38 44 287 5707.
     184
         No 03-08/18 dated 1 August 2018.
     185
         Company directorship identified from the signatory of a letter (reference 164/1) from Sky AviaTrans L.L.C to the Libyan Embassy
         dated 12 August 2019.
     186
         https://www.proair.de/en. Baris Mah, Belediye Cad, Ginza Lavinya Apt 30D, Beylikduzu, Istanbul, Turkey. (Fax: +90 212 872 0780).
     187
         Dangerous Goods.




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 5.      The cargo on the flights shown at table 50.1 was all listed as “Spare Parts (Mirrors, Lights,
 Indicators, Brake Systems, Tyres)”. The Panel wrote to Turkey and the GNA requesting clarification of
 the cargo but received no response. The Panel considers it neither realistic nor credible that the GNA
 would either fly, nor need, a total of 138.1 tonnes of vehicle parts over such a short period, and would
 be highly unlikely to use such an expensive delivery means. Additionally, it would be unusual to
 specifically charter an aircraft with a payload of 48 to 52 tonnes dependant on type, and then only use
 approximately 50% capacity on each flight. The tonnages shipped, if vehicle parts as claimed, would
 not “bulk out” the cargo space.188 Thus the veracity of the documentation is not accepted by the Panel
 as a true reflection of the cargo. Due to the duplicity documentation surrounding these flights, combined
 with the identity of the consignor and consignee, and the low cargo payloads for the aircraft type the
 Panel considers that the cargo was military material of high volume and relatively low mass, such as
 the fuselage and wings of unmanned combat aerial vehicles (UCAV).189

 6.      The cargo agent used for all flights was Plures Air Cargo190 of No 9, Block B3, Egs Business
 Park, Yeşilköy, Bakırköy, Istanbul, Turkey, who would also certainly have been aware of the true nature
 of the cargo based on the external packaging. This is the same cargo agent used for the suspicious flights
 of Antonov AN-12 aircraft (UR-CAH, UR-CGW and UR-CNT) (see 0annex 49).

 Table 50.1
 Sky AviaTrans IL-76TD (UR-COZ) aircraft flights from Ankara to Istanbul

    Departure                                                           Mass
    Date                #               From              To            (tonnes)      Declared Cargo

    3 July 2019         UR-COZ          Ankara            Misrata       21.2          ▪ Spare Parts (Mirrors, Lights, Indicators,
                                        (Esenboga)                                      Brake Systems, Tyres)

    3 July 2019         UR-COZ          Ankara            Misrata       31.1          ▪ Spare Parts (Mirrors, Lights, Indicators,
                                        (Esenboga)                                      Brake Systems, Tyres)

    4 July 2019         UR-COZ          Ankara            Misrata       27.5          ▪ Spare Parts (Mirrors, Lights, Indicators,
                                        (Esenboga)                                      Brake Systems, Tyres)

    5 July 2019         UR-COZ          Ankara            Misrata       25.1          ▪ Spare Parts (Mirrors, Lights, Indicators,
                                        (Esenboga)                                      Brake Systems, Tyres)




      188
          The distance from Ankara to Misrata is 1,810km, and the maximum range of a IL-76TD with maximum load of 50 tonnes is 4,000km,
          so the Panel has discounted any argument that the differential between the actual cargo loads and the maximum cargo load was
          required for fuel to negate refuelling in Misrata.
      189
          Also see allegation in paragraph 7 of https://www.al-monitor.com/pulse/originals/2019/09/turkey-gulf-libya-is-becoming-a-scene-of-
          proxy-war.html, 11 September 2019.
      190
          https://www.plures.com.tr/en. Also listed on the Air Waybill as Plures Travel Akt Turism Kargo Havacilik Insaat TIC Ltd STI,
          Istanbul, Turkey.




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    Departure                                                          Mass
    Date                #               From             To            (tonnes)      Declared Cargo

    6 July 2019         UR-COZ          Ankara           Misrata       25.1          ▪ Spare Parts (Mirrors, Lights, Indicators,
                                        (Esenboga)                                     Brake Systems, Tyres)

    21 July 2019        UR-COZ          Ankara           Misrata       8.1           ▪ Spare Parts (Mirrors, Lights, Indicators,
                                        (Esenboga)                                     Brake Systems, Tyres)

                                                         TOTAL            138.1 tonnes


 7.      On 30 July 2019, the Aviation Security Council of the Aviation Service of Ukraine issued
 instructions that banned flights by all Ukrainian registered aircraft from conducting flights into Libya
 due to “the worsening security situation”. Sky AviaTrans L.L.C. obtained an exemption from this
 instruction and on 5 August 2019 the aircraft was destroyed on the ground at Misrata air academy.

 Figure 50.1
 Sky AviaTrans IL-76TD (UR-COZ) destroyed at Misrata (5 August 2019)




 Source: https://hyser.com.ua/community/105551-molniya-sbit-ukrainskiy-transportnyy-samolet-il-76-otorvalo-hvost-pervye-podrobnosti-
 chernogo-vtornika.



 8.      The Panel has written to Turkey, Volaris Business LP, Sky AviaTrans L.L.C., Pro Air Charter
 and Plures Air Cargo requesting clarification and further information on the activities of this particular
 aircraft. Only Sky AviaTrans L.L.C. responded.




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 9. The Panel finds Turkey, Pro Air Charter and Plures Air Cargo in non-compliance with paragraph
 9 of resolution 1970 (2011) for their involvement in the transfer of military material to the GNA.

 10. Although the Panel has not found Volaris Business LP and Sky AviaTrans L.L.C. in non-
 compliance, the companies’ system of due diligence requires significant revision. There were enough
 indicators surrounding these flights to suggest that this contract was not as it seemed (see paragraph 5
 above). Even a simple analysis of the declared cargo would have revealed to the company that you
 cannot physically fit 40 car tyres in a 0.35m x 1.22m x 1.22 m package; the maximum would be 10.
 Similarly a declared weight of a package of 4,000kg is 3,500kg more than the weight of 40 car tyres.




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 Appendix A to Annex 50: UR-COZ sample Cargo Manifest and Air Waybill

 Image A.50.1
 Cargo Manifest (UR-COZ) flight KTR7721 from Ankara to Misrata




 Source: Confidential.




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 Image A.50.2
 Air Waybill (UR-COZ) flight KTR7721 from Ankara to Misrata a




 Source: Confidential.




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 Annex 51:           Small ISR UAV in Libya

 A.    Orbiter-3

 1. On 29 July 2019 an unarmed ISR UAV was downed near Surt by GNA-AF.191 The remnants from
 the UAV on the imagery analysed by the Panel have characteristics virtually identical to those of the
 Orbiter-3 UAV variants designed and manufactured by Aeronautics Limited.192

 Image 51.1 to 51.4
 Remnants of downed Orbiter-3 UAV




 Sources: 1) https://twitter.com/BabakTaghvaee/status/1155930634000318464, 29 July 2019; and 2) Extract from video imagery at
 https://twitter.com/Mansourtalk/status/1156901216762421248. 1 August 2019.

 2. The panel considers that the direct supply of this UAV from the manufacturer, or by the Member
 State, is unlikely. It is more likely present due to post-delivery diversion by the original purchaser, or
 subsequent owner, and is certainly a non-compliance with paragraph 9 of resolution 1970 (2011) by the
 supplier and the GNA-AF. Panel investigations continue and a response from the manufacturer’s
 Member State is awaited.

 B.    Orlan-10

 3. The remnants shown in images 51.5 to 51.7 are from an unarmed ISR UAV that was downed by
 militia affiliated to the HAF on the outskirts of Sirte on, or about, 29 April 2019. The UAV is fitted
 with the same electro-optical payload that has a distinctive array of twelve lens (image 51.7) and has




      191
          A second was reportedly shot down near Al-Azizya on 30 July 2019, but the Panel has been unable to obtain imagery to verify this.
          https://www.marsad.ly/en/2019/08/08/israel-made-drones-downed-over-libya/. Accessed 22 August 2019.
      192
          https://aeronautics-sys.com.




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 been seen on Orlan-10 UAV recovered from other conflict zones.193 The remnants shown in images
 51.8 to 51.10 are from an unarmed ISR UAV that crashed in Ain Zara and was recovered by the GNA-
 AF affiliated 27 Brigade on, or about, 20 September 2019. The remnants from the UAV on the imagery
 of both incidents analysed by the Panel have characteristics virtually identical to those of the Orlan-10
 UAV variants designed and manufactured by the Special Technological Centre,194 Saint Petersburg,
 Russian Federation.

     Images 51.5 to 51.7
     Remnants of downed Orlan-10 UAV (29 April 2019) a b




     Images 51.8 to 51.10
     Remnants of downed Orlan-10 UAV (20 September 2019) c




 a
   https://twitter.com/Oded121351, 29 April 2019.
 b
   https://twitter.com/imp_navigator/status/1123126784059428864, 30 April 2019.
 c
   https://www.facebook.com/447617966027848/posts/510190706437240/, 20 September 2019.



       193
             Binnie J. Russian UAV recovered in Libya. Janes Defence Weekly. 30 April 2019. London.
       194
             https://www.stc-spb.ru.




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 4.    The panel considers that the direct supply of this UAV from the manufacturer, or by the Member
 State, is unlikely. It is more likely present due to post-delivery diversion by the original purchaser, or
 subsequent owner and is certainly a non-compliance with paragraph 9 of resolution 1970 (2011) by the
 supplier and HAF. Panel investigations continue and a response from the manufacturer’s Member State
 is awaited.

 C.         Mohadjer variant

 5.      Images 51.13 is of an unarmed ISR UAV identified in the possession of the HAF in late 2017.195
 The Panel has identified characteristics on the UAV virtually identical to those of a Mohadjer UAV
 variant designed and manufactured by Qods Aviation Industry Company,196 Tehran, Iran (image 51.14).

  Image 51.13                                                      Image 51.14
  Mohadjer-10 variant UAV with HAF                                 Mohadjer-10 variant UAV manufacturers image
  (October 2017)                                                   (October 2017)




 Sources: 1) https://warisboring.com/who-gave-iranian-made-drones-to-libyas-tobruk-regime/. 16 October 2017 [L]; and 2)
  https://thearkenstone.blogspot.com. Photographer Hossain Zohrevand. [R].

 5.    The panel considers that the direct supply of this UAV from the manufacturer, or by the Member
 State, is unlikely. It is more likely present due to post-delivery diversion by the original purchaser, or
 subsequent owner, or battlefield capture from the GNA-AF. The Islamic State of Iran, in response to
 Panel enquiries, stated that “(…) similar variants can be easily built by any party who has the necessary
 knowhow”. Their response did not explicitly deny that the pictured UAV was a Mohadjer variant UAV.


      195
          www.africaintelligence.com/MCE/power-brokers/2017/10/05/haftar-s-strage-iranian-drone,108274620-BRC, 5 October 2017.
          Accessed 22 August 2019.
      196
          Now incorporated within the Iran Aviation Industries Organization (IAIO). www.mod.ir.




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 The transfer of the UAV to Libya is certainly a non-compliance with paragraph 9 of resolution 1970
 (2011) by the HAF and a supplier yet to be identified. Panel investigations continue.

 D.         Yabhon-HMD
 6.     On I June 2019 an unarmed ISR UAV was downed near Surt197 by the GNA-AF.198 On 27 June
 2019 components for three UAV of the same type were captured by the GNA-AF at Gharyan (image
 51.15). From imagery the Panel identified characteristics virtually identical to those of the Yabhon-
 HMD variant designed and manufactured by Adcom Systems, Mussafah, Abu Dhabi, United Arab
 Emirates (https://adcomsystems.weebly.com/). The Panel wrote to the United Arab Emirates who stated
 that the imagery was not that of a Yabhon-HMD variant UAV.

 7.    On 4 August 2019 the Panel inspected remnants from one of these captured UAV, that had been
 subsequently recovered to Tripoli (images 51.15 to 51.22). The Panel identified characteristics virtually
 identical to those of the Yabhon-HMD variant, and a parachute and fuel control unit (FCU) designed
 and manufactured by Adcom Systems, and identified components marked Advanced Target Systems,
 Abu Dhabi, United Arab Emirates.

  Image 51.15                                            Image 51.16                                        Image 51.17
  UAV components captured at Gharyan                     UAV inspected by Panel                             UAV inspected by Panel
  (27 June2019)                                          (4 August 2019)                                    (4 August 2019)




      197
          Video imagery of the UAV immediately after capture is at https://twitter.com/TurkishAF_/status/1135129231367778304, 2 June
          2019. Accessed 22 August 2019.
      198
          A second was reportedly shot down near Al-Azizya on 30 July 2019, but the Panel has been unable to obtain imagery to verify this.
          https://www.marsad.ly/en/2019/08/08/israel-made-drones-downed-over-libya/. Accessed 22 August 2019.




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  Image 51.18                                                 Image 51.19
  Parachute marked ATS, Abu Dhabi                             Enhanced image of parachute markings




  Image 51.20                              Image 51.21                                  Image 51.22
  ATS Fuel Control Unit                    ATS RF Transceiver 1/5U                      ATS Servo Control Unit
  Serial Number N2 039                     Serial Number RT 2027




 Sources: 1) 51.15 from https://twitter.com/Oded121351/status/1144301014771818501, 27 June 2019. Accessed 22 August 2019; and 2)
 Images 51.16 to 51.22 taken by Panel. 4 August 2019.




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 8.      The Panel challenges the initial assessment of the United Arab Emirates, and in light of the
 additional evidence finds that these UAV are almost certainly a variant of the Yabhon-HMD UAV. The
 Panel finds that the transfer of this UAV type to Libya is a non-compliance with paragraph 9 of
 resolution 1970 (2011) by HAF and a supplier yet to be confirmed. Panel investigations continue.

 E.    Sea Cavalry SD-60B

 9.     The Panel identified from open source information199 that a UAV was captured near Benina,
 Libya on 17 August 2019 by HAF. The remnants from the UAV on the imagery analysed by the Panel
 (images 51.23 and 51.24) have characteristics very similar to those of the Sea Cavalry SD-60B UAV
 designed and manufactured by Xiamen Hanfeiying Aviation Technologies (probably also trading as
 Xiamen Han's Eagle Aviation Technology Company Limited)200 (image 51.25).

  Image 51.23                                                                            Image 51.24
  UAV captured near Benina (17 August 2019)                                              UAV captured near Benina (17 August
                                                                                         2019)


                                                                                                              Slim
      Curved                                                                                                  wing
       nose                                                                                                  profile
      profile




              Landin                Black
              g strut            Rectangles on
                                    Boom




                                                                                                 Dual
                                                                                              propellers
                                                                                              (opposite)




      199
            https://twitter.com/Oded121351/status/1162959265830723584, 17 August 2019.
      200
            http://www.hans-eagle.com/EN/products/hqbyd/4.html.




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  Image 51.25
  Sea Cavalry SD-60B manufacturers image




  Sources: 1) 51.23 and 51.24 from https://twitter.com/Oded121351/status/1162959265830723584, 17 August
  2019; and 2) 51.25 from http://www.hans-eagle.com/EN/products/hqbyd/4.html.




 10. Sea Cavalry UAV Intelligence Surveillance and Reconnaissance (ISR) variants are known to be
 either on trial or in use by the Chinese People’s Liberation Army Navy (PLAN). 201 Open source
 information202 placed the PLAN frigate Xi’an (Hull No 153) of the 32nd Naval Escort Fleet in transit
 off the coast of Benghazi on 14 and 15 August 2019. The vessel was in transit from Malta to Alexandria.
 The Panel assesses it as likely that the UAV was lost over Libya during maritime environmental and
 operational trials as to the UAV’s ISR capabilities. The Panel does not consider this to be a non-
 compliance with paragraph 9 of resolution 1970 (2011) by the Member State.




     201
           https://www.janes.com/article/87009/chinese-navy-deploys-new-vtol-uav.
     202
           https://www.africaintelligence.com/mce/corridors-of-power/2019/09/05/the-chinese-army-loses-its-first-drone-in-libya,108371106-
           eve?CXT=PUB.




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 Annex 52:            Civilian aircraft in support of HAF operations

 1. This annex contains further information on aircraft either confirmed as, or very highly suspected
 of, providing military aviation transport support to HAF.

 Space Cargo Inc - Antonov AN-26 (UP-AN601)

 2. An Antonov AN-26 aircraft (flying under registration UP-AN601) has been observed routinely
 operating in support of HAF as a military cargo aircraft (figures 52.1 and 52.2). The Panel has identified
 that this aircraft was removed from Kazakhstan national aircraft registry (see appendix A) on 22 June
 2015 after sale to Space Cargo Inc (PO Box 7812, Sharjah Airport International Free Zone, A4-703,
 Sharjah, United Arab Emirates) (http://spacecargoinc.com). The Libyan Civil Aviation Authority have
 also confirmed that the aircraft is not on their registry.203

  Figure 52.1                                                        Figure 52.2
  Antonov AN-26 UP-AN 601 at Bani Walid                              Antonov AN-26 UP-AN 601 at Sharara oil field
  (1 November 2017)                                                  (18 February 2019)




  Sources: 1) 52.1 from https://twitter.com/MOHBENLAMMA/status/925780874662170625. Accessed 23 February 2019; and 2) 52.2 from
  https://twitter.com/Oded121351/status/1097582983542919168. Accessed 23 February 2019.

 3. The aircraft is marked with the logo of a United Arab Emirates based company, H.A.D Jet Cargo
 LLC (Office 805, Prime Tower, Al Abraj Street, Business Bay, Dubai (PO Box 214995),
 (www.hadjetcargo.com). The company has confirmed to their authorities that they have never owned,
 operated, lease or otherwise dealt with this aircraft.204




      203
            LCAA letter of 15 May 2019.
      204
            HADJet letter of 2 August 2019.




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 4. The aircraft is therefore flying in Libya with false markings under a false national air registry
 number, (UP-AN601), which is in contravention with the requirements of the Convention on
 International Civil Aviation (the Chicago Convention).205

 5.    The Panel has written to Space Cargo Inc requesting information relating to the activities of this
 aircraft in Libya but has received no response.

 6.     The Panel notes that the Antonov AN-26 is also designed to be used in the light bomber role when
 fitted with four BDZ-34 weapon hard points on its fuselage. The Panel is monitoring this matter.

 Sky Prim Air S.R.L. - Ilyushin IL-18D (ER-ICS)

 7. An Ilyushin IL-18D aircraft (flying under Moldovan registration ER-ICS) is still routinely flying
 in support of HAF as a military cargo aircraft (figures 52.3 and 52.4). This aircraft was removed from
 the Moldovan national aircraft registry on 8 July 2015 (see appendix B).

 8.    The LCAA have confirmed to the Panel that this aircraft does not hold a Libyan registration.206
 This aircraft is therefore also flying in Libya with false markings under a false national air registry
 number, (ER-ICS), which is in contravention with the requirements of the Chicago Convention.

  Figure 52.3                                                           Figure 52.4
  Ilyushin IL-18D in Benghazi (June 2017)a                              Ilyushin IL-18D in Gharyan (May 2019)a




  Sources: 1) 52.3 from http://www.airliners.net/photo/Untitled/Ilyushin-Il-18D/4434469/L; 2) 52.4 from
  https://m.facebook.com/100013292748991/posts/678218769297875?sfns=xmo.

 9. It was reported on the AeroTransport DataBase (www.atdb.org) that the aircraft had been
 transferred to the Kazakhstan national air registry as UP-18496. The Kazakh authorities have
 investigated this and found that an Ilyushin IL-18GR is registered with their registry as IL-I8496 by


     205
           https://www.icao.int/publications/pages/doc7300.aspx.
     206
           LCCA letter to Panel of 10 July 2019.




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 Southern Sky, but it is not the same aircraft. ER-ICS has serial number 099-03, whereas IL-I8496 has
 serial number 092-02.

 10.     The Panel identified in its report S/2017/466207 that aircraft ER-ICS is owned and operated by
 Sky Prim Air S.R.L of Moldova. The Panel has written to Moldova to request any relevant information
 arising as the result of a reported investigation by their national authorities into Sky Prim Air S.R.L.
 owned by Grigore Ghilan. Notwithstanding this, the Panel finds Sky Prim Air S.R.L in non-compliance
 with paragraph 9 of resolution 1970 (2011) for the provision of military support to HAF, and continues
 to investigate.

 Deek Aviation F.Z.E. - Ilyushin IL-76TD (UR-CMC and UR-CMP)

 11.      Two Ilyushin IL-76TD aircraft (registered UR-CMP and UR-CRC) were destroyed by a GNA
 air strike against Jufra air base on 26 July 2019 (see figures 52.5 and 52.6).

  Figure 52.5                                                             Figure 52.6
  Destroyed IL-76TD at Jufra air base (26 July 2019)                      Ibid




 Sources: 1) 52.5 European Space Imaging Press Release of 3 August 2019. Image of 29 July 2019. [L]; and 2) 52.6
 https://mobile.twitter.com/Arn_Del/status/1155525947040378880, 28 July 2019. Accessed 4 September 2019 [R].

 12.     The panel has identified that although the aircraft were owned by Infinite Seal Incorporated
 (British Virgin Islands),208 and operated by Europe Air L.L.C. of Ukraine, on 1 October 2014 Europe
 Air L.L.C. concluded a general agreement on cargo transportation with Deek Aviation F.Z.E. 209 (Q4-


      207
          Paras. 3 and 4 to annex 35.
      208
          Trident Chambers, PO Box 146, Road Town, Tortola, British Virgin Islands.
      209
          The company website (www.deekaviation.com) has lapsed. General Manager is Rajiv Kumar Sharma. +971 6 57XXXX2.




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 76, Block Q4 Street, Al Ruqa Al Hamra, Sharjah, United Arab Emirates). The contracts210 place the
 onus on the relevant flight documentation and customs clearances being obtained by Deek Aviation
 F.Z.E and makes it clear that the aircraft shall not be used to transport military related cargo.

 13.     Deek Aviation F.Z.E were contracted by Global Aviation Services Group (http://www.global-
 aviationgroup.com)211 to transport humanitarian aid. The Panel has a copy of the Cargo Manifest and
 Air Waybill for the flight made by these aircraft on 25 July 2019 immediately prior to their destruction.
 The documentation is completed for a flight from Fujairah (OMFJ), United Arab Emirates to Labraq
 airport (HLTQ), Al Bayda, Libya and then onward to Jufra air base (HL69). The aircraft manifest states
 that the cargo for UR-CMP was 15.785 tonnes of Medicinal Equipment, Medicine and Food Stuff and
 for UR-CRC was four ambulance vehicles with a mass of 12.1 tonnes; both cargos to be delivered to
 Labraq airport. The cargo capacity of a single IL-76TD is 52 tonnes, which means both loads could
 probably have been carried on a single aircraft.212 No documentation was provided for any cargo that
 may have been carried from Al Bayda to Jufra. Deek Aviation F.Z.E has not yet responded to the Panel’s
 requests for further information and the investigation continues.

 14.     Europe Air L.L.C. had its Air Operating Certificate suspended by the Ukrainian civil aviation
 authorities on 27 July 2019,213 the lease agreement with Infinite Seal Incorporated was terminated on 9
 August 2019214 and the Europe Air L.L.C. ceased trading that day.215

 Sigma Airlines – Ilyushin IL-76TD (UP-I7601 and UP-I7645)

 15. Two Ilyushin IL-76TD aircraft (registered UP-I7601 and UP-I7645) have been identified as flying
 in support of HAF as a military cargo aircraft (figures 52.7 and 52.8 for UP-I7601, and figures 52.9 and
 52.10 for UP-I7645).




     210
         No 28052014-1013407230 dated 28 May 2014 for UR-CCMC, and No 27042018-1013409303 dated 27 April 2018 for UR-CRP.
     211
         PO Box 2828, Tripoli, Libya, aradi@global-aviationgroup.com, +218 21 351 4068.
     212
         A standard ambulance is 6m long x 2.3m wide. The load compartment of an IL-76TD is 24.5m long x 3.4 m wide. This would leave a
         floor cargo space free of 26m2, highly probably enough space for 15.8 tonnes of other cargo at one tonne per m2.
     213
         https://open4business.com.ua/ukraine-suspends-operator-certificate-of-europe-air-carrier/.
     214
         Letter 181-IS
     215
         Order No: 908.




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  Figure 52.7                                                             Figure 52.8
  IL-76TN (UP-I7601) (April 2019)                                         IL-76TN (UP-I7601) (June 2019)




  Sources: 1) Original – confidential source; then 2) reproduced on
  https://twitter.com/DavidBiutitaman/status/1144498937329438720, 17 June 2019. [L]; and 2)
  https://twitter.com/Arn_Del/status/1144981837212717056, 29 June 2019. [R].



  Figure 52.9                                                             Figure 52.10
  IL-76TN (UP-I7645) at Tamanhint air base (Sebha),                       IL-76TN (UP-I7645) at Tamanhint air base
  (29 January 2019)                                                       (Sebha), (29 January 2019)




  Source: Extracted from video imagery from HAF media office at https://www.youtube.com/watch?v=llUD4rD1jfA&feature=youtu.be,
  29 January 2019 in which the HAF themselves refer to the aircraft as a “military cargo place”.


 16. The Ilyushin IL-76TD aircraft (UP-I7601 and UP-I7645) are owned by Air Almaty J.S.C. (LMY)
 of Kazakhstan, but have been leased to, and operated by, Sigma Airlines216 (SGL) of Kazakhstan since
 October 2017.217



      216
            https://airsigma.pro/. Markov Str 11, Almaty, 050013, Kazakhstan. The company also has an office in Ajman, United Arab Emirates.
      217
            http://www.aerotransport.org/php/go.php?query=operator&qstring=Sigma+Airlines&where=126307&luck=. Restricted access.




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 17.     The Panel finds Sigma Airlines in non-compliance with paragraph 9 of resolution 1970 (2011)
 for the provision of military support to HAF.

 18.     The Panel also continues to maintain an overview of the activities of one other Ilyushin IL-76TD
 aircraft operated by Sigma Air (registration UP-17655).




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 Appendix A to Annex 52: Removal of Antonov AN-26 (UP-AN601) from Kazakhstan Civil
                         Aviation Authority register

 Figure A.52.1
 Certificate of removal




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 Appendix B to Annex 52: Removal of Ilyushin IL-18D (ER-ICS) from Moldova Civil Aviation
                         Authority register

 Figure B. 52.1
 Certificate of removal




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            Annex 53:           Summary of parallel currency security features

            1.     Annex 56 to Panel report S/2017/416 summarised the difference in security features between the CBL 20LYD
            and CBL 50LYD denomination notes printed by De La Rue Limited in 2013 and the parallel ECBL currency 20 LYD
            and 50 LYD denomination notes printed by Goznak J.S.C. in 2016.

            2.      Tables 53.1 and 53.2 are an update to that report,218 and summarize the security features of the higher denomination
            CBL 50 LYD notes printed by De La Rue Limited in 2013 and the parallel ECBL currency 50LYD denomination notes
            printed by Goznak J.S.C. in 2016 and 2019. The specialist report concluded that “the noticeable differences between the
            notes may cause uncertainty to the people and result in a reduced public acceptability”. The currency is vulnerable to
            counterfeiting. Some of the security features are not fully explained in order to protect the security of the currency. In
            general bank notes have three levels of security features: 1) Level 1 for public recognition; 2) Level 2 for bank tellers; and
            3) Level 3 for Central Banks.

            Table 53.1
            Summary of publicly recognisable (Level 1) security features CBL 50 LYD denomination notes v Goznak 50 LYD denomination notes

             #   Feature                                     CBL 50 LYD (2013)                                  “Goznak” 50LYD (2016)                          Remarks

             1   SPARK® Orbital™ feature                     Present.                                           Missing, replaced with an inferior Moon and    ▪ Key public recognition
                 printed in silk screen with                                                                    Star printed in offset, which is fluorescent     feature (Level 1).
                 optical variable ink.                                                                          under ultra-violet (UV) light.

             2   Position and size of serial                 Vertical and to the right of the                   Two horizontal serial numbers with equal       ▪ Public recognition is
                 number figures.                             holographic stripes with increasing size           size figures.                                    compromised by
                                                             figures.                                                                                            differences in
                                                                                                                                                                 appearance.




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                       Based on a security analysis by an internationally accredited and recognized testing laboratory used widely by Central Banks; Ugra
                       (www.ugra.ch). 2013 CBL note serial number 0073446 and 2016 ECBL parallel note serial number 183001 were tested. EBCL 2019
                       notes serial numbers 1080001 and 1080002 were then compared against the 2016 results.
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            #   Feature                          CBL 50 LYD (2013)                    “Goznak” 50LYD (2016)                    Remarks
            3   Obverse design in intaglio       Original size.                       Reduced in size.                         ▪ Reduction necessary to
                Printing: Lighthouse image.                                                                                      accommodate the
                                                                                                                                 horizontal, red serial
                                                                                                                                 number.

            4   Embossed latent image with       Present.                             Missing.                                 ▪ Key public recognition
                denomination value in metallic                                                                                   feature (Level 1).
                ink on front side.

            5   Windowed security thread.        Present (lenticular).                Different to original (holographic).     ▪ Significant change.

            6   Embedded security thread.        Appears as a continuous black line   Missing.                                 ▪ Key public recognition
                                                 when viewed against the light.                                                  feature (Level 1).

            7   Holographic foil stripe.         Demetallized design.                 Non demetallized.                        ▪ Key public recognition
                                                                                      Different colours.                         feature (Level 1).

                                                                                      Holographic images switch at different
                                                                                      angles.
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            Figure 53.1                                             Figure 53.2
            2013 CBL LYD50 (Obverse)                                2016 “Goznak” LYD50 (Obverse)




                                                                2



                              1                                                      1                  3
                                                3



                      4                                   7                    4                    2            7



            Figure 53.3                                             Figure 53.3
            2013 CBL LYD50 (Reverse)                                2016 “Goznak” LYD50 Reverse)




                                  5                                                      5




                                                                                                                     S/2019/914
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            Table 53.2
            Summary of Machine and Central Bank recognisable (Levels 2 and 3) security features CBL 50 LYD notes v “Goznak” 50 LYD
            denomination notes

             #   Feature                            CBL 50 LYD (2013)                   “Goznak” 50LYD (2016)                        Remarks

             A   Infra-red @900nm.                  Right half of rock arch visible.    Rock arch split into two images.             ▪ This will affect
                                                                                                                                       machines that validate
                                                                                                                                       notes by reading the
                                                                                                                                       infra-red pattern.

             B   Level 3 Covert feature -           Present.                            Not Present.                                 ▪ Required for Central
                 Enigma® feature.                                                                                                      Bank only
                                                                                                                                       authentication.

             C   Gemini® feature.                   Present.                            Yellow/Green in daylight.                    ▪ Professional recognition
                                                                                        Yellow/Red under UV light.                     is compromised by
                                                                                                                                       differences in
                                                                                                                                       appearance.

             D   Detectable magnetic ink on         Normal.                             Lower levels detected.                       ▪ Level 3 security feature
                 horizontal serial number on left                                                                                    ▪ This could affect the set-
                 of notes.                                                                                                             up of note sorting
                                                                                                                                       machines.

             E   Embedded magnetic thread.          Present.                            Uses a windowed thread with magnetic         ▪ This could affect the set-
                                                                                        properties.                                    up of note sorting
                                                                                                                                       machines.

             F   Cornerstone® on corners to         Present.                            Not present.                                 ▪ This will reduce the life
                 strengthen notes                                                                                                      cycle of the ECBL
                                                                                                                                       parallel currency.
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            Figure 53.5                                           Figure 53.6
            2013 CBL LYD50 (Obverse)                              2016 “Goznak” LYD50 (Obverse)




                    D                                                     D




                                                                                                                 F
                                                          F

            Figure 53.7                                           Figure 53.8
            2013 CBL LYD50 (Reverse)                              2016 “Goznak” LYD50 Reverse)




                                                 A                                                        A




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 Annex 54:     Communication from the Eastern NOC

 Figure 54.1
 Communication from the Eastern NOC




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 Annex 55:       Letter on the status of Chairman of the NOC

 Figure 55.1
 Letter from the Permanent Mission of Libya to the United Nations




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 Annex 56:       Statement by the eastern National Oil Corporation

 Figure 56.1
 Undated statement issued by the eastern NOC, received by the Panel on 9 October 2019




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 Annex 57:       New board of directors of Brega in the east

 Figure 57.1
 Decision of the eastern NOC appointing a new board of directors of Brega in the east




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 Figure 57.2
 Official translation




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 Figure 57.3
 Decision from the “interim government” endorsing the above decision adopted by the eastern NOC




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 Figure 57.4
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 Annex 58:        Decision of the eastern LIA board of trustees

 Figure 58.1
 Decision of the eastern NOC appointing a new chairman and board of directors of Brega in the east




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 Source: confidential




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 Figure 58.2
 Panel translation

                               Decision of the Board of Trustees n°2 of 2018
           On dismissing the Chairman of the Board of Directors of LIA and appointing a new one.

           After reviewing :

              •   The financial law of Libya.
              •   Law n°12 of 2011 on establishment of work relations and its executive list
              •   Decision n°208 of 206 on the establishment of LIA
              •   Law n°13 of 2010 on the administrative organization of LIA
              •   Decision n°2 of 2014 of the ministerial council of the interim government on the
                  restructuring of the board of trustees
              •   On the outcome of the second regular meeting of the board of trustees on 17.9.2018 in
                  Al Bayda

                                                    Decides :

                                                 Article 1:
           To dismiss Dr. Abdessalam Ahmed Al Kezzah from his duties as Chairman of the Board of
           Directors of LIA
                                                 Article 2:
           To appoint dr. Hussein Mohamed Hussein as new head of the BOD of LIA.

                                                    Article 3:
           This decision is valid upon issuance

           Signed: Board of trustees of LIA




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            The Libyan Investment Authority

             Decision of the LIA Board of Trustees n°2 of 2019 to restructure its Board of Directors

            After reviewing :

                •       Law n°12 of 2011 on establishment of work relations and its executive list
                •       Decision n°208 of 206 on the establishment of LIA
                •       Law n°13 of 2010 on the administrative organization of LIA
                •       Decision n°2 of 2014 of the ministerial council of the interim government on the
                        restructuring of the Board of Trustees
                •       The outcome of the second regular meeting of the Board of Trustees on 17.9.2018 in
                        Al Bayda
                                            (d)
                                            (e) Decided to :

                                                         Article 1:

            Restructure the LIA’s Board of Director as follows:

            Husein Mohamed Husein              Chairman
            Taher Abdallah Al Gala’ouz             member
            Najat Mohamed Younis               member
            Mohamed Ahmed Abukelch                 member
            Hasan Khalil Hasan                 member
            Mohamed Ali Zaydane                member
            Fawzi Faraj Musa                   member

                                                         Article 2:

            This decision is valid upon issuance

            Signed: Board of Trustees of LIA


                                                                            Issued in Al Bayda on 20.2.2019

 Source: Confidential




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 Annex 59:       Letter of appointment of new focal point pursuant resolution 2146 (2014)

 Figure 59.1
 Letter of appointment of new focal point




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 Annex 60:       Documented attempts to illicitly export crude oil from eastern NOC

 Figure 60.1
 Allocation Certificate dated 8 April 2019




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 Figure 60.2
 Allocation Certificate dated 16 May 2019




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 Figure 60.3
 Terms of reference for a Sales and Purchase contract, valid until 20 July 2019




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 Figure 60.4
 Inquiry in the market to charter a tanker to export crude oil from Marsa el Hariga (Tobruk), dated 30 September
 2019




 Sources: Confidential.




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 Annex 61:              Jet A-1 aviation fuel sold quantities in the east

 Figure 61.1
 Jet A-1 aviation fuel sold quantities in the East.




 Source: Confidential




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 Figure 61.2
 Unofficial translation




 Source: Confidential




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 Annex 62:        Arrest warrants issued by the Attorney General’s Office on 7 February 2019

 Figure 62.1
 Arrest warrants issued by the AGO on 7 February 2019


 1.    The Panel holds a copy of the above indicated document.


 Figure 62.2
 Official translation of the above

 2.    The Panel holds a copy of the above indicated document.




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 Annex 63:        List of trusted petrol stations issued by Brega

 Figure 63.1
 List of trusted petrol stations issued by Brega

 1.    The Panel holds a copy of the list of trusted petrol stations issued by Brega.




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 Annex 64:        Quantities of refined products distributed by Brega since 2012

 Table 64.1
 Quantities of refined petroleum products distributed by Brega, 2012 to April 2019, in litres.

   Year               Region           Gasoline                 Diesel                Kerosene

   2012               East                     1,296,561,000           426,747,200               67,379,000

                      Tripoli                  1,582,850,000           455,382,600           135,243,000

                      Misrata                     523,033,000          247,243,500                       0

                      Zawiyah                     764,710,000          326,092,000                       0

                      Sebha                       252,831,000          116,494,650                  50,000

   2013               East                     1,452,890,500           537,694,300               36,640,800

                      Tripoli                  1,823,994,500           669,305,200           128,400,000

                      Misrata                     637,079,300          367,286,000                       0

                      Zawiyah                     893,711,000          372,078,000                       0

                      Sebha                       314,360,000          179,614,500                       0

   2014               East                     1,288,186,000           577,309,700           577,309,700

                      Tripoli                  1,254,861,900           402,610,500               74,834,000

                      Misrata                     771,646,000          437,767,000                 101,000

                      Zawiyah                  1,175,677,000           472,764,000                       0

                      Sebha                       169,244,200          113,300,000                       0

   2015               East                     1,295,185,500           475,190,750                5,581,650

                      Tripoli                  1,312,224,000           315,791,500               43,238,000

                      Misrata                     554,943,000          280,387,000                       0

                      Zawiyah                  1,162,978,000           480,982,000                 380,000

                      Sebha                       252,050,000            90,833,000                      0

   2016               East                     1,353,369,000           469,718,800               25,361,000

                      Tripoli                  1,781,998,000           531,148,500               45,244,000

                      Misrata                     660,936,000          335,235,000                       0




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      Year                Region         Gasoline                  Diesel                Kerosene

                          Zawiyah               1,045,820,000           512,660,000                      0

                          Sebha                     356,202,000         134,956,000                      0

      2017                East                  1,427,195,000           508,418,300            24,621,500

                          Tripoli               1,867,226,000           360,732,500            42,172,000

                          Misrata                   812,916,000         510,133,000                  68,000

                          Zawiyah                   830,990,000         190,300,000                      0

                          Sebha                     171,868,000             33,330,000                   0

      2018                East                  1,541,191,000           570,349,400            21,005,500

                          Tripoli                   2,01,989,800        237,999,000             6,306,000

                          Misrata                   911,110,000         475,107,000                 120,000

                          Zawiyah                   739,450,000         179,645,000                      0

                          Sebha                      25,043,000              2,251,000                   0

      2019                East                      519,035,000         217,694,030            12,380,000

      (until April)       Tripoli                   445,165,000             76,528,000          6,700,000

                          Misrata                   330,380,000         163,860,000                  84,000

                          Zawiyah                   223,690,000             68,790,000                   0

                          Sebha                      41,908,000              7,838,000                   0

 a
     Brega Petroleum Marketing Company




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 Annex 65:        Letter calling for abolishment of the monopoly of the distribution companies

 Figure 65.1
 Letter of the Minister of Interior




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 Annex 66:        Letters issued by the Municipal Council of Zawiyah

 Figure 66.1
 Official translation




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                                                                                                                                   S/2019/914



 Annex 67:            Routes employed by fuel smugglers from Zawiyah

 Figure 67.1
 Routes used and main check points crossed by fuel smugglers




      A.    Located at 32°45'29.8"N 12°41'31.3"E, is the first check point after the oil complex, under the control of an armed
            group affiliated to the Awlad Sagir tribe.
      B.    Located at 32°28'37.9"N 12°40'33.0"E, in the town of Bir Bin Shuaib, is the second check-point common to both
            routes, under the control of an armed group affiliated to Awlad Sagir tribe with some elements from the Al Hirarat
            tribe.
 South Route:
      C.    Located at 32°28'37.9"N 12°40'33.0"E, this check point is known as the “T-Check Point”, under the control of Imad
            al Tarabulsi forces.
      D.    Located at 32°01'15.5"N 11°56'45.1"E, in the town of Shakshuk, is under the control of armed groups from Jadu.
 West Route:
      E.    Located at 32°33'49.3"N 12°25'15.2"E, this check point is known as “roundabaout al-Jeweili” and is under the control
            of Zinati armed groups.
      F.    Located at 32°34'12.9"N 12°20'16.8"E, this check point is known as “South Surman route” and is under the control
            of Zinati armed groups.
      G.    Located at 32°45'33.8"N 12°28'22.5"E, in the city of Sabratah, this check point is under the control of listed
            individual Mus’ab Mustafa Abu al Qassim Omar (LYi.024), a.k.a. Musa Abu Ghrayn.
      H.    Located at 32°50'36.1"N 12°14'35.0"E, in the western exit of the city of Sabratah, near the entrance of the Mellitah
            Oil and Gas complex, this check point was under the control of listed individual, Ahmad Oumar Imhamad al-Fitouri
            (LYi0.23), a.k.a. Al Ammu Dabbashi, and now is controlled by the Sabratah Millitary Council.




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 Annex 68:         Specifications of the diesel oil imported by Libya

 Figure 68.1
 Specifications for diesel oil




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 Annex 69:       Indication of the area where Ship-to-Ship transfers of Libyan fuel are taking place

 Figure 69.1
 Approximate location of the area where STS transfers. 34º8’25”N, 11º35’25” E




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 Annex 70:       LIA strategy

 Figure 70.1
 LIA strategy to improve transparency, governance and accountability




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 Annex 71:       Legal and other issues faced by designated entities

 Legal disputes
 1. Supreme Court of Libya - Details of the two appeals, which the Supreme Court of Libya decided
 on 10 April 2019 were provided in annex 58 to S/2018/812.

 2. It should be noted that the Administrative Chamber of the Supreme Court has set aside the two
 judgments of the Administrative Chamber of the Benghazi Court based on that Court’s lack of
 jurisdiction. The Supreme Court made no findings on the main grounds, viz., the matter of legality of
 the formation and functioning of the Board of Trustees and, consequently, that of the Board of Directors.

 Other legal cases in Libya
 3.    The court case filed by Mr. Abdulmagid Breish is pending.

 4. The Panel has learned that a former Chairman of LIA, Mohsen Derrigia, had filed a case in the
 Tripoli Court, challenging his removal as he was not formally dismissed. The lower court had turned
 down his application on the ground that decisions of the Board of Trustees are not subject to legal
 review. The Supreme Court, in its decision of 20 March 2019, accepted his appeal and overturned the
 judgment of the lower court.

 5. United Kingdom – The case is before Mr. Justice Andrew Baker in the Queen’s Bench Division,
 Commercial Court. The applicant here is Dr. Ali Mahmoud Hassan Mohamed. The respondents are the
 Receivers, the LIA, Mr. Abdulmagid Breish, former Chairman of the LIA and Dr. Hussein Mohamed
 Hussein Abdlmola, Chairman of LIA east.

 6. The applications before the Court seek: A declaration that Dr. Mahmoud has been since 15 July
 2017 and remains validly appointed as Chairman of the LIA with authority, therefore, to exercise control
 over the property the subject of the receivership order in question; an order that the respective
 receivership order be discharged with whatever may be the appropriate consequential orders and
 directions, including for transfers of assets in the hands of the receivers.

 7.    After detailed discussion, Justice Baker held on the preliminary issues:

             a. “The question of which body represents or has at any material time represented the
                executive authority and Government of Libya falls to be determined, if it arises before
                this court, under English law; and




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              b. The executive authority and Government of Libya is represented today and has been
                 represented since at least 19 April 2017 by the Government of National Accord and the
                 Presidency Council, and that is so if and insofar as relevant to and for the purpose of
                 Article 6 of Law No. 13 of 1378 DP (2010) made by the then General People’s Congress
                 of Libya or for any other purpose to which the question might matter if it arises before
                 this court in relation the Applications.”
 8.    By further order of 10 July 2019, the respondents, Breish and Hussein, were given permission to
 appeal in respect of the above Order of 14 February 2019.

 9.     The issues to be tried were listed in Annex 1 of the order dated 10 July 2019. Permission was
 also given for expert evidence in the field of Libyan law. The issues to be considered by the experts are
 detailed in Annex 1 of the order dated 25 July 2019.

 10.     Since there was a dispute over authority, the Court appointed receivers who would handle
 particular assets and pursue the litigation on behalf of LIA (paragraph 16 of Annex 58 to S/2018/812).
 The Panel does not have full details of these cases.

 11.     Proper conduct of litigation is essential as some assets of LIA are subject to attachment, or
 attempts are being made to attach. The claims leading to such attachments are not against the LIA, but
 against the Libyan state for pre-2011 contracts. Lack of proper monitoring and defence of these cases
 risks loss of LIA assets.

 Long Term Portfolio (LTP)
 12. The LIA authorities explained the difficulties they encounter in managing the assets of the Long
 Term Portfolio. The Panel has confirmed that the assets (approximately US$ 10 billion) have been held
 in the name of LFIC from well before the assets freeze became operative and are all frozen. These assets
 are generating profit.

 13. Representatives of the LTP and of the BoD of the LIA in Tripoli emphasised that the LTP was a
 separate company and pointed to its registration in 2018 in the Commercial Register of Tripoli to prove
 this point. The Panel, however, ascertained that decision 767 of 1991 created a committee to manage a
 portfolio to invest the gains from shares in FIAT, sold for substantial profit in the late 1980s. This
 decision did not create a legally independent entity. It has neither articles of association nor a certificate
 of incorporation. This portfolio was run by the LFIC. Currently, all the investments are in the name of
 the LFIC. Previous Chairmen had recommended the integration of this Portfolio into the LIA but this
 was not done. The LIA claims that the LTP is a separate legal entity and has appointed a Chairman and
 BoD for the LTP. Previous Chairmen of the LIA have stated that is not a separate legal entity.




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 14. The Panel has not yet confirmed the validity or otherwise of the claims above, as these have arisen
 post 2011 and would not affect the assets freeze. These assets were, and are, still legally in the name of
 LFIC, which is acknowledged by the LIA. Regardless of whether the LIA chooses to nominate a new
 BoD, as was done in 2017, the assets cannot be legally transferred, more so as the legal existence of
 LTP as an independent company, is not free from doubt.

 15. The BoD of the LIA in Tripoli reconstituted the board of LTP by decision number 20/2017 issued
 in December 2017. Sami Mabrouk was removed as chairman of the LTP and Atef Al Bahri was
 appointed the new chairman per the decision. Sami Mabrouk is resident in Jordan as the head of the
 representative office of the LTP there. He left Tripoli in 2014 to establish this office, which was
 registered in Jordan on 6 August 2015. The Panel has seen the decision of the BoD of the LIA, signed
 by Hassan Bouhadi, then chairman, to establish the office to Jordan.219 Sami Mabrouk´s refusal to hand
 over to Atef al Bahri has engendered a dispute between the two offices, with even the Jordanian
 authorities refusing to recognize the appointment of Atef al Bahri. Sami Mabrouk also challenged his
 removal in Tripoli courts.

 16. The assets in Jordan are apparently frozen, but the Panel awaits supplementary information to
 determine the proper implementation of the assets freeze. The Panel is further enquiring into the
 allegations of mismanagement and misappropriation of funds by various Libyan authorities.

 17.     An audit of the funds, other financial assets and economic resources, belonging to the LTP and
 its representative office in Jordan may shed light on the effective implementation of the assets freeze.
 An audit should encompass all assets, which are declared to be not subject to the assets freeze, and all
 assets controlled directly or indirectly. It is known, for instance, that large sums were transferred in the
 past for the purported administrative running of the LIA Malta office. It is necessary to verify how these
 transfers were effected and how these sums were not subject to the assets freeze.

 18. This case also illustrates the confusion generated by two boards of LIA, one in Tripoli and one in
 the east and how this affects the management of LIA assets (see paragraph 23).

 Issues with financial institutions and member states
 19. Both designated entities face problems with the KYC processes, particularly in HSBC UK and
 HSBC Luxembourg, and are consequently unable to access to or obtain information on their funds even
 though the banks are collecting its monthly management fees. The completion of the KYC process,



      219
            Reference to Hassan Bouhadi in paragraphs 217 and 218 of S/2017/466.




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 which includes updating of LIA’s authorised signatory list, is linked to the pending litigation in the
 United Kingdom.

 20. The Panel specifically asked the designated entities if the national regulator had been approached.
 Their response was that it is time consuming and they cannot afford the delay. This does not appear
 convincing as the net result is that they still cannot have access to the funds. The Panel advised that they
 could submit exemption requests as per the provisions of the resolutions. The representatives of the
 designated entities responded by pointing out instances of considerable delay at the level of the financial
 institutions and the national authorities in processing the documents and sending onwards to the
 Committee. This issue could be addressed by simplified and quicker procedures for processing
 exemption requests.

 Implementation Assistance Notice 6
 21. LIA is facing problems of financial flow pursuant to issue of IAN 6 as funds which were earlier
 freely available are now frozen. When access to funds is requested, some financial institutions delay
 and seek clarification as to whether the funds are free or frozen.

 22. LIA also raised the issue of funding of subsidiaries, one being Libyan African Investment
 Company (LAICO). Earlier, the interest from frozen accounts, which was considered free money,
 contributed to the debt payments of hotels managed by LAICO. This is no longer possible. LIA now
 requires approval for release of frozen funds for payment of the outstanding loans of the hotels. LIA is
 using LFIC funds in Libya to fund the LAICO hotels. This is in terms of a decision of the BoT of LIA.
 LAICO is not subject to the UN assets freeze. It is, however, subject to the assets freeze under EU
 regulations. Nevertheless, it appears that LIA had been utilising their funds, which ought to have been
 frozen, to help LAICO out of its financial difficulties. Now that these funds, being income accrued from
 frozen funds, have been correctly frozen, LIA is making known its difficulties. This issue is relevant in
 the context of governance and management issues of LIA and its subsidiaries.

 LIA East
 23. The ‘interim government’ continues to appoint a parallel Board of Directors for the LIA. Dr.
 Hossein is the current Chairman and he is also a party to the court case relating to the removal of the
 receivers, pending in the United Kingdom. This Board has no control over the LIA assets. Nevertheless,
 this is one of the issues which make financial institutions wary in allowing access to funds.




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 Annex 72:      Designated individuals

 1.    On 16 February 2019, the Panel interviewed Mohammed Kashlaf (LYi.025) and Abd Al-Rahman
 al-Milad (LYi.026) in Libya. The Panel explained the assets freeze and travel ban measures, including
 the delisting procedure to them.

 2.    Mohammed Kashlaf (LYi.025) said that he works for the PFG, and he confirmed that he is still
 receiving his salary from the Ministry of Defence through the PFG. Since 2014 he has been tasked with
 securing the perimeter of the oil complex in Zawiyah. He requested sight of the evidence submitted for
 his designation as he cannot prepare a defence without it.

 3.     Abd Al-Rahman al-Milad (LYi.026) explained that he had been in charge of the Coast Guard port
 facility at the Zawiyah oil complex since 2013. He also asked for the evidence leading to his designation.
 He claimed that he had saved many migrants and referred to his role in seizing several vessels. He
 refused to provide his pay slip or any other documentation.




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 Annex 73:        Suggestions for passenger profiling system

 1.    Some countries have developed their own system to process passenger information and some
 others use the Global Travel Assessment System (GTAS), which is a license-free software application,
 developed by the US Customs and Border Protection and made available by the World Customs
 Organization (WCO) to member countries free of cost. GTAS is an Open Source web application for
 improving Global Security by using industry-standard Advance Passenger Information (API) to screen
 commercial air travellers. It was developed in response to resolution 2178 (2014) to help the world
 combat terrorism and improve travel security for everyone.

 2.     For this purpose, the following are required:

        c.    Legislation mandating the airlines/master of the vessels etc. to electronically submit
              passenger information in a prescribed format at stipulated time to the competent authorities
              (Customs/Immigration/Border Force). Some countries may ask for only basic travel
              information of the passengers, collected before the departure of the aircraft (API- Advance
              Passenger Information) or it can be more detailed including information furnished by the
              passenger at the time of purchase of ticket (both API and PNR data).

        d.    The competent authority can screen the passenger information using an automated system,
              against certain dynamic risk parameters, to identify the targeted or risky passengers. Using
              this system, persons subject to travel ban can easily be identified, when they enter or leave a
              country.




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